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     EDDIE B ROBTNS<W IDR ESTATE                OF WilliE ROBINSON SR
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Case 1:14-cv-01051-SOH Document 1-1           Filed 09/26/14 Page 4 of 341 PageID #: 21


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                                                      of the original on file in my office:
                                                      .AI1'EST:
                                                      Clcrlc of the Circuit Court in Ouachita
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  STATE OF ARKANSAS
                                                     ~ ~ cp)aq..a_..:               Dolo
  CERTIFICATE

  COUNTY OF OUACHITA


  I, BETTY WILSON, Circuit Clerk within and for the County aforesaid, do hereby certify
  that the following:

  DOCKET SHEET, COMPLAINT, SUMMONS (3), SUMMONS (24), NOTICE OF
  ACTION OR CLAIM IN COMPLIANCE WITH ARKANSAS CODE ANNOTATED §
  20-77-304, DEFENDANTS' MOTION TO DISMISS COMPLAINT AND COMPEL
  ARBITRATION, BRIEF IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS
  COMPLAINT AND COMPEL ARBITRATION, PLAINTIFF'S RESPONSE AND
  IN CORPORATED MEMO OF LAW IN OPPOSITION TO DEFENDANTS' MOTION
  TO DISMISS COMPLAINT AND COMPEL ARBITRATION, MOTION TO STAY
  DISCOVERY PENDING RESOLUTION OF MOTION TO COMPEL ARBITRATION,
  DEFENDANTS' REPLY TO PLAINTIFF'S RESPONSE TO DEFENDANTS' MOTION
  TO DISMISS COMPLAINT AND COMPEL ARBITRATION, RESPONSE TO
  DEFENDANTS' MOTION TO STAY DISCOVERY PENDING RESOLUTION OF
  MOTION TO COMPEL ARBITRATION, REPLY TO PLAINTIFF'S RESPONSE TO
  DEFENDANTS' MOTION TO STAY DISCOVERY PENDING RESOLUTION OF
  MOTION TO COMPEL ARBITRATION (FAX), DEFENDANTS' RESPONSES TO
  PLAINTIFF'S ARBITRATION-RELATED REQUESTS FOR ADMISSIONS (SET 1)
  PROPOUNDED UPON ALL DEFENDANTS, NOTICE OF ENTRY OF
  APPEARANCE OF JOHN V O'GRADY, DEFENDANTS' SUPPLEMENTAL
  RESPONSES TO PLAINTIFF'S ARBITRATION-RELATED REQUESTS FOR
  ADMISSIONS (SET 1) PROPOUNDED UPON ALL DEFENDANTS (FAX),
  PLAINTIFF'S MOTION TO COMPEL ARBITRATION-RELATED DISCOVERY,
  MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF'S MOTION TO COMPEL
  ARBITRATION-RELATED DISCOVERY FROM ALL DEFENDANTS, PLAINTIFF'S
  AMENDED MOTION TO COMPEL ARBITRATION-RELATED DISCOVERY,
  AMENDED MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF'S AMENDED
  MOTION TO COMPEL ARBITRATION-RELATED DISCOVERY FROM ALL
  DEFENDANTS, DEFENDANTS' JOINT RESPONSE TO THE PLAINTIFF'S MOTION
  TO COMPEL ARBITRATION-RELATED DISCOVERY FROM ALL DEFENDANTS,
  NOTICE OF VOLUNTARY DISMISSAL AS TO MICHAEL HUNTER (FAX),
  ORDER FOR VOLUNTARY DISMISSAL AS TO MICHAEL HUNTER (FAX)
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  EDDIE B ROBINSON

  vs.
                                cv-2013-200-6
  EOR-ARK, LLC

  OUACHITA COUNTY CIRCUIT COURT, CIVIL DIVISION
  is a true and correct copy of the same.

  Witness my hand and seal on this the 51h day of SEPTEMBER, 2014 .

~SON, CIRCUIT CLERK

         nkL       (]-)~
  Depu   Clerk   cf
 Case 1:14-cv-01051-SOH Document 1-1            Filed 09/26/14 Page 6 of 341 PageID #: 23




            IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                 lt?   DIVISION


Eddie B. Robinson , as Administrator for
The Estate of Willie Robinson, Sr. , deceased

                     PLAINTIFF

vs.                                                           NO.CV- ;t,t?J3,;.oo - &

EOR-ARK, LLC; VAJ LLC; Senior Living Communities
of Arkansas, LLC; SLC Operations Holdings, LLC; SLC
Operations, LLC ; Pine Hills Holdings, LLC; Pine Hills
Health and Rehabilitation, LLC , d/b/a Pine Hills Health
and Rehabilitation ; SLC Operations Master Tenant, LLC;
SLC Properties, LLC; SLC Property Holdings, LLC ; SLC
Property Investors, LLC; Arkansas Nursing Home
Acquisition , LLC; CSCV Holdings, LLC ; Capital Funding
Group, Inc.; Capital Funding , LLC; Capital Finance, LLC;
Capital SeniorCare Ventures , LLC ; ADDIT, LLC ; SLC                                  .,
Professionals of Arkansas, LLC, n/kla SLC Professionals,
LLC ; Senior Vantage Point, LLC ; 900 Magnolia Road SW,
                                                                                      -
                                                                                      r
LLC; Quality Review, LLC ; Arkansas SNF Operations
Acquisition, LLC; SLC Professionals Holdings, LLC; SLC
                                                                                      rn
Administrative Services of Arkansas, LLC; John Dwyer;                                 0
and Michael G. Hunter, Administrator,

                    DEFENDANTS


                                     COMPLAINT

      Comes now Plaintiff, Eddie B. Robinson , as Administrator for The Estate of Willie

Robinson , Sr. , deceased , and for his cause of action against Defendants, EOR-ARK,

LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations Holdings,

LLC ; SLC Operations, LLC ; Pine Hills Holdings, LLC; Pine Hills Health and

Rehabilitation, LLC , d/b/a Pine Hills Health and Rehabilitation ; SLC Operations Master

Tenant, LLC; SLC Properties, LLC ; SLC Property Holdings, LLC; SLC Property

Investors, LLC ; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC; Capital
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 Funding Group, Inc.; Capital Funding , LLC; Capital Finance, LLC; Capital SeniorCare

Ventures, LLC; ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC

Professionals, LLC; Senior Vantage Point, LLC; 900 Magnolia Road SW, LLC; Quality

Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals Holdings,

LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G.

Hunter, Administrator

                            JURISDICTIONAL STATEMENT

       1.   Eddie B. Robinson was appointed as Administrator for The Estate of Willie

Robinson, Sr., deceased, pursuant to the Letters of Administration attached hereto as

Exhibit A, and therefore brings this action on behalf of The Estate of Willie Robinson ,

Sr., deceased, and on behalf of the wrongful death beneficiaries of Willie Robinson, Sr.,

pursuant to the Arkansas Survival of Actions Statute (Ark. Code Ann.§ 16-62-101) and

the Arkansas Wrongful Death Act (Ark. Code Ann. § 16-62-102). Eddie B. Robinson

brings this action against Defendants claiming damages on behalf of Willie Robinson,

Sr. stemming from the injuries and death he endured while a resident at Pine Hills

Health and Rehabilitation Center.

       2.   Eddie B. Robinson is a son of Willie Robinson, Sr., and is a resident of

Kokomo, Indiana.

       3.   Upon information and belief, Willie Robinson, Sr. was admitted as a resident

of Pine Hills Health and Rehabilitation Center located at 900 Magnolia Road, Camden,

Arkansas 71701, on April 26, 2010 and, except for hospitalizations, he remained a

resident until October 7, 2011. Willie Robinson , Sr. died on October 7, 2011.

      4.    Whenever the term "Nursing Home Defendants" is utilized within this suit,

such term collectively refers to and includes EOR-ARK, LLC; VAJ LLC; Senior Living

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 Communities of Arkansas, LLC; SLC Operations Holdings, LLC; SLC Operations, LLC ;

 Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a Pine Hills

 Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC;

 SLC Property Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home

Acquisition, LLC; CSCV Holdings, LLC; Capital Funding Group, Inc.; Capital Funding,

LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC

Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior Vantage Point,

LLC; 900 Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations

Acquisition, LLC; SLC Professionals Holdings, LLC; SLC Administrative Services of

Arkansas, LLC; and John Dwyer.

       5.   Whenever the term "Administrator Defendant" is utilized within this suit, such

term collectively refers to and includes Michael G. Hunter.

       6.   Whenever the term "Defendants" is utilized within this suit, such term

collectively refers to and includes all named Defendants in this lawsuit.

       7.   Pine Hills Health and Rehabilitation Center was owned, operated and/or

managed by Defendants.

       8.   Defendant EOR-ARK,       LLC,    a Delaware limited liability company,        is

authorized to do business in the State of Arkansas and is engaged in the business of

for-profit custodial care of elderly and infirm nursing home residents in nursing facilities

in several states across the United States.        Upon information and belief, at times

material to this action, Defendant EOR-ARK, LLC owned, operated, managed,

controlled and/or provided services for nursing facilities, including Pine Hills Health and

Rehabilitation Center during the residency of Willie _Robinson, Sr. The registered agent




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 for service of process of Defendant EOR-ARK, LLC is Corporation Service Company,

 2711 Centerville Road, Suite 400, Wilmington, Delaware 19808.

       9.   Defendant VAJ , LLC, an Indiana limited liability company, is authorized to do

 business in the State of Arkansas and is engaged in the business of for-profit custodial

care of elderly and infirm nursing home residents. Upon information and belief, at times

material to this action, Defendant VAJ, LLC owned, operated, managed, controlled

and/or provided    services for nursing facilities , including      Pine   Hills Health   &

Rehabilitation Center during the residency of Willie Robinson, Sr. The registered agent

for service of process of Defendant VAJ , LLC is Corporation Service Company, 251

East Ohio Street, Suite 500, Indianapolis, Indiana 46204.

       10. Defendant Senior _Living Communities of Arkansas , LLC, a Delaware limited

liability company, is authorized to do business in the State of Arkansas and is engaged

in the business of for-profit custodial care of elderly and infirm nursing home residents in

nursing facilities in several states across the United States.      Upon information and

belief, at times material to this action, Defendant Senior Living Communities of

Arkansas, LLC owned , operated, managed, controlled and/or provided services for

nursing facilities , including Pine Hills Health and Rehabilitation Center during the

residency of Willie Robinson, Sr. The registered agent for service of process of

Defendant Senior Living Communities of Arkansas , LLC is Corporation Service

Company, 2711 Centerville Road, Suite 400, Wilmington, Delaware 19808.

      11. Defendant SLC Operations Holdings, LLC , a Delaware limited liability

company, is authorized to do business in the State of Arkansas and is engaged in the

business of for-profit custodial care of elderly and infirm nursing home residents in

nursing facilities in several states across the United States.      Upon information and


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 belief, at times material to this action, Defendant SLC Operations Holdings, LLC owned ,

 operated, managed, controlled and/or provided services for nursing facilities, including

 Pine Hills Health and Rehabilitation Center during the residency of Willie Robinson , Sr.

 The registered agent for service of process of Defendant SLC Operations Holdings, LLC

is Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington ,

Delaware 19808.

         12. Defendant SLC Operations, LLC is a foreign limited liability company that at

times material to this lawsuit owned, operated, managed, controlled and/or provided

services to Pine Hills Health and Rehabilitation, LLC. The causes of action made the

basis of this suit arise out of Defendant SLC Operations , LLC's ownership, operation ,

management, control and/or services provided for the facility during the residency of

Willie Robinson, Sr. The registered agent for service of process of Defendant SLC

Operations, LLC is Corporation Service Company, 2711 Centerville Road, Suite 400 ,

Wilmington, Delaware 19808.

         13. Defendant Pine Hills Holdings, LLC, a Delaware limited liability company, is

authorized to do business in the State of Arkansas and is engaged in the business of

for-profit custodial care of elderly and infirm nursing home residents. Upon information

and belief, at times material to this action, Defendant Pine Hills Holdings, LLC owned ,

operated, managed, controlled and/or provided services for nursing facilities, including

Pine Hills Health & Rehabilitation Center during the residency of Willie Robinson , Sr.

The registered agent for service of process of Defendant Pine Hills Holdings, LLC is

Corporation Service Company, 2711 Centerville Road, Suite 400 , Wilmington, Delaware

19808.




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          14. Defendant, Pine Hills Health and Rehabilitation , LLC , operating under the

 fictitious name of Pine Hills Health and Rehabilitation Center, is an Arkansas limited

 liability company, with its principal office located at 900 Magnolia Road , Camden ,

Arkansas 71701. Pine Hills Health and Rehabilitation , LLC d/b/a Pine Hills Health and

Rehabilitation Center is authorized to do business in the State of Arkansas and is

engaged in the for-profit custodial care of elderly individuals who are chronically infirm,

mentally impaired and/or in need of nursing care and treatment. Upon information and

belief, at times material to this action , Defendant Pine Hills Health and Rehabilitation, ·

LLC was the "licensee" of Pine Hills Health and Rehabilitation Center which was located

at 900 Magnolia Road, Camden , Arkansas 71701. The causes of action made the basis

of this suit arise out of such business conducted by said Defendant in the ownership,

operation, management, licensing and/or control of Pine Hills Health and Rehabilitation

Center during the residency of Willie Robinson, Sr. The registered agent for service of

process of Defendant Pine Hills Health and Rehabilitation , LLC is Corporation Service

Company, 300 Spring Building , Suite 900 , 300 S. Spring Street, Little Rock, Arkansas

72201 .

      15. Defendant SLC Operations Master Tenant, LLC, a Delaware limited liability

company, is authorized to do business in the State of Arkansas and is engaged in the

business of for-profit custod ial care of elderly and infirm nursing home residents in

nursing facilities in several states across the United States.     Upon information and

belief, at times material to this action, Defendant SLC Operations Master Tenant, LLC

owned , operated , managed , controlled and/or provided services for nursing facilities,

including Pine Hills Health and Rehabilitation Center during the residency of Willie

Robinson, Sr. The registered agent for service of process of Defendant SLC Operations


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 Master Tenant, LLC is HIQ Corporate Services, Inc., 300 South Spring Street, Suite

 900, Little Rock, Arkansas 72201 .

         16. Defendant SLC Properties, LLC, a Delaware limited liability company, is

 authorized to do business in the State of Arkansas and is engaged in the business of

 for-profit custodial care of elderly and infirm nursing home residents in nursing facilities

in several states across the United States.          Upon information and belief, at times

material to this action, Defendant SLC Properties, LLC owned, operated, managed,

controlled and/or provided services for nursing facilities, including Pine Hills Health -and

Rehabilitation Center during the residency of Willie Robinson, Sr. The registered agent

for service of process of Defendant SLC Properties, LLC is Corporation Service

Company, 2711 Centerville Road, Suite 400, Wilmington, Delaware 19808.

         17. Defendant SLC Property Holdings, LLC,            a Delaware limited liability

company, is authorized to do business in the State of Arkansas and is engaged in the

business of for-profit custodial care of elderly and infirm nursing home residents in

nursing facilities in several states across the United States.       Upon information and

belief, at times material to this action, Defendant SLC Property Holdings, LLC owned,

operated, managed, controlled and/or provided services for nursing facilities, including

Pine Hills Health and Rehabilitation Center during the residency of Willie Robinson, Sr.

The registered agent for service of process of Defendant SLC Property Holdings, LLC is

Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, Delaware

19808.

         18. Defendant SLC Property Investors, LLC, a Delaware limited liability

company, is authorized to do business in the State of Arkansas and is engaged in the

business of for-profit custodial care of elderly and infirm nursing home residents in


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 nursing facilities in several states across the United States.    Upon information and

 belief, at times material to this action, Defendant SLC Property Investors, LLC owned,

 operated, managed, controlled and/or provided services for nursing facilities , including

Pine Hills Health and Rehabilitation Center during the residency of Willie Robinson, Sr.

The registered agent for service of process of Defendant SLC Property Investors, LLC

is The Corporation Trust Company, 1209 Orange Street, Wilmington, Delaware 19801.

       19. Defendant Arkansas Nursing Home Acquisition, LLC is a foreign limited

liability company that at times material to this lawsuit owned, operated, managed,

controlled and/or provided services to Pine Hills Health and Rehabilitation, LLC. The

causes of action made the basis of this suit arise out of such business conducted by

Defendant Arkansas Nursing Home Acquisition, LLC during the residency of Willie

Robinson, Sr. The registered agent for service of process of Defendant Arkansas

Nursing Home Acquisition, LLC is Gentry Locke Rakes and Moore LLP, 10 Franklin

Road, SE, Suite 800 SunTrust Plaza, P.O. Box 40013, Roanoke, Virginia 24022 .

       20. Defendant CSCV Holdings, LLC is a foreign limited liability company that at

times material to this lawsuit owned, operated, managed, controlled and/or provided

services to Pine Hills Health and Rehabilitation, LLC. The causes of action made the

basis of this suit arise out of such business conducted by Defendant CSCV Holdings,

LLC during the residency of Willie Robinson, Sr. The registered agent for service of

process of Defendant CSCV Holdings, LLC is HIQ Maryland Corporation, 715 St. Paul

Street, Baltimore, Maryland 21202 .

      21. Defendant Capital Funding Group, Inc., a Maryland corporation with its

principal office at 1422A Clarkview Road, Baltimore, Maryland 21209, is authorized to

do business in the State of Arkansas and is engaged in the business of for-profit


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 custodial care of elderly and infirm nursing home residents in nursing facilities in several

 states across the United States. Upon information and belief, at times material to this

 action, Defendant Capital Funding Group, Inc. owned , operated , managed, controlled

 and/or provided services for nursing facilities, including Pine Hills Health and

 Rehabilitation Center during the residency of Willie Robinson, Sr. The registered agent

for service of process of Defendant Capital Funding Group, Inc. is HIQ Maryland

Corporation, 715 St. Paul Street, Baltimore, Maryland 21202.

          22. Defendant Capital Funding , LLC , a Maryland limited liability company with its

principal office at 1422 Clarkview Road , Suite 500, Baltimore, Maryland 21209, is

authorized to do business in the State of Arkansas and is engaged in the business of

for-profit custodial care of elderly and infirm nursing home residents in nursing facilities

in several states across the United States.           Upon information and belief, at times

material to this action , Defendant Capital Funding, LLC owned, operated, managed ,

controlled and/or provided services for nursing facilities , including Pine Hills Health and

Rehabilitation Center during the residency of Willie Robinson, Sr. The registered agent

for service of process of Defendant Capital Funding, LLC is HIQ Maryland Corporation ,

715 St. Paul Street, Baltimore, Maryland 21202 .

      23 . Defendant Capital Finance , LLC is a foreign limited liability company with its

principal office at 1422A Clarkview Road, Baltimore, Maryland 21209. The registered

agent for service of process of Defendant Capital Finance, LLC is HIQ Maryland

Corporation, HIQ Corporate Services, Inc., 715 St. Paul Street, Baltimore, Maryland

21202 .

      24 . Defendant Capital SeniorCare Ventures , LLC, a foreign limited liability

company that at times material to this lawsuit, owned, operated , managed, controlled


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 and/or provided services for Pine Hills Health and Rehabilitation, LLC . The causes of

 action made the basis of this suit arise out of such business conducted by Defendant

 Capital SeniorCare Ventures, LLC in the operation, management, control and/or

services provided to Pine Hills Health and Rehabilitation, LLC during the residency of

Willie Robinson, Sr. The registered agent for service of process of Defendant Capital

SeniorCare Ventures, LLC is HIQ Corporate Services, Inc., 3500 South Dupont

Highway, Dover, Delaware 19901.

       25. Defendant ADDIT, LLC, an Indiana limited liability company with its principal

office located at 9785 Crosspoint Boulevard, Suite 110, Indianapolis, Indiana 46256, is

authorized to do business in the State of Arkansas and is engaged in the business of

for-profit custodial care of elderly and infirm nursing home residents in nursing facilities

in several states across the United States.       Upon information and belief, at times

material to this action, Defendant ADDIT, LLC owned, operated, managed, controlled

and/or provided services for nursing facilities, including Pine Hills Health and

Rehabilitation Center during the residency of Willie Robinson, Sr. The registered agent

for service of process of Defendant ADDIT, LLC is HIQ Corporate Services, Inc., 5217

Palisade Court, First Floor, Indianapolis, Indiana 46237.

       26. Defendant SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals,

LLC, an Arkansas limited liability company, is authorized to do business in the State of

Arkansas and is engaged in the business of for-profit custodial care of elderly and infirm

nursing home residents in nursing facilities in several states across the United States.

Upon information and belief, at times material to this action, Defendant SLC

Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC owned, operated,

managed, controlled and/or provided services for nursing facilities, including Pine Hills


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 Health and Rehabilitation Center during the residency of Willie Robinson, Sr. The

 registered agent for service of process of Defendant SLC Professionals of Arkansas,

 LLC, n/k/a SLC Professionals, LLC is HIQ Corporate Services, Inc., 300 South Spring

 Street, Suite 900, Little Rock, Arkansas 72201.

         27. Defendant Senior Vantage Point, LLC, an Indiana limited liability company, is

authorized to do business in the State of Arkansas and is engaged in the business of

for-profit custodial care of elderly and infirm nursing home residents in nursing facilities

in several states across the United States.        Upon information and belief, at times

material to this action, Defendant Senior Vantage Point, LLC owned, operated,

managed, controlled and/or provided services for nursing facilities, including Pine Hills

Health and Rehabilitation Center during the residency of Willie Robinson, Sr. The

registered agent for service of process of Defendant Senior Vantage Point, LLC is

Corporation Service Company, 251 East Ohio Street, Suite 500, Indianapolis, Indiana

46204.

       28. Defendant 900 Magnolia Road SW, LLC, an Arkansas limited liability

company, is authorized to do business in the State of Arkansas and is engaged in the

business of for-profit custodial care of elderly and infirm nursing home residents in

nursing facilities in several states across the United States.      Upon information and

belief, at times material to this action, Defendant 900 Magnolia Road SW, LLC owned,

operated, managed, controlled and/or provided services for nursing facilities, including

Pine Hills Health and Rehabilitation Center during the residency of Willie Robinson, Sr.

The registered agent for service of process of Defendant 900 Magnolia Road SW, LLC

is The Corporation Company, 124 West Capitol Avenue, Suite 1900, Little Rock,

Arkansas 72201.

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        29. Defendant Quality Review, LLC , an Indiana limited liability company, is

 authorized to do business in the State of Arkansas and is engaged in the business of

 for-profit custodial care of elderly and infirm nursing home residents in nursing facilities

 in several states across the United States.       Upon information and belief, at times

material to this action, Defendant Quality Review, LLC owned, operated, managed ,

controlled and/or provided services for nursing facilities, including Pine Hills Health and

Rehabilitation Center during the residency of Willie Robinson, Sr. The registered agent

for service of process of Defendant Quality Review, -LLC is Corporation Service

Company, 251 East Ohio Street, Suite 500, Indianapolis, Indiana 46204.

       30. Defendant Arkansas SNF Operations Acquisition, LLC is a foreign limited

liability company that at times material to this lawsuit owned, operated, managed,

controlled and/or provided services to Pine Hills Health and Rehabilitation , LLC. The

causes of action made the basis of this suit arise out of such business conducted by

Defendant Arkansas SNF Operations Acquisition , LLC in the ownership , operation,

management, control and/or services provided to Pine Hills Health and Rehabilitation,

LLC during the residency of W illie Robinson, Sr. The registered agent for service of

process of Defendant Arkansas SNF Operations Acquisition , LLC is HIQ Corporate

Services, Inc., 3500 South DuPont Highway, Dover, Delaware 19901.

      31 . Defendant SLC Professionals Holdings, LLC, a Delaware limited liability

company, is authorized to do business in the State of Arkansas and is engaged in the

business of for-profit custodial care of elderly and infirm nursing home residents in

nursing facilities in several states across the United States.       Upon information and

belief, at times material to this action , Defendant SLC Professionals Holdings, LLC

owned , operated, managed , controlled and/or provided services for nursing facilities,


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 including Pine Hills Health and Rehabilitation Center during the residency of Willie

 Robinson, Sr. The registered agent for service of process of Defendant SLC

 Professionals Holdings, LLC is Corporation Service Company, 2711 Centerville Road ,

 Suite 400, Wilmington, Delaware 19808.

         32. Defendant SLC Administrative Services of Arkansas, LLC is an Arkansas

 limited liability company that at times material to this lawsuit, operated, managed ,

controlled, contracted with and/or provided services to Pine Hills Health and

Rehabilitation, LLC. The causes of action made the .basis of this suit arise out of such

business conducted by Defendant SLC Administrative Services of Arkansas, LLC in the

operation, management, control and/or services provided to Pine Hills Health and

Rehabilitation , LLC during the residency of Willie Robinson , Sr. The registered agent for

service of process of Defendant SLC Administrative Services of Arkansas, LLC is

Corporation Service Company, 300 Spring Building , Suite 900, Little Rock, Arkansas

72201.

         33 . Defendant John Dwyer, a resident of the state of Maryland , is a corporate

manager, officer, owner, and director of all Defendants. John Dwyer may be served at

1422A Clarkview Road, Baltimore, Maryland 21209

       34. Upon information and belief, Defendant Michael G. Hunter, a resident of the

State of Arkansas, was an Administrator of Pine Hills Health and Rehabilitation Center

at times during the residency of Willie Robinson, Sr. The causes of action made the

basis of this suit arise in part out of Defendant Michael G. Hunter's administration of the

facility during the residency of Willie Robinson , Sr. Defendant Michael G. Hunter may

be served at his last known address.




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          35. At all times material to this action , each of the Defendants herein individually

 owed duties, some of which were non-delegable, to the residents of Pine Hills Health

 and Rehabilitation Center, including to Willie Robinson, Sr. , such duties being conferred

 by statute, existing at common law, and being voluntarily assumed by each such

 Defendant.

         36. At all times material hereto, the Defendants, through a joint venture, owned ,

operated, managed and controlled Pine Hills Health and Rehabilitation Center, and are

individually and collectively engaged in the business of providing healthcare, medical

services, therapy, rehabilitation, skilled nursing care, and custodial care services to the

general public.

         37. Jurisdiction and venue are proper in this Court.

                                  FACTUAL ALLEGATIONS

         38. Upon information and belief, Willie Robinson , Sr. was admitted as a resident

of Pine Hills Health and Rehabilitation Center (sometimes herein referred to as "the

facility") located at 900 Magnolia Road, Camden, Arkansas 71701 on April 26, 2010

and, except for hospitalizations, he remained a resident until October 7, 2011 . Willie

Robinson, Sr. died on October 7, 2011 .

         39. Defendants were aware of the medical condition of Willie Robinson, Sr. and

the care he required when they represented that they could adequately care for his

needs.

      40. Defendants each owed and failed to fulfill duties to Willie Robinson , Sr.,

including the duty to use reasonable care in the maintenance of safe and adequate

facilities and equipment; to select, train and retain only competent staff; to oversee and

supervise all persons who practiced nursing , medical and/or skilled healthcare within


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 the facility; to staff the facility personnel sufficient both in number and in training to

 provide the care and services required by the facility's residents; to ensure that the

 facility's residents were treated with dignity and respect; to maintain sufficient funding ,

 staffing and resources for the facility so that its residents were provided with the care

and services they required; to formulate, adopt, and enforce rules, policies and

procedures to ensure quality care and healthcare for all residents , and to update the

same as required by the applicable standards of care; to take adequate measures to

rectify known problems in the delivery of hygiene and custodial services as well as in

the delivery of medical, skilled nursing, rehabilitation and therapy care; to warn

residents, their family and/or representatives of the Defendants' inability to provide

adequate care and services when Defendants knew or should have known of their

deficiencies in providing such care and services; to refuse admission to residents to

whom they knew or should have known they could not provide reasonable care and

services; to not admit more residents than to whom Defendants could safely provide

adequate care and services; to keep the facility's residents free from physical and

mental abuse and neglect; to provide a safe, decent and clean living environment for

the facility's residents; and to assist the residents in retaining and exercising all of the

constitutional, civil and legal rights to which they are entitled as citizens of the United

States and of the State of Arkansas.

       41. Under state and federal law, the governing body of a nursing home is

composed of individuals or a group in whom the ultimate authority and legal

responsibility is vested for conduct of the nursing home. See Ark. Office of Long Term

Care R. and Regs . § 100. All long-term care facilities must have a governing body, or

designated persons functioning as a governing body, that is legally responsible for


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 establishing and implementing policies regarding the management and operation of the

 facility. The governing body has a legal duty to adopt effective patient care policies and

 administrative policies and by-laws governing the operation of the facility in accordance

with legal requirements of state and federal law. See Ark. Office of Long Term Care R.

and Regs.§ 301 .1. Nursing Home Defendants were legally responsible for establishing

and implementing policies regarding management and operation of that facility, and in

whom the ultimate authority and legal responsibility was vested for the conduct of that

nursing home.

       42 . Defendants are liable for all damages alleged in this matter in their capacity

as the owners, operators, licensees and/or managers of the facility during the residency

of Willie Robinson, Sr.

       43. In an effort to ensure that Willie Robinson , Sr. and other residents whose

care was partially funded by the government were placed or kept at Pine Hills Health

and Rehabilitation Center, Defendants held themselves out to the Arkansas Department

of Human Services (DHS) and the public at large as being :

              a)     Skilled in the performance of nursing, rehabilitative and other
                     medical support services ;

             b)     Properly staffed, supervised and equipped to meet the total needs
                    of their nursing home residents ;

             c)     Able to specifically meet the total nursing home, medical and
                    physical therapy needs of Willie Robinson , Sr. and other residents
                    like his; and

             d)     Licensed by DHS and complying on a continual basis with all rules ,
                    regulations and standards established for nursing homes.

      44. In surveys and inspections conducted prior to and during the residency of

Willie Robinson , Sr., the Arkansas Office of Long Term Care repeatedly cited Pine Hills

Health and Rehabilitation Center for regulatory deficiencies related to the care and

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 treatment of the facility's residents . Pine Hills Health and Rehabilitation Center was

 cited with the following deficiencies, among others, determining that the facility failed to:

                  a)   Provide care by qualified persons according to each resident's
                       written plan of care;

                 b)    Have a program that investigates, controls, and keeps infection
                       from spreading ;

                 c)    Make sure that the nursing home area is free from accident
                       hazards and risks and provides supervision to prevent avoidable
                       accidents;

                 d)    Make sure that residents are safe from serious medication errors;

                 e)    Make sure menus meet the resident's nutritional needs;

                 f)    Properly care for residents needing special services ;

                 g)    Give residents proper treatment to prevent new pressure sores or
                       heal existing pressure sores;

                 h)    Make sure that each resident who enters the nursing home without
                       a catheter is not given a catheter, and receive proper services to
                       prevent urinary tract infections and restore normal bladder function ;

                 i)    Give proper treatment to residents with feeding tubes to prevent
                       problems (such as aspiration pneumonia, diarrhea, vomiting ,
                       dehydration, metabolic anomalies, nasal-pharyngeal ulcers) and
                       help restore eating skills , if possible.


        45. In surveys and inspections conducted during and immediately after the

residency of Willie Robinson, Sr., the Arkansas Office of Long Term Care repeatedly

cited Pine Hills Health and Rehabilitation Center for regulatory deficiencies related to

the care and treatment of the facility's residents. Pine Hills Health and Rehabilitation

Center was cited with the following deficiencies, among others , determining that the

facility failed to:

                a) Develop a care plan that meets all of a resident's needs, with
                   timetables and actions that can be measured;


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               b) Conduct initial and periodic assessments of each resident's functional
                  capacity;

               c) Assist those residents who need total help with eating/drinking,
                  grooming an personal and oral hygiene;

              d) Provide necessary care and services to maintain the highest wellbeing
                 of each resident;

              e) Keep the rate of medication errors to less than 5%;

              f) Keep each resident free from physical restraints, unless needed fir
                   medical treatment;

              g) Provide housekeeping and maintenance services;

              h) Write and use policies that forbid mistreatment, neglect and abuse of
                 residents and theft of residents' property;

              i)   Make sure the nursing home area is free from accident hazards and
                   risks and provides supervision to prevent avoidable accidents;

              j)   Make sure that a working call system is available in each resident's
                   room or bathroom and bathing area.


       46. The extent to which the above citations directly included failures or

deficiencies in the care, services and treatment provided to Willie Robinson, Sr. remains

to be discovered . However, all of the above cited deficiencies establish that Defendants

were on notice and aware of problems with resident care, including failures and

deficiencies in care which caused the injuries alleged herein .

      47. Defendants failed to discharge their obligations of care to Willie Robinson,

Sr. with a conscious disregard for his rights and safety. At all times mentioned herein,

Nursing Home Defendants, through their corporate officers and administrators, had

knowledge of, ratified and/or otherwise authorized all of the acts and omissions that

caused the injuries suffered by Willie Robinson, Sr., as more fully set forth below.



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 Defendants knew that this facility could not provide the minimum standard of care to the

 weak and vulnerable residents of the facility . The severity of the recurrent negligence

 inflicted upon Willie Robinson , Sr. wh ile under the care of the facility accelerated the

 deterioration of his health and physical condition and resulted in the physical and

 emotional injuries described below:

              a)     Multiple falls;

              b)     A urinary tract infection with E. coli;

              c)     An upper respiratory infection;

              d)     Thrush;

              e)     Right arm shunt infected with MRSA;

              f)     Surgical intervention for right arm shunt wound dehiscence;

              g)     Severe pain ; and

              h)     Death.


       48 .   The above-identified injuries, as well as the conduct specified below,

caused Willie Robinson , Sr. to suffer extreme pain and suffering, hospitalizations,

mental anguish, degradation, disability, disfigurement, emotional distress, and ultimately

his death.

       49. Defendants controlled the operation , planning , management and quality

control of the facility. The authority exercised over the nursing facility included, but was

not limited to, budgeting, marketing , human resources management, training, staffing,

creation and implementation of all policy and procedure manuals used by the facility,

federal and state reimbursement, quality care assessment and compliance, licensure




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 and certification, legal services, and financial, tax and accounting control through fiscal

 policies established by Defendants.

        50. Defendants operated and managed the facility so as to maximize profits by

 reducing staffing levels below that needed to provide adequate care to residents that

would comply with federal and state regulations governing skilled nursing facil ities.

Thus, Defendants intentionally and/or with reckless disregard for the consequences of

their actions caused staffing levels at their facility to be set so that the personnel on duty

at any given time could not reasonably tend to the needs of their assigned residents.

Upon information and belief, Defendants knowingly established staffing levels that

created recklessly high nurse/resident ratios and disregarded patient acuity levels as

well as the minimal time required to perform essential functions .            The acts and

omissions of Defendants were motivated by a desire to increase profitability by reducing

expenditures for needed staff, training , supervision and care to levels that would

predictably lead to severe injury. All of these acts of malfeasance directly caused injury

to Willie Robinson, Sr. and other residents of the facility and were known to Defendants.

       51 . Defendants owed a duty to Willie Robinson, Sr. to maintain and adequately

staff their facility with sufficient numbers of qualified , trained staff to meet the needs of

the residents , including Willie Robinson , Sr., and are directly liable for the failure to

exercise reasonable care in hiring, supervising , training and retaining sufficient numbers

of qualified nurses and other staff employees and caregivers during the residency of

Willie Robinson, Sr. Said failures placed the residents of the facility, including Willie

Robinson, Sr., at risk of harm, and as a result, Defendants are directly liable for injuries

suffered by Willie Robinson , Sr. as a result of these failures to exercise reasonable

care. Likewise, Defendants owed a duty to Willie Robinson , Sr. to have adequate and


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 available food, fluids , supplies and functioning equipment to meet the needs of the

 residents , including Willie Robinson, Sr., and are directly liable for the failure to exercise

 reasonable care in providing and maintaining adequate and available food , fluids ,

supplies and functioning equipment to meet the needs of the residents. Said failures

placed the residents of the facility, including Willie Robinson , Sr., at risk of harm , and as

a result, Defendants are directly liable for injuries suffered by Willie Robinson, Sr. as a

result of these failures to exercise reasonable care.

       52. Plaintiff alleges that during his residency at the facility, Willie Robinson, Sr.

was under the care, supervision and treatment of Defendants and that the injuries

complained of were proximately caused by the acts and omissions of Defendants.

       53. Defendants are vicariously liable for the acts and omissions of all persons or

entities under their control , either directly or indirectly, including employees, agents,

consultants and independent contractors, whether in-house or outside entities,

individuals, or agencies causing or contributing to the injuries of Willie Robinson, Sr.

       54. In addition to all other claims and demands for damages set forth herein,

Plaintiff is asserting claims for ordinary negligence, custodial neglect, and corporate

negligence against the Defendants herein, as each of the entities and individuals named

as Defendants herein as directly and vicariously liable for their independent acts of

negligence, for their acts of general negligence, and for their acts of general corporate

negligence.




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           CAUSES OF ACTION AGAINST NURSING HOME DEFENDANTS

                                           COUNT ONE

                                         NEGLIGENCE

       55. Plaintiff incorporates all of the allegations contained in the preceding

paragraphs as if fully set forth herein.

       56. Nursing Home Defendants owed a non-delegable duty to their residents,

including Willie Robinson, Sr., to provide adequate and appropriate custodial care and

supervision,    which     a reasonably careful     person   would    provide   under similar

circumstances.

       57. Nursing Home Defendants owed a non-delegable duty to their residents,

including Willie Robinson, Sr., to exercise reasonable care in providing care and

services in a safe and beneficial manner.

       58. Nursing Home Defendants owed a non-delegable duty to their residents,

including Willie Robinson, Sr., to hire, train and supervise employees to deliver care and

services to residents in a safe and beneficial manner.

       59. Nursing Home Defendants breached these duties by failing to exercise

reasonable care and by failing to prevent the mistreatment, abuse and neglect of Willie

Robinson, Sr. The negligence of Nursing Home Defendants includes, but is not limited

to, the following acts and omissions:

               a)       Failure to provide sufficient nursing and other staff that was
                        properly qualified and trained;

               b)       Failure to adequately, timely and appropriately educate and inform
                        the caregivers at the facility of the needs, level of assistance, and
                        prescribed care and treatment for Willie Robinson, Sr.;




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            c)   Failure to have in place adequate guidelines, policies and
                 procedures of the facility and to administer those policies through
                 enforcement of any rules , regulations , by-laws or guidelines ;

            d)   Failure to take reasonable steps to prevent, eliminate and correct
                 deficiencies and problems in resident care at the facility;

            e)   Failure to ensure that Willie Robinson, Sr. attained and maintained
                 his highest level of physical, mental, and psychosocial well-being ;

            f)   Failure to establish , publish and/or adhere to policies for nursing
                 personnel concerning the care and treatment of residents with
                 nursing, medical and psychosocial needs similar to those of Willie
                 Robinson , Sr.;

           g)    Failure to ensure that Willie Robinson, Sr. received adequate and
                 proper nutrition, fluids, supervision, and skin care;

           h)    Failure to provide and maintain an adequate and appropriate fluid
                 maintenance program for Willie Robinson, Sr. to prevent
                 dehydration and urinary tract infections;

           i)    Failure to ensure that Willie Robinson, Sr. received adequate
                 assessment of his nutritional needs to prevent malnutrition and
                 weight loss;

           j)    Failure to take necessary and reasonable custodial and hygiene
                 measures to prevent the onset and progression of skin breakdown
                 and sores during the residency;

           k)    Failure to provide care, treatment and medication in accordance
                 with physician's orders;

           I)    Failure to provide Willie Robinson, Sr. with adequate sanitary care;

           m)    Failure to provide adequate hygiene and sanitary care to prevent
                 infections;

           n)    Failure to adequately and appropriately monitor Willie Robinson , Sr.
                 and recognize significant changes in his health status, and to timely
                 notify his and his family of significant changes in his health status;




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            o)   Failure to monitor or increase the number of nursing personnel at
                 the facility to ensure that Willie Robinson, Sr. received necessary
                 supervision, timely and accurate care assessments, received
                 proper treatment and diet, received timely custodial intervention
                 due to a significant change in condition, and was protected from
                 accidental injuries by the correct use of ordered and reasonable
                 safety measures;

            p)   Failure to provide adequate superv1s1on to the nursing staff to
                 ensure that Willie Robinson, Sr. received adequate and proper
                 nutrition, fluids, therapeutic diet, sanitary care treatments to prevent
                 infection, and sufficient nursing observation and examination of the
                 responses , symptoms, and progress in the physical condition of
                 Willie Robinson, Sr.;

           q)    Failure to adequately screen, evaluate, and check references, test
                 for competence and use ordinary care in selecting nursing
                 personnel to work at the facility;

           r)    Failure to terminate employees at the facility assigned to Willie
                 Robinson, Sr. who were known to be careless, incompetent and
                 unwilling to comply with the policies and procedures of the facility
                 and the rules and regulations promulgated by the Arkansas
                 Department of Human Services and the Office of Long Term Care;

           s)    Failure to assign nursing personnel at the facility duties consistent
                 with their education and experience based on:

                 1)     Willie Robinson, Sr.'s medical history and condition , nursing
                        and rehabilitative needs;

                 2)     The characteristics of the resident population residing in the
                        area of the facility where Willie Robinson, Sr. was a resident;
                        and

                 3)    The nursing skills needed to provide care to such resident
                       population;

           t)    Failure by the members of the governing body of the facility to
                 discharge their legal and lawful obligation to ensure that the rules
                 and regulations designed to protect the health and safety of
                 residents, such as Willie Robinson, Sr., as promulgated by the
                 Arkansas Department of Human Services and the Arkansas Office
                 of Long Term Care, were consistently complied with on an ongoing
                 basis; and to ensure appropriate corrective measures were
                 implemented to correct problems concerning inadequate resident
                 care;



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               u)    Failure by members of the governing body of the facil ity to
                     discharge their legal and lawful obligation to ensure compliance
                     with the facility's resident care policies;

              v)     Failure to adopt adequate guidelines, polices, and procedures of
                     the facility for documenting, maintaining files, investigating and
                     responding to any complaint regarding the quality of resident care
                     or misconduct by employees at the facility, regardless of whether
                     such complaint derived from a resident of the facility, an employee
                     of the facility or any interested person;

              w)     Failure to document and maintain medical records on Willie
                     Robinson, Sr. in accordance with accepted professional standards
                     and practices that are complete, accurately documented, readily
                     accessible and systematically organized with respect to diagnosis,
                     treatment and assessment and establishment of appropriate care
                     plans of care and treatment;

              x)     Failure to properly in-service and orient employees to pertinent
                     patient care needs to maintain the safety of residents ;

              y)     Failure to ensure that services provided or arranged by the facility
                     were provided by qualified persons in accordance with Willie
                     Robinson, Sr.'s written plan of care and failure to ensure that the
                     physician's plan of care was implemented;

              z)     Failure to fulfill the duties set forth in 1J40, above ; and

              aa)    Failure to provide a safe environment.

        60. A reasonably careful nursing home operating under similar circumstances

would foresee that the failure to provide the ordinary care listed above would result in

devastating injuries to Willie Robinson, Sr.

        61. Nursing Home Defendants further breached their duties of care to Willie

Robinson , Sr. by violating certain laws and regulations in force in the State of Arkansas

at the time of the occurrences discussed herein including , but not limited to, the

following :




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              a)     By failing to comply with rules and regulations promulgated by the
                     Arkansas Department of Human Services , Division of Social
                     Services , Office of Long Term Care, pursuant to authority expressly
                     conferred by Act 28 of 1979 (Ark. Code Ann . § 20-10-202 , et seq.)
                     and published in the Long Term Care (LTC) Provider Manual on
                     April 8, 1984, and the supplements thereto , and federal minimum
                     standards applicable to the facility;

              b)     By failing to provide the necessary care and services to attain or
                     maintain the highest practicable, physical, mental and psychosocial
                     well-being of Willie Robinson , Sr., in accordance with the
                     comprehensive assessment and plan of care;

              c)     By failing to ensure a nursing care plan based on Willie Robinson ,
                     Sr.'s problems and needs was established that contained
                     measurable objectives and timetables to meet his medical , nursing,
                     and mental and psychosocial needs as identified in his
                     comprehensive assessment;

              d)    By failing to review and revise Willie Robinson , Sr.'s nursing care
                    plan when his needs changed ;

              e)    By failing to treat Willie Robinson , Sr. courteously, fairly and with
                    the fullest measure of dignity;

             f)     By failing to provide sufficient nursing staff and nursing personnel to
                    ensure that Willie Robinson, Sr. attained and maintained his
                    highest practicable physical , mental and psychosocial well-being ;

             g)     By failing to notify the family and physician of Willie Robinson , Sr.
                    of a need to alter his treatment significantly.

             h)     By failing to provide a safe environment; and

             i)     By failing to administer the facility in a manner that enabled it to use
                    its resources effectively and efficiently to attain or maintain the
                    highest practicable physical, mental and psychosocial well-being of
                    each resident.

      62 . A reasonably prudent nursing home, operating under the same or similar

conditions, would not have failed to provide the care listed above. Each of the foregoing

acts of negligence on the part of Nursing Home Defendants was a proximate cause of

Willie Robinson , Sr.'s injuries as more specifically described herein, which were all

foreseeable and caused his ultimately death . Willie Robinson , Sr. suffered personal


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 injuries, including extreme pain and suffering, hospitalizations, mental anguish,

 degradation, disability, disfigurement, emotional distress, and loss of personal dignity,

 which caused his family to suffer more than normal grief upon his death. Plaintiff prays

 for compensatory damages against Defendants for the wrongful death of Willie

 Robinson, Sr., including the grief suffered as well as the expenses of funeral and other

related expenses.

       63. As a direct and proximate result of such grossly negligent, willful, wanton,

reckless , malicious and/or intentional conduct, Plaintiff asserts a claim for judgment for

all compensatory and punitive damages against Nursing Home Defendants including,

but not limited to, medical expenses, hospitalizations, extreme pain and suffering,

mental anguish, degradation, disability, disfigurement, emotional distress, and loss of

personal dignity, loss of life and related expenses, in an amount exceeding that required

by this Court and by federal court jurisdiction in diversity of citizenship cases, to be

determined by the jury, plus costs and all other relief to which Plaintiff is entitled by law.

                                       COUNT TWO

             NEGLIGENCE AS DEFINED BY THE ARKANSAS MEDICAL
            MALPRACTICE ACT, ARK. CODE ANN.§§ 16-114-201 et seq.


       64. Plaintiff re-alleges and incorporates all of the allegations contained in the

preceding paragraphs as if fully set forth herein.

       65 . Nursing Home Defendants are either medical care providers as defined by

Ark. Code Ann . § 16-114-201 (2) and/or are liable for medical care providers as defined

by Ark. Code Ann . § 16-114-201(2).

      66 . Nursing Home Defendants owed a non-delegable duty to _residents, including

Willie Robinson, Sr., to use reasonable care in treating their residents with the degree of


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 skill and learning ordinarily possessed and used by nursing home facilities and affiliated

 health care providers in the same or similar locality.

       67. Nursing Home Defendants owed a non-delegable duty to assist all residents ,

including Willie Robinson, Sr., in attaining and maintaining the highest level of physical ,

mental and psychosocial well-being .

       68. Nursing Home Defendants failed to meet the applicable standards of care

and violated their duty of care to Willie Robinson , Sr. through mistreatment, abuse and

neglect.   Nursing Home Defendants failed to adequately supervise nurses and aides

and failed to hire sufficient nurses and aides. As such, the nurses and aides were

unable to provide Willie Robinson, Sr. the requisite care, and as a result, acts of

professional negligence occurred as set forth in this paragraph .              The medical

negligence of Nursing Home Defendants includes, but is not limited to, the following

acts and omissions:

              a)      Failure to ensure that Willie Robinson , Sr. received the following :

                      1)    timely and accurate care assessments;

                      2)    prescribed treatment, medication and diet;

                      3)    necessary supervision ; and

                      4)    timely nursing and medical intervention due to a significant
                            change in cond ition;

              b)      Failure to provide sufficient numbers of qualified personnel,
                      including nurses, licensed practical nurses, certified nurse
                      assistants and medication aides to meet the total needs of Willie
                      Robinson, Sr. throughout his residency;

              c)      Failure to provide, implement, and ensure adequate nursing care
                      plan revisions and modifications as the needs of Willie Robinson,
                      Sr. changed ;




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               d)    Failure to provide, implement and ensure that an adequate nursing
                     care plan for Willie Robinson, Sr. was followed by nursing
                     personnel;

              e)     Failure to provide care, treatment, and medication in accordance
                     with physician's orders;

              f)     Failure to provide adequate care and treatment to Willie Robinson ,
                     Sr. in order to prevent infections;

              g)    Failure to ensure that Willie Robinson, Sr. was assessed in order to
                    receive adequate and proper nutrition, fluids, supervision,
                    therapeutic diet, and skin care;

              h)    Failure to assess the risk and prevent, treat or heal the
                    development or worsening of skin breakdown;

              i)    Failure to ensure that Willie Robinson, Sr. received sufficient
                    amounts of fluids to prevent dehydration throughout his residency
                    at the facility;

             j)     Failure to ensure that Willie Robinson, Sr. received adequate
                    nutrition to prevent malnutrition and weight loss;

             k)     Failure to provide proper treatment, assessment and monitoring of
                    Willie Robinson, Sr. in order to identify signs and symptoms of pain,
                    and to appropriately treat and prevent his pain;

             I)     Failure to adequately and appropriately monitor Willie Robinson, Sr.
                    and recognize significant changes in his health status, and to timely
                    notify his physician of significant changes in his health status; and,

             m)     Failure to ensure that Willie Robinson, Sr. was not deprived of the
                    services necessary to maintain his health and welfare.

      69 . A reasonably prudent nursing home, operating under the same or similar

conditions, would not have failed to provide the care listed in the above Complaint.

Each of the foregoing acts of negligence on the part of Nursing Home Defendants was a

proximate cause of Willie Robinson, Sr.'s injuries, which were all foreseeable. Willie

Robinson, Sr. suffered personal injury, including extreme pain and suffering, mental

anguish, disfigurement, disability, degradation, emotional distress, and loss of personal



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 dignity which caused his family to suffer more than normal grief upon his death . Plaintiff

 prays for compensatory damages against Defendants for the wrongful death of Willie

 Robinson , Sr., including the grief suffered as well as the expenses of funeral and other

 related costs.

        70. Nursing Home Defendants were negligent and reckless in breaching the

duties owed to Willie Robinson , Sr. under the Medical Malpractice Act for the reasons

specifically enumerated in this Complaint.

       71. As a direct and proximate result of such grossly negligent, willful , wanton,

reckless, malicious, and/or intentional conduct, Willie Robinson , Sr. suffered injuries as

described herein.      Plaintiff asserts a claim for judgment for all compensatory and

punitive damages against Nursing Home Defendants, including, but not limited to,

medical expenses, extreme pain and suffering , mental anguish , disfigurement, disability,

degradation, loss of personal dignity, and emotional distress, loss of life and related

expenses, in an amount to be determined by the jury and exceeding that required by

this Court and by federal court jurisdiction in diversity of citizenship cases , plus costs

and all other relief to which Plaintiff is entitled by law.

                                       COUNT THREE

  LIABILITY OF THE LICENSEES OF Pine Hills Health and Rehabilitation Center
   FOR VIOLATIONS OF THE LONG-TERM CARE FACILITY RESIDENTS ACT,
                   ARK. CODE ANN.§§ 20-10-1201 et seq.


       72. Plaintiff incorporates all of the allegations contained      1n   the preceding

paragraphs as if fully set forth herein.

       73. Among the Nursing Home Defendants, the licensees of Pine Hills Health and

Rehabilitation Center had statutorily-mandated duties to provide Willie Robinson, Sr. his



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 basic, nursing home resident's rights as set forth in the Protection of Long-Term Care

 Facility Residents Act, Ark. Code Ann . §§ 20-10-1201 et seq.

       74. The Protection of Long-Term Care Facility Residents Act mandates the

 development, establishment, and enforcement of basic standards for the health, care,

 and treatment of persons in long-term care facilities ; and mandates that the

 maintenance and operation of long-term care facilities will ensure safe, adequate, and

appropriate care, treatment, and health of residents , like Willie Robinson , Sr.

       75. The Protection of Long-Term Care Facility Residents Act mandates every

licensed facility shall comply with all applicable standards and rules of the Office of

Long-Term Care of the Arkansas Department of Human Services.

       76. The statutory duties imposed upon the facility licensees to prevent

deprivation or infringement of the resident's rights of Willie Robinson, Sr. were

non-delegable. Thus, among the Nursing Home Defendants, the licensees are directly

liable to Plaintiff for any deprivation and infringement of Willie Robinson, Sr.'s resident's

rights occurring as a result of their own action or inaction , and as a result of the action

or inaction of any other person or entity, including employees, agents, consultants,

independent contractors and affiliated entities , whether in-house or outside entities,

individuals, agencies or pools, as well as any deprivation and infringement of Willie

Robinson, Sr.'s resident's rights caused by Nursing Home Defendants' policies,

procedures, whether written or unwritten, and common practices.

      77. Any person or entity acting as an employee or agent of Pine Hills Health and

Rehabilitation Center assumed and undertook to perform the non-delegable and

statutorily-mandated duties of the licensees to provide Willie Robinson , Sr. nursing




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home resident's rights as set forth in Ark. Code Ann . §§ 20-10-1201 et seq. in the

operation and management of Pine Hills Health and Rehabilitation Center.

       78 . Notwithstanding the responsibility of the licensees to protect and provide for

these statutorily-mandated, nursing home resident's rights, Nursing Home Defendants

infringed upon, and Willie Robinson, Sr. was deprived of, rights mandated by Ark. Code

Ann.§§ 20-10-1201 et seq. including, but not limited to, the following:

             a)     The right to receive adequate and appropriate health care and
                    protective and support services, including social services, mental
                    health services, if available, planned recreational activities, and
                    therapeutic and rehabilitative services consistent with the resident
                    care plan for Willie Robinson , Sr., with established and recognized
                    practice standards within the community, and with rules as adopted
                    by federal and state agencies, such rights include:

                    1)     The right to receive adequate and appropriate custodial
                           service, defined as care for Willie Robinson , Sr. which
                           entailed observation of diet and sleeping habits and
                           maintenance of a watchfulness over his general health,
                           safety, and well-being; and

                    2)     The right to receive adequate and appropriate residential
                           care plans, defined as a written plan developed, maintained ,
                           and reviewed not less than quarterly by a registered nurse,
                           with participation from other facility staff and Willie Robinson ,
                           Sr. or his designee or legal representative, which included a
                           comprehensive assessment of the needs of Willie Robinson,
                           Sr., a listing of services provided within or outside the facility
                           to meet those needs, and an explanation of service goals;

             b)     The right to regular, consultative, and emergency services of
                    physicians;

             c)     The right to appropriate observation , assessment, nursing
                    diagnosis, planning, intervention, and evaluation of care by nursing
                    staff;

             d)     The right to access to dental and other health-related services,
                    recreational services, rehabilitative services, and social work
                    services appropriate to the needs and cond itions of Willie
                    Robinson, Sr., and not directly furnished by the licensees;



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              e)    The right to a wholesome and nourishing diet sufficient to meet
                    generally accepted standards of proper nutrition, guided by
                    standards recommended by nationally recognized professional
                    groups and associations with knowledge of dietetics, and such
                    therapeutic diets as may be prescribed by attending physicians;

              f)    The right to a facility with its premises and equipment, and conduct
                    of its operations maintained in a safe and sanitary manner;

              g)    The right to be free from mental and physical abuse, and from
                    chemical restraints;

              h)   The right of Willie Robinson, Sr. to have privacy of his body in
                   treatment and in caring for his personal needs;

             i)    The right to prompt efforts by the facility to resolve resident
                   grievances, including grievances with respect to resident care and
                   the behavior of other residents;

             j)    The right to participate in social, religious, and community activities;

             k)    The right to the obligation of the facility to keep full records of the
                   admissions and discharges of Willie Robinson, Sr. , and his medical
                   and general health status, including:

                   1)     medical records;

                   2)     personal and social history;

                   3)     individual resident care plans, including, but not limited to,
                          prescribed services, service frequency and duration, and
                          service goals; and

                   4)     making it a criminal offense to fraudulently alter, deface, or
                          falsify any medical or other long-term care facility record, or
                          cause or procure any of these offenses to be committed; and

             I)    The right to be treated courteously, fairly, and with the fullest
                   measure of dignity.

      79. The aforementioned infringement and deprivation of the rights of Willie

Robinson, Sr. were the result of Nursing Home Defendants failing to do that which a

reasonably careful person would do under similar circumstances.




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        80. As a result of the aforementioned violations, the Plaintiff, pursuant to Ark.

 Code Ann . § 20-10-1209(a)(4) , is entitled to recover actual damages against the

 licensees of the facility. The Plaintiff asserts a claim for judgment for actual damages,

 including, but not limited to, medical expenses, hospitalizations, extreme pain and

 suffering, mental anguish , degradation , disability, disfigurement, emotional distress, and

 loss of personal dignity, loss of life and related expenses, in an amount to be

 determined by the jury and exceeding that required for this Court and federal court

jurisdiction in diversity of citizenship cases, plus costs and all other relief to whkh

Plaintiff is entitled by law.

       81. The infringement or deprivation of the resident's rights of Willie Robinson, Sr.

by Defendants was willful, wanton, gross , flagrant, reckless, or consciously indifferent.

Pursuant to Ark. Code Ann . § 20-10-1209(c) , Plaintiff is entitled to recover punitive

damages against the licensees of the facility.

           CAUSES OF ACTION AGAINST ADMINISTRATOR DEFENDANT

                                FACTUAL ALLEGATIONS

       82. Plaintiff re-alleges and incorporates the allegations contained in the

preceding paragraphs as if fully set forth herein.

       83 . Upon information and belief, Michael G. Hunter was an Administrator at Pine

Hills Health and Rehabilitation Center during the residency of Willie Robinson, Sr.

       84. As administrator of the facility, Michael G. Hunter was responsible for

ensuring that the facility complied with all state and federal regulations related to

nursing facilities. Administrator Defendant had a duty to administrate the facility in a

manner that enabled it to use resources effectively and efficiently to attain or maintain

the highest practicable physical , mental and psychological well-being of each resident.


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 The nursing facility, under the leadership of its administrator, is also required to operate

 and provide services in compliance with all applicable federal, state and local laws,

 regulations and codes and with accepted professional standards and principles that

apply to professionals providing services in such facilities . Administrator Defendant

breached his duties of care to Willie Robinson , Sr.

                                           COUNT ONE

                                       NEGLIGENCE

       85. Plaintiff re-alleges and incorporates the allegations in the preceding

paragraphs as if fully set forth herein.

       86. Administrator Defendant owed duties to the residents, including Willie

Robinson, Sr., to provide services as a reasonable administrator within accepted

standards for a nursing home administrator.

       87. Administrator Defendant breached the duties owed to the residents of the

facility, including Willie Robinson, Sr., by failing to supervise nurses and nurses' aides

and failing to hire sufficient nurses and nurses' aides, and as such, the nurses and

nurses' aides were unable to provide Willie Robinson, Sr. the care he required. The

negligence of the Administrator Defendant includes, but is not limited to, the following

acts and omissions:

             a)       Failure to adequately assess, evaluate, and supervise nursing
                      personnel to ensure that Willie Robinson, Sr. received appropriate
                      nurs1ng care;

             b)       Failure to adequately screen, evaluate, and test for competence in
                      selecting personnel to work at the facility;

             c)       Failure to ensure that Willie Robinson, Sr. attained and maintained
                      his highest level of physical, mental, and psychosocial well-being;

             d)       Failure to ensure that Willie Robinson, Sr. was assessed monitored


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                  and treated for the signs and symptoms of infections;

            e)   Failure to ensure that staff provided Willie Robinson, Sr. with
                 sufficient amounts of fluids to prevent dehydration;

            f)   Failure to ensure that Willie Robinson , Sr. received adequate
                 nutrition to prevent malnutrition and weight loss;

            g)   Failure to ensure that Willie Robinson, Sr. received care , treatment,
                 and medication as prescribed or in accordance with physician's
                 orders ;

           h)    Failure to ensure that Willie Robinson, Sr. was treated with the
                 dignity and respect that all nursing home residents are entitled to
                 receive ;

           i)    Failure to provide a safe environment for Willie Robinson , Sr.;

           j)    Failure to take reasonable steps to prevent, eliminate, and correct
                 deficiencies and problems in resident care at the facility;

           k)    Failure to discipline or terminate employees at the facility assigned
                 to Willie Robinson , Sr. that were known to be careless,
                 incompetent, and unwilling to comply with the policy and
                 procedures of the facility and the rules and regulations promulgated
                 by the Office of Long Term Care;

           I)    Failure to adopt adequate guidelines, policies, and procedures for:

                 1)     investigating the relevant facts, underlying deficiencies, or
                        licensure violations or penalties found to exist at the facility
                        by the Office of Long Term Care or any other authority;

                 2)    determining the cause of any such deficiencies, violations,
                       or penalties ;

                 3)    establishing the method and means for correcting
                       deficiencies or licensure violations or penalties found to exist
                       at the facility;

                 4)    determining whether the facility had sufficient numbers of
                       personnel to meet the total needs of Willie Robinson, Sr. ;
                       and




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                  5)    documenting,       maintaining       files,   investigating,   and
                        responding to any complaint regarding the quality of resident
                        care, or misconduct by employees at the facility, regardless
                        of whether such complaint derived from a resident of said
                        facil ity, an employee of the facility, or any interested person;

            m)    Failure to ensure that Willie Robinson, Sr. was provided with basic
                  and necessary care and supervision;

            n)   Failure to adequately hire, train, supervise and retain a sufficient
                 amount of competent and qualified registered nurses, licensed
                 vocational nurses, nurse assistants and other personnel in said
                 facility to assure that Willie Robinson, Sr. received care, treatment,
                 and services in accordance with State and Federal law;

            o)   Failure to assign nursing personnel at the facility duties consistent
                 with their education and experience based on:

                 1)     Willie Robinson, Sr.'s medical history and condition, and his
                        nursing and rehabilitative needs;

                 2)     The characteristics of the resident population residing in the
                        area of the facility where Willie Robinson, Sr. was a resident;
                        and

                 3)     Nursing skills needed to provide care to such resident
                        population;

           p)    Failure to provide sufficient numbers of qualified personnel, to
                 ensure that Willie Robinson, Sr. was provided with a safe
                 environment, received timely and accurate care assessments,
                 received prescribed treatment, medication and diet, and was
                 protected from abuse, mistreatment and accidental injuries by the
                 correct use of reasonable safety measures;

           q)    Failure to properly in-service and orient employees to pertinent
                 resident care needs to maintain the safety of residents;

           r)    Failure to protect Willie Robinson, Sr. from abuse and neglect;

           s)    Failure to provide adequate supervision to the nursing staff to
                 ensure that Willie Robinson, Sr. received adequate and proper
                 care;

           t)    Failure to provide nursing personnel sufficient in number to provide
                 proper treatment and assessment to protect the skin integrity of
                 residents, including Willie Robinson, Sr.;


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                u)        Failure to document and maintain all records on Willie Robinson ,
                         Sr. in accordance with accepted professional standards and
                         practice that were complete, accurately documented , readily
                         accessible, and systematically organized with respect to his
                         diagnosis, treatment, and appropriate care plans of care and
                         treatment;

                v)       Failure to administer the facility in a manner that enabled it to use
                         its resources effectively and efficiently to attain or maintain the
                         highest practicable physical, mental and psychosocial well-being of
                         Willie Robinson, Sr.; and

                w)      Failure to comply with rules and regulations promulgated by the
                        Arkansas Department of Human Services, Division of Social
                        Services, Office of Long Term Care, pursuant to authority expressly
                        conferred by Act 28 of 1979 (Ark. Code Ann . § 20-10-202, et seq.)
                        and published in the Long Term Care (LTC) Provider Manual on
                        April 8, 1984, and the supplements thereto , and federal minimum
                        standards imposed by the United States Department of Health and
                        Human Services.

        88. A reasonably careful nursing home administrator would have foreseen that

the failure to provide the ordinary care listed above would result in devastating injuries

to Willie Robinson , Sr.

        89. As a direct and proximate result of Administrator Defendant's negligent

conduct, Plaintiff asserts a claim for judgment for all compensatory damages against

Administrator        Defendant   including,   but     not   limited   to,   medical   expenses,

hospitalizations, extreme pain and suffering , mental anguish , degradation, disability,

disfigurement, emotional distress, and loss of personal dignity, loss of life and related

expenses, in an amount exceeding that required by federal court jurisdiction in diversity

of citizenship cases to be determined by the jury, plus costs and all other relief to which

Plaintiff is entitled by law.




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                      CAUSES OF ACTION AGAINST ALL DEFENDANTS

                                             DAMAGES

        90. Plaintiff re-alleges and incorporates the allegations in the preceding

 paragraphs as if fully set forth herein.

        91 . As a direct and proximate result of the negligence of Defendants as set out

 above, Willie Robinson, Sr. suffered injuries including, but not limited to, those listed

 herein. As a result, Willie Robinson, Sr. incurred significant medical expenses, suffered

 extreme pain and suffering, hospitalizations, emotional d1stress, degradation, mental

 anguish, disfigurement, disability, and unnecessary loss of personal dignity, loss of life

 and related expenses.

        92. Plaintiff seeks punitive and compensatory damages against Defendants in

an amount to be determined by the jury, plus costs and all other relief to which Plaintiff

is entitled.

                                   DEMAND FOR JURY TRIAL

        93 . Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Eddie B. Robinson, as Administrator for The Estate of

Willie Robinson , Sr. , deceased, prays for judgment against Defendants as follows :

         1. For damages in an amount adequate to compensate Plaintiff for the injuries

               and damages sustained.

       2.      For all general and special damages caused by the alleged conduct of

Defendants.

       3.      For costs of litigating this case, including attorney's fees.




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        4.   For punitive damages sufficient to punish Defendants for their egregious and

 malicious misconduct in reckless disregard and conscious indifference to the

 consequences to Willie Robinson , Sr., and to deter Defendants and others from

 repeating such atrocities.

       5.    For all other relief to which Plaintiff is entitled .



                                               Respectfully submitted,

                                               Eddie B. Robinson, as Administrator for The
                                               Estate of Willie Robinson , Sr., deceased,



                                       By:
                                                        . Mu ray, Ill (AR2013033)
                                                       nd cHugh , P.A.
                                               1601 C       Street, Suite 1300
                                               Philadelphia, PA 19102
                                               Telephone: (215) 972-0811
                                               Facsimile: (215) 972-0580

                                               Attorneys for Plaintiff




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               IN THE CIRCUIT COURT OF          OUACI-Irf~~~V~tl~~~RKANSAS
                                          PROBATE   DT~~~~c.
     IN TI-IE MATTER OF TI-lE ESTATE OF
     WILLIE ROBINSON , SR, DECEASED                                  No. PR-2011-      \'51
                                 LETTERS OF ADMINISTRATION

     BE IT KNOWN:

            That Eddie B . Robinson whose address is 2316 Pebble Beach Drive, Kokomo,

     Indiana 46902, having been duly appointed administrator of the estate of Willie

     Robinson, Sr., deceased, who died on October 7, 2011 , and having qualified as such

     administrator, is hereby authorized to act as such administrator, for and on behalf of the

     estate and to take possession of the property thereof as authorized by law.

           ISSUED the     t   l:fu day   of~, 2011
                                                        BRITT WILLIFORD, CLERK



                                                    By•~~                                     ,D.C.




                                          PLAINTIFF'S
                                            EXHIBIT
                                             A
 .      Case 1:14-cv-01051-SOH Document 1-1                  Filed 09/26/14 Page 47 of 341 PageID #: 64
·>



                          IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                             CIVIL DIVISION

                                                      SUMMONS
                                 Case No:             c~ d-tvJ- .;J-otJ -~
     PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
     vs.

     DEFENDANT(S): EOR-ARK, LLC ; VAJ LLC ; Senior Living Communities of Arkansas, LLC; SLC Operations
     Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC ; Pine Hills Health and Rehabilitation, LLC, d/b/a
     Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
     Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition , LLC; CSCV Holdings, LLC;
     Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
     ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/k!a SLC Professionals, LLC; Senior Vantage Point, LLC; 900
     Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
     Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


     PLAINTIFF'S ATTORNEYS:                                    TO DEFENDANT:
     William P. Murray, Ill, Esquire                           Senior Living Communities of Arkansas, LLC
     Wilkes & McHugh , PA
     1601 Cherry Street, Suite 1300
     Philadelphia, PA 19102
     (800) 255-5070

     THE STATE OF ARKANSAS TO DEFENDANT(S) :                   Senior Living Communities of Arkansas, LLC

                                                        NOTICE

     You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
     Complaint.

 The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
 for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
 Your pleading or answer must meet the following requirements:

 A.          It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
 B.          It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
             Summons.

 If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
 be filed for you within the time allowed. Responses should be served on counsel for Plaintiffs.

 Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
 Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
 answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.




 Betty Wilson                                                  BETTY WILSON , Clerk
 Ouachita County Circuit Clerk
 Courthouse
 145 Jefferson Street SW
 Camden, AR 71701



 No. _______________                         This Summons is for: Senior Living Communities of Arkansas, LLC
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                                            PROOF OF SERVICE

        I personally delivered the summons and complaint to the individual at - - - - - - - - - - -
    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date]; or


        I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
    - - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


    0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
    - - - - - - - - - - - - - - - - [address] with                                                       [name],
    a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _ [date]; or


     I delivered the summons and complaint to ______________ [name of individual], an
    agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _ [date]; or


    0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
    complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
    the attached signed return receipt.


    0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
    to the defendant together with two copies of a notice and acknowledgment and received the attached
    notic~   and acknowledgment form within twenty days after the date of mailing.


    o Other [ s p e c i f y ] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

    0 I was unable to execute service because:
                                                 ----------------------


    My fee is$ _ _ _ _ _ _ _ _ _ _ __




                                                         2
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 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                            [Signature of server]



                                            [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: _ _ _ _ _ _ _ _ _ __                  By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                            [Signature of server]



                                            [Printed name]

Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




Phone:


Subscribed and sworn to before me this date: - - - - - - - - - - - - -



                                                    Notary Public

My commission expires: - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
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                     IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                        CIVIL DIVISION

                                                     SUMMONS
                            Case No:               c:::?/~ d:J/3- ~t?-~
PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson , Sr., deceased
vs.

DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
Holdings, LLC; SLC Operations, LLC ; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation ; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding , LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
ADDIT, LLC ; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition , LLC; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                        TO DEFENDANT:
William P. Murray, Ill, Esquire                               VAJ LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S) :                      VAJ LLC

                                                      NOTICE

You are hereby notified that    a   lawsuit has been filed against you; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days· from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.




Betty Wilson                                                  BETTY WILSON, Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701



No. _______________                         This Summons is for: VAJ LLC
     Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 51 of 341 PageID #: 68




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date] ; or


    I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there , on _ _ _ _ _ _ _ _ _ _ _ [date] ; or


 I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _ _[date] ; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailit:Jg.


0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




My fee is$ _ _ _ _ _ _ _ _ _ __




                                                     2
    Case 1:14-cv-01051-SOH Document 1-1             Filed 09/26/14 Page 52 of 341 PageID #: 69




 To be completed if service is by a sheriff or deputy sheriff:


 Date: - - - - - - - - - - -                 SHERIFF OF _ __ __              COUNTY, ARKANSAS


                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ____
                                             [Signature of server]



                                             [Printed name, title , and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: _ _ _ _ _ _ _ _ _ __                   By: _ _ _ _ __ __ _ _ _ _ _ __ _ _
                                             [Signature of server]



                                            [Printed name]

Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




Phone:


Subscribed and sworn to before me this date: _ _ _ _ _ _ _ _ _ _ _ __



                                                    Notary Public

My commission expires: - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
     Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 53 of 341 PageID #: 70


                     IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                        CIVIL DIVISION


                                                  SUMMONS

                            CaseNo:      --~~~~~~~~~t2~Y~3~~~~~~k2~--=h~-
PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson , Sr., deceased
vs.

DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding , LLC ; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
William P. Murray, Ill , Esquire                           EOR-ARK, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S) :                   EOR-ARK, LLC

                                                   NOTICE

You are hereby notified that a lawsuit has been filed against you; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:                                                     ·

A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.




Betty Wilson
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701



No. _______________                     This Summons is for: EOR-ARK, LLC
    Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 54 of 341 PageID #: 71




                                        PROOF OF SERVICE

  I personally delivered the summons and complaint to the individual a t - - - - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date]; or


 I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


D I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there , on _ _ _ _ _ _ _ _ _ _ _ [date]; or


 I delivered the summons and complaint to ______________[name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _,[date]; or


D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested , restricted delivery, as shown by
the attached signed return receipt.


D I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing.


D Other [ s p e c i f y ] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


D I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




My fee is$ _ _ _ _ _ _ _ _ _ _ __




                                                     2
    Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 55 of 341 PageID #: 72




 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _~--~-------------
                                             [Signature of server]



                                             [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: _ _ _ _ _ _ _ _ _ __                   By: _______________________________
                                             [Signature of server]



                                             [Printed name]

Address:-----------------



Phone:


Subscribed and sworn to before me this date: - - - - - - - - - - - - -



                                                    Notary Public

My commission expires: - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
    Case 1:14-cv-01051-SOH Document 1-1                  Filed 09/26/14 Page 56 of 341 PageID #: 73



                                  WILKES & McHUGH, P.A.
                                             AITORNEYS AT LAW
THREE PARKWAY
                                                                                                PHONE: (215) 972-0811
1601 CHERRY STREET
SUITE 1300                                                                                         FAX: (215) 972-0580
                                                                                             TOLL FREE: (800) 255-5070
PHILADELPHIA, PA 19102
                                                October 1, 2013


     ~A    FEDERAL EXPRESS
     Betty Wilson , Clerk
     Ouachita County Circuit Court
     Courthouse
     145 Jefferson Street SW
     Camden, Arkansas 71701

     Re:     Eddie B. Robinson , as Administrator for The Estate of Willie Robinson , Sr., deceased vs .
             EOR-ARK, LLC; VAJ LLC; Senior Living Commun ities of Arkansas, LLC; SLC
             Operations Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills
             Health and Rehabilitation , LLC, d/b/a Pine Hills Health and Rehabilitation ; SLC
             Operations Master Tenant, LLC; SLC Properties, LLC ; SLC Property Holdings, LLC;
             SLC Property Investors, LLC; Arkansas Nursing Home Acquisition , LLC; CSCV
             Holdings, LLC; Capital Funding Group, Inc. ; Capital Funding , LLC; Capital Finance, LLC;
             Capital SeniorCare Ventures , LLC; ADD IT, LLC ; SLC Professionals of Arkansas, LLC,
             n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900 Magnolia Road SW, LLC;
             Quality Review, LLC; Arkansas SNF Operations Acqu isition , LLC; SLC Professionals
             Holdings, LLC; SLC Administrative Services of Arkansas , LLC; John Dwyer; and Michael
             G. Hunter, Administrator
             Ouachita County Circuit Court No. - - - - - - -- - - -

     Dear Ms. Wilson :

             Enclosed for filing and issuing please find :

            1.      Civil Cover Sheet;
            2.      Summonses for first three Defendants; and
            3.      Complaint.

           Also enclosed is a check in the amount of $165 .00 wh ich represents your filing fee and 3
    summonses. Please return the issued summonses and file-marked copies of the Complaint in
    the return Federal Express envelope provided for your convenience. We will have the
    Defendants served by a private process server. The summonses for the remaining defendants
    and your $2.50 per defendant will be sent under separate cover.

           Your assistance is appreciated. Please do not hesitate to contact my assistant, Connie
    Gartside, should you need additional information .

                                                    Sincerely,




    WPM/cbg
    Enclosures
        Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 57 of 341 PageID #: 74

                       IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                          CIVIL DIVISION


                                                   SUMMONS
                              Case No:         C, \J   - 1.-o 1? - 2-   o'D - (o

 PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
 VS .


DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas , LLC ; SLC Operations
Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation , LLC, d/b/a
Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition , LLC ; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                      TO DEFENDANT:
William P. Murray, Ill, Esquire                             SLC Operations, LLC
Wilkes & McHugh , P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S):                      SLC Operations, LLC

                                                       NOTICE

You are hereby notified that a lawsuit has been filed against you; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements :

A         It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.        It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
          Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.




Betty Wilson
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701                                                                                       Deputy Clerk



No. _______________                       This Summons is for: SLC Operations, LLC
    Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 58 of 341 PageID #: 75




                                        PROOF OF SERVICE

 I personally delivered the summons and complaint to the individual at - - - - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ _ [date]; or


    I left the summons and complaint in the proximity of the individual by _ _ _ _ _ _ _ _ _ __
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address) with                                                       [name],
a person at least 14 years of age who resides there , on _ _ _ _ _ _ _ _ _ _ _ [date] ; or


 I delivered the summons and complaint to ______________[name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _ _ [date]; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested , restricted delivery, as shown by
the attached signed return receipt.


0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing .


0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




My fee is$ _ _ _ _ _ _ _ _ _ _ __




                                                     2
   Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 59 of 341 PageID #: 76




 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             [Signature of server]



                                             [Printed name, title , and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: _ _ _ _ _ _ _ _ _ __                   By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                            [Signature of server]



                                            [Printed name]
Address : _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___




Phone:


Subscribed and sworn to before me this date:
                                               -------------

                                                    Notary Public

My commission expires: - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
     Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 60 of 341 PageID #: 77

                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION

                                                   SUMMONS
                            Case No:        C-\J   -l-01~--- 2.00-(o

 PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
 vs.

DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
Holdings, LLC ; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition , LLC; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition , LLC ; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC ; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
William P. Murray, Ill, Esquire                            SLC Operations Holdings, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT{S) :                   SLC Operations Holdings, LLC

                                                    NOTICE

You are hereby notified that a lawsuit has been filed against you; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.




                                        This Summons is for: SLC Operations Holdings, LLC
     Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 61 of 341 PageID #: 78




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual a t - - - - - - - - - --
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ _ [date]; or


    I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
                                                 [address] with                                      [name] ,
a person at least 14 years of age who resides there , on _ _ _ _ _ _ _ _ _ _ _[date]; or


 I delivered the summons and complaint to _ __ _ _ _ _ _ _ _ _ _ _ [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _ _ [date] ; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested , restricted delivery, as shown by
the attached signed return receipt.


0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing.


0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -



My fee is$ _ _ _ _ _ _ _ _ _ _ __




                                                     2
   Case 1:14-cv-01051-SOH Document 1-1               Filed 09/26/14 Page 62 of 341 PageID #: 79




 To be completed if service is by a sheriff or deputy sheriff:


 Date: -- - - - - - - - - -                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: ___~----~---------------------
                                             [Signature of server]



                                             [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: _-_ _ _ _ _ _ _ _ __                   By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             [Signature of server]



                                             [Printed name]

Address : - - - - - - - - - - - - - - - - -



Phone:


Subscribed and sworn to before me this date: - - - - - - - - - - - - -



                                                    Notary Public

My commission expires: _ _ _ _ _ _ _ _ _ _ _ __




Additional information regarding service or attempted service:




                                                    3
     Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 63 of 341 PageID #: 80
                                  \
                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION

                                                  SUMMONS
                            Case No:          C. \} - 2.. o I~   - 2   oo- ~

 PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
 vs.

DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC ; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
William P. Murray, Ill, Esquire                            Pine Hills Holdings, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S) : Pine Hills Holdings, LLC


                                                   NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.




Betty Wilson
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701



No. _______________
     Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 64 of 341 PageID #: 81




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at - - - - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date]; or


    I left the summons and complaint in the proximity of the individual by _ _ _ _ _ _ _ _ _ __
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _ [date]; or


 I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _ [date] ; or


o I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing .


0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


o I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -


My fee i s $ - - - - - - - - - - - -




                                                     2
   Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 65 of 341 PageID #: 82




 To be completed if service is by a sheriff or deputy sheriff:


 Date: - - - - - - - - - - -                 SHERIFF OF _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             [Signature of server]



                                            [Printed name, title, and badge number)


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date:                                       By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        -----------                         [Signature of server]



                                            [Printed name]

Address:
           ------------------

Phone:


Subscribed and sworn to before me this date: _ _ _ _ _ _ _ _ _ _ _ __



                                                    Notary Public

My commission expires: - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
     Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 66 of 341 PageID #: 83
                                                                               ~
                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION

                                                  SUMMONS
                            Case No:            C..\J   -1..-ot~~L-oo-(o
                                         ---------------------------------
PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
vs.
DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC ; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation ; SLC Operations Master Tenant, LLC ; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition , LLC; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
ADDIT, LLC ; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                       TO DEFENDANT:
William P. Murray, Ill, Esquire                              Pine Hills Health and Rehabilitation, LLC, d/b/a Pine Hills
Wilkes & McHugh, P.A.                                        Health and Rehabilitation
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S): Pine Hills Health and Rehabilitation , LLC, d/b/a Pine Hills
                                       Health and Rehabilitation

                                                   NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

WITNESS my hand and        se~_l   of the court this date:     0 3 LDW~            .2.o l 3
Betty Wilson                                                 BETTY WILSON, Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701                                             By: ~~ -                                    Deputy Clerk



No. _______________
     Case 1:14-cv-01051-SOH Document 1-1             Filed 09/26/14 Page 67 of 341 PageID #: 84




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,[place] on _ _ _ _ _ _ _ _,[date]; or


    I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _ [date]; or


 I delivered the summons and complaint to ______________ [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _ _[date]; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing.


0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




My fee is$ _ _ _ _ _ _ _ _ _ _ __




                                                     2
   Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 68 of 341 PageID #: 85




 To be completed if service is by a sheriff or deputy sheriff:


 Date: - - - - - - - - - - -                 SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: __________________________________
                                             [Signature of server]



                                             [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


                                            By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Date: --------------------
                                            [Signature of server]



                                            [Printed name]

Address: _________________________________




Phone:


Subscribed and sworn to before me this date: -------------------------



                                                    Notary Public

My commission expires: ---------------------------




Additional information regarding service or attempted service:




                                                    3
          Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 69 of 341 PageID #: 86
.·                                                                                \
                           IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                              CIVIL DIVISION

                                                       SUMMONS
                                 Case No:              ~ \) • Z...0 I ? - 1- oo - (o

     PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
     vs.
     DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
     Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
     Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
     Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
     Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC ; Capital SeniorCare Ventures, LLC;
     ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
     Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
     Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


     PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
     William P. Murray, Ill, Esquire                            SLC Operations Master Tenant, LLC
     Wilkes & McHugh, P.A.
     1601 Cherry Street, Suite 1300
     Philadelphia, PA 19102
     (800) 255-5070

     THE STATE OF ARKANSAS TO DEFENDANT(S):                    SLC Operations Master Tenant, LLC


                                                        NOTICE

     You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
     Complaint.

     The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
     for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
     Your pleading or answer must meet the following requirements:

     A       It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
     B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
             Summons.

     If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
     be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

     Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
     Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
     answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                                      03   0~            2._or~

     Betty Wilson                                               BETTY WILSON, Clerk
     Ouachita County Circuit Clerk
     Courthouse
     145 Jefferson Street SW
     Camden, AR 71701                                           By:    ~~                                  Deputy Clerk



     No. _______________
     Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 70 of 341 PageID #: 87




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual a t - - - - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _[place] on _ _ _ _ _ _ _ _ [date]; or


    I left the summons and complaint in the proximity of the individual by _ _ _ _ _ _ _ _ _ __
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _[date]; or


 I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
__________________ [name of defendant] on _________ [date]; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


o I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing.


0 Other [ s p e c i f y ] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


o I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -



My fee is$ _ _ _ _ _ _ _ _ _ _ __




                                                     2
   Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 71 of 341 PageID #: 88




 To be completed if service is by a sheriff or deputy sheriff:


 Date:-----------                            SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             [Signature of server]



                                             [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: _ _ _ _ _ _ _ _ _ __                   By: ___________________________
                                             [Signature of server)



                                             [Printed name]

Address:------------------



Phone:


Subscribed and sworn to before me this date:
                                               -------------

                                                    Notary Public

My commission expires: - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
        Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 72 of 341 PageID #: 89
                        IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                           CIVIL DIVISION

                                                    SUMMONS
                              Case No:
                                                 t\J ~    ?.-.-ol?-1.-oo-0

 PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson , Sr., deceased
 VS .
 DEFENDANT{S): EOR-ARK, LLC ; VAJ LLC; Senior Living Communities of Arkansas, LLC ; SLC Operations
 Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
 Pine Hills Health and Rehabilitation ; SLC Operations Master Tenant, LLC ; SLC Properties, LLC; SLC Property
 Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
 Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
 ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
 Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
 Holdings, LLC; SLC Administrative Services of Arkansas, LLC ; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                       TO DEFENDANT:
William P. Murray, Ill, Esquire                              SLC Properties, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 191 02
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S):                      SLC Properties, LLC


                                                     NOTICE

You are hereby notified that a lawsuit has been filed against you; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A.        It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.        It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
          Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.




Betty Wilson                                                 BETTY WILSON , Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701                                             By: ~~                                     Deputy Clerk



No. _______________
   Case 1:14-cv-01051-SOH Document 1-1               Filed 09/26/14 Page 73 of 341 PageID #: 90




                                        PROOF OF SERVICE

  I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,[place] on _ _ _ _ _ _ _ _,[date]; or


  I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


o I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address) with                                                       [name],
a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _[date]; or


 I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,[name of defendant] on _ _ _ _ _ _ _ _,[date]; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing.


0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - -- -



My fee is$ _ _ _ _ _ _ _ _ _ _ __




                                                     2
.•      Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 74 of 341 PageID #: 91




      To be completed if service is by a sheriff or deputy sheriff:


      Date: - - - - - - - - - - -                 SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                                  By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                  [Signature of server]



                                                  [Printed name, title, and badge number]


      To be completed if service is by a person other than a sheriff or deputy sheriff:


     Date: _ _ _ _ _ _ _ _ _ __                   By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                  [Signature of server]



                                                  [Printed name]

     Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




     Phone:


     Subscribed and sworn to before me this date: - - - - - - - - - - - - -



                                                         Notary Public

     My commission e x p i r e s : - - - - - - - - - - - - -




     Additional information regarding service or attempted service:




                                                         3
             Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 75 of 341 PageID #: 92
..
                             IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                                CIVIL DIVISION

                                                        SUMMONS
                                   Case No:           ( \.) - ?_   01   ? ,   ?_. oo - (o

      PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
      VS .
      DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
      Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC ; Pine Hills Health and Rehabilitation, LLC, d/b/a
      Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
      Holdings, LLC ; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
      Capital Funding Group, Inc.; Capital Funding , LLC; Capital Finance, LLC ; Capital SeniorCare Ventures, LLC;
      ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
      Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
      Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


       PLAINTIFF'S ATTORNEYS:                                      TO DEFENDANT:
       William P. Murray, Ill, Esquire                             SLC Property Holdings, LLC
       Wilkes & McHugh, P.A.
     · 1601 Cherry Street, Suite 1300
       Philadelphia, PA 19102
       (800) 255-5070

      THE STATE OF ARKANSAS TO DEFENDANT(S):                     SLC Property Holdings, LLC


                                                          NOTICE

     You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
     Complaint.

     The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
     for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
     Your pleading or answer must meet the following requirements:

     A.        It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
     B.        It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
               Summons.

     If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
     be filed for you within the time allowed. Responses should be served on counsel for Plaintiffs.

     Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
     Documents . Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
     answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                                        03 Oe.t clo I 3
     Betty Wilson                                                  BETTY WILSON, Clerk
     Ouachita County Circuit Clerk
     Courthouse
     145 Jefferson Street SW
     Camden, AR 71701                                              By: ~~                                    Deputy Clerk



     No. _______________                 This Summons is for: SLC Property Holdings, LLC
    Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 76 of 341 PageID #: 93
                                 ' J


                                            PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date]; or


  I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


o     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _,[date]; or


 I delivered the summons and complaint to - - - - - - - - - - ' - - - - - - [ n a m e of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _[date]; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


o I am the plaintiff in this lawsuit,   and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing .


0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




My fee i s $ - - - - - - - - - - - -




                                                        2
   Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 77 of 341 PageID #: 94




 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             [Signature of server]



                                             [Printed name, title , and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


                                            By: ___________________________
Date: - - - - - - - - - - -
                                            [Signature of server]



                                            [Printed name]

Address:-----------------



Phone:


Subscribed and sworn to before me this date: _ _ _ _ _ _ _ _ _ _ _ __



                                                    Notary Public

My commission expires: - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
     Case 1:14-cv-01051-SOH Document 1-1                  Filed 09/26/14 Page 78 of 341 PageID #: 95
                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION


                                                  SUMMONS
                            Case No:                c \J- '1.---al '3- 7.-   00-   ~

PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson , Sr., deceased
vs.
DEFENDANT(S): EOR-ARK, LLC; VAJ LLC ; Senior Living Communities of Arkansas, LLC; SLC Operations
Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC ; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
William P. Murray, Ill, Esquire                            SLC Property Investors, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S):                    SLC Property Investors, LLC


                                                   NOTICE

You are hereby notified that a lawsuit has been filed against you; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements :

A       It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed. Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

WITNESS    my   hand and seal of the court .this date:      --=0~3~..:::0~d-:=.:__~-=-O_;I-=3::___ _ _ _ _ _ __

Betty Wilson                                               BETTY WILSON, Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701                                           By:    ~~                                  Deputy Clerk



No. _______________
         Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 79 of 341 PageID #: 96
..                                                                           (




                                             PROOF OF SERVICE

         I personally delivered the summons and complaint to the individual at _ _ __ _ _ _ _ _ __
     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (place) on _ _ _ _ _ _ _ _ [date]; or


         I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
     - - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


     0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
     - - - - - - - - - - - - - - - - (address] with                                                       [name],
     a person at least 14 years of age who resides there , on _ _ _ _ _ _ _ _ _ _ _[date]; or


      I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
     agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _[name of defendant] on _ _ _ _ _ _ _ _[,date]; or


     0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
     complaint on the defendant by certified mail, return receipt requested , restricted delivery, as shown by
     the attached signed return receipt


     0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
     to the defendant together with two copies of a notice and acknowledgment and received the attached
     notice and acknowledgment form within twenty days after the date of mailing .


     0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


     o I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -



     My fee is$ _ _ _ _ _ _ _ _ _ _ __




                                                          2
   Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 80 of 341 PageID #: 97




 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             [Signature of server]



                                             [Printed name, title , and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: - - - - - - - - - - -                  By: _ _ _ _ _ _~------------
                                             [Signature of server]



                                             [Printed name]

Address : - - - - - - - - - - - - - - - - -



Phone:


Subscribed and sworn to before me this date: - - - - - - - - - - - - -



                                                    Notary Public

My commission expires: - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
     Case 1:14-cv-01051-SOH Document 1-1                    Filed 09/26/14 Page 81 of 341 PageID #: 98

                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION

                                                  SUMMONS
                             Case No:       CV .-     1.,   0 I   ~   ,   )- oo -   b
 PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson , Sr., deceased
 vs.
 DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
 Holdings, LLC ; SLC Operations, LLC ; Pine Hills Holdings, LLC ; Pine Hills Health and Rehabilitation , LLC, d/b/a
 Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC ; SLC Properties, LLC; SLC Property
 Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC ; CSCV Holdings, LLC ;
 Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
 ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Sen ior Vantage Point, LLC; 900
 Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
 Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                       TO DEFENDANT:
William P. Murray, Ill, Esquire                              Arkansas Nursing Home Acquisition, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S):                      Arkansas Nursing Home Acquisition, LLC




                                                   NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A       It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with th is
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

WITNESS my hand and seal of the court this date: _.=0:.....!3~·---=t!J=--=c:;r:.__.;J=--o_t"!:>=-----------

Betty Wilson                                                 BETTY WILSON, Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden , AR 71701                                            By:          ~, ~                        Deputy Clerk




No. _______________
    Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 82 of 341 PageID #: 99




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _,[date]; or


    I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with -                                                     [name],
a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _,[date]; or


 I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _[name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _[name of defendant] on _ _ _ _ _ _ _ _ [date]; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested , restricted delivery, as shown by
the attached signed return receipt.


o I am   the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing.


0 Other [specify] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




My fee i s $ - - - - - - - - - - - -




                                                      2
   Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 83 of 341 PageID #: 100




 To be completed if service is by a sheriff or deputy sheriff:


 Date: - - - - - - - - - - -                 SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___
                                             [Signature of server]



                                             [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: - - - - - - - - - - -
                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                            [Signature of server]



                                            [Printed name]

Address:-----------------



Phone:


Subscribed and sworn to before me this date: - - - - - - - - - - - - -



                                                    Notary Public

My commission expires: - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
     Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 84 of 341 PageID #: 101
                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION

                                                  SUMMONS
                            Case No:           C.\) - J_ 0 I? / c/- oD - b
 PLAINTIFF(S): Eddie B. Robinson , as Administrator for The Estate of Willie Robinson , Sr., deceased
 VS .
 DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
Holdings, LLC; SLC Operations, LLC ; Pine Hills Holdings, LLC ; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation ; SLC Operations Master Tenant, LLC ; SLC Properties, LLC; SLC Property
Holdings, LLC ; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC ; Capital SeniorCare Ventures, LLC;
ADDIT, LLC ; SLC Professionals of Arkansas , LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC ; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
William P. Murray, Ill, Esquire                            CSCV Holdings, LLC
Wilkes & McHugh , P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S): CSCV Holdings, LLC

                                                    NOTICE

You are hereby notified that a lawsuit has been filed against you; the rel ief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements :

A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of lnt~rrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                              03 Cc.;J-        ~13

Betty Wilson                                               BETTY WILSON , Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden , AR 71701                                          By: ~~
                                                                                  -                   Deputy Clerk




No. _______________
 Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 85 of 341 PageID #: 102
                                 )                                      (




                                        PROOF OF SERVICE

  I personally delivered the summons and complaint to the individual a t - - - - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date]; or


  I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she· refused to receive it when I offered it to him/her; or


D I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there, on ._ _ _ _ _....;.__ _ _ _ _[date]; or


 I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _,[name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _[name of defendant] on _ _ _ _ _ _ _ _ [date]; or


D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


D I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing.


D Other [ s p e c i f y ] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


D I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




My fee is$ _ _ _ _ _ _ _ _ _ __




                                                     2
  Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 86 of 341 PageID #: 103




 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             [Signature of server]



                                             [Printed name, title , and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


                                             By: ____________________________
Date:-----------
                                             [Signature of server]



                                            [Printed name]

Address: - - - - - - - - - - - - - - - - -



Phone:


Subscribed and sworn to before me this date: _ _ _ _ _ _ _ _ _ _ __



                                                    Notary Public

My commission expires: - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
        Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 87 of 341 PageID #: 104

                        IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                           CIVIL DIVISION

                                                     SUMMONS
                              Case No:          c_   \J - d-o 1 ~   -   cf). oo- (o

 PLAINTIFF(S): Eddie B. Robinson , as Adm inistrator for The Estate of Willie Robinson , Sr., deceased
 VS .
DEFENDANT(S): EOR-ARK, LLC; VAJ LLC ; Senior Living Communities of Arkansas, LLC; SLC Operations
Holdings, LLC ; SLC Operations, LLC; Pine Hills Holdings, LLC ; Pine Hills Health and Rehabilitation , LLC, d/b/a
Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC ; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding , LLC; Capital Finance, LLC ; Capital SeniorCare Ventures, LLC;
ADDIT, LLC ; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Sen ior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                       TO DEFENDANT:
William P. Murray, Ill, Esquire                              Capital Funding Group, Inc.
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S):                      Capital Funding Group, Inc.

                                                     NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A.        It must be in writing , and otherwise comply with the Arkansas Rules of Civil Procedure
B.        It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
          Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents . Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.




                                                             By: ~~                                     Deputy Clerk



No. _______________               This Summons is for: Capital Funding Group , Inc.
     Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 88 of 341 PageID #: 105
                                                                            )




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at - - - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _,[place] on _ _ _ _ _ _ _ _ [date]; or


    I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there, on_
                                                       . ___________,[date]; or


 I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _ [date]; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


o I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing .


0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




My fee i s $ - - - - - - - - - - - -




                                                      2
   Case 1:14-cv-01051-SOH Document 1-1               Filed 09/26/14 Page 89 of 341 PageID #: 106




 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             [Signature of server]



                                             [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date:-----------                             By: _ _~-------------­
                                             [Signature of server]



                                             [Printed name]

Address: - - - - - - - - - - - - - - - - -



Phone: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___


Subscribed and sworn to before me this date: _ _ _ _ _ _ _ _ _ _ __



                                                    Notary Public

My commission expires: - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
t
           Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 90 of 341 PageID #: 107

                           IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                              CIVIL DIVISION

                                                       SUMMONS
                                 Case No:           c \J -    0<. o 1 3 - 02-ou- fo
     PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson , Sr. , deceased
     VS.
    DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
    Holdings, LLC; SLC Operations, LLC ; Pine Hills Holdings, LLC ; Pine Hills Health and Rehabilitation, LLC, d/b/a
    Pine Hills Health and Rehabilitation ; SLC Operations Master Tenant, LLC ; SLC Properties, LLC; SLC Property
    Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
    Capital Funding Group, Inc.; Capital Funding, LLC ; Capital Finance, LLC ; Capital SeniorCare Ventures, LLC;
    ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
    Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
    Holdings, LLC; SLC Administrative Services of Arkansas, LLC ; John Dwyer; and Michael G. Hunter, Administrator


    PLAINTIFF'S ATTORNEYS:                                      TO DEFENDANT:
    William P. Murray, Ill, Esquire                             Capital Funding, LLC
    W ilkes & McHugh, P.A.
    1601 Cherry Street, Suite 1300
    Philadelphia, PA 19102
    (800) 255-5070

    THE STATE OF ARKANSAS TO DEFENDANT(S):                     Capital Funding , LLC

                                                        NOTICE

    You are hereby notified that a lawsuit has been filed against you; the relief asked for is stated in the attached
    Complaint.

    The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
    for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
    Your pleading or answer must meet the following requirements:

    A        It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
    B.       It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
             Summons.

    If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
    be filed for you within the time allowed. Responses should be served on counsel for Plaintiffs.

    Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
    Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
    answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                                   03      eQ_-r Jo 13
    Betty Wilson                                               BETTY WILSON, Clerk
    Ouachita County Circuit Clerk
    Courthouse
    145 Jefferson Street SW
    Camden, AR 71701                                                                                      Deputy Clerk



    No. _______________               This Summons is for:. Capital Funding , LLC
     Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 91 of 341 PageID #: 108

                                                                        ( l
                                                                         '



                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date]; or


    I left the summons and complaint in the proximity of the individual by - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _ [date]; or


 I delivered the summons and complaint to _ _ __ _ _ _ _ _ _ _ _ _ [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,[name of defendant] on _ _ _ _ _ _ _ _[date]; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested , restricted delivery, as shown by
the attached signed return receipt.


o I am   the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing .


o Other [specify] : ------------------~----------

0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




My fee i s $ - - - - - - - - - - - -




                                                      2
    Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 92 of 341 PageID #: 109
                              (



 To be completed if service is by a sheriff or deputy sheriff:


 Date:-----------                            SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _ __ _ _ _ _ _ _ _ __ _ _ _ __
                                             [Signature of server]



                                             [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:

                                            By: _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Date: - - - - - - - - - --
                                            (Signature of server]



                                            [Printed name]

Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___




Phone:


Subscribed and sworn to before me this date: - - - - - - - - - - - - -



                                                    Notary Public

My commission expires: - - - - - - - - - --              --




Additional information regarding service or attempted service:




                                                    3
       Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 93 of 341 PageID #: 110

                       IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                          CIVIL DIVISION

                                                   SUMMONS
                             Case No:           C\J - cf;Lot'3 - ;Lo o - b
 PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson , Sr., deceased
 VS.
DEFENDANT(S): EOR-ARK, LLC ; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC ; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC ; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquis ition , LLC; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding , LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
ADDIT, LLC ; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC ; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC ; Arkansas SNF Operations Acquisition , LLC; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
William P. Murray, Ill , Esquire                           Capital Finance, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S) :                    Capital Finance, LLC

                                                    NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A        It must be in writing , and otherwise comply with the Arkansas Rules of Civil Procedure
B.       It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
         Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

WITNESS my hand and seal of the court this date:            _.::::0,_,3~--'0=-=&'---_~__..;::.._\3 = - - - - - - - - - -

Betty Wilson                                                BETTY WILSON , Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden , AR 71701                                                                                         Deputy Clerk



No. _______________
      Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 94 of 341 PageID #: 111




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at - - - - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date] ; or


    I left the summons and complaint in the proximity of the individual by _ _ _ _ _ _ _ _ _ __
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there, on _ _.:__ _ _ _ _ _ _ _ _ [date]; or


 I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
__________________ [name of defendant] on _ _ _ _ _ _ _ _ _ [date] ; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing .


0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




My fee is$ _ _ _ _ _ _ _ _ _ _ __




                                                     2
   Case 1:14-cv-01051-SOH Document 1-1               Filed 09/26/14 Page 95 of 341 PageID #: 112




 To be completed if service is by a sheriff or deputy sheriff:


 D a t e : - - - - - - - - - --              SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             [Signature of server]



                                             [Printed name, title , and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: - - - - - - - - - - -                 By: _________________________~
                                            [Signature of server]



                                            [Printed name]

Address:-----------------



Phone:


Subscribed and sworn to before me this date: _ _ _ _ _ _ _ _ _ _ _ __



                                                    Notary Public

My commission e x p i r e s : - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
     Case 1:14-cv-01051-SOH Document 1-1                  Filed 09/26/14 Page 96 of 341 PageID #: 113

                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION

                                                  SUMMONS
                            Case No:            C. V ~ c9..,o t'?;> ~ ;Loo- (p
 PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
 vs.
 DEFENDANT(S): EOR-ARK, LLC ; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
 Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, L C; Pine Hills Health and Rehabilitation, LLC, d/b/a
 Pine Hills Health and Rehabilitation ; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
 Holdings, LLC; SLC Property Investors, LLC ; Arkansas Nursing Home Acquisition , LLC; CSCV Holdings, LLC ;
 Capital Funding Group, Inc.; Capital Funding, LLC ; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
 ADDIT, LLC ; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900
 Magnolia Road SW, LLC; Quality Review, LLC ; Arkansas SNF Operations Acquisition, LLC ; SLC Professionals
 Holdings, LLC ; SLC Administrative Services of Arkansas, LLC ; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
William P. Murray, Ill, Esquire                            Capital SeniorCare Ventures , LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S) :                   Capital SeniorCare Ventures, LLC

                                                   NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A       It must be in writing , and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed. Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

WITNESS    my hand and seal of the court this date:           0.3     Qc;t=     0.-DI 3

Betty Wilson                                               BETTY WILSON , Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701                                                                                      Deputy Clerk



No. ______________
..
          Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 97 of 341 PageID #: 114




                                             PROOF OF SERVICE

         I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ _ __
     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date] ; or


         I left the summons and complaint in the proximity of the individual by - - - - - - - - - - -
     - - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


     0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
     - - - - - - - - - - - - - - - - [address] with                                                       [name] ,
     a person at least 14 years of age who resides there , on _ _ _ _ _ _ _ _ _ _ _,[date]; or


      I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
     agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _ _ [date]; or


     0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
     complaint on the defendant by certified mail , return receipt requested , restricted delivery, as shown by
     the attached signed return receipt.


     0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
     to the defendant together with two copies of a notice and acknowledgment and received the attached
     notice and acknowledgment form within twenty days after the date of mailing.


     0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


     0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




     My fee i s $ - - - - - - - - - - - -




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        Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 98 of 341 PageID #: 115
v                                                                          '
                                                                          \


     To be completed if service is by a sheriff or deputy sheriff:


     Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                                 By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _
                                                 [Signature of server]



                                                 [Printed name, title, and badge number]


     To be completed if service is by a person other than a sheriff or deputy sheriff:


    Date: _ _ _ _ _ _ _ _ _ __                   By: __________________________________
                                                 [Signature of server]



                                                 [Printed name]

    Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___



    Phone:


    Subscribed and sworn to before me this date: _ _ _ _ _ _ _ _ _ _ _ __



                                                        Notary Public

    My commission e x p i r e s : - - - - - - - - -- - - - -




    Additional information regarding service or attempted service:




                                                        3
        Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 99 of 341 PageID #: 116

                        IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                           CIVIL DIVISION


                                                    SUMMONS
                              Case No:          (! V .--   ~I        3 - ;Lr!XJ-(o

 PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
 VS .
DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation ; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding, LLC ; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
ADDIT, LLC ; SLC Professionals of Arkansas , LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                         TO DEFENDANT:
William P. Murray, Ill, Esquire                                ADDIT, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S) : ADDIT, LLC

                                                     NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements :

A.        It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.        It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
          Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed. Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

WITNESS      my hand and seal of the court this        date:   ---l.CLI3.J,_~G~c::.....::J_d-_o....:l....:~=----------
Betty Wilson ·                                                 BETTY WILSON , Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701                                               By:    ~· ~yHf).!;f.                      Deputy Clerk




No. ________________
    Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 100 of 341 PageID #: 117




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at _ _ __ _ _ __ _ _ _
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place) on _ _ _ _ _ _ _ _ [date]; or


    I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _ [date] ; or


 I delivered the summons and complaint to                                           [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _ [date] ; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing.


0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


o I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -



My fee is$ _ _ _ _ _ _ _ _ _ _ __




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   Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 101 of 341 PageID #: 118




 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ COUNTY, ARKANSAS


                                             By: ___~~--~----------------------
                                             [Signature of server]



                                             [Printed name, title, and badge number]


 To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: _ _ _ _ _ _ _ _ _ __                  By: _________________________________
                                            [Signature of server]



                                            [Printed name]

Address:
           ------------------

Phone:


Subscribed and sworn to before me this date: - - - - - - - - - - - - -



                                                    Notary Public

My commission expires: - - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




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.•
          Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 102 of 341 PageID #: 119

                           IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                              CIVIL DIVISION

                                                       SUMMONS
                                  Case No:       {! \) - ;Lo r?; - ;Loo - b
      PLAINTIFF(S): Eddie B. Robinson , as Administrator for The Estate of Willie Robinson, Sr., deceased
      VS .
     DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
     Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation , LLC, d/b/a
     Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC ; SLC Properties, LLC; SLC Property
     Holdings, LLC ; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition , LLC ; CSCV Holdings, LLC;
     Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
     ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
     Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
     Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


     PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
     William P. Murray, Ill, Esquire                            SLC Professionals of Arkansas , LLC, n/kla SLC
     Wilkes & McHugh, P.A.                                      Professionals, LLC
     1601 Cherry Street, Suite 1300
     Philadelphia, PA 19102
     (800) 255-5070

     THE STATE OF ARKANSAS TO DEFENDANT(S):                    SLC Professionals of Arkansas, LLC, n/kla SLC
                                                               Professionals, LLC

                                                        NOTICE

     You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
     Complaint.

     The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
     for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
     Your pleading or answer must meet the following requirements :

     A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
     B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
             Summons.

     If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
     be filed for you within the time allowed. Responses should be served on counsel for Plaintiffs.

     Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
     Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
     answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                                   03     Qc;t-   .2ot3
     Betty Wilson                                               BETTY WILSON , Clerk
     Ouachita County Circuit Clerk
     Courthouse
     145 Jefferson Street SW
     Camden, AR 71701                                           By: ~~~                                    Deputy Clerk



     No. _______________               This Summons is for: SLC Professionals of Arkansas, LLC, n/k/a SLC
                                                            Professionals, LLC
    Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 103 of 341 PageID #: 120
                               \.




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date] ; or


    I left the summons and complaint in the proximity of the individual by - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at

- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there , on _ _ _ _ _ _ _ _ _ _ _,[date]; or


 I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ __ _ _ [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _ [date] ; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested , restricted delivery, as shown by
the attached signed return receipt.


0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing .


0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




My fee i s $ - - - - - - - - - - - -




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   Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 104 of 341 PageID #: 121




 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: __________________________________
                                             [Signature of server]



                                             [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: --------------------
                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___
                                             [Signature of server]



                                            [Printed name]

Address: --------------------------------



Phone:


Subscribed and sworn to before me this date: ------------------------



                                                    Notary Public

My commission expires: --------------------------




Additional information regarding service or attempted service:




                                                    3
     Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 105 of 341 PageID #: 122

                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION


                                                  SUMMONS
                            Case No:            c_ \) , d- 01"3 ;Lao- f,
                                                                   r




PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
vs.
DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas , LLC; SLC Operations
Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC ; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
William P. Murray, Ill, Esquire                            Senior Vantage Point, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S) :                   Senior Vantage Point, LLC

                                                   NOTICE

You are hereby notified that a lawsuit has been filed against you; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

WITNESS my hand and seal of the court this                    03       Oct--
                                                     date:-~:::::_____::::_.;____2-01~
                                                                                  _ _ _ _ _ _ _ _ _ __

Betty Wilson                                               BETIY WILSON , Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701                                           By: ~~~                                    Deputy Clerk




No. ______________
     Case 1:14-cv-01051-SOH Document 1-1             Filed 09/26/14 Page 106 of 341 PageID #: 123




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at - - - - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date]; or


    I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _[date]; or


 I delivered the summons and complaint to ______________[name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _[name of defendant] on _ _ _ _ _ _ _ _ [date]; or


o I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


o I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing.


o Other [ s p e c i f y ] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -



My fee is$ _ _ _ _ _ _ _ _ _ _ __




                                                     2
       Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 107 of 341 PageID #: 124
,


     To be completed if service is by a sheriff or deputy sheriff:


     Date: - - - - - - - - - - -                 SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                                 By: ______________________________
                                                 [Signature of server]



                                                 [Printed name, title, and badge number]


     To be completed if service is by a person other than a sheriff or deputy sheriff:

                                                 By: ________________________________
    Date: - - - - - - - - - - -
                                                [Signature of server]



                                                [Printed name]
    Address : ___________________




    Phone:


    Subscribed and sworn to before me this date: ______________



                                                        Notary Public

    My commission e x p i r e s : - - - - - - - - - - - - - -




    Additional information regarding service or attempted service:




                                                        3
     Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 108 of 341 PageID #: 125


                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION

                                                  SUMMONS
                            Case No:            c. v , c9-o t3 - ~0        -   J ?/

PLAINTIFF(S): Eddie B. Robinson , as Administrator for The Estate of Willie Robinson , Sr., deceased
vs.
DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC ; SLC Operations
Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC ; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition , LLC; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capitat Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acqu isition , LLC; SLC Professionals
Holdings, LLC; SLC Admil'listrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
William P. Murray, Ill, Esquire                            900 Magnolia Road SW, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S):                    900 Magnolia Road SW, LLC

                                                   NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed. Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                              u3      0 c:r      2.£)1   "3

Betty Wilson                                               BETTY WILSON , Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden , AR 71701                                          By:~~                                      Deputy Clerk



No. _______________               This Summons is for: 900 Magnolia Road , LLC
    Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 109 of 341 PageID #: 126




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date]; or


    I left the summons and complaint in the proximity of the individual by - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _[date]; or


 I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _________ [date]; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing .


0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -



My fee is$ _ _ _ _ _ _ _ _ _ _ __




                                                     2
   Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 110 of 341 PageID #: 127




 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                    SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                               By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                               [Signature of server]



                                               [Printed name, title , and badge number]


 To be completed if service is by a person other than a sheriff or deputy sheriff:


                                               By: ___________________________
Date: - - - - - - - - - - -
                                               [Signature of server]



                                               [Printed name]

Address: - - - - - - - - - - - - - - - - -



Phone:


Subscribed and sworn to before me this date: - - - - - - - - - - - - - - - - - - - - -



                                                      Notary Public

My commission expires: - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                      3
          Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 111 of 341 PageID #: 128
•'

                           IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                              CIVIL DIVISION


                                                       SUMMONS
                                  Case No:           C \J- 0L<J I~       -c}_Ao- b

      PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
      VS .
      DEFENDANT(S): EOR-ARK, LLC; VAJ LLC ; Senior Living Communities of Arkansas, LLC ; SLC Operations
      Holdings, LLC ; SLC Operations, LLC; Pine Hills Holdings, LLC ; Pine Hills Health and Rehabilitation , LLC, d/b/a
      Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC ; SLC Properties, LLC; SLC Property
      Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition , LLC; CSCV Holdings, LLC;
      Capital Funding Group, Inc.; Capital Funding, LLC ; Capital Finance, LLC; Capital Sen iorCare Ventures, LLC;
      ADDIT, LLC ; SLC Professionals of Arkansas, LLC , n/kla SLC Professionals, LLC ; Senior Vantage Point, LLC ; 900
      Magnolia Road SW, LLC ; Quality Review, LLC; Arkansas SNF Operations Acquisition , LLC; SLC Professionals
      Holdings, LLC ; SLC Administrative Services of Arkansas , LLC; John Dwyer; and Michael G. Hunter, Admin istrator


     PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
     William P. Murray, Ill, Esquire                            Quality Review, LLC
     Wilkes & McHugh, P.A.
     1601 Cherry Street, Suite 1300
     Philadelphia , PA 19102
     (800) 255-5070

     THE STATE OF ARKANSAS TO DEFENDANT(S) : Quality Review, LLC

                                                         NOTICE

     You are hereby notified that a lawsuit has been filed against you; the relief asked for is stated in the attached
     Complaint.

     The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
     for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
     Your pleading or answer must meet the following requirements :

     A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
     B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
             Summons.

     If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
     be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

     Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
     Documents. Plain.tiff's First Set of Interrogatories and Requests for Production of Documents must be
     answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                                      03 Qc.+       '2.-D I 3

     Betty Wilson                                               BETTY WILSON , Clerk
     Ouachita County Circuit Clerk
     Courthouse
     145 Jefferson Street SW
     Camden , AR 71701                                          By:    ~~~h                                 Deputy Clerk




     No. _______________               This Summons is for: Quality Review, LLC
\
'        Case 1:14-cv-01051-SOH Document 1-1             Filed 09/26/14 Page 112 of 341 PageID #: 129




                                            PROOF OF SERVICE

        I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ __
    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date] ; or


        I left the summons and complaint in the proximity of the individual by - - - - - - - - - - -
    - - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


    0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
    - - - - - - - - - - - - - - - - [address] with                                                       [name],
    a person at least 14 years of age who resides there, on ------~----[date] ; or


     I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
    agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _________ [date]; or


    0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
    complaint on the defendant by certified mail, return receipt requested , restricted delivery, as shown by
    the attached signed return receipt.


    0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
    to the defendant together with two copies of a notice and acknowledgment and received the attached
    notice and acknowledgment form within twenty days after the date of mailing .


    0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


    0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




    My fee is$ _ _ _ _ _ _ _ _ _ _ __




                                                          2
  Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 113 of 341 PageID #: 130




 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _~~-~----------­
                                             [Signature of server]



                                             [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: _ _ _ _ _ _ _ _ _ __                   By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                            [Signature of server]



                                            [Printed name]

Address: - - - - - - - - - - - - - - - - -



Phone:


Subscribed and sworn to before me this date: - - - - - - - - - - - - -



                                                    Notary Public

My commission expires: - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
     Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 114 of 341 PageID #: 131

                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION

                                                  SUMMONS
                            Case No:         Cv -~r?         -~oo- b

PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
vs.
DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition , LLC; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
William P. Murray, Ill, Esquire                            Arkansas SNF Operations Acquisition, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S): Arkansas SNF Operations Acquisition, LLC


                                                    NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed. Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                              03       Oc:r 2n t3
Betty Wilson                                               BETTY WILSON, Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701                                                                                      Deputy Clerk



No. _______________
    Case 1:14-cv-01051-SOH Document 1-1             Filed 09/26/14 Page 115 of 341 PageID #: 132




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date] ; or


    I left the summons and complaint in the proximity of the individual by - - - - - - - - - - -
- - - - - - - - - - - - - - a f t e r he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address] with                                                       [name],
a person at least 14 years of age who resides there , on _ _ _ _ _ _ _ _ _ _ _ [date] ; or


 I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _,[date]; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail , return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing .


0 Other [ s p e c i f y ] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because:
                                             ----------------------


My fee is$ _ _ _ _ _ _ _ _ _ __




                                                     2
  Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 116 of 341 PageID #: 133




 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _~----~--------------------­
                                             [Signature of server]



                                            [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date:-----------                            By: _________~---------------------
                                            [Signature of server]



                                            [Printed name]

Address : - - - - - - - - - - - - - - - - -



Phone:


Subscribed and sworn to before me this date: - - - - - - - - - - - - -



                                                    Notary Public

My commission expires: - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




                                                    3
     Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 117 of 341 PageID #: 134


                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION

                                                  SUMMONS
                                         (_U__,_~
                             CaseNo: _____     ___,_~___
                                                      ,~ ___o_-_0____

 PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
 VS .
DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC ; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
ADDIT, LLC ; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900
Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC ; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
William P. Murray, Ill, Esquire                            SLC Professionals Holdings, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S) :                    SLC Professionals Holdings, LLC


                                                    NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint un less you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                               03 Out 2013



                                                                                                       Deputy Clerk



No. _______________
          Case 1:14-cv-01051-SOH Document 1-1             Filed 09/26/14 Page 118 of 341 PageID #: 135
.··




                                              PROOF OF SERVICE

          I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ _ __
      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date]; or


          I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
      - - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


      0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
      - - - - - - - - - - - - - - - - [address] with                                                       [name],
      a person at least 14 years of age who resides there , on _ _ _ _ _ _ _ _ _ _ _ [date]; or


       I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
      agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _ [date]; or


      0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
      complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
      the attached signed return receipt.


      o I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
      to the defendant together with two copies of a notice and acknowledgment and received the attached
      notice and acknowledgment form within twenty days after the date of mailing .


      o Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

      0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




      My fee i s $ - - - - - - - - - - - -




                                                           2
,     Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 119 of 341 PageID #: 136




     To be completed if service is by a sheriff or deputy sheriff:


     Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                                 By: _ _~~-~----------­
                                                 [Signature of server]



                                                [Printed name, title, and badge number]


    To be completed if service is by a person other than a sheriff or deputy sheriff:

                                                By: ________________________________
    Date: - - - - - - - - - - -
                                                [Signature of server]



                                                [Printed name]

    Address: - - - - - - - - - - - - - - - - - -



    Phone:


    Subscribed and sworn to before me this date: - - - - - - - - - - - - -



                                                        Notary Public

    My commission expires: - - - - - - - - - - - - - -




    Additional information regarding service or attempted service:




                                                        3
     Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 120 of 341 PageID #: 137

                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION


                                                  SUMMONS
                            Case No:
                                                   C.\.?-     ~t?>'~(.?0-0


 PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
 vs.
 DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
 Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
 Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
 Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
 Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
 ADDIT, LLC; SLC Professionals of Arkansas , LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
 Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
 Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                      TO DEFENDANT:
William P. Murray, Ill, Esquire                             SLC Administrative Services of Arkansas, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S) :                   SLC Administrative Services of Arkansas, LLC



                                                   NOTICE

You are hereby notified that a lawsuit has been filed against you; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements :

A       It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                                  03   ou-      zc;13
Betty Wilson                                                BETTY WILSON , Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW                                                         -
Camden, AR 71701                                            By:    1)11~~                             Deputy Clerk




No. _______________               This Summons is for: SLC Administrative Services of Arkansas, LLC
  Case 1:14-cv-01051-SOH Document 1-1               Filed 09/26/14 Page 121 of 341 PageID #: 138
                                 I                                       I   l
                                                                         I   '




                                        PROOF OF SERVICE

  I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,[place) on _ _ _ _ _ _ _ _ [date]; or


 I left the summons and complaint in the proximity of the individual by _ _ _ _ _ _ _ _ _ __
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


D I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - --                   [address] with                                      [name].
a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _[date]; or


 I delivered the summons and complaint to ______________[name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,[name of defendant] on _________,[date]; or


D I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested , restricted delivery, as shown by
the attached signed return receipt.


o I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing .


0 Other [specify] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


D I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




My fee i s $ - - - - - - - - - - - -




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     Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 122 of 341 PageID #: 139


                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION

                                                  SUMMONS
                            Case No:           Cu,       ~13--d--oo-C,
PLAINTIFF(S): Eddie B. Robinson , as Administrator for The Estate of Willie Robinson , Sr., deceased
vs.
DEFENDANT(S): EOR-ARK, LLC; VAJ LLC ; Senior Living Communities of Arkansas, LLC ; SLC Operations
Holdings, LLC; SLC Operations, LLC ; Pine Hills Holdings, LLC ; Pine Hills Health and Rehabilitation, LLC, d/b/a
Pine Hills Health and Rehabilitation ; SLC Operations Master Tenant, LLC ; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC ;
Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC ; Capital SeniorCare Ventures, LLC;
ADDIT, LLC; SLC Professionals of Arkansas, LLC , n/kla SLC Professionals, LLC; Senior Vantage Point, LLC ; 900
Magnolia Road SW, LLC; Quality Review, LLC ; Arkansas SNF Operations Acquisition , LLC ; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
William P. Murray, Ill, Esquire                            John Dwyer
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S):                    John Dwyer


                                                   NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A       It must be in writing , and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                               03     ocr     ~'3

Betty Wilson                                               BETIY WILSON , Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden , AR 71701                                          By:~~~                                     Deputy Clerk



No. _______________
    Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 123 of 341 PageID #: 140
                              (
                                                                         (



                                        PROOF OF SERVICE

  I personally delivered the summons and complaint to the individual at - - - - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _[place] on _ _ _ _ _ _ _ _ [date]; or


 I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


o    I left the summons and complaint at the individual's dwelling house or usual place of abode at
---~------------ [address] with                                                                      [name],
a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _[date]; or


 I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _[name of defendant] on _ _ _ _ _ _ _ _ [date]; or


o I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
the attached signed return receipt.


0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing.


0 Other [ s p e c i f y ] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -



My fee is$ _ _ _ _ _ _ _ _ _ _ __




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,.     Case 1:14-cv-01051-SOH Document 1-1             Filed 09/26/14 Page 124 of 341 PageID #: 141
                                   I
                                   \




      To be completed if service is by a sheriff or deputy sheriff:


      Date:-----------                            SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                                  By: _ _ _____________________________
                                                 [Signature of server]



                                                 [Printed name, title , and badge number]


     To be completed if service is by a person other than a sheriff or deputy sheriff:


     Date: _ _ _ _ _ _ _ _ _ __                  By: __________________________________
                                                 [Signature of server]



                                                 [Printed name]

     Address: - - - - - - - - - - - - - - - - -



     Phone:


     Subscribed and sworn to before me this date: - - - - - - - - - - - - -



                                                         Notary Public

     My commission expires: _ _ _ _ _ _ _ _ _ _ _ _ __




     Additional information regarding service or attempted service:




                                                         3
          Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 125 of 341 PageID #: 142
..
                           IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                              CIVIL DIVISION


                                                       SUMMONS
                                  Case No:            C IJ , d--ot3 -     OU:;o - ,b

     PLAINTIFF(S): Eddie B. Robinson, as. Administrator for The Estate of Willie Robinson , Sr., deceased
     VS .
     DEFENDANT(S): EOR-ARK, LLC ; VAJ LLC; Senior Living. Communities of Arkansas, LLC; SLC Operations
     Holdings, LLC; SLC Operations, LLC ; Pine Hills Holding.s, LLC ; Pine Hills Health and Rehabilitation, LLC, d/b/a
     Pine Hills Health and Rehabilitation ; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
     Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing. Home Acquisition, LLC; CSCV Holdings, LLC;
     Capital Funding Group, Inc. ; Capital Funding, LLC; Capital Finance, LLC ; Capital SeniorCare Ventures, LLC;
     ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900
     Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition , LLC; SLC Professionals
     Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


     PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
     William P. Murray, Ill, Esquire                            Michael G. Hunter, Administrator
     Wilkes & McHugh, P.A.
     1601 Cherry Street, Suite 1300
     Philadelphia, PA 19102
     (800) 255-5070

     THE STATE OF ARKANSAS TO DEFENDANT(S) :                    Michael G. Hunter, Administrator



                                                         NOTICE

     You are hereby notified that a lawsuit has been filed against you; the relief asked for is stated in the attached
     Complaint.

     The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
     for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
     Your pleading or answer must meet the following requirements :

     A        It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
     B.       It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
              Summons.

     If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
     be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

     Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
     Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
     answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                                   03 Oct 2ol3
     Betty Wilson                                                BETTY WILSON , Clerk
     Ouachita County Circuit Clerk
     Courthouse
     145 Jefferson Street SW
     Camden, AR 71701                                            By:   ~~~                                 Deputy Clerk




     No. _______________               This Summons is for: Michael G. Hunter, Administrator
    Case 1:14-cv-01051-SOH Document 1-1             Filed 09/26/14 Page 126 of 341 PageID #: 143




                                        PROOF OF SERVICE

    I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [placeJ on _ _ _ _ _ _ _ _,[date]; or


    I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
- - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
- - - - - - - - - - - - - - - - [address) with                                                       [name],
a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _[date]; or


 I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _,[name of individual], an
agent authorized by appointment or by law to receive service of summons on behalf of _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _[name of defendant] on _ _ _ _ _ _ _ _ [date]; or


0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
complaint on the defendant by certified mail , return receipt requested , restricted delivery, as shown by
the atta'ched signed return receipt.


0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
to the defendant together with two copies of a notice and acknowledgment and received the attached
notice and acknowledgment form within twenty days after the date of mailing.


0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




My fee is$ _ _ _ _ _ _ _ _ _ _ __




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 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                  SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ____
                                             [Signature of server]



                                             [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date:--------------                         By: ________________________________
                                            [Signature of server]



                                            [Printed name]

Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




Phone:


Subscribed and sworn to before me this date: -----------------------



                                                    Notary Public

My commission e x p i r e s : - - - - - - - - - - - - - - -




Additional information regarding service or attempted service:




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,   .
        Case 1:14-cv-01051-SOH Document 1-1                  Filed 09/26/14 Page 128 of 341 PageID #: 145


                                      WILKES & McHUGH, P.A.
                                                 ATTORNEYS AT LAW
    THREE PARKWAY                                                                                        PHONE: (215) 972-0811
    1601 CHERRY STREET                                                                                      FAX: (215) 972-0580
    SUITE 1300                                                                                        TOLL FREE: (800) 255-5070
    PHILADELPHIA, PA 19102
                                                      October 2, 2013


          VIA FEDERAL EXPRESS

          Betty Wilson, Clerk
          Ouachita County Circuit Court
          Courthouse
          145 Jefferson Street SW
          Camden, Arkansas 71 70 I

          Re:     Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased vs.
                  EOR-ARK, LLC; V AJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
                  Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and
                  Rehabilitation, LLC, d/b/a Pine Hills Health and Rehabilitation; SLC Operations Master Tenant,
                  LLC; SLC Properties, LLC; SLC Property Holdings, LLC; SLC Property Investors, LLC;
                  Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC; Capital Funding Group, Inc.;
                  Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC; ADDIT, LLC;
                  SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC;
                  900 Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition,
                  LLC; SLC Professionals Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John
                  Dwyer; and Michael G. Hunter, Administrator
                  Ouachita County Circuit Court No. CV -2013-200-6

          Dear Ms. Wilson:

                  Enclosed for filing and issuing please find Summonses for the remaining 24 Defendants in
          reference to the above captioned matter. I have enclosed your fee of $60.00.

                 Please return the issued summonses in the self-addressed, stamped envelope provided for your
         convenience. We will have the Defendants served by a private process server.

                 Your assistance is appreciated . Please do not hesitate to contact my assistant, Connie Gartside,
         should you need additional information.

                                                         Sincerely,




                                                         UJ~~
                                                         William P. Murray, III ·

         WPM/cbg
         Enclosures
      Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 129 of 341 PageID #: 146
                                 ~ 0 )~ -fht~ tls1- t4')L.vf klP
                                  UJ \~ -1\A ~UAA.Nt~S .      I
                                                 ~~Jo0 ,
        Defendants:
                                                                                              ~/\VOLAJ
  v   tEOR-ARK, LLC;
0
 ~~
i~       VAJ LLC ;
         Senior Living Communities of Arkansas , LLC ;
        SLC Operations Holdings, LLC ;
        SLC Operations, LLC ;
        Pine Hills Holdings, LLC ;
        Pine Hills Health and Rehabilitation , LLC, d/b/a Pine Hills Health and Rehabilitation ;
        SLC Operations Master Tenant, LLC ;
        SLC Properties, LLC ;
        SLC Property Holdings , LLC ;
        SLC Property Investors, LLC ;
        Arkansas Nursing Home Acquisition , LLC ;
        CSCV Holdings, LLC;
        Capital Funding Group, Inc.;
        Capital Funding, LLC ;
        Capital Finance, LLC;
        Capital SeniorCare Ventures , LLC;
        ADDIT, LLC;
        SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC;
        Senior Vantage Point, LLC ;
        900 Magnolia Road SW, LLC ;
        Quality Review, LLC ;
        Arkansas SNF Operations Acquisition , LLC;
        SLC Professionals Holdings, LLC;
        SLC Administrative Services of Arkansas , LLC ;
        John Dwyer; and
        Michael G. Hunter, Administrator
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              IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                   6 DIVISION

 Eddie B. Robinson, as Administrator for
 The Estate of Willie Robinson, Sr., deceased

                       PLAINTIFF

 vs.                                                               NO. CV- 2013-200-6

 EOR-ARK, LLC; VAJ LLC; Senior Living Communities
 of Arkansas, LLC; SLC Operations Holdings, LLC; SLC
 Operations, LLC; Pine Hills Holdings, LLC; Pine Hills
 Health and Rehabilitation, LLC, d/b/a Pine Hills Health
 and Rehabilitation; SLC Operations Master Tenant, LLC;
 SLC Properties, LLC; SLC Property Holdings, LLC; SLC
 Property Investors, LLC; Arkansas Nursing Home
                                                                                            ,
 Acquisition, LLC; CSCV Holdings, LLC; Capital Funding                                      r
 Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;                                   fT1
 Capital SeniorCare Ventures, LLC; ADDIT, LLC ; SLC
 Professionals of Arkansas, LLC, n/k/a SLC Professionals,                                   0
 LLC; Senior Vantage Point, LLC; 900 Magnolia Road SW,                                              "r
                                                                                                    ,,~
 LLC; Quality Review, LLC; Arkansas SNF Operations
 Acquisition, LLC; SLC Professionals Holdings, LLC; SLC
 Administrative Services of Arkansas, LLC; John Dwyer;
 and Michael G. Hunter, Administrator,

                      DEFENDANTS

       NOTICE OF ACTION OR CLAIM IN COMPLIANCE WITH ARKANSAS CODE
                           ANNOTATED§ 20-77-304

        Pursuant to Ark. Code Ann. §20-77-304, the Arkansas Department of Human Services is
hereby served with written notice of the filing of an action or claim by Eddie B. Robinson, as
Administrator for The Estate of Willie Robinson, Sr., deceased. Willie Robinson, Sr., is believed
to have been a recipient of medical assistance from the Division of Medicaid of the State of
Arkansas. The action or claim has been filed against EOR-ARK, LLC; V AJ LLC; Senior Living
Communities of Arkansas, LLC; SLC Operations Holdings, LLC; SLC Operations, LLC; Pine
Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a Pine Hills Health and
Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC;
CSCV Holdings, LLC; Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance,
LLC; Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC Professionals of Arkansas, LLC,
n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900 Magnolia Road SW,
LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC ; SLC Professionals
Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G.
Hunter, Administrator.
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                                             Respectfully submitted,

                                             Eddie B. Robinson, as Administrator for
                                             The Estate of Willie Robinson, Sr., deceased


                                    By:
                                             William P. Mu a III (AR2013033)
                                             Wilkes & McH h,
                                             1601 Cherry Stre ,
                                             Philadelphia, PA 1
                                             Telephone: (215) 972-0811

                                             Robert H. Edwards (AR99010)
                                             The Edwards Firm, PLLC
                                             711 West Third Street
                                             Little Rock, AR 72201
                                             Phone: (501) 372-1329
                                             Facsimile: (501) 372-1336

                                             Attorneys for Plaintiff

                                CERTIFICATE OF SERVICE

        I certify that a copy of the mandatory Notice required by Ark. Code Ann. §20-77-304 has
 been served by U.S. Mail, certified, return receipt requested, on the Director of the Department
 ofHuman Services on this        J"'~ day of October, 2013:

 Director of the Arkansas Department
  of Health and Human Services
 S20 1 Donaghey Plaza West
 P.O. Box 1437
 Little Rock, AR 72203




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                                  WILKES & McHUGH, P.A.
                                                      ATTORNEYS AT LAW
THR EE PA RKW AY                                                                                  PHON E: (21 5) 972-0811
1601 CH ERRY STR EET                                                                                  FAX : (21 5) 972-0580
SUITE1300                                                                                       TOLL FRE E: (800) 255-5070
PHILADELPHIA, PA 19102               ·· r   •·r , ·
                                                        October 8, 20 13

                                                                            ';:.··'


      VIA FEDERAL EXPRESS                                                  ·,


     Betty Wilson, Clerk
     Ouachita County Circuit Court
     Courthouse
     145 Jefferson Street SW
     Camden; Arkansas . 71 70 I

      Re:    Eddie B. Robinson, as Administrator for The Estate of Willie R obins::m, Sr. , deceased vs.
             EOR-ARK, LLC; VAJ LLC; Senior.Living Communiti.es of Arkansas, LLC; SLC Operations
             Holdings, LLC;'SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and
             Rehabilitation, LLC, d/b/a Pine Hills Health and Rehabilitation; SLC Operations Master Tenant,
             LLC; SLC Properties, LLC; SLC Property Holdings, LLC; SLC Property lnvestors, LLC;
             Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC ; Capital Funding Group. Inc. ;
             Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC ; ADDIT, LLC;
             SLC Professional.s of Arkansas, LLC, n/k/a SLC Professional:;, LLC; Senior Vantage Point, LLC:
             900 Magtiolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition,
             LLC; SLC Professionals Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John
             Dwyer; and Michael G. Hunter, Admini strator
             Ouachita Countv Circuit Court No. CV -2013-200-6 ·

     Dear Ms. Wilson:

           Enclosed for filing please find Notice of Action or Claim in Compliance with Arkansas
     Code Annotated§ 20- 77-304.

             Ple,iise returned the extra file-marked copy to our office in the self-addressed, postage-
     paid envelope also enclosed. Thank you for your anticipated cooperation. Should you need
     additional infonnation please do not hesitate to contact me immediately.

                                                           Sincerely,


                   ~~v:r·
            ~~;~I{
     WPM/cbg
     Enclosures
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                IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                   SIXTH DIVISION


  Eddie B. Robinson, as Administrator for The Estate of
  Willie Robinson, Sr., deceased                                                      PLAINTIFF
                     v.           "CASE NO.: CV·2013-200-6

  EOR-ARK, LLC; VAJ LLC; .Senior living Communities of
  Arkansas, LLC; SLC Operations Holdings, LLC; SLC Operations,
  LLC; Pine Hills Holdings, LLC; Pine Hills Health and
  Rehabilitation, LLC, d/b/a Pine Hills Health and Rehabilitation;
  SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC
  Property Holdings, LLC; SLC Property Investors, LLC; Arkansas
  Nursing Home Acquisition, LLC; CSCV Holdings, LLC; Capital
  Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;
  Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC
  Professionals of Arkansas, LLC, nlk/a SLC Professionals, LLC;
  Senior Vantage Point, LLC; 900 Magnolia Road SW, LLC; Quality
  Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC
  Professionals Holdings, LLC; John Dwyer; and Michael G. Hunter,
  Administrator                                                                   DEFENDANTS

  DEFENDANTS' MOTION TO DISMISS COMPLAINT AND COMPEL A£BITRATION

         Come now the Defendants, by and through their counsel, Kutak Rock LLP, and for their

  Joint Motion to Dismiss Complaint and Compel Arbitration, state:

         1.      The Plaintiff's Complaint must be dismissed for failure to state a claim and

  compelled to arbitration. The Plaintiff filed this action in state court against the Defendants,

 when the claims should have been brought in arbitration. Mr. Willie Robinson, Sr. executed an

 Admission Agreement and binding, voluntary Arbitration Agreement encompassing the claims

 made in the Plaintiff's Complaint.      (Admission Agreement, attached hereto as Exhibit A;

 Arbitration Agreement, attached hereto as Exhibit B; Arbitration Checklist, attached hereto as

 Exhibit C). Thus, the Federal Arbitration Act, 9 U.S.C. §§ 1 to 16, requires the Court to compel

 this matter to arbitration.
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           2.     Other Arkansas circuit courts have compelled arbitration based on arbitration

   agreements utilizing the same language and tenns as the Arbitration Agreement in this case.

   (Composite Exhibit D, Ross v. Canyon Springs Health and Rehabilitation, LLC, No. CV -2012-

   466 (Garland Chty. Cir. Ct. Mar. 29, 2013); Bell v. GGNSC Rogers, No. CV-2010:.3447-3

   (Benton Cnty. Cir. Ct. Mar. 10, 2011); Johnson v. GGNSC Holdings LLC, No. CV-2010-697 III

   (Garland Cnty. Cir. Ct. Oct. 25, 2010); Diddle v. Highland Court, LLC, No. CV-2009-86 (Searcy

   Cnty. Cir. Ct. Mar. 12, 2010)).

          3.      The Defendants' Motion is based upon the attached Arbitration Agreement and

   set forth in the attached Memorandum, which is incorporated herein by reference.

          4.      Notwithstanding this motion, the Defendants generally and specifically deny all

  allegations in the Plaintiffs complaint and preserve and afftrmatively assert all available

  defenses under Ark. R. Civ. P. 8(c), including the defenses of statute of limitation, comparative

  negligence, contributory neglig~ce) intervening cause, res judicata, collateral estoppel, estoppel,

  laches, unclean hands, and negligence of third parties over whom the defendants exercises no

  dominion or control as complete and/or partial bars to any recovery by the plaintiff herein.

  Further, pleading af:finnatively, the Defendants state that the Complaint should be dismissed

  pursuant to, and defendants res~rve all objections with respect to, all defenses afforded by Ark.

  R. Civ. P. 12{b)(l}-{6), including lack of jurisdiction over one or more of the parties, venue,

  insufficiency of process, insufficiency of service of process, failure to state facts upon which

  relief can be granted, failure to join a necessary party under Rule 19 and/or pendency of another

  action between the same parties arising out of the same transaction or occurrence.




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          WHEREFORE, the Defendants pray that this Court compel arbitration in accordance

   with the terms of the parties' Arbitration Agreement and the Federal Arbitration Act, 9 U.S. C.§§

   1 to 16, dismiss the case, or alternatively, stay the action in accordance with section 16-108-201

   of the Arkansas Code, and award costs and attorney's fees expended herein to the Defendants, as

   well as any other relief to which they may be entitled, whether specifically prayed for herein or

   not.

                                               Respectfully Submitted,
                                               KUT AK ROCK LLP




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                                 CERTIFICATE OF SERVICE

        I hereby certify that I served the Defendants' Joint Motion to Dismiss Complaint and
  Compel Arbitration by mailing it on this 13th day o£November, 2013, to:

        Mr. William P. Murray, m
        \VILKES & McHUGH, P.A.
        1601 Cherry Street, Suite 1300
        Philadelphia, PA 19102




                                                     AA#t+=nL46. ~
                                                    Samantha B. Leflar .




                                                4
         Case 1:14-cv-01051-SOH Document 1-1 Filed
                                    ADMISSION      09/26/14 Page 137 of 341 PageID #: 154
                                              AGREE:MENT

                                              Pine Hills Health and Rehabilitation, LLC
                                           900 Magnolia Road - Camda, Arkansas 71701

                         The unders'igned resident or responsible party (collectively. the "R~ident") hereby
              requests admission of                                              [name of resident] to Pine Hills Health
              and Rehabilitation, LLC (the "Nursing Facility'' or ''Facility") for medical, nursing. and personal
              care. The tenn "residenf', when not capitalized, means the individual admitted into the facility.
              The "responsible party'' means an agent, some other individual, or family member who agrees to
__ __ ..._ ...assls.t .the-Eacilit~dn..p:roriding.f.or-the-IeSident.?.s--admi&sk>n,h~-e;-pa-ymen+,-maintenance; · ··· ·-·- - - -- ·· ·
              and discharge. The responsible party is a necessary party to this Agreement, and is contractually
             bound by its terms. The Nursing Facility and the Resident agree to the following terms for the
             resident's care.

            SECTION 1: FAcn.ITY'S OBLIGATIONS
            1.1     Care and Services
                    a      To admit and provide nursing care on a nondiscriminatory basis so that all
                           residents receive benefits and services without regard to age, race, color, religion,
                           gender, or national origin.

                    b       To furnish a semi-private or private room, nursing and'personal care1 social
                            services, linens, bedding, and other items required for the resident's known
                            physical condition or by law for the resident's health, safety, good grooming, and
                            well-being.

-- . .. ....... .. -- . c. .. -To-fumish ·dietary-services, inclttding physician;urdere<hpeciahliets' arut·sp·e'dal
                            feeding devices.

                   d.       To furnish laundry service fox personal items not requiring dry cleaning, pressing,
                            or special finishing.

                   e.      To obtain the services of a licensed physician of the Resident's choice whenever
                           necessary, or the services of another licensed physician, if resident's personal
                           physician is not available or if the designated personal physician so orders.

                   f.      To an-ange for transfer of the resident to the hospital when ordered by the
                           resident's physician and to notify the Resident of the transfer.

                   g.      To notify the Resident of any change(s) in the costs or availability of services
                           prior to any changes, as pwvided further, herein.

                   h.      To refund any unused portions of prepaid charges based on daily rate schedules.

           1.2     Personal funds. If the Resident decides to deposit personal funds with the Facility, the
                   Resident will provide the Facility with written authorization to open a. Resident Trust
                   Account.

          1.3.     Resident rights. The Facility will explain Resident Rights to the Resident on admission
                   and periodically throughout the resident's stay. The Facility will give a copy of the
                   Rights to the Resident on admission and whenever there is a change affecting the           •••-•IIIII•
                   resident's rights.                                                                               EXHIBIT

                                                                                                                       A
         Case 1:14-cv-01051-SOH Document 1-1                      Filed 09/26/14 Page 138 of 341 PageID #: 155



             Admission ~g,-eernent
            .Pagel


            Section 2: Resident's Obligations
            2.1 . Physician. To choose a personal physician who agrees to assume resident's care
                    according to his or her medical needs and the Facility's expectations.
                  ··----··-·-·- ·····- --·-· ... · -· ---··-- ---· -·--
--·- -· ----· ---~ -                                                    ·- --·- ·--- - - -- ···--.
            2.2. Facility rules and policies. To abide by the Facility's rules and policies established in
                   connection with the operation and maintenance of the Facility.

            2.3.       Respect for other reside;!lts. To respect the privacy, peJ:sonal, and property rights of
                       fellow residents in the Facility.

            2.4.       financial support. To provide spending money, as needed, by the resident.
            2.5.       Personal effects_ To provide personal clothing and effects, properly labeled or marked,
                       and in sufficient quantities to keep the resident neat in dress and appearance.

           2.6.        Inventory of personal effects. To provide a written and signed Inventory ofPersonal
                       Effects fonn at the time of admission, and to update that inventory as items are acquired
                       or discarded.

          __?-_.? ·... . ~~~~k:~mi;M;. ~~ v!!,uables. 1'() ~ap.g~~-~th tll¥ _C~Q. Q;f t® Fieility,_ the..&a.fekeeping of_
                       the resident's money and valuables. The Facility is not otherwise responsible for the
                     money, valuables, and personal effects of the resident.                                      ·
           2.8.      Neat and orderly: room. To limit items brought into the resident's too:m to no more than
                     can be neatly stored in the wardrobe and bedside cabinet, to keep the resident's personal
                     effects (furniture~ TV) in good condition and repair, and to remove furniture that is tom
                     or malodorous from the Facility premises.                                    ·

           2.9.      Grievances. To raise any grievances concerning the Facility to the CEO or designee.
                     The Facility also offers a toll-free "Hotline'' telephone number through which grievances
                     can be registered anonymously. This number is (888) 365~0661.

           2.10.   Medications. Not to bring in over-the-counter medications or prescription medications
                   unless delivered directly to the Director of Nursing or designee.

          2.11. Private nurse or sitters. To accept financial and legal responsibility for ptjvate nurses or
                sitters engaged by the responsible party for the resident's benefit, and to understand that
                private nurses and sitters will be expected to follow the Facility's rules and policies or be
                subject to dismissal for violations.

          2.12.    Financial res.ponsibility. To pay the Facility's charges as provided in this Agreement.
                   Responsible parties or other individuals who use the resident's income or other resources
                   for that individual's own benefit and not for the benefit of the resident will be reported to
                   local law enforcement and to the Office ofLong-tenn Care for investigation and possible
                   prosecution. as required by law.
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             SECTION 3: FINANCIAL UNDERStANDlNGS
             3.1.          Timely pawent. Payment to the Facility for services provided under this Agreement is
                           due by the first (1st) day of each month. The Facility may add a late charge of the lesser
- -··· ·-·---·-.. · . ----e-f·LS%. eH:he·tnruftinum-a:tno"':mt-permitted-by-law;-..Resident'·s-f-ailure·to -pay·the ·Facility- ---- ···· -
                           any amount due shall be sufficient grounds for the Facility to discharge the resident in
                           accordance with state and federal law.

            3.2      Fee for returned checks. The Facility shall charge a service fee of the greater of $2.5~00
                     or the actual fee charged by the bank for returned checks.

            33       Payment guarantees. The Resident agrees to the following Assignment of Income to the
                     Nursing Facility, or, the responsible party grants the Nursing Facility the following
                     personal Guarantee as evidenced by his or her signature below:

                     a.      Assignment of Income:

                                 By my signature, I hereby assign all rights to resident's income from whatever
                                 source derived, as it exists now or as it may exist in the future, to the Nursing
                                 Facility as is necessary for payment of all charges incurred relating to resident's
                      ._ .~ .. . care.. .'l11U. .obligation shalUnclucJe.thepayment.o.f.reasonabk .attom.ey.fees ifthis.. · ·- · ·- · ~- --
                             obligation is placed ·into the hands of an attorney for collection.


                             Signature of Resident

                                      OR

                     b.      Personal Guarantee:

                             By my signature, 1 hereby personally and voluntarily guarantee all obligations of
                             Resident under this Agreermmt, including but not limited to the payment of all
                             charges billed by the Nursing Facility relating to the resident's care. This
                             obligation shall include the payment of reasonable attorney fees if this obligation
                             is placed into the hands of an attorney for collection.


                             Signature of responsible party

           3.4.     Daily .rate. The basic daily rate for a private room is $           and for a semi-private
                    room is$              . The Resident agrees to pay the Facility, on or before the day of
                    admission, an amount no less than the first full month's room and board charge at the
                    private pay daily rate; and then by the 1st day of each following month. Any unused
                    advance payment will be refunded if the resident becomes covered by the Medicaid or
                    Medicare programs, or leaves the Facility before the end of the month.
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              3.5.     Extra charges. The Resident's personal needs for items or services not customarily
                       provided by the Facility are not covered in the basic daily rate and may be furnished by
                       the Resident, or paid by the Resident as an extta charge. These items or services may
-- . - ... -··--· ..._____.,. · -inelude-pri:vate-cl~ty-nur-sing;-private-room;-beauty·-or-b-arber-shop·mrvices, braml""name-····-·--·...--·-·--· . ·
                                personal care items, false teeth, eyeglasses, or prosthetic devices. Extra charges for items
                                 and services not included in the daily rate are set forth in the Admission Packet.

             3.6.      Ex,genses incurred for health <md welfare of Resident. The Resident will be billed for and
                       will pay promptly those charges for ancillary services, supplies, and special equipment
                       that are not included in the daily rate, but which the Resident's attending physician or the
                       Facility determine, in their discretion, to be necessary for the health and welfare of the
                       Resident. To the extent possible~ the Facility will notify the Resident in advance that
                       these charges will be incurred. Where these services or supplies are provided by third
                       parties, such as medical attention by a physician or ambulance service, the Resident may
                       be billed by the appropriate party. The Resident always has the right to refose treatment
                       or services.

            3.7          Rate adjustments. The daily rate may be adjusted upon written notice to the Resident,
                         and such rate adjustment is incorporated into and made part of this Agreement. Rates
                    ·-·. may-change based·on ~ i.trthe-cost of"proViding ·care, -a: "change-iri                room
                                                                                                          With- ~c -.. -.
                         different rate schedule, or a change in the resident's level of care. The rate adjustment is
                         effective upon the mailing date of the notice, unless the adjustment is based on a change
                         in the cost of providing care, in which case, the adjustment becomes effective no earlier
                         than 30 days from date the notice is mailed.

            3.8.      Third P!YlY J21!YOr programs. The Facility agrees to accept payment from Medicare,
                      Medicaid, and insurance companies in lieu of or in addition to payment from the
                      Resident, as the case may be. The Resident remains responsible for paying all co-
                      payments, co-insurance, deductibles, and amounts and charges for items and services
                      incurred by or on behalf of the resident that the third party payors do not cover.

            3.9.      Government pament.

                      a.      If the Resident's funds are nearing depletion, it is important to locate alternative
                              payment sources immediately to ensure the resident's stay is uninterrupted. If the
                              Resident anticipates applying for government assistance, such as Medicaid, the
                              Resident agrees to give notice to the Facility and initiate the application at least 3
                              months prior to depletion of private funds. If a resident has a pending application
                              for government assistance~ the Resident agrees to pay the Facility at the rate listed
                              herein until the Facility receives payment from the governrilent agency. The
                              Facility will refund any overpayments to the Resident within 30 days.

                      b.      In the event government payment is denied or term.lnated, Resident agrees to pay
                              all unpaid charges for care previously rendered. In the event of a termination of
                              governmental payments, the charges for services rendered commencing with the
                              date of the termination v.ill be at the rate herein specified.
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                       c.            Medicare coverage is limited by federal law, applying only for a specified level of
                                     care and a limited number of days. When Medicare coverage expires, the resident
                                     may remain in the facility as private pay, or as a recipient of other governmental
- ·· ··---··· .----- . . · - · · ·· -a~sis-tane~ --If-the-resident-becomes-px i vate pay; th:e-Resimmf"Shallpa:y·iil1i:OVance---·· ·- . ...
                                     one month's room and board at the private pay rate at the time the resident's pay
                                     status changes.

             3.10.    Bed~hold   charge. If the resident should leave the Facility temporarily, a daily bed-hold
                      charge (in accordance with. the Bed-Hold policy) will be made until the personal effects
                      of the resident are removed from the Facility or a stop bed-hold agreement is signed. The
                      Facility will provide a written bed-hold notice at the time of hospitalization ot other
                      leave.

            SECTION 4: FACILITY POLICIES AMJ PllOCEDURES

            4.1.      Personal oropffiY. The Facility shall make reasonable efforts to safeguard the resident's .
                      property in the facility.

                   a.      Because the Facility is unable to exercise complete control over residents'
  - ·_. ____ -·- ··- - - --.petsOnal prope:rty~ -~ty will-not-be liable-for-the ktss-;·theft;-oniestmction- ·- -· ·- - · · - -
                           of money, papers, jewels, or other personal property of the resident or any other
                           person except as delivered to the CEO of the Facility for safekeeping, as
                           evidenced by a signed receipt for such property. The Facility suggests that
                           arrangements for the safekeeping of this property be made prior to the admission
                           of the resident. Residents are permitted to retain and use personal possessions
                           and appropriate clothing, as space permits.

                       b.    The Facility shall not be liable for any damage to or loss of the resident's property
                              remaining in the Facility after the resident's discharge. The Facility may dispose
                              of any property left by the resident if not claimed within 10 days of discharge or
                              transfer, or in accordance with applicable state law.

            4.2.      Prescriptions. All medications must be prescribed by the resident's physician and
                      administered by a licensed nurse in the Facility, or the resident, if he or she has a
                      physician order for self-administration. The Facility will order all medication required
                      by the resident.

            4.3.     Smoking. Smoking is not permitted in the Facility. The Resident accepts full
                     responsibility and absolves the Facility, its personnel, and the attending physician of
                     responsibility for any fires, bums, or other accidents occurring as a result of the resident
                     smoking while the resident is in bed, in the resident's room, or in any other area in the
                     Facility. Under no circumstances will residents be pemritted to carry or have lighters in
                     their possession. Violation of the smoking policy may result in immediate discharge
                     from this facility if the Facility determines that the resident's behavior endangers the
                     safety of resident or other persons in the facility.
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              4.4. · Gratuities. To ensure equality of care to our residents and to protect against abuse or
                          exploitation, this Facility does not permit its staff to accept gratuities or favors from our
                          residents, or their families or friends. If the Resident or visitor desires to show
--..... -·- ---·--·-· ····approoiati()ll-{or-sar.e-and-setVWes, . he-er-she-is· enoouraged·to do--something--t:hat·wiH-·-·--- · · -·--· ---·
                          benefit the facility as a whole.

                     4.5.        Telephones. Each resident room·with a standard telephone jack, the resident is
                                 responsible for the installation of telephone and Internet services and fees, and payment
                                 of the monthly bill The hill for telephone services should be addressed to the person
                                 who has accepted responsibility for payment. If the Facility initiates a room change, it
                                 will arrange for transfer of the line.
                     4.6.        Othe( Eacility policies. The Admission Packet contains other important policies that'
                                 guide your residency in this 'facility.

                     SECTION 5: AR.BJTRATION
                     5.1.        The Resident acknowledges that disputes arising .out of this Agreement, including the
                                 provision of care and services, xnay be submitted to atbitration, if the Resident elects to
                                 do so, by signing a separate agreement executed between the Nursing Facility and the
---   -- ·-   · --    .J    --   ·Resideat.-Agreeing-to~is fl<*ft-oondition-of-admission-o~             to-oontinuing-care; --

                     SEcriON 6: MISCELLANEOUS PROVISIONS

                     6.1.        Termination. Either party may terminate this Agreement by giving written notice to the
                                 other party at the address(es) described below. Otherwise, this Agreement shall remain
                                 in effect until the resident is discharged.

                 6.2.            Notices_ Notices shall be mailed to the address indicated below. The responsible party is
                                 responsible for notifying the Facility of any change of address. The Resident designates
                                 the following person to be notified when any legally required notices are provided to the
                                 Resident


                                        Narne of responsible party

                                        Address:        Street                 City                    State           ZIP

                                        Phone Numbers (indicate whether home, work, and cell)

                                        Email address
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               6.3.               Entire understanding. This Agreement and any agreement to arbitrate disputes, received
                                  and acknowledged by the Resident at any time on or after the date of this Agreement,
-. .. ·-·-···· . .--... ...... ...cotitain-the ent.it'.e agH~ment-betwoon-the-parties;-imd-they-8uperc:ede-aH-prior -- · ·------........ . ..... ...... -·
                                  agreemen1s, arrangements or oral represenfu.tions as to all matters relating to the resident
                                  and his or her care at the Facility. This Agreement and all accompanying documents and
                                  agreements shall.remain in full force and effect for all Resident's future stays in the
                                 facility, regardless ojtransfors to hospital, home, or other institutions, until superceded
                                  by cmy new Agreements.

               6.4.     Modifications. No modification of the tenns and conditions of this Agreement shall be
                        valid unless in writing and signed by the parties to this Agreement.

               SEcriON7: PARTIES & WITNESSl1;S

              On this 1st day of July, 2009, the Parties agree to be bound by the provisions of this Agreement.

              Resident's Signature                       Address                                            Telephone/Email


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              WitDess's Signature




              Wltaess 11 Signature
              (ih~i~hifJJ.cd   witb a mark)




              Re•ponslble Party's Signature              .A.ddress                                         Telephone/Email




              Facility R.epresentative,s Signature


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          V     .   I
                                              ~ ~. A-<2.1\1{'.)\
            If the responsible party is a legal representative, check the type of legal authority below:
            [ ] Guardian
            [ ] Durable Power of Attomey for Health Care
            [ ] Durable Power of Attorney for Business
            [ J Conservator
            [ J Other:
                                    AR.IUT.KAllU.N Ati..K.EENI.El~ 1
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                                                                         (READ CAREFULLY)

                           This Arbitration Agreement (the "Agreement") is hereby entered between Pine Hills
                   Health and Rehabilitation, LLC (the "Facility') and            .                                   (the
                  Resident or the Responsible Party) in.eonjunction with an agreement for admission and for the
                  provision of nursing facility services (the "Admission Agreement") by Facility to Resident.
                  The ~~Responsible Party" means an agent, some other individual, or family member who agrees
                  to assist the Facility in providing for the Resident's admission, health care, payment,
                  maintenance, and discharge. The Resident and the Responsible Party shall be collectively
. --·-·-- ·.... ~f~:Lrred tQ .~-th~ . "R~siq~~-~~Th~..Re~~Qyl.\t and th<; FaQility..~hall b.e..c..olle.cJiy~~t:eiroedJQ.J{s._ .... .
                  the "parties.''

              The parties to this Agreement acknoV{ledge and agree that upon execution, this Agreement
              becomes part of the Admission Agreement, and that the Admission Agreement evidences a
             transaction involving interstate commerce governed by the Federal Arbitration Act. The
             Responsible Party acknowledges further that execution of this Agreement affects his or her
             individual rights. It is understood and agreed by Facility and Resident that any and all claims,
             disput~. and controversies (hereafter colle(;tively referred to as a "claim" or collectively as
             "claims'') arising out of, or in connection with, or relating in any way to the Admission
             Agreement or any service or health care provided by the Facility to the Resident shall be
             resolved exclusively by binding arbitration to be conducted at a place agreed upon by the P~es,
             or in the absence of such an agreement, at the Facility, in accordance with the National
             Arbitration Forum Code ofProce4ure, f'NAF') which is hereby incorporated into this
             Agreement 1, and not by a lawsuit or resort to court process. This agreement shall be governed
             py and interpreted under the Federal Arbitration Act, 9 U.S. C. Sections 1-16.
-   .   ·----  ··- - ·-            -- -·· - - ............ --·- - -- - ...... ---.- · -- - ·-·-- _.... _ -- ---· - - ···· -- - -· - .. - · ·- . -·------
                        -- · - ~ - -

            This agreement to arbitrate includes, but is not limited to, any·claim for payment, nonpayment,
             or refund for services rendered to the Resident by the Facility, violations of any right granted to
            the Resident by law or by the Admission Agreemen~ breach of contract, fraud or
            misrepresentation, negligence, gross negligence, malpractice, or claims based on any departure
            from accepted medical or health care or safety standards, as well as any and all claims for
            equitable relief or claims based on contract, tort, statute, warranty, or any alleged breach, default,
            negligence, wantonness 1 fraud, misrepresentation, suppression of fact, or inducement. However,
            this Agreement shall not limit the Resident's right to file a grievance or complaint with the
            Facility or any appropriate government agency, or from requesting an inspection from such an
            agency, or from seeking review under 42 C.F .R. Section 431.200 et seq. of a decision to transfer
            o:r discharge the Resident.

            The parties agree that damages awarded, if any, in an arbitration conducted pursuant to this
            Agreement shall be determined in accordance with the provisions of the state or federal law
            applicable to a comparable civil action, including any prerequisites to, credit against, or
            limitations on, such damages. Any award of the arbitrator(s) may be entered as a judgment in
            any court having jurisdiction. In the event a court having jurisdiction :finds any portion of this
            agreement unenforceable, that portion shall not be effective and the remainder of the Agreement
            shall remain effective.

                                                                                                                                         ~XHIB1T

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            1
              Information about the National ArbitJ:ation Forum, inclu<ling a complete copy of the Code of Procedure, can be
            obtained from the Forum at (800) 474-2371, by fax at (651) 604-6778, o:r: ton-free fax at (866) 743-4517, or on the
            Interoet at http://www,arb-fomm.com. Clall:os may be filed at any office of the National Arbitration FoiUJD.. at
                               ;.               ,   -   ,.....   ...,.   ~1\41"\4'   ,   , .   ••   ,.   .-...T   r rlf"'"
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           Arbitration Agreement
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           It is the intention of the parties to this Agreement that it shall inure to the benefit of and bind the
           parties, their successors, and assigns. including without limitation the agents, employees and
           servants of the Facility, and all persons whose claim .is derived through ot on behalf of the
           Resident, including any parent, spouse, sibling, child, guardian, executor, legal representative~
           administrator, or heir of the Resident. The parties further intend that this Agreement is to survive
           the lives or existence of the parties hereto.

          All claims based in whole or part on the same incident, transaction, or related course of care or
          services provided by the facility to the Resid~t shall be arbitrated in one proceedjng. A claim
          shall be waived and forever barred if it arose and should reasonably have been discovered prior
          to the date upon which notice of arbitration is given to the Facility or received by the Resident
          and such claim is not presented in the arbitration proceedings.

          THE PARTIES UNDERSTAND AND AGREE THAT TJUS CONTRACT CONTAINS A
          BINDING ARBITRATION PROVISION WHICH MAY BE ENFORCED BY THE
          PARTIES, AND TIIAT BY ENTERING INTO THIS ARBITRATIO:N AGREEMENT,
          THE PARTIES ARE GIVING UP AND WAIVING THEIR CONSTITUTIONAL RIGHT
          TO HAVE ANY CLAIM DECIDED IN A COURT OF LAW BEFORE A JUDGE AND A
          JURY, AS WELL AS ANY APPEAL FROM A DECISION OR AWARD OF DAMAGES.

          The Resident understands that (1) he or she has the right to seek legal counsel concerning this
          Arbitration Agreement, (2) that execution of the Agreement is not a precondition to admission or
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          may be rescinded by written notice to the Facility from the Resident within thirty days of
          signature. If not rescinded within thirty days, this Arbitration Agreement shall remain in effect
          for all subsequent stays at the Facility, even if the Resident is discharged from and readmitted to
          the Facility.

          The undersigned certifies that he or she was read this Arbitration Agreement and that it was been
          fully explained to him or her, that he or she understands its contents, and has received a copy of
          the provision and that he or she is the Resident, or the person duly authorized by the Resident or
          otherwise to e:t.ecute this Agreement and accept its terms.

                                                                 RESPONSffiLE PARTY*

                                                                 Name of aesponsible Party

           ignature ofResi ent                                    Signaturo of Responsible Party

         Date:            lf{~Vpo                                Date= ---~-~-
         WI~$IG~                                                         .      1
          ~ ~ 'i)fd)                                             Date;   _r-H.ZfJ'-""&~/If-M-0----
        F.NOT'E:rhe Responsible Party must also C()mplete the information at the top ofPage 3 tl8 welL
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             Arbitration Agreement
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            Responsible Party To Complete This Section:
            If the resident is unable to consent or sign this provision because of physical disability or mental
            incompetence or is a minor and a Responsible Party is signing this provision, complete the
            following:

            Relationship to Resident:       ---~----'S:_J
                                                       __f____________~---
            (Check if applicable): [ ] A copy of my guardianship. papers, durable power of attorney or
            other documentation, has been provided to the Facility and is attached.



                                                                              Date:   -~~1111""-++-M-D_
             ~aJ ~L(S
           Print Name md Title
                                               titvector

-   ... - · --·- ·· ---· --- ----· .-. · - · ---·· J· · ·-- - - - - - ·----    - --------   .-..-.-- ·-   ·-   -· -·- ' ·---   ...   -   ·· -- ·   ...........   -   ··--   --·
             Case 1:14-cv-01051-SOH Document 1-1                   Filed 09/26/14 Page 147 of 341 PageID #: 164
                                                 AE   TRATION AGREEMENT CHECK                 ~T
                                                                                                          ~           NQ

                   1. The Resident tan read. C'Resident'' shall hereinafter mean the resident,
                      responsible party, and legal representative).
                                                                                                          Yes       §)
                  2 . .The Resident has capacity to understand the nature of arbitration and the          (;)        No
                       consequences of signing the arbitration agreement.

              . l _J-have..given.tpe Resident. infonnati~nal..mate.r-ial.aboutatbi:tratioo,

                                     I have explained the following to the Resident:
                                                                                                          -e -·      ·NG-···· ··- ··-




                  4. Signing the agreement is not a condition of admission.                                          No

                  5. The Resident may revoke the Agreement up to 30 days after signing it                            No
                     After that, disputes will be arbitrated.

                  6. The Resident may have an attorney review the Agreement.                                         No
              7. All disputes between the mtrsmg .facility and the residen~ except invol-qntary                      No
                 discharges, will be settled by an arbitrator, if any internal grievance
                 procedures that the parties may have engaged in fail to resolve the dispute.

              8. Arbitration is an alternative to jury 1rials, and by signing the Agreement, the          t§J        No
- ·-- .   ~ · - - ·.
                           is giving up the right to a jury triaL
                  Resident ·---------------..,------·                ·-   ____ _____ ___ ____
                                                                               ,._._
                                                                                     .   ,..               ,. ,_   - ·- - -- ---

                                                                                                          ~
              9. The arbitrator is a neutral itnpartial third party, will be a lawyer, and may be                    No
                 a former judge.

              10. Arbitration is like a trial without a jury. The Resident may hire a lawyer,
                    present evidence, have witnesses testify on the Resident's behalf, cross
                    examine the Facility's witnesses, and receive an award of compensatory
                                                                                                          f          No

                    and punitive damages if the resident prevails.

              11. The arbitrator's decision is binding on the parties.                                               No

              12. Arbitration is more efficient than court trials. The process is generally                          No
                 faster and less costly than traditional litigation.


                   W~   the undersigned, certify that the Arbitration Agreement has been explained to the
                         Resident, the Resident has been given· tbe opportunity to ask questions, and the
                                    Resident bas been given a copy of the Agreement to read.

                  tg,dJi,       ~11k2 ~~                                   .                          B-\5-\u
             Signature of Facility Representative                                                  Date
                                                                                                     !2-\~-16
             Signature of Resident or Responsible Party                                            Date


                                                                                                                     EXHIBIT
             AP31 Arbitration Agrcc:ment Checlclist
             Revised
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                 -v.                          CAS.ENo.~cv.,zoa--466

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      'fENAN'!~ LLC;.l401 PARK· A~ LLC~ AODI'r.
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      AN.O SYBIL ~AMS                           .

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              2.           The Arb:ltl'~tt.!on A~ent dvC$ not w.!tfld!lte ttrbitrntion ~toto toe· NatiCn'Ull

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             8AllliA.RA R.m.."ER l3l~LL                                                    Z011 NAFf ~T/i'111F J l O
                    vs.                                       N'O. CV"20IO-J44H              BP.t:NDA OESfdELOS
             GGNSC ROG}jRB LLC d/l:J!a GOLDEN LIVING- CEN'rlJ.&-                          ~ CUZRK AND l?EC.OROER
            R.OC+ERS; GGNSC AD:MJNrsTR.A'!!VSS"s:RV!Cb.S Ll:.C                               Bl!NTOH COUNTY, AR
            d/b/n GOLDEN VBN'l'tn'UJS; GmrSC Ho.LDThrGS LLC
            d.!b/a GOt.bBNE:O.Rl'ZO'NS; GOLDEN GATE NATIONAL
           SEWTOE.. C~L.t.C dlf:J/a GOLDEN LIV1HG;
           GOlDEN GATE ANC.ILLAR't LLC dlbla GOLD.EN'INNOVATIONS;
           GGNSC EQUITY IrO:u:irNGS lL~; GPHltOGE}18 .LJ.,C;
          GGN'.SC CL1NtCA:L sm<.Vrc:BS LZ.C dib/a GCLOENCLINICAL SERV!CES
          NEW ROP:S .fl:BA.LTR' A.N.O lmHABILITA..TION LLC alkla.. NBW HO:PB.
         HEALTa' .A1fD l(BHA.l3ILITATION'; .ROGERs NE~ ROP~ '8:0X,b1NGS,LLC;
         SLC. OPERATIONS MA5TW.. 1'lWANT, lLC; sx,c Pl:W.FBS'SWNA1.S
         OF JutKANBAS., L.tC; SX.C ADMINIBT:RATIV'l;) ~Vl:C$.8 OF
        ART<ANSAS, uc; WtT~ s~N!oR cARE v.ENTU'.RES, Ltc;
        SLC:PRO.'P~R'rlBB,LLC; I 14-9 & 115l.WBSTNBW HOPE ROAD, L]..C;
       JOHN MCPRE:RSON, lN HIS CAl'AClrt AS ~M.INIS"l'M.TD.l.VE:KEC'(J'r1"rn
       J)m.ECTOR OP GOLDEN LIV)NG cwnm..ioamts; .tA'O'R.rS :ffiootoN,
      .Jl'.T u:sit CAPACITY AS AD.tv:G'NXS1'RATO~Ctrrtv'E
      D.m2CTOlt OP GOWEN UV:rNa CENU!Rw ROGERS; AND .SBVElU.Y
      GALLAGHER, IN :AER CMAClTY .AS A})MINISTRATOR OP 'NEW J!O:PB
      ftEALTil Al'!D :aEl:!ABlLITA1'10N', LLC tlk/a GOWEN LrVl'N'G
      CENTE.'R-ROGBRS                             ' .



                                                    ORDE&


                          NOW on this·2nd day ofMa.rch1 201L tho Comt doesherebyfindan{l orde1'

     as follow&:

               1.      That on January 5, 2011. S~parate Defendants, New Hope Health and

    Rehabilitation, LLC, alk/a New Hope Health. and Rehabi1ita'fion; Rogers New Hop~

    Holdi11gs, LLC; SLC Op~a.tions Master Tenant LLC; SLC Operations, LtC; SLC

    .Professionals of Arkansas, LLC; SLC Administrative Services of Arkanse.s, LLC; Capital

    Senior Care Veni:Ures, LLC; SLCProperties, LLC; 1149 & 1111 WestNewB:opeRoad; ·
              Case 1:14-cv-01051-SOH Document 1-1                     Filed 09/26/14 Page 151 of 341 PageID #: 168
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;!'                            .                 ~                                    .    .
              · LLGi and Beverly Gal!agrJ.er, f11ed aMotion to Compel Arbittatlo:n and For Dl.~rrtfs~al.

                      2.            That the Sepatate Defe:ndat,1ts' Motio:t1 to Compel Arbitration and F br

              Dismissal is hereby granted_

                      3.           Tha-t putsua:nt to Federal and Arlnmsas law, the parties are given thirty (30)

             days to come to an agreement on a new arbitration forum.

                     4.            That if the parties are unabl~ to come to~ agreetnent by the ptescribf3d

             time1 this Court shall recommend one.

                     IT IS SO ORDERED,
           Case 1:14-cv-01051-SOH Document 1-1         Filed 09/26/14 Page 152 of 341 PageID #: 169
'   ..                            rr-                               ~
                    iN   THE CJRC(      COURT OF GARLAt\JD      co J: ~·f 1f, ARKANSAS
          T<RlSTA VIC~NTI.C, A.S SP.ECiAL
         1:'\DMINISTRATOR OF THE ESTATE
         OF ELSIE MARIE JOHNSON AND ON BEHALF
         OF THE WRGNGFUL DEATH 9l:NEFJCJARiES OF
         ELSIE MARIE JOHNSON                                                   PlAINTIFF

         vs.                             NO. CV-201 0·697 lli

         GGNSC HOLDfNGS LLC d!h/a GO.lDEN HORIZONS;
         GGNSC. Cl.JNICAL SERVl.CE$: Ll.C d/b/a GOLDEN
      CUNrC-Al SERVICES; ~GNSC ADMINJSTRATJVE
      SERVJCES LLG d/b/a GOLDEN VENTURES; GOLDEN                                OCT 2 5 2010
      GATE NATIONAL SENfOR CARE llC d/b/a GOLDEN
      UVJNG; GGNSG EQUITY HOLDINGS LlC; GOLDEN
      GATE.ANCILlA.RY LlC d/b/a GOlDEN INNOVATJONS;
     BEVERLY HEALTH AND REHABrLITATION SERllrCES,
     1NC., BEVERLY ENTERPRISSS, INC.; BEVERLY
     El\iTERPRfSES-AAKANSAS~ INC. d/b/a GOlDEN
     LIVINGCENTER - GOLF LINKS; TONYA BROWN,
     JN HER CAPACITY AS ADMINISTRATOR OF GOlDEN
     L.IVINGCENTER - GOLF LINKS; JOHN DQE I; JOHN
     DOE ff; JOHN DOE Hf; JOHN DOE IV; and JOHN DOE V                        DEFENDANTS


                                              ORDE;B

               On the. 16111 day o"f September, .2"0 ·~ 0, came on for hearing Defendants/'

     Motion· to Compel Arbitration and for . Dismissal; the Pl"aintiff appeared

    personally and through counsel, David A. Hodges; Defendants ap~eared through

    counsel 1 Jeffrey W . Hatfield; and after consideration of the pleadings, testimony

    of: witnesses, arguments of counsel and other matters appearing herein, the

    Court hereby ORDERS as follows:

            1.      The Arbitration Agreement in question was signed by        Elsf~ _u.J')...,._a~
                                                                                                ......~:.I.M
                                                                                                        io_~
     Case 1:14-cv-01051-SOH Document 1-1           Filed 09/26/14 Page 153 of 341 PageID #: 170

  · :Jofinsori upon her     a( ssion to golden Living Cantr doff links.
            2.      Mental capacity of a person to enter into a contract is presumed.

   At the hearing( Ple1intiff raised the notion to Ms. Johnson was elderly and in

  pain at the time of her admission and signing the Arbitration Agreement.

  However, Plaintiff's proof was not sufficient, in quantity or quality, to overcome

  the presumption that Elsie Marie Johnson was capable o·t enter;ng into a

  contract.

           3.     The testimony from the Administrator of ths nursing home

 established that the nursing home relies on goods and services from                   out-of~


 state in order to operate the nursing home.            Accordingly, this case involves

 interstate commerce and the Federal Arbitration Agreement is applicable .

       4.        De·tendants did not waive thefr right to raise arbitration by engaging

in discovery. Defendants filed the motion to compel arbitratton shortly after the

answer was fi'led and no significant discovery has taken place.

      5.         The Arbitration   Agr~ement d~es r-!Qt vio-late the Arkartsas   Resid'ent'·s

Rights Act or any right provided .to residents therein.

      6.         The Arbitration Agreement is not unconscionable. The Arbitration

Agreement includes ths following language:

                 THE PARTIES UNDERSTAND A~D AGREE THAT THIS
                 CONTRACT CONTAINS A BINDING ARBfTRATION
                ·PROVfSJON V'IIHICH ivl'A Y BE ENFORCED BY THE

                                              2
        Case 1:14-cv-01051-SOH Document 1-1       Filed 09/26/14 Page 154 of 341 PageID #: 171
                    PARTIES( .H) THAT BY ENTERJNG           JN~
                                                              . . 1115 .
                    ARBITRA~, tON AGRfEfYJENT, THE PARTIES ARE
                    GIVING liP 1~.ND V\!AlVfNG. THE COl\JSIITUTJOf\JAl
                   RlGHT TO HAVE ANY CLAIM DECJDED IN A COURT OF
                   LAW BEFORE A JUDGE AND A JURY AS WELL AS ANY
                   J~PPE"AL FROM .A ·DECfSfON OR AWARD OF DAMAGES


              7.   Addition a/ discovery is not warranted under these circumstahces.

             8.    The pending action is not dismissedr but the Court grants a stay . .

   as to this fawsuit . . pending the partfes participating in the arbitration pursuant

  to the language of the arbitration agreement, and . if there is a result in the

  arbitration, theh th;s Court will enter the result, pursuant to the arbitration

 agreement and the applicable statute dealing with arbitration under these

 circumstances.

            IT IS SO   ORDERED.~                   ~
            Dated this the   ~day 60~    of                      ,r   2010 .




                                          HON._. RABtE LYNN WilliAM~
                                          GARLAND COUNTY CIRCUIT JUDGE




                                          Date                        7




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         Case 1:14-cv-01051-SOH Document 1-1 Filed 09/26/14 Page 155 of 341 PageID #: 172
. ,.                  IN THE C(7- '(JTT COURT OF SEJLI{.CY cou~- ARKANSAS
                              { ·           s·rH DIVISION    ( .

             JOYCE DIDDLE, et al
                      PLAf.l'rTIFF

                 v.                                                        CV-2009-86

            HIGHLAND COURT, LLC, et a1
                 DEFENDANT


                                     ORDER GRANTING MOTION TO DISMISS
                                        & COMPELLING ARBITRATION


                   0~ the 12th day of March, 2010, this Court heatd oral arguments on Defendants'
          Motion to Dismiss and to Compel Arbitration. After a review of the pleadings and the
          al·gwnents presen:ted, tbis Court grants Defendants' Marion to Dismiss and Compels
         Arbitration.
                         This case arose :JUt of a dispute over alleged injuries to the Pia.intiffwhile
         she was a patient at Hjgbland Court, LLC and N o:rth Arkansas Regional Medical Center.
         Ms . Knox, who had a. valid Durable Power of Attomey, executed an Arbitration
         Agreement on behalf ofthe Plaintiff, Joyce Diddle. Pursuant to the Arbitration
         Agreement, Plaintiff entered into 'an agreement to arbitrate aU claims arising between
         Plaintiff and Highland Court~ LLC.                                 ·

                  The initial threshold question is whether an agreement to arbitrate exists. The
         Pparties ' intent to athitt:ate any and all claims arising out oft.hei:r :relationship is dear. The
         parties entered into a:n Agreement that was separate from the othe:r documents exeCL.ted
         upon admission. lt was a separate two page agreement, which included language in large
         bold print that sta-te "The parties fu.rlher acknowledge that they are giving up and waivmg
         their constitutional right to have their disputes decided in a court of law before a judge
        and jury." The Agreement also :included language stating, "This provision for arbitration
        r.nay. be revoked by written notice delivered to the Facility within thirty (3 0 days of the
        date the Agreement was executed ... The Court :finds it is a valid arbitration agreement It
        is clear and unambiguous.                               ·
                 The Plaintiffs contend th.e Aib:itrati.on Agreement should be void as against
                                 1


       public policy or as a contract of adhesion. The Court declines to find this due to the fact
       that there is a cleat federal and Arkansas policy favoring the enforceability of Arbitration
       Agreement Tl:e Ag:te~ment was not mandatoty1 had a provision for revocation, was
       separate from the ether de cuments, and it..'l language was clear and unambiguous.
       Arbitration js an efficient mechanism for the a.d!n.inistration. of justice. The subsequent
       question becomes whether the Federal Al:bitrationAct is applicable. The Agreement
       states:
Case 1:14-cv-01051-SOH. ~Document               1-1_ ......Filed
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                                                                             tn~Lana          of 341
                                                                                         <.;curt}    PageID #: 173
                                                                                                  regularly
           engages in st.fJ
                                 lte.rstate  commerce         transactions    a(
                                                                               •
                                                                                   ·· t the  setvices
           provided f;>y th, ...'acility to the Resident invoLve intehrai:e commerce, the Parties
          expresi>1Y agree that arb.itration conducted under this Agreement shaJl be governed
          by the Federal Arbitr,ation Act"

             The Parties have stipulated that the FAA applies and that irrtezstate commerce
    exists in regards to this transaction. The Arkansas Supreme Court has held that when the
    parties contract to a choice of law provision, that provision applies if the agreement is a
    valid agreement As this Court finds it is a valid Arbitration Agreement, the Court also
    upholds the choice of law provision. As a side, even if the parties had not stipulated in the
    agreement to the FAA, inte:rsi:ate commerce clearly exists under the United States
   Sllpre:tne Court's broad intetpretation of the COlllme:rce clause_ The Plaintiff's medical
   care was paid by Iv:ledicaid. The Defendant submitted' the Plaintiffs health information
   electronically via interstate wire. Acditionally, separate Defendants, Ross Pontbie, John
  Ponthie, and JVIatk Thompson wete governing board members whom Plaintiff claims
  controlled the policy of Highland Patk, who reside jn Louisiana.

          Lastly, Plaintiff contendg that the Agreement is unenforceable because the
  Agreement stipulated that disputes would be atbitrat~d by the National Arbitration Forum
  (NAP) and that the NFA is no longer arbitrating disputes and is discredited. The
 Arkansas Supreme Court has upheld arbitration agreements that stipulate to the NFA as
 an arbitrator. The current Arbitration Agreement is a contractual agreernenf of the parties
 and the agreement as to the arbitrato.t is likewise a contractual prov)sion which is dear
 and unambjguou.s and tb.e court -will not set it aside.

         TherefOl-e the Court Orders;

         1. Defendants', Highland Court, Summit Health Resources, Ross Ponthie, John
            Ponthie, and Mark Thompson, Motion to DiS!niss is granted.
         2. Plaintiff's Complaint against Highland Court, LLC, Sumnrit Health
            Resoutces, LLC, Ross Ponthie, John Ponthie, and Mark Thotnson is
           dismissed.
        3. Separate Defendants John and Jane Doe$ A-Z ate likewise dism1ssed to the
           extent they include individuals charged with caring for neating the Plaintiff at
           Highland Court, LL~.


        ITIS SO ORDE




                Rhonda

                Circuit Judge
Case 1:14-cv-01051-SOH Document 1-1 Filed
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                                               FACSL\11LE TRANSMISSION

    DATE:            November 13, 2013

  To:

                             NAME:                                              FAX NO.:                              PHONE NO.:
    Ms. Betty Wilson                                                870-837-2252
    Ouachita Coun             Circuit Clerk
      If you expe.rience any problems in rc:ceiving these pages, please call 479-973-4200                 as soon as possible. Thank you.

  FROM:                    Samantha B. Leflar                                            EMPLNo.:                4962

  SECRETARY:               Rachel Barnes ·

                            Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr.,
                            deceased v. Pine Hill~ Health and Rehabilitation, LLC et a/.
                           Ouachita County Circuit Court Case No.:                        CV~2013~200-6


   CLIENTNUMBER:                 83308-11
   NUMBER OF PAGES, Th"CLUDING'COVER PAGE:                                    26                                        CONPXRM: No

 MESSAGE:

   Part 1 of 2 - Motion to Dismiss ·c omplaint and
   Compel Arbitration. Brief in Support will follow
   under separate cover. Thank you!

                                        CONFIDENTlAL FACSIMU...E TRANSMISSION
 The il'lformation contained in this facsimile and the accoropllnying pages i$ intended solely for the addressee(s) ltwned above. If you 111e not an
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                                                            KUTAK ROCK LLP
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                                                               November 13, 2Q13
SAMANTHA B. LEFLAR
~amilnth~.l<:flar@kllfllf<.rgQI,.:Qm
(479) 973-4200


          VIA FACSIMILE: 870-837"2252

         Ms. Betty Wilson
         Ouachita County Circuit Court Clerk
         145 Jefferson St SW
         P.O. Box 667
         Camden, AR 71711-0667

                       Re:             Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr.,
                                       deceased v. Pine Hills Health and Rehabilitation, LLC, et al.
                                       Ouachita County Circuit Court Case No.: CV-2013-200·6

         Dear Ms. Wilson:
                Enclosed please fm.d the Defendants' Motion to Dismiss Complaint and Compel
        Arbitration in the above-referenced matter-. The Brief in Support of Motion to Dismiss
        Complaint and Compel Arbitration will follow under separate cover. Please file accordingly ~d
        return a copy of the file-marked first pages to me via return facsimile. I am happy to pay for any
        fees associated with this fax-filing.

              . Thank you for your courtesy in this matter. If you have any questions, please do not
        hesitate to contact me.

                                                                               Sincerely,

                                                                                Ad,W\~ b(l.. A.A,
                                                                               Samantha B. Leflar

        SBL/reb
        Enclosures

        cc:           Mr. William Murray




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Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 159 of 341 PageID #: 176



                   IN THE CIRCUIT .COURT OF OUACHITA COUNTY, ARKANSAS
                                       SIXTH DIVISION


  Eddie B. Robinson, as Administrator for The Estate of
  Willie Rqbinson, Sr., deceased                                                     PLAINTIFF
                   v.              CASE NO.: CV-2013-200-6

 EOR-ARK, LLC; VAJ LLC; Senior Living Communities of
 Arkansas, LLC; SLC Operations Holdings, LLC; SLC Operations,
 LLC; Pine Hills Holdings, LLC; Pine Hills Health and
 Rehabilitation, LLC, d/b/a Pine Hills Health and Rehabilitation;
 SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC
                                                                                             .,
 Property Holdings, LLC; SLC Property Investors, LLC; Arkansas                               r
 Nursing Home Acquisition, LLC; CSCV Holdings, LLC; Capital
 Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;
                                                                                             rn
 Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC                                           0
 Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC;
 Senior Vantage Point, LLC; 900 Magnolia Road SW, LLC; Quality
 Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC
 Professionals Holdings, LLC; John Dwyer; and Michael G. Hunter,
 Administrator                                                                   DEFENDANTS


  BRIEF IN SUPPORT OF DEFENDANTS' MOTION TO DISJ.\flSS COMPLAINT AND
                         COMPEL ARBITRATION

          Come now the Defendants, by and through their counsel, Kutak Rock LLP, and for their

 Brief in Support of their Motion to Dismiss Complaint and Compel Arbitration, state:

                                  . I.      INTRODUCTION

          This action involves alleged injuries and damages sustained by Mr. Willie Robinson, Sr.

 while he was a resident of Pine Hills Health and Rehabilitation, LLC ("Pine Hills''). Pine Hills

 and Mr. Robinson entered an Admission Agreement and Arbitration Agreement (hereinafter the

 "Agreement"), that encompasses the claims made in the Plaintiffs Complaint. Copies of the

 signed Admission Agreement, Arbitration Agreement and the Arbitration Checklist are attached

to Defendimts' Motion to Compel Arbitration as Exhibit A, B, and C and are incorporated herein.




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Case 1:14-cv-01051-SOH Document 1-1                   Filed 09/26/14 Page 160 of 341 PageID #: 177



   Even though the parties agreed to arbitrate the Plaintiffs claims, the Plaintiff filed a lawsuit

   against the Defendants in circuit. court. This case must be compelled to arbitration

                                   IL      FACTUAL BACKGROUND

             On April26, 2010, Mr. Willie Robinson, Sr. signed an Arbitration Agreement as part of

  his admission to Pine Hills. (Exhibit B). Leslie Lewis, representative of Pine Hills, also signed

  the Admission Agreement and ·incorporated Arbitration Agreement. The Arbitration Agreement

  contains the following language relevant to this Motion:

            The parties to this Agreement acknowledge and agree that upon execution, this
            Agreement becomes part of the Admission Agreement, and that the Admission
            Agreement evidences a transaction involving interstate commerce governed by
            the Federal Arbitration Act


           It is understood and agreed by Facility and Resident that any and all claims,
           disputes, and controversies (hereafter collectively referred to as a "claim'' or
           collectively as "claims'') arising out of, or in connection with, or relating in any
           way to the Admission Agreement or any service or health care provided by the
           Facility to the Resident shall be resolved exclusively by binding arbitration . . .


           This agreement shall be governed by and interpreted under the Federal Arbitration
           Act, 9 U.S.C. Sections 1-16.


           The agreement to arbitrate includes~ but is not limited to, any claim for payment,
           nonpayment, or refund for services rendered to the Resident by the Facility,
           violations of any right granted to the Resident by law or by the Admission
           Agreement, breach of contract, fraud or misrepresentation, negligence, gross
           negligence, malpractice, or claims based on any departure from accepted medical
           or health care or safety standards, as well as any and all claims for equitable relief
           or claims based on contract, tort, statute, waxranty, or any alleged breach, default,
           negligence, wantonness, fraud, misrepresentation, suppression of fact, or
           inducement.


           It is the intention of the parties to this Agreement that it shall inure to the benefit
           of and bind the parties, their successors, and assigns, including without limitation
           the agents, employees and servants of the Facility, and all persons whose claim is
           derived through or on behalf of the Resident, including any parent, spouse,

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Case 1:14-cv-01051-SOH Document 1-1                  Filed 09/26/14 Page 161 of 341 PageID #: 178




            sibling, child, guardian, executor, legal representative, administrator, or heir of the
            Resident. The parties further intend that this Agreement is to survive the lives or
            existence of the parties hereto.


           The Resident understands that (1) he or she has the right to seek legal counsel
           concerning this Arbitration Agreement, (2) that execution of the Agreement is not
           a precondition to admission or to the furnishing of services to the Resident by the
           Facility, and (3) this Arbitration Agreement may be rescinded by Vvntten notice to
           the Facility from the Resident within thirty days of signature.

  See Exhibit A. The Agreement further sets forth in bold letters:

           THE PARTIES UNDERSTAND AND AGREE THAT THIS CONfRACT
           CONTAINS A BINDING ARBITRATION PROVISION WHICH MAY BE
           ENFORCED BY THE PARTIES, AND THAT BY ENTERING INTO TillS
           ARBITRATION AGREEMENT, THE PARTIES ARE GIVING UP AND
           WAIVING THEIR CONSTITIJTIONAL RJGHT TO HAVE ANY CLAIM
           DECIDED IN A COURT OF LAW BEFORE A JUDGE AND A JURY, AS
           WELL AS ANY APPEAL FROM A DECISION OR AWARD OF DAMAGES.

 !d.   No attempt was made to rescind the Agreement.
           On October 2, 2013, the Plaintiff initiated a lawsuit against the Defendants, aSserting: (1)

 negligence; (2) medical malpractice; and (3) violations of the Long-Term Care Facility Residents

 Act, Ark. Code Ann. §§ 20-10-1201 et seq. In the instant motion, the Defendants seek an order

 from the Court compelling the Plaintiff to submit to arbitration in this matter in accordance with

 the parties' written arbitration agreement. The Federal Arbitration Act ("FAA"), 9 U.S.C. §§ 1

 to 16, controls because the parties agreed that the FAA would apply, and alternatively, because

 the underlying contract affects interstate commerce. Under the FAA, the parties entered a valid

 arbitration agreement that encompasses all of the claims in the Plaintiff's Complaint, and as

 sucht this Court is required to compel the case to arbitration.

                             III.    ARGUMENT AND AUTHORITIES

          The party seeking to compel FAA arbitration must first establish that the contract

 containing the arbitration provision falls within the scope of the FAA. Ark. Diagnostic Ctr. v.

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   Tahiri, 370 Ark. 157, 163,257 S.W.3d 884, 890 (2007). Under the FAA, ifthe contract contains

   a valid arbitration provision that encompasses the dispute at issue, the Court must compel

   arbitration. S. Pioneer Life ltzS. Co. v. Thomas, 2011 Ark. 490, at 4.

   A.       The Admission Agreement falls within the scope of the Federal Arbitration Act.

            For a contract to fall within the scope of the FAA, there must be a written agreement that

  contains an arbitration clause. Ark Diagnostic Ctr., 370 Ark. at 163, 257 S.W.3d at 890; see

  also 9 U.S.C. § 2. In addition, because the FAA governs only contracts involving interstate

  commerce, the agreement at issue must affect interstate commerce. Ark Diagnostic Ctr., 370

  Ark. at 163, 257 S.W.3d at 890; see also Allied-Bruce Terminix Cos., Inc. v. Dobson. 513 U.S.

  265, 273 (1995). If, however. the arbitration provision contains a stipulation that the underlying

  contract involves interstate commerce, the moving party need not prove connections with

  interstate commerce. Pest Mgmt., Inc. v. Langer, 369 Ark. 52, 59-60, 250 S.W.3d 550, 556

  (2007); see also Volt Info. Sets., Inc. v. Bd of Trustees of Leland Stanford Un1v., 489 U.S. 468,

 474-75 (1989) (holding that the parties to a contract have the authority to choose the law that

 govems their arbitration agree:rnent).

            Here, the parties' Arbitration Agreement is a written agreement that contains an

 arbitration clause. See Exhibit B. The Arbitration Agreement contains a stipulation that the

 underlying contract, the Admission Agreement, "evidences a transaction involving interstate

 commerce governed by the Federal Arbitration Act." !d.; see also Exhibit A. The Arbitration

 Agreeme~t aiso includes a choice~of-law provision: "This agreement shall be governed by and

 interpreted under the Federal Arbitration Act, 9 U.S.C. Sections 1-16."      Accordingly~   the FAA

 controls. See Volt, 489U.S. at 474-75; Pest Mgmt., Inc., 369 Ark. at 59-60, 250 S.W.3d at 556.




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            Further, even if the plain language of the parties' agreement did not remove the need to

  prove connections with interstate commerce, the FAA nevertheless controls because the

  agreement affects interstate commerce. Under the FAA, "involving commerce'' is the functional

  equivalent of ..affecting commerce," which signals Congress's intention to invoke the broadest

  exercise of its Commerce Clause power. Citizens Bankv. Alafabco1 Inc., 539 U.S. 52l 56 (2003).

  The FAA thus encompasses the range of transactions within the flow of interstate commerce. Id

  Even where the individual transaction at issue does not have a specific effect on interstate

  commerce, the FAA still applies if "in the aggregate the economic activity in question would

  represent a general practice subject to federal control." Id.

           In this case, the interstate commerce requirement is met both by the individual transaption

 and the activity in the aggregate. Pine Hills is a licensed, skilled nursing facility that provides

 health care treatment and daily personal care to its patients. The federal Medicare and Medicaid

 programs fund the care of many patients at Pine Hills, including the care of Mr~ Robinson. See

 In re Nexion Health at Humble: Inc., 173 S.W.3d 67, 69 (Tex. 2005); Owens v. Coosa Valley

 Health Care, Inc., &90 So.2d 983, 987-88 (Ala. 2004). Pine Hills frequently transmitted Mr.

 Robinson's health information via interstate wire to receive payments for care provided to her,

 and as a condition of receiving federal funds, Pine Hills must adhere to federal rules and
                                   '
 regulations regarding patient care an.d billing practices. See Citizens Ban~, 539 U.S. at 56. In

 addition, several of the defendants named by the Plaintiff in this case are out-of~state residents,

 Vicksburg Partners, L.P. v. Stephens, 911 So.2d 507, 515 (Miss. 2005), and Pine Hills purchaSes

 medical supplies and equipment from out-of-state vendors, Owens, 890 So.2d at 987.               The

 underlying agreement affects interstate commerce, and as such, the FAA governs the Arbitration

 Agreement even absent the controlling stipulation of the parties in this case.


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  B.        The Court must compel arbitration of the claims in the Plaintiff's Complaint because a
            valid agreement to arbitrate exists that encompasses the dispute between the parties.

            Having established that the FAA controls, the FAA requires this Court to compel

  arbitration where a valid agreement to arbitrate exists that encompasses the dispute between the

 parties.        See AT&T Techns. v: Commc 'ns Workers, 475 U.S. 643, 648-49 (1986); see ~lso

 Houlihan v. Offerman & Co., Inc., 31 F.3d 692, 694-95 (8th Cir. 1994). The FAA provides that

 written agreements to arbitrate contractual disputes "shall be valid, irrevocable, and enforceable,

 save upon such grounds as exist at law or in equity for the revocation of any contract.'' 9 U.S.C.

 § 2. "By its terms, the Act leaves no place for the exercise of discretion,'' and agreements to

 arbitrate that fall within the scope of the FAA must be enforced. Dean Witter Reynolds, 470

 U.S. 213, 218 (1985); see also KPMG LLP v. Cocchi, 132 S. Ct. 23, 24 (2011) (per curiam). In

 considering a motion to compel arbitration under the FAA, the Court's inquiry is limited to

 determining (1) whether a valid agreement to arbitrate exists, and (2) whether the agreement

 encompasses the parties' specific dispute. Terminix v. Trivitt, 104 Ark. App. 122, 126-27, 289

 S .W.3d 485, 488 (2008); see also Houlihan, 31 F. 3d at 694-95.

            1.       A valid arbitration agreement exists between the parties.

          In order to compel arbitration, the moving party must establish that a valid arbitration

 agreement exists between the parties. Gruma Corp., 2010 Ark. 151~ at 6, 362 S.W.3d 898, 902.

 The validity of an arbitration provision is primarily a question of state contract law~ id ~ "giving

 due regard to the federal policy favoring arbitration," Terminix v. Trivitt, 104 Ark. App. 122,

 126, 289 S.W.3d 485, 488 (2008). The court applies to arbitration agreements the same rules of

 contract construction and Interpretation that apply to agreements generally.        Alltel Corp. v.

 Sumner, 360 Ark. 573, 576, 203 S.W.3d 77. 79 (2005). For the arbitration agreement to be



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  enforceable, then, there must be: (1) competent parties; (2) subject matter; (3) legal

  consideration; (4) mutual agreement; and (5) mutual obligation. ld

            Here, Mr. Willie Robinson and a representative of Pine Hills, Leslie Lewis, signed the

  arbitration agreement. See Exhibit B. The parties are presumed competent, Union Nat'l Bank of

 Little Rock v. Smith, 240 Ark. 354, 356, 400 S.W.2d 652, 653 (1996), and the signatures

 evidence each party's assent to the agreemenfs terms, see Exhibit B. Within the Arbitration

 Agreement, the parties exch~ed promises to arbitrate, and the terms bind both parties to

 arbitration: See Exhibit B. Accordingly, the parties entered a valid arbitration agreement.

           2.       The Arbitration Agreement encompasses the Plaintiff's claims in this case.

           In order to compel arbitration, the moving party must establish that the Arbitration

 Agreement enci?mpasses the dispute at issue. See BDO Seidman LLP v. SSW Holding Co. , Inc.,

 2012 Ark. 1, at 10, _ S.W.3d _. "Questions of arbitrability must be addressed with a healthy

 regard for the federal policy favoring arbitration, and any doubts concerning the scope of

 arbitrable issues should·be resolved in favor of arbitration." !d.; see also }.1oses H. Cone Mem '!

 Hosp. v. Mercury Con.str. Corp.• 460 U.S. 1, 24-25 (1983). Indeed, arbitration should be ordered

 "unless it may     oe said with positive assurance that the arbitration clause is not susceptible of an
 interpretation that covers the asserted dispute." AT&T Techns., Inc. v. Commc 'n Workers ofAm.,

 475   u.s. 643, 650 (1986).
            The Arbitration Agreement broadly encompasses "any and all claims, disputes, and

 controversies ... arising out of, or in connection with, or relating in any way to the Admission

 Agreement or any service or health care provided by the Facility to the Resident." See Exhibit

B.     The Arbitration Agreement then expounds disputes the parties would resolve through

arbitration:


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             The agreement to arbitrate includes, but is not limited to, any claim for payment,
            nonpayment, or refund .for services rendered to the Resident by the Facility,
            violations of any right granted to the Resident by law or by the Admission
            Agreement, breach of contract, fraud or misrepresentation, negligence, gross
            negligence, malpractice, or claims based on any departure from accepted medical
            or health care safety standards, as well as any and all claims for equitable relief
            or claims based on contract, tort, statute, warranty, or any alleged breach, default,
            negligence, wantonness, fraud, misrepresentation, suppression of fact, or
            inducement.

  !d. The list illustrates the diverse and extensive nature of disputes that the parties agreed to

  arbitrate rather than litigate.

           The claims in the Plaintiffs Complaint are encompassed in the parties' Arbitration

 Agreement because the Plaintiff's allegations are directed at the care and treatment Mr. Robinson

 received at Pine Hills. In addition, each separate cause of action initiated by the Plaintiff is

 specifically identified in the Arbitration Agreement.             The Arbitration Agreement thus

 encompasses the dispute implicated by the Plaintiff's Complaint. Because the parties entered a

 valid arbitration agreement that encompasses their dispute, the FAA requires this Court to

 compel the Plaintiff to arbitrate the claims in the Complaint.           9 U.S.C. § 2; Dean Witter

 Reynolds, 470 U.S. at 218.

 C.        Persuasive authority reinforces the FAA's requirement to compel arbitration of this
           matter.
           To date, several Arkansas circuit courts have compelled arbitration based on arbitration

 agreements utilizing the same language and terms as the Arbitration Agreement in this case. See

 Composite Exhibit D, Ross v. Canyon Springs Health and Rehabilitation et al., No. CV-2012-

 466 (Garland Cnty. Cir. Ct. Mar. 29, 2013); Bell v. GGNSC Rogers, No. CV-2010-3447-3

 (Benton Cnty. Cir.    Ct. Mar. 10, 2011); Johnson v. GGNSC Holdings LLC, No. CVw2010-697 Til
 (Garland Cnty. Cir. Ct. Oct. 25, 2010); Diddle v. Highland Court, LLC, No. CV-2009-86 (Searcy

 Cnty. Cir. Ct. Mar. 12, 2010).

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    D.      The Plaintiff's Complaint should be dismissed because all of the claims are arbitrable, or
            alternatively, the Plaintiff's claims should be stayed pending arbitration.

            While the FAA governs the substantive issues involved in arbitration determinations,

    Arkansas law governs the procedural issues. England v. Dean Witter Reynolds, Inc., 306 Ark.

    225, 227: 811 s·.W.2d 313, 315 (1991). 1 When the court compels an issue to arbitration,

    Arkansas law mandates that "[a]riy action or proceeding involving an issue subject to arbitration

    shall be stayed if an order for arbitration or an application therefore has been made." Ark. Code

    Ann. § 16-108-201(d) (Repl. 2006) (current version codified at Ark. Code Arm. § 16-108-207
                   2
    (Supp. 2011)). If, however, "the issue is severable,'' the court may limit the stay to that claim."

    Ark. Code Ann. § 16-108-20l(d). The court may also dismiss the action if all the claims are

    arbitrable. See Gruma Corp. v. Morrison, 2010 Ark. 151, at 3-4, 11, 362 S.W.3d 898, 900-01

    (treating a motion to dismiss based on enforceable arbitration agreement as to all claims as a

 motion to compel arbitration);     cf Jann v. Jnterplastic Corp., 631 F. Supp. 2d 1161, 1167 (D.
 Mirm. 2009) (collecting cases holding that under the FAA, the district court may dismiss action

 rather than stay if all claims in case are arbitrable). Accordingly, because all of the causes of




 ~The Arkansas S\lpreme Court has not directly addressed whether the FAA's mandatory stay provision, 9
 U.S.C. § 3, applies in state court. The U.S. Supreme Court has twice implied in dicta that by its plain
 language, section 3 applies only in federal court. Volt, 468 U.S. at 477 n.6; Southland Corp. v. Keating,
 465 U.S. l, 16 n.lO {1984). But see, e.g.,Auto Owners Ins., Inc. v. Blackmon Ins. Agency, Inc.,_ So.2d
 __, 2012 WL 2477927, at "'5 n.4 (Ala. 2012) (applying section 3 to action brought in Alabama state
 court); BDO Seidman, LLP v. SSW Holding Co., Inc., 2012 Ark. 1, at 10, _ S.W.3d _(citing to 9
 U.S.C. § 3); DiMambro-Northend Assocs. v. Bl1211ck-Alvarez, Inc., 309 S.E.2d 364, (Ga. 1983) (applying
 section 3 to action brought in Georgia state court); .Krut v. Whitecap Housing Group, LLC, 602 S.E.2d
 201, 207-08 (Ga. Ct. App. 2004) (following DiMambro rule applying section 3 in state court).
2
  The Arkansas Legislature amended the Arkansas ArbH:ration Act in 2011. Act 695, 2011 Ark. Acts
2563 (codified as amended at Ark. Code Ann. §§ 16-108-201 to -230 (Supp. 2011)). The revised Act
applies only to arbitration agreements made on or after July 27, 2011, the effective date of the statute, and
the Arbitration Agreement in this case was signed on June 25, 2009. Ark. Code Ann.§ 16-108-203(a).

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  action in.the Plaintiff's complaint are within the scope of the parties' arbitration agreement, this

  case should be dismissed or stayed pending the conclusion of arbitration.

                                       IV.     CONCLUSION

         Ibis case should be compelled to arbitration and dismissed because the parties' valid

 arbitration agreement encompasses the Plaintiffs claims. The substantive provisions of the

 Federal Arbitration Act require this Court to compel the case to arbitration, and as such, the

 procedural provisions of the Arkansas Arbitration Act require the case to be dismissed or stayed

 pending the conclusion of arbitration. The Defendants respectfully request that this Court

 compel arbitration in accordance with the te:rms of the Arbitration Agreement and dismiss the

 case, or alternatively, stay this action pending the conclusion of arbitration.


                                                Respectfully Submitted,

                                                KUTAKROCKLLP


                                                M~=PR~IW
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                                                Samantha B. Leflar, AR 2010190
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                                                Fayetteville, AR 72703-4099
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                                                ATTORNEYS FOR DEFENDANTS




                                                   10
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                                   CERTIFICATE OF SERVICE

           I hereby certify that I served the Brief in Suppqrt ofDefendants' Joint Motion to Dismiss
  Complaint and Compel Arbitration by rnailing it on this 13th day ofNovember, 2013, to:

           Mr. William P. Murray, III
           WILKES & McHUGH, P.A.
           1601 Cherry Street; Suite 1300
           Philadelphia, PA 191 02



                                                         j&m~ ll
                                                        Samantha B. Leflar
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  FROM:                    Samantha B. Leflar                                          EMPLNo.:               4962
   SECRETARY:              Rachel Barnes
  RE:                      Eddie B. Robinson, a.s Administrator for The Estate of Willie Robinson, Sr.,
                           deceased v. Pine Hills Health and Rehabilitation, LLC, et al.
                           Ouachita County Circuit CourtI Case No.: CV-2013-200-6

    CLIENTNUMBER: · 83308-11

    NUMBER OF PAGES, INCLUDING COVER PAGE:                                  13        I                              CoNFIRM: No

  MESSAGE:

    Part 2 of 2 - Brief in Support of Defendants' Motion
    to Dismiss Complaint and Compel Arbitration.
    Thank you!


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         VIA FACSIMILE: 870-837-2252

        Ms. Betty Wilson
        Ouachita County Circuit Court Clerk
        145 Jefferson St SW
        P.O. Box667
        Carnden,PJR 71711-0667

                     Re:            Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr.,
                                    deceased v. Pine Hills Health and Rehabilitation, LLC, et al.
                                    Ouachita County Circuit Cowt Case No.: CV-2013-200-6

        Dear Ms. Wilson:

                Enclosed please fm.d the Defendants, Motion to Dismiss Complaint and Compel
        Arbitration in the above-referenced matter. The Brief in Support of Motion to Dismiss
        Complaint and Compel Arbitration will follow under separate cover. Please file accordingly and
        return a copy of the file-marked first pages to me via return facsimile. I am happy to pay for any
        fees associated with this fax-filing.

               Thank you for your courtesy in this matter. If you have any questions, please do not
       hesitate to contact me.

                                                                            Sincerely,

                                                                             A~~b(JAA
                                                                            Samantha B. Leflar

       SBL/reb
       Enclosures

       cc:          Mr. William Murray




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              IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                 SIXTH DIVISION

  Eddie B. Robinson, as Administrator for
  The Estate of Willie Robinson , Sr., deceased

                                              PLAINTIFF

 vs.                                                            NO. CV- 2013-200-6

 EOR-ARK, LLC ; VAJ LLC ; Senior Living Communities
 of Arkansas, LLC ; SLC Operations Holdings, LLC ; SLC
 Operations, LLC; Pine Hills Holdings, LLC ; Pine Hills
 Health and Rehabilitation , LLC , d/b/a Pine Hills Health
 and Rehabilitation ; SLC Operations Master Tenant, LLC ;
 SLC Properties, LLC; SLC Property Holdings, LLC ; SLC
 Property Investors, LLC ; Arkansas Nursing Home
 Acquisition , LLC ; CSCV Holdings, LLC; Capital Funding
 Group, Inc.; Capital Funding , LLC ; Capital Finance , LLC ;
 Capital SeniorCare Ventures, LLC ; ADDIT, LLC ; SLC
 Professionals of Arkansas, LLC , n/k/a SLC Professionals ,
 LLC; Senior Vantage Point, LLC; 900 Magnolia Road SW,
 LLC ; Quality Review, LLC; Arkansas SNF Operations
 Acquisition , LLC; SLC Professionals Holdings, LLC ; SLC
 Administrative Services of Arkansas, LLC ; John Dwyer;
 and Michael G. Hunter, Administrator,

                                              DEFENDANTS


            RESPONSE TO DEFENDANTS' MOTION TO STAY DISCOVERY
           PENDING RESOLUTION OF MOTION TO COMPEL ARBITRATION

        Plaintiff, Eddie B. Robinson , as Administrator for the Estate of Willie Robinson ,

 Sr. , deceased , through the undersigned counsel, hereby files this Response to

 Defendants' Motion to Stay Discovery Pending Resolution of Motion to Compel

 Arbitration , and in support, states as follows :

                     FACTUALANDPROCEDURALBACKGROUND

        This is a case resulting from nursing home abuse and neglect and other

 violations of Arkansas's statutory nursing home residents ' right , which led to the
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  needless suffering of Willie Robinson . On or about April 26 , 2010 , Willie Robinson , Sr.,

  deceased, became a resident of the facility known as Pine Hills Health and

  Rehabilitation Center, a skilled nursing home owned and operated by Defendants.

 Except for hospitalizations, he remained a resident of the facility until his death on

 October 7, 2011. While under Defendants' care, Willie Robinson , Sr. , suffered injuries,

 including, but not limited to extreme pain and suffering, mental anguish , disfigurement,

 disability, degradation, emotional stress, and loss of personal dignity.

        Plaintiff originally filed this action in Ouachita Count on October 2, 2013. On

 November 11, 2013, Defendants filed a Joint Motion to Dismiss Complaint and to

 Compel Arbitration , seeking to enforce a purported arbitration agreement against Willie

 Robinson , Sr.

        In response to Defendants' Motion, Plaintiff contends that the purported

 arbitration agreement is not valid or binding against Mr. Robinson 's Estate for the

 following reasons:

               1.      Enforcement of the arbitration agreement is rendered impossible by
                       the failure of an integral term ;

               2.      Enforcement of the arbitration agreement is unconscionable
                       because of, among other reasons, of the high fees the agreement
                       imposes on the Estate of Willie Robinson, Sr., which has few or no
                       assets; and

               3.      Additional reasons may exist for denying the motion to compel
                       arbitration , and discovery into those issues will be required .

        Defendants seek to stay all discovery in this case pending the outcome of their

 arbitration motion.   Further, in the event that the arbitration agreement is enforced ,

 Defendants contend that the arbitrator, not the Court, has jurisdiction over discovery

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  matters.

        Plaintiff submits that Defendants' Motion to Stay Discovery should be denied . As

  set forth in Plaintiff's response to the Joint Motion to Dismiss Complaint and to Compel

  Arbitration , no enforceable arbitration agreement exists. Parties cannot be forced into

  binding arbitration on claims which they did not agree to arbitrate. See Baldwin Co. v.

  Weyland Mach. Shop, 14 Ark. App . 118, 685 S.W.2d 537 (1985) (holding that a

 provision of an arbitration agreement must be construed to mean "joinder of

 substantially involved parties 'who have consented to arbitration ."'). Moreover, the

 Federal Arbitration Act was designed "to make arbitration agreements as enforceable

 as other contracts, but not more so ." Prima Paint Corp. v. Flood & Conklin Mfg. Co.,

 388 U.S. 395, 404 (1967)(emphasis added).           Furthermore, it remains Defendants'

 burden to prove that there is an enforceable agreement to arbitrate.          Accordingly,

 Defendants cannot use their purported arbitration agreement as both a sword and a

 shield to prevent Plaintiff from preparing her case for resolution-whether it is in the

 judicial system or before an arbitrator.

       At this early stage in the litigation, Plaintiff does not seek to obtain from

 Defendants any discovery that would not otherwise be available in arbitration if the

 arbitration agreement were held to be enforceable.          Although the NAF Rules of

 Procedure incorporated into the arbitration agreement provide that the arbitrator is not

 bound by the rules of evidence, See NAF Code Rule 28 , 35 , general discovery is

 permitted . Rule 29 specifically provides that, "Parties shall cooperate in the exchange of

 Documents and information. A Party seeking discovery shall contact other Parties and

 discuss discovery information and any objections and arrange for the exchange of
                                                 3
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 Documents and information. " See NAF Rule 29. Discovery is clearly contemplated and

 considered necessary before any arbitration hearing is held because the parties are

 required to submit at least ten (10) days prior to any arbitration hearing ,

       (1) A list of all witnesses expected to testify and a summary of their
           testimony;

       (2) A list and description of all exhibits to be introduced ;

       (3) A copy of all Documents and a detailed description of any property to
           be introduced at the Hearing ; and

       (4) An Affidavit establishing the authenticity of any Document proposed to
       be introduced at the Hearing .

 See NAF Rule 31 .

       For Defendants to contend that they are entitled to foreclose any development of

 Plaintiffs case while their Joint Motion to Dismiss Complaint and to Compel Arbitration

 remains pending ignores the discovery provisions of the very agreement they seek to

enforce. Indeed, that agreement requires the parties to cooperate in the exchange of

discovery and information .

       Alternatively, even if this Court determines that a stay of substantive case

discovery is warranted, Plaintiff requests an opportunity to conduct discovery related to

the arbitration agreement Defendants are seeking to enforce . The issues surrounding

the authority and competency of the signatories, the unconscionability of the agreement,

and the impossibility of the performance of an integral term are all fact-based issues

that necessitate a factual record. The parties should be permitted to conduct discovery

regarding these issues.




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        Plaintiff is entitled to a "just, speedy and inexpensive determination " of her action .

 Ark.R.Civ.P. 1. Defendants should not be permitted to effectively bring this action to a

 standstill and deprive Plaintiff of her right to discovery while hiding behind the cloak of a

 purported arbitration agreement that claims to espouse the same objectives of a quick

 and inexpensive resolution of claims , particularly where that purported agreement is

 both invalid and unenforceable.

                                       CONCLUSION

       For each of these reasons , Defendants' Motion to Stay Discovery Pending

 Resolution of Motion to Compel Arbitration must be denied.


                                            Respectfully submitted,

                                            Eddie B. Robinson , as Administrator for The
                                            Estate of Willie Robinson , Sr. , deceased ,



                                            By:

                                                         urray, Ill (AR2013033)
                                            Wil san McHugh , P.A.
                                            16 j Ch ry Street, Suite 1300
                                            Phila phia , PA 19102
                                            Telephone: (215) 972-0811
                                            Facsimile : (215) 972-0580
                                            Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE


         I hereby certify that a true and correct copy of the foregoing was served upon the
 following counsel of record via United States Postal Service, postage prepaid, on this
 6th day of December, 2013:


    Scott Jackson, Esq.
    Mark W. Dossett, Esq.
    Samantha B. Leflar, Esq .
    Kutak Rock, LLP
    234 East Millsap, Suite 400
    Fayetteville, AR 72703
    72703-4099




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                                   WILKES & McHUGH, P.A.
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SUITE 1300
PHILADELPHIA, PA 19102
                                                 December 6, 2013


        VIA FEDERAL EXPRESS

        Betty Wilson, Clerk
        Ouachita County Circuit Court
        Courthouse
        145 Jefferson Street SW
        Camden, Arkansas 7170 1

        Re:       Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased vs.
                  EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC
                  Operations Holdings, et al.
                  Ouachita County Circuit Court No. CV-2013-200-6

        Dear Ms. WiJson:

                Enclosed please find an original and one copy of Plaintiff's Response to Defendants'
        Motion to Stay Discovery Pending Resolution of Motion Compel Arbitration. Kindly file the
        original and return the time-stamped copy in the self-addressed, stamped envelope enclosed for
        your convemence.

                  By copy of this letter, the aforementioned documents are being provided to counsel of
        record.

               Thank you for your anticipated cooperation. Should you need additional information
       please do not hesitate to contact me immediately.

                                                       Sincerely,

                                                      Wilkes & McHug , P.A.




       WPM/cbg
       Enclosures

       cc: w enclosure:         Mark W. Dossett, Esquire/Samantha B. Leflar, Esquire
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                 IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                    SIXTH DIVISION


 Eddie B. Robinson, as Administrator for The Estate of
 Willie Robinson, Sr., deceased                                                       PLAINTIFF

                  V.                CASE NO.: CV-2013-200-6

EOR-ARK, LLC; VAJ LLC; Senior Living Communities of
Arkansas, LLC; SLC Operations Holdings, LLC; SLC Operations,
LLC; Pine Hills Holdings, LLC; Pine Hills Health and
                                                                                             .,
Rehabilitation, LLC, d/b/a Pine Hills Health and Rehabilitation;
SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC
                                                                                             r
Property Holdings, LLC; SLC Property Investors, LLC; Arkansas                                rn
Nursing Home Acquisition, LLC; CSCV Holdings, LLC; Capital                                   0
Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;
Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC
Professionals of Arkansas, LLC, nlk/a SLC Professionals, LLC;
Senior Vantage Point, LLC; 900 Magnolia Road SW, LLC; Quality
Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC
Professionals Holdings, LLC; John Dwyer; and Michael G. Hunter,
Administrator                                                                     DEFENDANTS


 DEFENDANTS' REPLY TO PLAINTIFF'S RESPONSE TO DEFENDANTS' MOTION
         TO DISMISS COMPLAINT AND COMPEL ARBITRATION

           Come now the Defendants, by and through their counsel, Kutak Rock LLP, and for their

Reply to Plaintiff's Response to Defendant's Motion to Dismiss Complaint and Compel

Arbitration, state:

A.         The unavailability of the NAF does not render the Arbitration Agreement unenforceable.

           The Federal Arbitration Act, the language of the Arbitration Agreement and persuasive

authority all undermine the Plaintiff's argument that enforcement of the Agreement is

impossible. As Plaintiff observes, the Arbitration Agreement in this case selects the NAF Code

of Procedure ("NAF Code") as the procedural rules that will govern any arbitration between the

parties:
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        It is understood and agreed by Facility and Resident that any and all claims,
        disputes, and controversies (hereinafter collectively referred to as a "claim" or
        collectively as "claims") arising out of, or in connection with, or relating in any
        way to the Admission Agreement or any service or health care provided by the
        Facility to the Resident shall be resolved exclusively by binding arbitration to be
        conducted at a place agreed upon by the Parties, or in the absence of such an
        agreement, at the Facility, in accordance with the National Arbitration Forum
        Code of Procedure, ("NAF") which is hereby incorporated into this Agreement
        [FN1], and not by a lawsuit or resort to court process. This agreement shall be
        governed by and interpreted under the Federal Arbitration Act, 9 U.S.C. Sections
        1-16.

See the Arbitration Agreement, Defendants' Exhibit B to the Motion to Compel Arbitration,

("Defendants' Exhibit B"). By selecting the NAF Code, the Arbitration Agreement arguably

implicitly selects the NAF as arbitrator, because NAF Code Rule l.A states that it "shall be

administered only by the NAF." See Plaintiff's Response Exhibit C, National Arbitration Forum

Code of Procedure. Due to a consent decree the NAF entered with the Minnesota Attorney

General, it no longer arbitrates consumer disputes and is unavailable to arbitrate this case.

       Because NAF's unavailability makes Rule l.A of the NAF Code unenforceable, Rule 48

of the NAF Code is triggered. Rule 48 qualifies Rule l.A by stating that "[i]n the event a court

of competent jurisdiction shall find any portion of this Code ... to be in violation of the law or

otherwise unenforceable, that portion shall not be effective and the remainder of the Code shall

remain effective." See Plaintiff's Response Exhibit C, National Arbitration Forum Code of

Procedure, at 66.   The NAF Code goes on to state that it "shall be interpreted in conformity"

with section 5 of the FAA.       Moreover, the parties' Arbitration Agreement-in addition to

incorporating the NAF Code-expressly states that section 5 of the FAA governs the Agreement.

All roads lead to section 5, which "was drafted to provide a solution to the problem caused when

the arbitrator selected by the parties cannot or will not perform." Astra Footwear Indus. v.

Harwyn Int'l, Inc., 442 F. Supp. 907, 910 (S.D.N.Y. 1978).



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        1.      Section 5 of the Federal Arbitration Act requires courts to appoint an arbitrator
                when the parties' designated arbitrator is unavailable.

        Section 5 of the FAA provides a mandatory mechanism for substituting an arbitrator

 when the parties' designated arbitrator is not available. 9 U.S.C. § 5. Specifically, Section 5

 provides:

        If in the agreement provision be made for a method of naming or appointing an
        arbitrator or arbitrators or an umpire, such method shall be followed; but if no
        method be provided therein; or if a method be provided and any party thereto
        shall fail to avail himself of such method, or if for any other reason there shall be
        a lapse in the naming of an arbitrator or arbitrators or umpire, or in filling a
        vacancy, then upon the application of either party to the controversy the court
        shall designate and appoint an arbitrator or arbitrators or umpire, as the case may
        require, who shall act under said agreement with same force and effect as if he or
        they had been specifically named therein.

9 U.S.C. § 5. In the context of the NAF's unavailability specifically, the Third, Seventh, and

Eleventh Circuits have held that arbitration agreements selecting the NAF as arbitrator were

enforceable and that section 5 required the appointment of a substitute arbitrator in place of the

NAF. Green v. U.S. Cash Advance Illinois, LLC, 724 F.3d 787, 793 (7th Cir. 2013); Khan v.

Dell, Inc., 669 F.3d 350 (3d Cir. 2012); Pendergrast v. Sprint Nextel Corp., 691 F.3d 1224, 1236

n.13 (11th Cir. 2012); but see Ranzy v. Tijerina, 393 F. App'x 174 (5th Cir. 2010) (unpublished

opinion with no precedential value, Fed. R. App. P. 47.5.3).

       2.      The limited exception to Section 5 does not apply here.

       The Plaintiff's argument regarding the unenforceability of the Arbitration Agreement is

based on a limited exception to section 5 that some courts have recognized where it is clear the

parties' designation of a particular arbitrator was integral to the parties' agreement to arbitrate.

See, e.g., In re Salomon Inc. Shareholders ' Derivative Litigation, 68 F.3d 554 (2d Cir. 1995).

The exception applies only when the parties intended the selected arbitrator to be "so central to


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  the arbitration agreement that the unavailability of that arbitrator [brings] the agreement to an

  end." Khan, 669 F.3d at 354; Reddam v. KPMG LLP, 457 F.3d 1054, 1059-61 (9th Cir. 2006),

 abrogated on other grounds by At!. Nat' I Trust LLC v. Mt. Hawley Ins. Co., 621 F.3d 931 (9th

 Cir. 2010); McGuire, Cornwell & Blakey v. Grider, 771 F. Supp. 319, 320 (D. Colo. 1991). Put

 another way, the question is whether the reference to the forum named in the agreement is

 integral to the decision to arbitrate or merely an ancillary inclusion. Brown v. liT Consumer

 Fin. Corp., 211 F.3d 1217, 1222 (11th Cir. 2000).

         For example, the selection of arbitral forum was integral to an arbitration agreement

 where the agreement stated, "the party requiring arbitration must choose one of the following

 organizations as Administrator: American Arbitration Association [or the] National Arbitration

 Forum." QuickClickLoans, LLC v. Russell, 943 N.E.2d 166 (Ill. Ct. App. 2011). In contrast, the

 selection of arbitral forum was not integral to the arbitration agreement where the agreement

 stated that arbitration "shall be determined pursuant to the rules" of the National Association of

 Securities Dealers. Reddam, 457 F.3d at 1060.

        Here, the limited exception to Section 5 does not apply because nothing in the Arbitration

 Agreement indicates the NAP was central to the agreement; instead, the plain language suggests

 the parties' overriding concern was that disputes between them be arbitrated.            First, the

 Arbitration Agreement neither selects the NAP as arbitrator nor mandates arbitration before the

 NAP expressly. It only selects the NAP Code as the procedural rules the arbitrator will apply in

 conducting any arbitration between the parties. (Defendants' Exhibit B).

        Courts have consistently held that the limited exception to section 5 does not apply when

 an arbitration clause selects an arbitral forum's rules but does not expressly designate that forum

 to arbitrate. See Reddam, 457 F.3d at 1059-61; Meskill v. GGNSC Stillwater Greeley LLC, 862



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 F. Supp. 2d 966, 971-73 (D. Minn. 2012); Kolesar v. Evangelical Lutheran Good Samaritan

 Society et al., No. 4:11CV00915-SWW, at 10-11 (E.D. Ark. Oct. 17, 2012) (Weber Wright, S.,

 presiding); Clerk v. Cash Ctr. of Utah, LLC, No. 09-4964, 2011 WL 3739549, at *5-6 (E.D. Pa.

 Aug. 25, 2011); Jones v. GGNSC Pierre LLC, 684 F. Supp. 2d 1161, 1167 (D.S .D. 2010). In

 selecting the NAF Code but not designating an arbitrator, the Agreement acknowledges the

 possibility of another arbitrator administering arbitration.     (Defendants' Exhibit B).     The

 agreement further acknowledges this possibility by designating all sections of the FAA,

 including section 5, as the governing law. (Defendants' Exhibit B). If the parties wished to

 qualify the Agreement on the availability of the NAF, they could have expressly stated so rather

 than obliquely attempting to by selecting NAF rules. Reddam, 457 F.3d at 1059; Brown v.

 Delfre, 968 N.E.2d 696, 703 (Ill. App. Ct. 2012). "Something more direct is required before [the

 court will], in effect, annihilate an arbitration agreement." Reddam, 457 F.3d at 1061.

        In fact, even where parties explicitly specified both an arbitral forum and the forum rules

 in the arbitration agreement, some courts have held that alone does not trigger the section 5

exception. Khan, 669 F.3d at 355; Davis v. Sprint Nextel Corp., No. 12-01023-CV-W-DW, 2012

WL 5904327, at *4 (W.D. Mo. Nov. 26, 2012); Brown v. Delfre, 968 N.E.2d 696, 703 (Ill. App.

Ct. 2012). Otherwise, parties to an arbitration agreement could never designate an arbitrator

without risking the agreement becoming unenforceable due to the arbitrator's unavailability.

        The extent to which the Arbitration Agreement strives to avoid this risk further

demonstrates why the implicit designation of the NAF is not central to the Agreement. Both the

Agreement and the NAF Code go to great lengths to express in no uncertain terms that the

parties' goal of alternative dispute resolution is paramount and that Section 5 should apply no

matter what happens. The Agreement "shall be governed by and interpreted under the Federal



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 Arbitration Act, 9 U.S.C. Section 1-16." (Defendants' Exhibit B). Likewise, the NAF Code

states that it "shall be interpreted in conformity with 9 U.S.C. §§ 1-16." (Exhibit C to Plaintiffs

Resp. to Defs.' Motion to Compel Arbitration). The NAP Code also states that if "a court of

competent jurisdiction shall find any portion of this Code . . . to be in violation of the law or

otherwise unenforceable, that portion shall not be effective and the remainder of the Code shall

remain effective." !d.

       Most notably, the Arbitration Agreement contains a similar severance provision: "In the

event a court having jurisdiction finds any portion of this agreement unenforceable, that portion

shall not be effective and the remainder of the Agreement shall remain effective." (Defendants'

Exhibit B). Under general Arkansas contract law, the severance provision instructs the court to

remove an invalid term and enforce the remaining contract. Bryant Lumber Co. v. Fourche River

Lumber Co., 124 Ark. 313, 323, 187 S.W. 455, 458 (1916). If the invalid provision can be

separated from the valid, the contract remains enforceable. See Kell v. Bella Vista Village Prop.

Owners Ass'n, 258 Ark. 757, 765, 528 S.W.2d 651, 656 (1975).               When the Arbitration

Agreement contains a severability provision and permits severing any portion of the agreement

found to be unenforceable, "[the] NAF's designation as arbitrator is not integral and is severable

in order to give effect to the arbitration requirement, the sole purpose of the Agreement."

Schuiling v. Harris, 286 Va. 187; No. 121582, at *12, 2013 WL 4854364 (Sep. 12, 2013). In

Schuling, the Virginia Supreme Court concluded that these severability provisions must be given

their ordinary meaning, and that phrases such as any portion of this agreement "includes the

clause ... designating NAF as arbitrator." !d. at *8.   Several other courts have also found that

where an arbitration agreement contains a severance provision, the designated forum is not

central to the parties' agreement. See Parilla v. lAP Worldwide Servs., VI, Inc., 368 F.3d 269,



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 288 (3d Cir. 2004); Jones, 684 F. Supp. 2d at 1167; Diversicare Leasing Corp. v Nowlin, No. 11-

 CV-1037, 2011 WL 5827208, at *6 (W.D. Ark. Nov. 18, 2011).

        In addition, the way in which the Arbitration Agreement refers to the NAF suggests its

insignificance. The Agreement couches the NAF Code with the logistics of where arbitration

will occur: "at a place agreed upon by the Parties, or in the absence of such an agreement, at the

Facility[.]" (Defendants' Exhibit B). The Agreement mentions the NAF only once and uses

permissive, not mandatory, language. (Defendants' Exhibit B). In these circumstances, courts

have declined to ignore the overriding intent of the parties to arbitrate based on a single reference

to the NAF and permissive language. See, e.g., Kolesar, No. 4:11CV00915-SWW, at 10-11;

Meskill, 862 F. Supp. 2d at 971-73; Diversicare, 2011 WL 5827208, at *6; Jones, 684 F. Supp.

2d at 1167; Delfre, 968 N.E.2d at 703-04; cf Rivera v. Am. Gen. Fin. Servs. , Inc., 259 P.3d 803,

812-15 (N.M. 2011) (concluding that the selection of the NAF was integral to the agreement due

to "pervasive references" to the NAF and mandatory language). Particularly when contrasted

with the broad scope of disputes subject to arbitration-including "any and all claims" that relate

"in any way to the Admission Agreement or any service or health care provided by the Facility

to the Resident"-the consequence of the NAF appears miniscule. These factors all illustrate

that the language of the Agreement itself contains no indication the arbitral forum was central to

the parties' Arbitration Agreement, and as such, the limited exception to Section 5 does not

apply here.

       This conclusion reflects Arkansas law requiring that the court read arbitration agreements

to give effect to the spirit of the parties' agreement, Ruth R. Remmel Revocable Trust v. Regions

Fin. Corp, 369 Ark. 392, 398-99, 255 S.W.3d 453, 458-59 (2007), and that the court resolve

doubts about the enforceability of arbitration agreements in favor of arbitration, HPD, LLC v.



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 Tetra Technologies, Inc., 2012 Ark. 408, at 6. For all of these reasons, the unavailability of the

 NAF does not render the Arbitration Agreement unenforceable.

 B.     The Arbitration Agreement is not unconscionable.

        The Plaintiffs concerns about the fees imposed by the NAF are moot. The parties are

not .going to arbitrate before the NAF because it is no longer available, and the Defendants are

asking the Court to, as Congress expressly contemplated in section 5 of the FAA, appoint a

substitute arbitrator. The parties may agree to an acceptable arbitrator, or the Court may select

one for the parties.

        Even if the issue were not moot, the fees provision still does not render the arbitration

agreement unconscionable.         In assessing whether a particular contract provision is

unconscionable, Arkansas courts review the totality of the circumstances. Ark. Nat'! Life Ins.

Co. v. Durbin, 3 Ark. App. 170, 174-75, 623 S.W.2d 548, 550 (1981).              The inequality of

bargaining power between the parties and whether the aggrieved party was made aware of and

comprehended the provision in question are important considerations. Nat ' l Union Fire Ins. Co.

v. Guardtronic, Inc., 76 Ark. App. 313, 320, 64 S.W.3d 779, 783-84 (2002). Parties to an

agreement are presumed to have read and understood the terms of the agreement they sign. !d. at

319, 64 S.W.3d at 783. A party that signs a contract, after an opportunity to examine it, cannot

be heard to say that he did not know what it contained. Dodson v. Abercrombie, 212 Ark. 918,

208 S.W.2d 433 (1948).

       1.      The circumstances of the Arbitration Agreement were not unconscionable.

       Nothing about the general circumstances surrounding the Arbitration Agreement

indicates unfairness. The Arbitration Agreement states explicitly that signing is voluntary, that it

may be revoked within thirty days, and that the Resident has the right to seek advice from an



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 attorney prior to signing. The Agreement states, "READ CAREFULLY" in all caps, bold letters

 at the top. The Agreement states in all caps, bold letters that signing means the parties waive the

 right to a jury trial. (Defendants' Exhibit B).

          The Agreement was presented to the resident himself. By signing, Mr. Willie Robinson

 certified that the Agreement was explained to him, that he understood its contents, that he

 received a copy, and that he accepted its terms. (Defendants' Exhibit B). As the Plaintiff argues,

 Pine Hills had a superior bargaining position and there was no opportunity to negotiate terms, but

 this was a voluntary agreement that was not required for Mr. Robinson to reside at Pine Hills.

 (Defendants' Exhibit B).

          Further, "the times in which consumer contracts were anything other than adhesive are

long past." AT&T Mobility LLC v. Concepcion, 131 S. Ct. 1740, 1750 (2011). Because form

contracts are so pervasive, "any rule automatically invalidating adhesion contracts would be

completely unworkable." Cicle v. Chase Bank USA, 583 F.3d 549, 555 (8th Cir. 2009). There

was simply no evidence that anything unfair occurred when Pine Hills presented this voluntary

Agreement to Mr. Willie Robinson and he elected to sign it. See Miller v. Cotter, 863 N.E.2d

537, 546 (Mass. 2007) (holding that nothing in the circumstances of an ordinary admission to a

nursing home suggests unfairness); Vicksburg Partners, L.P. v. Stephens, 911 So. 2d 507, 510-11

(Miss. 2005) (same); Briarcliff Nursing Home v. Turcotte, 894 So. 2d 661, 663 (Ala. 2004)

(same).

          2.     The fee structure of the NAP does not render the Arbitration Agreement
                 unconscionable.

          The fee structure of the NAP does not render the Arbitration Agreement unconscionable,

and even if it did, the provision selecting the NAP Code should be severed and the remainder of

the Arbitration Agreement enforced. Again, the starting presumption is that the parties read and


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                                                                        /




 understood the terms of the Agreement they signed. McCaleb v. Nat'[ Bank of Commerce, 25

 Ark. App. 53, 59, 752 S.W.2d 54 (1988). The Arbitration Agreement did not set out the NAF

 fee structure in full, but it did state where to obtain a copy of the NAP Code. (Defendants'

Exhibit B).    Mr. Willie Robinson not only certified that he understood the terms of this

Agreement, he retained the unilateral right to withdraw his assent for thirty days after signing.

/d.   During this window, Mr. Robinson could have rescinded the Agreement without

consequence based on any objections he had to the proposed arbitration rules, the selected

arbitration forum, or the associated fees. No such objections were voiced.

        Further, the party attempting to avoid arbitration has the burden of showing that

arbitration would be prohibitively expensive to avoid undermining the federal policy in favor of

arbitration. Green Tree Fin. Corp. v. Randolph, 531 U.S. 79, 91 (2000). The Arkansas Supreme

Court has expressly recognized that, overall, arbitration is less expensive and more expeditious

than litigation. Hart v. McChristian, 344 Ark. 656, 662, 42 S.W.3d 552, 556-57 (2001); see also

Peter B. Rutledge, Whither Arbitration?, 6 Geo. J. L. & Public Policy 549, 558-61 (2008)

(synthesizing studies on arbitration costs, fairness, and satisfaction of participants, then

concluding that "most of the methodologically sound empirical research does not validate the

criticisms of arbitration"). In fact, the Plaintiff simply ignores the high expense of health care

litigation. See William P. Gunnar, M.D., Is There an Acceptable Answer to Rising Medical

Malpractice Premiums?, 13 Annals Health Law 465, 479 (Summer 2004) (citing the average

trial costs as between $35,000 to $50,000). When a party seeks to avoid arbitration by alleging

that the costs are unconscionable, the inquiry is directed at anticipated arbitration costs, not the

costs that could have been imposed. See, e.g., Faber v. Menard, Inc., 367 F.3d 1048, 1053 (8th

Cir. 2004) ("The burden of showing that arbitrators ' fees will be cost-prohibitive falls on the



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 party seeking to avoid arbitration.") (emphasis added); Bradford v. Rockwell Semiconductor Sys.,

 Inc., 238 F.3d 549, 556 n.5 (4th Cir. 2001) (inquiry is claimant's "expected or actual arbitration

 costs").

            Moreover, the NAP fee structure is not fundamentally unfair. It contains a waiver of fees

provision for indigent claimants that tracks the letter and spirit of Rule 72 of the Arkansas Rules

of Civil Procedure (allowing indigent plaintiffs to proceed in forma pauperis within the circuit

court's discretion). The NAP Code Rule 44(G) provides that a consumer claimant:

         who asserts that arbitration fees prevent the Consumer Party from effectively
         vindicating the Consumer's case in arbitration may, at the time of filing the
         Consumer's Initial Claim ... and prior to paying any filing fee, file a Request that
         another Party or Parties pay all or part of the arbitration fees or that the arbitration
         provision be declared unenforceable, permitting the Consumer to litigate the case
         instead of arbitrating the case. This Request shall be processed without a fee[.]

(Exhibit C to Plaintiffs Response). Upon request, another party may agree to pay all or part of

the fees required of the Consumer, agree to litigate the case, or file an objection to the request.

!d. If the parties do not agree, the Arbitrator must decide the request "based on the applicable

law." !d. The NAP Code further provides that the prevailing party may recover fees paid in the

arbitration. !d. These provisions mitigate any fundamental unfairness exhibited by the NAP fee

structure, which the Defendants note is now moot due to the NAP's unavailability as an arbitral

forum.

         Regardless, both the Arbitration Agreement and the NAP Code contain severability

provisions that should be applied if the fee structure is deemed unconscionable.                    (!d.;

Defendants' Exhibit B). "[W]here one provision in a contract, which does not constitute its main

or essential feature or purpose, is void for illegality, or otherwise, but is clearly separable and

severable from the other parts which were relied upon," the contract is not affected by the invalid

provision. See Bryant Lumber Co. v. Fourche River Lumber Co., 124 Ark. 313, 323, 187 S.W.


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 455, 458 (1916). The contract can be enforced as though the invalid provision had not been

 incorporated into the contract. !d. If the invalid provision can be separated from the valid, the

 valid provisions of the contract remain intact. See Kell v. Bella Vista Village Prop. Owners

 Ass'n, 258 Ark. 757, 765, 528 S.W.2d 651, 656 (1975). Thus, even if the fee structure is

 unconscionable, it should simply be severed, and the remainder of the parties' Arbitration

 Agreement should be enforced.

 C.     Additional discovery is unnecessary.

        Discovery regarding the enforceability of the arbitration agreements, as requested by the

 Plaintiff, is only permitted in limited circumstances.     Courts have allowed pre-arbitration

 discovery where a party demonstrates "special need" or "extraordinary circumstances" justifying

 such discovery. See In the Matter of the Application of Deiulemar Compagnia Di Navigazione

S.P.A. for the Perfection of Certain Evidence v. Allegra, 198 F.3d 473 (4th Cir. 1999) (district

court authorized to order discovery in aid of arbitration where there was "special need" to

preserve evidence that, if not preserved, would disappear or be materially altered); Suarez-Valdez

v. Shearson Lehman/American Express, Inc., 858 F.2d 648, 649 n.1 (11th Cir. 1988) (district

court erred in allowing discovery where party seeking discovery in aid of arbitration never

contended that extraordinary circumstances requiring discovery existed). Here, the Plaintiff has

failed to present any "special need" or "extraordinary circumstance" justifying discovery.

Accordingly, the Plaintiffs request for discovery should be denied. See Merrill Lynch, Pierce,

Fenner & Smith v. Hovey, 726 F.2d 1286, 1291-92 (8th Cir. 1984) (noting "[t]he congressional

intent in the Arbitration Act is to facilitate quick, expeditious arbitration" and observing "the

unmistakably clear congressional purpose that the arbitration procedure, when selected by the

parties to a contract, be speedy and not subject to delay and obstruction in the courts"); Kristian



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 v. Comcast Corp., 446 F.3d 25, 43 (1st Cir. 2006) (noting "[a]ny dispute over discovery would

 be procedural in nature, and therefore left for an arbitrator to resolve"); Snap-On Tools Corp. v.

Mason, 18 F.3d 1261, 1265 (5th Cir. 1994) (holding "[i]n FAA suits, the federal court conducts

 'an expeditious and summary hearing, with only restricted inquiry into factual issues' bearing on

the making of the arbitration agreement").

        In a recent nursing home case involving an arbitration agreement in Arkansas, the Court

rejected Plaintiff's request for additional discovery stating: "[Plaintiff] has offered no reasonably

specific allegation as to what facts [she] hopes to discover which would undermine the validity

of the agreement. Nor has [she] addressed the scope of [her] proposed "other fact finding,"

including what limitations would apply to this additional discovery. In light of the goal of

quickly moving matters subject to arbitration out of the judicial and into the arbitral forum, it

would be inappropriate to grand [Plaintiff's] request for discovery at this time." Advocat v.

Blanchard, (E.D.Ark. 5-24-2012). This line of reasoning is in keeping with the spirit of the

FAA. See Moses H. Cone Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 22 (1983) (noting

that under the FAA, Congress intended to "move the parties to an arbitrable dispute out of court

and into arbitration as quickly and as easily as possible").

       In requesting discovery, the Plaintiff points only to the "possibility" of uncovering

evidence that would make the written agreement unenforceable and has stated no factual basis to

support the need for discovery. Plaintiff has asserted no facts for the conclusory allegation that

Defendants may have "waived their right to assert such an agreement"; Defendants presented

this Agreement as their first responsive pleading in this case. With respect to the Plaintiff's

assertion that discovery is needed to determine "whether the signatories were actually agents of

all the parties herein"; that is not required under Arkansas law for the non-signatory defendnats



                                                 13
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 to enforce the arbitration agreement given the allegations in the Plaintiff's Complaint. Searcy

 Healthcare Ctr. v. Murphy, 2013 Ark. 463. The Plaintiff also cited no authority in arguing

 additional discovery is permissible. In short, this Court has before it all evidence necessary to

 determine whether the Arbitration Agreement at issue is valid and enforceable without resorting

 to discovery.

                                          CONCLUSION

        Based on the arguments in the Defendants' initial motion and herein, the Defendants

 respectfully request that this Court compel arbitration in accordance with the terms of the parties'

Arbitration Agreement and the Federal Arbitration Act, 9 U.S.C. §§ 1 to 16, dismiss the case, or

alternatively, stay the action in accordance with section 16-108-201 of the Arkansas Code, and

award costs and attorney's fees expended herein to the Defendants, as well as any other relief to

which they may be entitled, whether specifically prayed for herein or not.

        WHEREFORE, the Defendants pray that the Court grants their Motion to Compel

Arbitration.



                                               Respectfully Submitted,

                                               KUTAKROCKLLP




                                               ATTORNEYS FOR DEFENDANTS


                                                  14
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                                                                 \


                               CERTIFICATE OF SERVICE

         I hereby certify that I served the Reply to Plaintiffs Response to Defendants' Joint
 Motion to Dismiss Complaint and Compel Arbitration by mailing it on this 4th day of December,
 2013, to:



       Mr. William P. Murray, III
       WILKES & McHUGH, P.A.
       1601 Cherry Street, Suite 1300
       Philadelphia, PA 19102




                                                    AliM-a~,. !i ~
                                                   Samantha B. Leflar




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                                                      KUTAK ROCK LLP                                          ATLANTA
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                                                          www.kutakrock.com                                   OMAHA
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                                                                                                              WICHITA
(479) 973-4200




        VIAFEDEX

       Ms. Betty Wilson
       Ouachita County Circuit Court Clerk
       145 Jefferson St SW
       P.O. Box 667
       Camden, AR 71711-0667

                  Re:           Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr.,
                                deceased v. Pine Hills Health and Rehabilitation, LLC, et al.
                                Ouachita County Circuit Court Case No.: CV-20,13-200-6

       Dear Ms. Wilson:

              Enclosed please fmd the original and one copy of the Defendants' Reply to Plaintiff's
       Response to Defendants' Motion to Dismiss Complaint and Compel Arbitration for filing in the
       above-referenced matter. Please file accordingly and return a file-marked copy to me in the
       enclosed self-addressed stamped envelope.

               Thank you for your courtesy in this matter. If you have any questions, please do not
       hesitate to contact me.

                                                                     Sincerely,

                                                                     ~~f:> . ~( r~
                                                                     Samantha B. Leflar

      SBL!reb
      Enclosures

      cc:        Mr. William Murray




      4825-1838-6455.1
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             IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                SIXTH DIVISION

  Eddie B. Robinson , as Administrator for
  The Estate of Willie Robinson , Sr., deceased

                                           PLAINTIFF

 vs.                                                           NO. CV- 2013-200-6

 EOR-ARK, LLC; VAJ LLC ; Senior Living Communities
 of Arkansas, LLC ; SLC Operations Holdings, LLC ; SLC
 Operations, LLC; Pine Hills Holdings, LLC; Pine Hills
 Health and Rehabilitation, LLC, d/b/a Pine Hills Health
 and Rehabilitation ; SLC Operations Master Tenant, LLC ;
 SLC Properties, LLC ; SLC Property Holdings, LLC; SLC
 Property Investors, LLC; Arkansas Nursing Home
 Acquisition , LLC ; CSCV Holdings, LLC; Capital Funding
 Group, Inc.; Capital Funding , LLC; Capital Finance, LLC ;
 Capital SeniorCare Ventures , LLC ; ADDIT, LLC; SLC
 Professionals of Arkansas, LLC, n/k/a SLC Professionals ,
                                                                                       -
 LLC ; Senior Vantage Point, LLC ; 900 Magnolia Road SW,
 LLC ; Quality Review, LLC; Arkansas SNF Operations
 Acquisition , LLC ; SLC Professionals Holdings, LLC ; SLC
 Administrative Services of Arkansas, LLC ; John Dwyer;
 and Michael G. Hunter, Administrator,

                                           DEFENDANTS

                 PLAINTIFF'S RESPONSE AND INCORPORATED
            MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS'
           MOTION TO DISMISS COMPLAINT AND COMPEL ARBITRATION

        Plaintiff, Eddie B. Robinson , as Administrator for the Estate of Willie Robinson ,

 Sr., deceased, through the undersigned counsel , hereby files this Response and

 Incorporated Memorandum of Law in Opposition to Defendants' Motion to Dismiss

 Complaint and Compel Arbitration , and in support, states as follows :

                                     INTRODUCTION

       This is a case resulting from nursing home abuse and neglect and other

 violations of Arkansas' nursing home residents' rights . Plaintiff, Eddie B. Robinson , is
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  the duly appointed Administrator of the Estate of Willie Robinson , Sr. (the "Estate"). On

  behalf of the Estate, Eddie B. Robinson filed this lawsuit against the Defendants for their

  negligent care and treatment of Willie Robinson , Sr. , while he was a resident of Pine

 Hills Health and Rehabilitation Center, a skilled nursing home owned and operated by

 the Defendants in Arkadelphia , AR.       In response , the Defendants filed the instant

 Motion to Dismiss Complaint and Compel Arbitration , arguing that there exists a valid

 agreement between the parties to arbitrate all disputes. Enforcement of the alleged

 agreement to arbitrate is impossible, however.       Additionally, the alleged arbitration

 agreement is unconscionable.         For those reasons, the Court should deny the

 Defendants' motion.

                             ARGUMENT AND AUTHORITIES

        As explained in more detail below, the Court should deny the Defendants' motion

 both because the alleged agreement to arbitrate is impossible to enforce and because

 the alleged agreement is unconscionable.

 I.     ENFORCEMENT OF THE ARBITRATION AGREEMENT IS IMPOSSIBLE

        The Court should deny the Defendants' motion because the unavailability of the

 National Arbitration Forum ("NAF") and its Code of Procedure, both integral terms to the

alleged arbitration agreement at issue, renders the arbitration agreement impossible to

perform .

        It is well settled that, to be enforced , contracts must be valid as written .

Arkansas courts will not re-write a contract for the parties- "to do so would mean that

the court would be making a new contract and it has consistently held that this will not

be done. " Bendinger v. Marshalltown Trowell Co., 338 Ark. 410 , 419 , 994 S.W .2d 468,

                                                 2
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                                 )



     473 (1999). Instead, it is the duty of the court to enforce agreements only as written by

     the parties thereto. See Seidenstricker Farms v. Doss Family Trust, 372 Ark. 72, 78,

     270 S.W.3d 842 , 847 (2008) . The Supreme Court has made it clear that it will not make

     an invalid contract valid by re-writing it. See Rector-Phillips-Morse v. Vroman, 253 Ark.

     750, 489 S.W.2d 1 (1973).

           On July 14, 2009, Minnesota's Attorney General filed a Complaint against the

     NAF, alleging that the Forum misrepresented its objectivity to consumers, when , in fact,

 it was financially allied with larger corporations that comprised the bulk of NAF's

 business. 1 As discovered in Minnesota Attorney General's investigation into NAF's ties

 and practices, (1) NAF publically portrayed itself as a neutral forum that had "no

 relationship with any party," all the while maintaining undisclosed ties to the companies

 in cases being handled by NAF; (2) NAF solicited corporations to insert mandatory

 arbitration clauses exclusively naming NAF into consumer contracts, by representing

 that anti-consumer decisions would be forthcoming ; and (3) NAF exerted control over

 arbitrators' decisions, by identifying and appointing anti-consumer arbitrators and

 discontinuing referrals to arbitrators who decided cases in favor of consumers.2

           The instant arbitration agreement, which is to be construed like any other

 contract, calls for all disputes between the parties to "be resolved exclusively by binding




 1
   '"Arbitration ' or 'Arbitrary': The Misuse of Mandatory Arbitration to Collect Consumer Debts" before the
 Subcommittee on Domestic Policy, Oversight and Governmental Reform Committee, p. 2
 F009)(statement of Minnesota Attorney General Lori Swanson) (Exhibit "A")
   '"Arbitration' or 'Arbitrary': The Misuse of Mandatory Arbitration to Collect Consumer Debts" before the
 Subcommittee on Domestic Policy, Oversight and Governmental Reform Committee, pp. 3-5
 (2009)(statement of Minnesota Attorney General Lori Swanson) (Exhibit "A")

                                                         3
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     arbitration ... in accordance with the National Arbitration Forum Code of Procedure." 3

     The agreement then expressly adopts and incorporates the terms of the NAF Code into

     the agreement, identifying for the Resident four locations where a copy of the Code may

     be obtained . By incorporating the NAF Code of Procedure into this document and

     declaring that it is the "exclusive" mechanism for arbitration , the terms of the NAF Code

     of Procedure become the terms of this arbitration agreement.

           NAF Code Rule 1(A) provides that arbitrations conducted pursuant to the NAF

 Code "shall be administered only by the National Arbitration Forum or by any entity or

 individual providing administrative services by agreement with the National Arbitration

 Forum ."4 Through adoption and incorporation of the NAF Code of Procedure, the terms

 of this arbitration agreement specifically and expressly call for arbitration to be

 conducted by and through the NAF, but that is no longer possible. Following charges of

 anti-consumer bias by the Minnesota Attorney General, the NAF entered into a consent

 agreement prohibiting it from conducting any arbitration pursuant to a pre-dispute

 consumer agreement, such as the instant dispute. See NAF News Release, National

 Arbitration Forum to Cease Administering All Consumer Arbitrations in Response to

 Mounting       Legal    and    Legislative    Challenges       (July    19,   2009),     located     at

 http://www.adrforum.com/newsroom .aspx?&iteml0=1528&news=3 (last visited Nov. 8,

 2013). It is undisputed that the NAF will no longer administer the arbitration of the

 instant matter.



 3
   A copy of the Arbitration Agreement is Exhibit "B" to the Defendants' Motion to Dismiss Complaint and
 Compel Arbitration .
 4
   A copy of the 2008 NAF Code of Procedure is attached as Exhibit "C."

                                                        4
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             The NAF Code makes the availability of the NAF to administer the parties'

     arbitration such an integral term to the arbitration agreement that without the availability

     of the NAF, the NAF Code provides that the parties may go outside of the agreement to

     seek legal redress. Rule 48, titled "Interpretation and Application of Code ," provides:

                    If Parties are denied the opportunity to arbitrate a dispute,
                    controversy, or Claim before the Forum , the Parties may
                    seek legal and other remedies in accord with applicable law.

     (NAF 2008 Code of Procedure, Rule 48(0)). If the parties modify a material portion of

     the Code, the NAF may decline to arbitrate the matter. (NAF 2008 Code of Procedure,

     Rule 48(0)) Rule 48(E) adds, "In the event of a cancellation of this Code, any party

 may seek legal and other remedies regarding any matter upon which an Award or Order

 has not been entered."         By incorporating the NAF Code, this arbitration agreement

 expressly contemplates and provides that, in the event the NAF cannot arbitrate the

 parties' dispute, or if the NAF Code is cancelled, pursuing other legal remedies (i.e. a

 traditional lawsuit) is permitted.

            The NAF Code of Procedure sets forth in detail how the selection process, led

 and directed by the NAF, works.          This code consists of over 40 pages of rules and

 procedures governing parties and the adjudication of their disputes. The NAF Code of

 Procedure mandates use of a NAF approved arbitrator. 5               Not only does the NAF

 arbitrator enforce the rules , but NAF staff is required to administer the arbitrations that




 5
     NAF Code Ru le 1.

                                                     5
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     take place under the Code. 6 Both the Initial Claim, any response thereto, and all other

     documents and proof of service must be filed with the NAF. 7

           Once the claim is filed, the NAF is intimately involved in the arbitrator selection

     process. The NAF, not the parties, selects arbitrators for expedited proceedings. 8 In

     non-expedited proceedings, the proposed arbitrator(s) must be chosen from a list

     provided by the NAF. 9 If more than one arbitrator is involved , the NAF selects the chair

  of any panel of arbitrators. 10 The NAF also reserves the right to declare any listed

 arbitrator disqualified .11 Moreover, the NAF decides all requests for disqualification (as

 opposed to the arbitrator). 12 Parties are not allowed to communicate with their arbitrator

 directly, but must direct all communications through the NAF.13

           NAF retains the right to request the dismissal of any claim it deems unsupported

 by the evidence or existing law and may dismiss any claim if all fees have not been paid

 or if a case has been inactive for more than 60 days. 14 Any request directed to the NAF

 is decided by the NAF, not the arbitrator. 15

           The Rules further specify that the arbitrator is not bound by the rules of

 evidence. 16 Limits on discovery are listed with specification. 17 No record is kept of any



 6
    NAF Code Rule 2.
 7
    NAF Code Rules 5, 7.
 8
    NAF Code Rule 21 .
 9
    NAF Code Rule 21 .
 10
    NAF Code Rule 22.
 11
    NAF Code Rule 23.
 12
    NAF Code Rule 23 .
 13
    NAF Code Rule 24.
 14
    NAF Code Rule 41.
 15
    NAF Code Rule 18.
 16
    NAF Code Rules 28, 35.
 17
    NAF Code Ru les 29, 31.

                                                    6
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      hearing unless the parties agree or the arbitrator orders otherwise. 18 Arbitrators must

      render awards within 20 days, and may dismiss claims at the request of the NAF

  Forum. 19       In short, the NAF Code of Procedure requires the NAF to govern nearly

  every aspect of the proceedings.

            Therefore, because the NAF Code of Procedure cannot be used without also

  using the NAF, and because the NAF will not arbitrate this matter, the alleged arbitration

  agreement is impossible to perform.            Accordingly, this Court should deny the

  Defendants' motion.

            Notably, other Courts have rendered similar agreements unenforceable. In its

 recent analysis of this very issue, the Georgia Supreme Court reviewed decisions from

 across the country and noted that "the majority of these courts reached the same

 conclusion that we reach here, namely that the unavailability of the NAF and its Code of

 Procedure renders the Arbitration Agreement unenforceable." See Miller v. GGNSC

 Atlanta, LLC, 746 S.E.2d at 685, n. 10 (Ga . Ct. App. July 16, 2013).

            Indeed, the Supreme Courts of South Carolina , New Mexico, Mississippi, and

 Illinois, the intermediate appellate courts of Georgia, Indiana, Oklahoma, Wisconsin,

 and Pennsylvania, and the U.S. Courts of Appeals for the 2nd, 4th, and 5th Circuits, have

 each held that an arbitration agreement's designation of a single arbitral forum , or its

 Code of Procedure, constitutes an integral term to the contract, the unavailability of

 which renders the agreement impossible to enforce. See Grant v. Magnolia Manor-

 Greenwood, Inc., 678 S.E.2d 435 (S.C. 2009); Rivera v. American General Financial

 18
      NAF Code Rule 35 .
 19
      NAF Code Rules 37, 41.

                                                    7
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  Services, Inc., 259 P.3d 803 (N .M. 2011 ); Covenant Health & Rehabilitation of

  Picayune, LP v. Estate of Moulds, 14 So.3d 695 (M iss. 2009); Magnolia Healthcare, Inc.

  v. Barnes ex rei. Grigsby, 994 So.2d 159, 161 -162 (Miss. 2008); Carr v. Gateway, 944

  N.E.2d 327, 333 (Ill. 2011); In re Salomon Inc. Shareholder's Derivative Litigation, 68

  F.3d 554 (2nd Cir. 1995); Ranzy v. Tijerina, 393 Fed . Appx. 174 (5th Cir. 2010); Smith

  Barney, Inc. v. Critical Health Sys. of NC, Inc. , 212 F.3d 858 (41h Cir. 2000)("Where the

 parties have agreed explicitly to settle their disputes before particular arbitration fora ,

 that agreement must control. "); Wall Street Associates v. Becker Paribas, Inc., 818

 F.Supp. 679, 683 (S.D. N.Y. 1993) , aff'd. 27 F.3d 845 (2nd Cir.1994)("[A]n agreement to

 arbitrate before a particular forum is as integral a term of a contract as any other, which

 the courts must enforce."); Miller v. GGNSC Atlanta, LLC, 746 S.E.2d 680 (Ga . Ct. App.

 July 16, 2013)(cert. den. Nov. 4, 2013)(the designation of the NAF Code of Procedure in

 a Golden Living arbitration contract identical to the agreement before th is Court was an

 "integral term .") ; Hart v. Evangelical Lutheran Good Samaritan Society, 2013 WL

 4526274 (N.M .Ct.App. June 19, 2013)(nursing home arbitration agreement that

 designated that all legal disputes would be governed by the rules of the NAF held

 impossible to enforce); Stewart v. GGNSC-Canonsburg, L.P., 2010 PA Super. 199

 (2010); Amundsen v. Wright, 240 P.3d 16 (Okla. Ct. App. 2010)(performance of

 arbitration agreement rendered impossible by the nonexistence of the specifically

 designated procedures for arbitration) ; Apex 1 Processing, Inc. v. Edwards, 962 N.E.2d

 663 (Ind . Ct. App . 2012)(requirement that arbitration be "by and under the Code of

 Procedure of the National Arbitration Forum" was held to be an integral term and the

 unavailability of the NAF forum rendered the agreement null and void on grounds of
                                                 8
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  impossibility); Riley v. Extendicare Health Facilities, Inc., 826 N.W.2d 398 (Wis.App . IV

  Div. 2012); Carideo v. Dell, Inc., 2009 WL 3485933 *6 (W.O. Wash . 2009)("The

 unavailability of NAF as arbitrator presents compounding problems that threaten to

 eviscerate the core of the parties' agreement. To appoint a substitute arbitrator would

 constitute a wholesale revision of the arbitration clause.").

 II.    THE ARBITRATION AGREEMENT IS UNCONSCIONABLE

        A second and distinct ground for denying the Defendants' motion is that the

 alleged arbitration agreement is unconscionable.

        Unconscionability is an exception to the general rule that a written agreement

 duly executed by the party to be bound will be enforced according to its terms.         In

 assessing whether a particular contractual provision is unconscionable, the court must

 review the totality of the circumstances surrounding the negotiation and execution of the

 contract. National Union Fire Ins. Co. of Pittsburgh, Pennsylvania v. Guardtronic, Inc.,

 76 Ark. App. 313, 320, 64 S.W.3d 779 , 783 (2002) . Two important considerations

 include, 1) whether there is a gross inequality of bargaining power between the parties,

 and 2) whether the aggrieved party was made aware of and comprehended the

 provision in question. /d.

        In this case, the totality of the circumstances surrounding the fees adopted by the

 NAF Rules render this arbitration agreement unfair, unreasonable, and unconscionable.

 The arbitration agreement does not disclose that the fees required to file a claim in

 arbitration are substantially higher than those necessary to file a claim in Arkansas

 Circuit Courts, where the parties do not pay the judge by the hour, or the day, to hear

 the case, read the pleadings and reach a decision.
                                                  9
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        According to the NAF Large Claim Schedule, the Claimant must pay up front

 filing, administrative, and commencement fees , which , according to the Fee Schedule

 will equal or exceed $5000 just to bring the claims Plaintiff has alleged here. Further,

 additional fees will be assessed by the Forum for motions filed and for the Arbitrator's

 time spent on the case. Compared to the small fee it took to file Plaintiff's Complaint in

 this Court, the thousands of dollars in fees the NAF Fee Schedule requires Plaintiff to

 advance just to file a claim in arbitration under this agreement are clearly unreasonable.

        Additional daily and hourly fees are imposed once an arbitrator is appointed and

 sits to hear the case.      These exorbitant fees would prohibit the Estate of Willie

 Robinson , Sr., who was so financially destitute that he qualified for Medicaid support,

 from being able to bring personal injury claims against Defendants at all. The filing fees

 required by this arbitration agreement go beyond selecting a forum . Instead , they affect

 the very ability of Eddie B. Robinson to bring the Estate's claims against this nursing

 home conglomerate.

        To be sure, The United States Supreme Court recognized in Green Tree v.

 Randolph, 531 U.S. 79 (2000), that the existence of high arbitration costs can preclude

 a litigant from effectively vindicating his rights in an arbitral forum . As to the potentially

 burdensome costs of arbitration, the party resisting arbitration has the burden of

showing the likelihood that arbitration would be prohibitively expensive .           Burden v.

 Check into Cash of Ky., LLC, 267 F.3d 483 (61h Cir. 2001 ). The appropriate inquiry for

determining whether an arbitration clause is unenforceable due to costs is "a case-by-

case analysis that focuses , among other things, upon the claimant's ability to pay

arbitration fees and costs, the expected cost differential between arbitration and
                                                   10
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  litigation in court, and whether the cost differential is so substantial as to deter the

 bringing of claims."     Rosenberg v. 8/ueCross 8/ueShie/d of Tennessee, Inc., 219

 S.W.3d 892 (Tenn . Ct. App . 2006). Specific, concrete proof of costs is required , and not

 speculation. Morrison v. Circuit City Stores, Inc. , 317 F.3d 646 (6 1h Cir. 2003). Plaintiff

 submits that the costs set forth in the NAF Rules are sufficiently specific to support

 Plaintiff's claim that the costs are unreasonable.

        The Arizona Court of Appeals' recent decision in Clark v. Renaissance West,

 LLC, 2013 WL 3914416 (Ct. App. Div. 1 Az. July 30, 2013) is instructive. In Clark, 88-

 year-old John Clark signed an arbitration agreement upon his admission to a skilled

 nursing facility. When Mr. Clark later filed a complaint against the facil ity for neglect, the

 facility sought to enforce the signed arbitration agreement.         The trial court held an

 evidentiary hearing , at which Mr. Clark's expert testified that it would cost approximately

 $22,800 in arbitrator's fees to arbitrate Mr. Clark's claims, which was more than Mr.

 Clark could afford.    The trial court denied the nursing facility's motion to compel

 arbitration, finding the agreement to be substantively unconscionable because the fees

 required by the agreement would preclude Mr. Clark from pursing his claims against

 them . On appeal, the Court of Appeals affirmed , finding the high fees would effectively

 preclude Mr. Clark from obtaining redress for his claims.

       Under similar circumstances, the Tennessee Court of Appeals held a mandatory

 arbitration agreement in a nursing home admissions package to be unconscionable

where the facility gained an unfair advantage under its terms .                   See Hill v.

NHC/Nashville, LLC et a/., 2008 Tenn . App. LEXIS 265 (Tenn . Ct. App . 2008). Very

similar fee schedules to those that rendered the arbitration agreement in Hill
                                                  11
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 unconscionable are adopted by the arbitration agreement here. The Hill court noted

 that, "A party who has been damaged by the actions of NHC cannot seek redress in the

 courts if the arbitration agreement is enforced, but may, due to expense that would not

 accompany the initiation of litigation, be precluded from seeking relief in the arbitral

 forum ." /d.

        The mere possibility that a portion , or all, of Plaintiffs' fees could be shifted to

 Defendants under the NAF Code does not defeat Plaintiffs' defense. There are no

 automatic, wholesale fee-shifting provisions contained within the NAF Code. Rule 45,

 which permits an indigent Consumer to request a waiver of fees associated with

 Common Claims under the NAF Code, does not alleviate the prohibitive nature of the

 NAF fees here. First, Plaintiff has not asserted a Common Claim against Defendants.

 Instead, Plaintiff's claims constitute Large Claims under the NAF Fee Schedule. As

 such , the waiver provided by Rule 45 does not apply to Plaintiffs' claims . Second, the

 waiver suggested by Rule 45 does not automatically dispose of the Claimant's fees, in

 any event. Instead , the waiver may be "full or partial" in the Forum's discretion.

        The Ohio Court of Appeals rejected an argument based on Rule 45 in Eagle v.

 Fred Martin Motor Co., 809 N.E.2d 1161 (Ohio App. 2004). In Eagle, an arbitration

 agreement contained in a used car purchase contract designated the NAF Code of

 Procedure as governing the parties' disputes. The Ohio court held that the arbitration

 costs and fees required by the NAF Code of Procedure were "prohibitive, unreasonable,

 and unfair" as applied to the claimant, who had a limited income of $20 ,000 per year.

 Moreover, the court was not persuaded that the Rule 45 waiver provisions impacted the

 prohibitive nature of the NAF fees. First, the waiver is discretionary. Second, the NAF
                                                 12
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  Director possesses the discretion to award less than a full waiver. Third, the waiver

  does not apply to Large Claim fees, which were brought by the plaintiff. Finally, the

  court concluded that, even if the NAF Code provided for a mandatory, full waiver of both

  Common and Large Claim fees (which it does not), such waiver would be irrelevant

  because the existence of the fees themselves would deter low-income and indigent

  claimants. 809 N.E.2d at 1176-77.

        "Taken to its logical end, the argument will always render the cost of arbitration

 irrelevant whenever fee shifting is a possibility, even in the case of an indigent plaintiff.

 The argument ignores the primary public policy issue at stake, high arbitration costs

 precluding the consumer's access to a forum where he or she will vindicate his or her

 claim... If the up-front costs of arbitration have the practical effect of deterring a

 consumer's claim , the arbitration agreement should not be enforced ." Mendez v. Palm

 Harbor Homes, Inc. , 45 P.3d 594, 607 (Wash. App. 2002); see also Chavarria v. Ralphs

 Grocery Co., 2013 WL 5779332 (9th Cir. Oct. 28, 2013) (denouncing fee provisions that

 have the effect of pricing claimants out of the dispute resolution process as "a stain on

 the credibility of our justice system").

        Once Plaintiff demonstrated the likelihood of incurring prohibitive arbitration

 costs, the burden shifted to Defendants to present offsetting evidence to compel

 arbitration. See Green Tree Finan. Corp. v. Randolph, 531 U.S. 79, 92 (2000).

 Nevertheless, Defendants presented no evidence that the fees imposed by the NAF

 Code are not oppressive as to Willie Robinson , Sr.'s Estate.         A plaintiffs ability to

 proceed in forma pauperis under the Arkansas Rules of Civil Procedure is irrelevant

 given the parties' adoption and incorporation of the NAF Fee Schedule. Likewise, the
                                                 13
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 fee provisions adopted by other forums are irrelevant to the unconscionable fees

 required by this agreement.

        Therefore, the alleged arbitration agreement, as written , is unconscionable and

 should not be enforced. For that reason , in addition to the others identified herein, the

 Court should deny the Defendants' motion .

 Ill.   ADDITIONAL GROUNDS MAY EXIST AND WILL REQUIRE DISCOVERY

        Additional grounds may exist for a finding that the purported agreement is

 unconscionable, such as issues involving the authority and competency of the

 signatories, whether the signatories were actually agents of all of the parties herein,

 whether the Defendants have waived their right to assert such an agreement, and

 whether there was a misrepresentation , duress or any other factor that would be

 grounds for this court to abstain from enforcing the purported agreement. Discovery is

 required so that an accurate factual foundation can be presented to this Court. Plaintiff

 has served arbitration-related discovery and reserves the right to supplement this

 Response upon fully developing a factual record .

 IV.    CONCLUSION

        For the foregoing reasons , Plaintiff respectfully requests that the Court deny the

 Defendants' Motion to Dismiss Complaint and Compel Arbitration . Additionally, Plaintiff

 respectfully requests that, if this Court does not deny the motion for the reasons set

forth above, that Plaintiff be given the opportunity to develop the necessary factual

 record from which a determination about the enforceability of the purported agreement

can be made.



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                                      Respectfully submitted,

                                  Eddie B. Robinson , as Administrator for The
                                  Estate of Willie Robinson, Sr., deceased,



                                  By:

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                                  Philadelphia, PA 1
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                                  Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE


          I hereby certify that a true and correct copy of the foregoing was served upon the
  following counsel of record via United States Postal Service, postage prepaid, on this
  22nd day of November, 2013:


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               EXHIBIT "A"
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                 ARBITRATION OR ARBITRARY: THE MISUSE OF
                   MANDATORY ARBITRATION TO COLLECT ·coN-
                   SUMER DEBTS


                                                  HEARING
                                                         BEFORE THE

                          SUBCOMMITTEE ON DOMESTIC POLICY
                                                            OF THE

                          COMMITTEE ON OVERSIGHT
                          AL~D GOVERNMENT REFORM

                         HOUSE OF REPRESENTATIVES
                              ONE HUNDRED ELEVENTH CONGRESS
                                                      FIRST SESSION

                                                       JULY 22, 2009


                                          Serial No. 111-125

                  Printed for the use of the Committee on Oversight and Government Reform




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                 ARBITRATION OR ARBITRARY: THE MISUSE
                  OF MANDATORY ARBITRATION TO COLLECT
                  CONSUMER DEBTS


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                                        HOUSE OF REPRESENTATJVES,
                                   SUBCOMMlTI'EE ON DOMESTIC POUCY,
                       COMMI'ITEE ON OVERSIGHT AND GoVERNMENT REFoRM,
                                                                 Washington. DC.
                    The subcommittee met, pursuant to notice, at 2 p.m. in room
                 2154, Rayburn House Office Building, Hon. Dennis J . Kucinich
                 (chairman of the subcommittee) presiding.
                    Present: Representatives Kucinich, Cummings, Foster, Jordan,
                 Mica, Schock, and Watson.
                   Also present: Representative Johnson.
                    Staff present: Jaron R. Bourke, staff director; Claire Coleman,
                 counsel; Howard Schulman, Office of Representative Kucinich;
                 Jean Gosa, clerk; Charisma Williams, staff assistant; Leneal Scott,
                 information systems manager; Adam Hodge, deputy press sec-
                 retary; Dan Blankenburg, minority director of outreach and senior
                 advisor; Adam Fromm, minority chief clerk and Member liaison;
                 Daniel Epstein and Mitchell Kominsky, minority counsels; and
                Katy Rother, minority staff assistant.
                   Mr. KUCINICH. The meeting will come to order.
                   Good afternoon and welcome. I am Congressman Dennis
                Kucinich, chairman of the Domestic Policy Subcommittee of the
                Oversight and Government Reform Committee.
                   I am joined today by the ranking member of the committee, Mr.
                Jordan of Ohio.
                   Our hearing today is, "Arbitration or Arbitrary: The Misuse of
                Mandatory Arbitration to Collect Consumer Debts." The subject of
                this hearing, the use of mandatory pre-dispute arbitrations as a
                method of obtaining judgments for consumer debts is not what we
                normally think of when we hear the terms arbitration or consumer
                arbitrations.
                   We are not talking about arbitrations brought by consumers
                against businesses, and we are not talking about individual arbi-
                trations brought by businesses against consumers. We are talking
                about mass production arbitrations where businesses flle thou-
                sands of claims against consumers to obtain judgments on credit
                card debt where the claims are assigned to arbitrators in batches
                of dozens, where the consumer almost never appears or even re-
                sponds, and where the so-called hearing consists of nothing more
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                     than the arbitrator looking at a statement written by the creditor
                     and awarding the amount that the creditor requests.
                        Over the past few months, the Domestic Policy Subcommittee
                    ·has conducted an investigation into the actual practices of the two
                     largest providers of consumer arbitration services, the National Ar-
                     bitration Forum [NAF), and the American Arbitration Association,
                     the AAA. NAF is by far the No. 1 generator of arbitration awards
                    against credit card customers. The AAA also administered con·
                    sumer debt collection arbitrations and states that they have
                    stopped doing this as of June 2009.
                     . Subcommittee staff reviewed over 50,000 pages of docum~nts, in-
                    cluding hundreds of actual case files to determine how the c1aims
                    were decided by the arbitrators. Our investigators have come to
                   several deeply disturbing conclusions about the National Arbitra-
                    tion Forum's arbitration system.
                       Who wins or loses an NAF arbitration seems to depend solely on
                   which arbitrator reviews the c1aim. As part of our review, sub-
                   committee staff compared 228 nearly identical NAF consumer debt
                   collections claims and we found that three arbitrators granted
                   awards in favor of the debt collection fmn nearly 100 percent of the
                   time, while two arbitrators reviewing otherwise identical claims
                   dismissed those claims nearly 100 percent of the time. Our review
                   of these files found absolutely no reason in the case files to explain
                   such inconsistent results.
                       We also found that some of NAF's arbitrators either don't know
                   the rules they are supposed to follow or they don't follow them and
                   nobody at NAF seems to care. One NAF rule establishes a limit to
                   the amount of time between filing of the c1aim and service of notice
                   on the consumer debtor. Our investigation found that NAF does not
                   require its arbitrators to adhere to this rule. Out of a total of 172
                   consumer debt collection c1aims that could have been dismissed
                   under those rules, none were. What is more, NAF is also violating
                  a California law by refusing to publish the results of many of its
                  arbitrations with residents of that State.
                       Our investigation further revealed that this violation is allowing
                  at least one debt colJection company to obtain awards of attorneys'
                  fees that exceed legal limits.
                      The subcommittee staffs findings support a considerable body of
                  evidence showing NA.F's misuse of mandatory arbitration in debt
                  collection cases. Last week, the attorney general of the State of
                  Minnesota filed a lawsuit against the NAF alleging violations of
                  Minnesota's consumer fraud statute and other claims based on
                  NAF's concealment of its ties to creditors· its active solicitation of
                 .creditors based on promises of providing ieverage over consumers;
                  its direct financial affiliation with one of the country's largest debt
                  collectors.
                      Remarkably, just this past Saturday the NAF agreed to a setUe-
                  ment with the Minnesota attorney general in which it would imme-
                  diately stop all arbitration proceedings that are the subject of this
                  hearing. The setUement does not admit wrongdoing, however. NAF
                  still maintains that its arbitrations and arbitrators are fair and
                  independent. Our investigation strongly suggests otherwise, and we
                  will hear from the NAF, Public Justice, and from the attorney gen-
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                    era] of Minnesota herself, the Honorable Ms. Lori Swanson, on the
                    supposed neutrality of NAF arbitrations.
                       The hearing today will also address other systemic problems the
                    subcommittee investigation found with this arbitration system,
                    such as why the right to appeal a decision in consumer arbitration
                    claims is limited to a finding of fraud or corruption; the lack of
                    oversight of the claims process itself; and the bias built into arbi·
                    trations favoring the debt collection industry.
                       Now, defenders of this mass production arbitration system argue
                    that abolishing it will only raise the cost oflitigating debt collection
                    cases. But consumers have rights and. protections . under the law
                    that are not honored in the arbitration setting. Furthermore, the
                    number of Americans who have experienced the suspension of their
                   rights due to consumer arbitration has grown as the number of
                   consumers with debt has exploded.
                      Today, the average adult. carries over $4,000 of debt. To the debt
                   collection industry and the alternative legal system that has been
                   created around it can no longer be ignored by the Federal Govern-
                   ment. Others seem to agree with us. There are a number of bills
                   in Congress that would impose limits on the applicability of man·
                   datory pre-dispute arbitration agreements, including one intro·
                   duced by our colleague, Representative Hank Johnson.
                      Very significantly, Congressman Barney Frank, Chairman of the
                   Financial Services Committee, has introduced a bill to establish a
                   new consumer protection agency which would have the power to
                   limit or ban mandatory pre-dispute consumer arbitration agree·
                  ments, and the Federal Trade Commission is currently evaluating
                   the entire system of debt collection, including arbitration practices
                  with an eye toward the much-needed modernization of debt collec-
                  tion laws.
                      I hope this hearing will bring increased awareness to the prob-
                  lems of the mandatory consumer debt arbitration system; holds
                  those accountable that have abused consumers' rights in the past;
                  and explore solutions to improve the system so it is no longer a
                  one-stop shop for debt collection agencies to obtain a binding legal
                  judgment against the consumer. Our citizens deserve nothing less.
                     At this time, prior to recognizing Mr. Jordan, I just want to ob-
                  serve the presence of our colleague from Maryland, Mr. Cummings.
                  Thank you for being here. And our colleague from California, Ms.
                  Watson, thank you for being here.
                     And the Chair recognizes Mr. Jordan for his opening statement.
                  You may proceed .
                     [The prepared statement of Hon. Dennis J. Kucinich follows:)
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                  NAP, Publie Justice, and from the Altomcy Gcocnd ofMinoeJola hcndf, Ms. Lori Swansoo, OD
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                  pro~on BiCDC)' wlllch would havo the pgwcr lo limit or bmlll&lldatory pre-dispW com-er
                  arbitration ~enD, aDd the Fcdml Tilde Commlssioa is c:uD'CIIIIy ~the Clllirr:
                  S)'s&cm of debt collection, ialeludins ubilntioD practlccs, wi~ an eye toward tbo much-needed
                  modemization·of clobt collemon laws.

                  I hope lhb bearing will briD& iDcrc:ascd •~ to ~e problem I of1bc mlllldalory COIIJUI!Ic:r
                  debt atbitmlioo II)'Siall. hold tboso....,..mteb,,
                                                                   CUt have abused ~· riehls iD tho pas!,
                  and ex}lloro $0llllicm to lmproyo tho systaJs $0 It Is 110 lOoeer a en:-stop shop fix dcbt-collcdion
                  agonclcs lo obtain a llindl~~~: lepljudpDt ~ 1 eonsanxr. Ollreilb:.eotdescncDOihiD&
                  leu.
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                                                   7
                     Mr. JORDAN. Thank you, Mr. Chairman.
                     The chanenges consumers face in troubled economic times only
                  underscore the importance of this hearing. This particular hearing
                  provides an excenent opj>ortunity to discuss and debate mandatory
                  arbitration clauses. This is an important matter and I look forward
                  to having a productive discussion on the many issues surrounding
                  consumer arbitration.
                     As we debate President Obama's proposed consumer financial
                  protection agency, we must think hard about the way this new
                  agency would operate. Mr. Obama's existing proposal is the latest
                  of the administration's e;xpanding its reacl~ into the private sector.
                  ~ am particularly concerned tha~ under ~~ new agency, the ad.J?in-
                  lstratJon would have the authonty to elurunate mandatory arbt.thl- ·
                  tion clauses. This is simply bad policy.
                     Wen-respected academics and experts agree arbitration is fair,
                  equitable and necessary. In 2007, Professor Peter Rutledge told the
                  Senate Judiciary Conunittee that in a world without pre-dispute
                  arbitration, consumers would face higher costs. Professor Rutledge
                 explained the only people who with certainty benefit from the Aroi-
                 tration Fairness Act are the lawyers. Frankly, it is the undisputed
                 fact that this is primarily . the trial lawyers that stand to benefit
                 from the elimination of arbitration clauses.
                    During a House Judiciary markup, Representative Hank John-
                 son claimed mandatory pre-dispute binding arbitration clauses
                 leave consumers without choices, but these choices have nothing to
                 do with consumer rights as much as tactics for lawyers to make
                 money. Representative Johnson stated, "You can't influence large
                 corporations by being nice. You need a jury to get into their pock-
                 et."
                    Unfortunately, justice is sometimes the price you pay. In 2008,
                 Mississippi lawyer Dickie Scruggs pleaded guilty to conspiring to
                 bribe a judge and is currently serving a 7-year sentence in Federal
                 prison. Bill Lerach and Mel Weiss are each serving time in jail for
                 a criminal conspiracy of paying millions of dollars in illegal kick-
                 backs to lead plaintiffs in class action lawsuits in order to nelp the
                lawyers win the race to the courtroom. Kentucky plaintiffs lawyers
                William Gallion and Shirley Cunningham, Jr., were jalled and or-
                dered to pay disgorgement of the $30 million they scammed from
                their clients in the settlement over the diet drug fen-phen .
                    The point I am making is just because you have a few bad ap-
                ples, you don't throw out the whole barrel If it is true for lawyers,
                it is also true for arbitration. Today's oversight hearing is set to
                focus on consumer arbitration, not the evlls of business. If, for ex-
                ample, credit card companies are harming consumers, then a sepa-
                rate hearing is needed. Statistics citing that consumers overwhelm-
                ing lose in debt collection cases do not support the notion that arbi-
                tration is the enemy.
                    By way of example, the Federal Government wins nearly an of
                its cases to recover unpaid student loan debt. Is the Federal Gov-
                ernment to blame when debtors lose? Is arbitration? Today's hear-
                ing should foster debate on policy directly related to mandatory ar-
                bitration. Whether or not arbitration was provided disp~te resolu-
                tion service is good or bad for consumers is an inquiry independent
                from whether debt collection as a business is bad for consumers.
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                                                    8
                       Consumers have successfully used arbitration to resolve disputes
                    with businesses. Debt collection may present serious problems to
                    consumers, but the best evidence available would indicate that
                    those problems are worse in litigation than in arbitration.
                      It is my hope that the Members here today can help our wit-
                    nesses tailor this hearing to the empirical data available concern-
                    ing debt collection in consumer cases. Only then can we make
                   progress in providing remedies to consumers. A flat-out elimination
                   of mandatory arbitration is not the answer. To that end, I hope to-
                   day's discussions also examine feasible alternatives to remedy the
                   issues at hand.
                      I am also concerned, Mr. Chairman, that three of the four wit-
                   nesses called today by the majority have benefited from. ll lawsuit
                   and successful settlement with the majority's fourth witness, the
                   National Arbitration Forum. This may not prohibit us from having
                   a P.roductive hearinK! but it is certainly a fact worth noting.
                      Thank you, Mr. Chairman, for holding this important hearing
                   today. The issues not only affect our home State of Ohio, but also
                   the entire United States. I look forward to hearing from our wit-
                   nesses.
                      Mr. Chainnan, I would also ask unanimous consent for the mi-
                   nority staff report be included in the record.
                      Mr. KUCINICH. Without objection.
                      Mr. JORDAN. Mr. Chairman, I would also ask for unanimous con-
                  sent that a statement received from ACA International and an
                   email be included in the hearing record as well.
                      Mr. KUCINJCH. I would ask the gentleman, do we have the email?
                      Mr. JORDAN. Yes, we do right here.
                      Mr. KUCINICH. OK Without objection.
                      Mr. JORDAN. Thank you, Mr. Chairman.
                      Mr. KUCINICH. And without objection, Members and witnesses
                  may have 5 legislative days to submit a written statement or extra-
                  neous materials for the record.
                      Without objection, at some point we will welcome Representative
                  Hank Johnson to the dais to make a statement if he comes in time,
                  or receive testimony and participate in the questions.
                     And without objection, all Members wiJl have 3 minutes opening
                  statements, not to exceed 3 minutes.
                     And also without objection, Mr. Jordan, without objection we are
                  also going to put the staff report of the Domestic Policy Subcommit-
                  tee majority staff on arbitration abuse in the record.
                     [The infonnation referred to follows:)
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                                           9


                               STAFF REPORT

                                         of the


                     Domestic Policy Subcommittee Majority Staff
                     Oversight and Government Refonn Co.mmittee
                               House of Representatives ·

                             Dennis J. Kucinicb, Chairman




                   Arbitration Abuse: an Examination of Claims Files
                           of the National Arbitration Forum




                                Embargoed until3 p.m.
                                   July 21, 2009
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                                                                    10

                                                      EXECUTJVE SUMMARY


                                        MArbilntlon Abuse: IJI Examillallon or Oalms Files
                                               of the National Arbilnlloa For'!"',.



                       The: Domestic Policy Subcommittee Majority staff reviewed hundreds of iadividual case
                       files from the largest provider of arbitration for debt coll«tion, lhe National Atbitration
                       FOIUIIl (ab Forthright LLC). ·A sumrmuy of our fiadings follows:

                          I. Virtually all NAF "consumer arbitrations" are id fact debt collection actions
                             brought by creditors·or assig~~c:c:S of creditors, not by the consumers themselves,
                             IU1d almost all conswnc:r arbitrations 11re decided in the: creditor's favor.

                          2. Decisions in identical cases diiTertd depending on the idcotity of the arbitralor to
                             whom the claim was assigDC:d (See Exhibit A, allached).

                          3. Arbitrators in most of claims iporc:d rhe absence of evidence of whether or not
                             the claims were brought within the statute orlimitations.

                          4. Arbitrutors in most of the claims ignored the lack or specifiC c:videace of who was ·
                             actually served with the notice of the arbitration.

                         S. Where there was specific evidence of how the notice was served, it often showal
                            rhnt the signature on the receipt was illegible, was a o8me different from the
                            person who was supposed to be served, or was on one occasion an "X" and on
                            two occasions a "John Doe."

                         6. All of the arbitrators ignored evidence thal should hove resulted In dmnissol of
                            most orthe claims (See Exhibit B, attached).

                         7. One Maine arbitrator, who did not ignore such evidence and did dismiss a lot of
                            cases, ended up without any additional casc::s being assigned to him in Maine.

                         S. The NAF, itself, did not follow its own rules and sent claims to arbitralora de:spi~
                            the fact thai those claims should have been dismissed for failure of the creditor to
                            serve the notice or arbitration "promptly."

                         9. The NAF is violating Californiutatutory law by refusiDJ to publish tbe results of
                             many oflts California arbitrations.

                       , 10. The NAF's failurt to publish the results of all of its California llbitrations Is
                             assisting at least one collcctioo company In an Illegal effort to obtain awards of
                             attorney's fees in amounts that violate Dc:lawan: Jaw.


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                                                                 11
                        I.     Backgrouad

                          Congress passed the Federal Arbitration At1 1 in 1925. The original intention of lhc
                     FM was 10 oven:ome the reluctance of federal couns to entertain or to enfon:e
                     arbitration clauses ia contlllds between commen:ial businesS entities. Ia I934, !he
                     Supreme Court decided Sortlhland Corp. v. Ktatlng, 1 which cha~aeteriud !he FAA as
                     declaring "a notional policy favoring arbitration" in federal and state courts, and held that
                     the FM preemptS all incollSlstent state arbitration laws. Despite severe criticism of !his
                     holding. in the dissenting opinion of Justices O'COMOr .net Rehnquist and In numerous
                     StJbscquent disscnts,3 the Supreme Cowt ba5 consistently upheld both arbitration clauses
                 · · and the authority of11rbitrators•ln the 25 years since its Southland decision.

                        The number of arbitrations has grov.-n exponenlially in the 2S years since the
                   Southland decisioa. Virtually Jll consumer lransntlions with large businesses ace now
                   Rlbjcct to pre-dispute, mandalory arbitration clauses. l'hc pervasiyeness of these
                   arbitration "acreemcnts" In consumer c0111racts has created a separate system of "justice'"
                   for consume!'$.

                      Several bills have bcCJI introduced, in this session and past sessions, 10 prohibit pre-
                  dispute arbitration clauses In consumer transactions, employment agreements, flllllchise
                  acn:ements and nursing home adm.issions.1 The Subcommittee undertook 10 inveslij:ate
                  the nature of pre-dispute mandatory arbitration and whether or not the process was
                  producing !"air results.

                       II.    Thr Nature orComumrr Debt Collcdioa Arbitratioo

                       Arbitral ion creates a third system of justice that operates parallel to the federal and
                  stale judicial systems. In the context for which the FM was enacted, i.e., commercial
                  disputes between businesses, a.rbilration can be more expeditious. less costly and as fair
                  as the two other judicial ay51ems. However, most "consumer arbitratioDS" prcscot a
                  lotally different situation.


                  1
                    9 U.S.C. § 1, etseq.
                  2
                    465 U.S. I (1934).
                  'Su, t.g.,Atlied-8111Ct TmnlnJxCOJ. V. Dobson, 513, U.S.26S,at292 (\99S)(Justices
                  TilOmaS and Scalia dissenting).
                  4
                   .For example:, the Supreme Court had held that the arbitrator, 1101 a c:ourt,roust dec:idc:
                  whether the arbitration lifCCillCIII precludes c:lass actions, Green Tree Financial Corp. "·
                  DaulJ, 539 U.S. 444 (2003), and whether the credit asrecment violates stale usury laws,
                  Buclclye Check Quiring v. Cardegna, S46 U.S. 440 (2005).
                  'Ste, e.g., Arbitration Fairness Atl of2009, H.R.I020; Fairness in Nursing Home
                  Arbitration Act of2009, H.R.1237; Consumer Fairness Act of2009, H.R.991.

                                                                 )
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                                                             12

                      The arbilr3tors in c:oasumcr ~Jahns art attorneys 01 retired judges and their dctisions
                 nrc, ia lllOSt cases, based solely upon wtittcn Slatcmcnrs made by the uttomcys
                 representing lbc: crediCor. Thc daims ale scnt to lhc arbitraeor in blltchcs by the
                 arbitmion provider. Responscs by tbe c:oosumer arc vcry rare. Usually, the ~hcariag" is
                 DO thing more than a review by thc aroitJa!or of the written slalements provided by the
                 c:rcditor or its attorney, without physitlll appearances by either the aedilor or the
                 consumer.

                     Coasumer arbitration lacks the: safeguards that have been designed into our judicial
                 system by our Coastltution, by slale and federal statures, and by centuries of judiciul
                 decisloos. The differences between the proc:edurcs iii courts and in aroilrations can be
                 seen in the following table:
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                                                                 13

                  Tobie~·   Co11rt cwl Arbitration: Comparison ofPoJicies nnd Procedures


                                                                              ARBITRATION


                  Coli!Umer is served proc:ess by a c:owt             Coasumcr is served by the cn:ditor, who
                  offic:cr who has ao intcn:st in the                 has a fiaaoc:ial i=rive for the
                  pJOteeding                                          c:oasumcr not to appear

                  Case is randomly assigned to a judge·               Case is assigned 1) by a business entity
                  who hn.:lao interest in the proceeding              thot has a.liaantial inc:entive to scelc
                                                                      additionOII c;ascs from the c:rcditor, 2) to a
                                                                      sole-proprietOr (the arbitrator) who has a
                  The Clllire proc:ecding is open and public:         linaDtial inc:entivc to seek additioaal
                                                                      c:asc' from the mditor,nnd who is
                                                                      subjett to removal at the whim of the
                                                                      c:reditor (under NAF rules w/1 0 days)

                 The proc:css is familiar to anyone who               The proec:ss is dosed and sc:c:retive.
                 has watched television                               Virtually aothing.is publitly known,
                                                                      other thnn what California requires to be
                                                                      disdosed

                                                                      The process is unfamilias and
                 Due process is required IUld is enforeed             intimidating. The NAF advertises to
                 by DtUinl partic:s                                   c:ollec:tion c:ompanies.that when you
                                                                      explain to dtbtors what arbitration is
                                                                      "they basic:ally hand you the money"
                 Dedsions must be based on reliable
                 evidcnte           ·                                 Due process is only c:nforc:cd by an
                                                                      arbilralorwho has a financial ioc:entive
                                                                      to seek additional c:astS from the c:reditor
                 O>IISUmer incurs virtually 110 c:ost
                                                                      Detisions are usually based on hearsay
                                                                      and oflcn double-hearsay
                 Judge: must follow the law

                                                                      Everything the toliSUmcr asb for c:omcs
                 Consumer c:an appeal any failure to                  only allltl extra c:ost, inducling a bearing
                 follow Jaw or fatts
                                                                      Arbitrator tan ignore the law, and is not
                                                                      subjettto any review

                                                                      No viable appeal of anything but fraud
                                                                      by the arbitrator


                                                                 s
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                                                                14
                        Almost all of these mass debt collection arbitrations arc conducted by the National
                    A1bitration l'onlnl.' On July 14, 2009, the Anomey Genua! of the State of Mioncsota
                    filed a lawsuit agoowt the NAI' in vmich she included detailed aJiegatioM of financial
                    coru~CCtions between the NAF and debe coUection companies and law firms. Those
                   allegations seem to show that the NAF is ultimately owned lUid controlled by the same
                   business entities that own :~nd control the lhn:e largest coDcclion componies in the
                   country, comp4nlcs that file ovu half of the claims that are processed through the NAF.
                   Those allegations ;!)so recite that the NAF, those three collection companies, and the
                   business entities that now own and control them, oil sought to conceal the existence of the
                   n:lationship among them, in order to maintain the f~adc that the NAF was truly
                   independent in its :ldministralion of the debe collection arbitrations that arc filed by those
                   thrco companies. On July 17, 2009, the NAF. and the Minnesota Attorney General
                   entcn:d into a settlement a"gn:c:mcnt in which the NAF agreed to diseorjinuc .tl consumer
                   arbitrations.

                       111.    The Domestic Polley Subconuulllce St11tf lovatigatloft

                        The Subcommittee's staffbcpn our investigation last faU, by assemblinc and
                   n:vicwing .tl of the publicly-available literature and commentary on pre-dispute.
                   mandatory arbitration clauses in all conlt:(IS, including consumer agreements and
                   employmentllllreements. On March 18,2009, Chairman Kucinich sent a document
                   request to the three rnl'jor providers of arbitration services,' asking for documents that
                   related to all of the concerns that WCR discussed in the available literature. Staff
                   reviewed ovu 50,000 pages of documents that were produced by the three services. That
                   review Jed the Subcommittee to focus on the usc of arbilnltion in consumer debe
                   collection, because it appeared that diCfuent :~rbitntors might be issuina opposite
                  decisions based on the same or simil11r facts. In order to detcnninc if that was the case,
                   the Subeommince requested 111cs in 159 claims administered in California by the NAF.
                  All of these claims were filed by the SDmC creditor at approximately the same time. Two
                  arbitrators dismissed all of the 58 claims lhat wue assigned to them. The third arbitl'lllor
                  iss\ICXf awards to tht creditor in evuy one of the eJnjm, assigned to him. The sleff
                  reviewed oil ofthose Iiles and could not discover any diiTcrcnces that would justify the
                  different decWons, so the Subcemmilk:c requested the files in 80 additional elaiJM
                  decided by two other arbitrators that had also issued a-ds to the same creditor. The
                  findings recited below are the n:sult of the Subcommince's analysis of those files and
                  other documents that have been reviewed.




                  6 The AAA has conducted one trial progr11111 (the wEncore!MCM" proemm) that ended in
                  June of this year. ln eontwt,the NAF adminlstued over 30,000 conswncr debe
                  collection arbitrations in California alone between J1111uary I, 2003 lll1d Mo.rch 3 I, 2007.
                  1
                    The American Arbilnllion Association (AAA). Judicilll and Mediation Services (JAMS)
                  and the National Arbitration Fohlm (NA F).

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                                                                  15
                          IV.     Fiadings

                         Vert few ~~onsumc:r arbitrations" are filed by ~onsumers. The only IIVIilable data
                     indiates thai more than 99% of"~onsumc:r arbitrations" are debt ~oU«tion ~laims faJed
                     by businesses, usiJ!IIIy ~rcdit ~ard ~ompanies or ~oll«tion ~ompanies , ag.inst ~onsumers,
                     seeking to eoll«t post due balances under arbitration ~agreemenls" thot were unilatcnllly
                     imposed by the businesses.'

                            The tlaim files that the Subcommittee's sta!T examined were dcc:lded prior to the
                   dale on w!Uch the NAF reamnged its structure to b«ome part of a debt ~oll«tlon
                 · conglomel'lltc. Uven· before the t:onSwnmation of that ·financial amngement, the dalm
                   files showtd the kind of problems that would ~ur in the administralion of debt
                  collec:tlon tlaims ·by an arbitration service thai hlld ~lose ties to the debt colle~lion
                  industry.

                        011" OUUIIysi., of the c:laim files demoo.stnlles that the absence of essential safeguards
                     produces exactly the results that one would expect.

                         I. Service of process. Obviously, it is easier for a ~rcditor to prevail if the
                            consumer docs not respond to the noti~e. ln consumer debt coiled ion arbitration,
                            the notice is served and verified by the creditor. In the AAAIMCM ase files, the
                            arbitrati<ln noti~e was oflen deli\'CI'Cd to addresses that di!Tered from the billing
                            :lddn:ss, and the delivery r«eipts \\'el'e often signed with names that were
                            illegible and/or differed from the name of the ~onsumcr on the bill. kl one use,
                            the r«eipt wns signed "x." In th~te cases, the bills were in Spanish (i ndi~ating
                            that the ~onsumer was not an English speaker), but all of the arbitra1ion notices
                            were in English. In the NAF CiiSC files, delivery r«eipts were generally not
                            provided. But. two verifications of delivery upon "John Ooe" raise the sam~
                            concerns.

                        2. Case assignmcnl. NAF filings arc assigned by NAf staff. The studies of the
                           C.lifomb NAI' filings, by rublic Citiun and by The Cenler for Responsible
                           Lending. demonstrate that the vast ~rity of ases are assigned to a small
                           number of arbitrators who routinely rule in favor of the cr.cditors. The few
                           arbitrators whose rulings are mon: favorable to consumers are given few ~IISes or
                           reduced numbers of cases. Our analysis of a more re«nt period ofNAF filings
                           found the same disproportionale distnl!ution.' This disproponioa 111AY be

                 1
                   The NAF produced r«ords thai show only 7 of 4,894 NAF arbitrations in West Virginia
                 (0.14%),and only79 ofl4,408 in Minnesota (0.5%) were filed by conswners. The
                 General Olunscl of first USA Bank testified in an August, 1999 deposition that fewer
                 than 10 of their 40,71) arbitrations after January of 1998 were filed by consumers.
                 v The Public Citizen data analyzed NAF California filings from Ql'OJ through QI'07.
                 NAF provided the Subeonin1ittee with its California filings through Q4'08 and has QI'09
                 filings on its website.

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                                                                16
                            augmented by tbe NAF's disqt~~~lilication rule. When a a~Se Is ossigned to an
                            arbitrator whom the crtditor considers unfavorable, the creditor can remove tbe
                            arbitrator with a simple fOrm leuer, without any need to recilc a justific:ation. 10
                            This nale can greatly increase the likelihood of 11 creditor g;.ining the assignment
                            of a lbvorable arbitrator. It abo provides notice to an arbllnllor that helshe wiU
                            get few~:r cases, DOd consequently reduced income, in the future if his/her
                            decisions do DOl become more favorable to creditors. In Mallie, oae arbilnllor
                            who was oc:tually following the NAF"s rules, 11nd dismissing cases that were
                          . deflclenl, found himself without ony subsequent case assignmern 11

                        3. Closed prOceedings. Closed proceedings h:lve at least two significant efTec:ts.
                            Fitst, they make It diff~eult, if not impOssible, to evaluate the fairness of
                           arbitration. California is tbe oaly stole that requires reporting of results, and the
                           information provided by the tbiC\: orpniZlllions is incomplete.'~ We bave no
                           information on 46 stales :Uid ooly limited inform•ltion from three others.ll We
                           discuvcrcd during the cowse of our investigation that the NAF was violaling
                           Callfomb law 14 and was not publishing the resuiiS of thousands of arbitrations
                           filed by Columbia Credit Services lind others. By concealing these Iiles, the
                           NAF was asslstiog Columbia (and ·possibly others) In seeking and obtaining
                           awards of artomey's fees that \'lolare Delaw.:are l11w. 1s Second. closed
                           proceedings produce arbitrary results, where different arbitrators produce
                           diametricaRy-opposed dedsions in the SDIIIe cases or virtunlly identical cases."
                           The result the tOOS\Imer gc:ts depends on the arbitrator to whom the case is
                           assigned. As shown In the pn:ecding paragraph, NAF casc DSSignment is not
                           rlllldom and appears to be designed to maximize decisions favorable to the
                           creditors.

                    10
                        The ottorncy for Columbia Credit Services. Inc. obcaincd the disqualifJ<:alion of one
                    arbitrator merely by stating that the arbilrator "is prejudiced [sic] my client or me or my
                    client's inlae$1 or my intertst••.."
                    11
                       The NA F protnulgatcd a wrincn rule, the result of which was to stop sendiJ18 Maine
                   cases to that arbitrator, purportedly because he was not • Maine at1omey. No prior
                   writlcn rule existed on lhltt subject.
                    12
                        We discovered during the course of 011' invcstigati011 that the NAF California filings
                   are incomplete and do not disclose any cases filed by Columbia Credit Services, Inc.
                   NAF did not disclose names of arbitrators In their Q4'08 filings and do not brealcdown
                  .the c:omponentt of the awards in lillY or its filings.
                   IJ NAF provided the Subcommit1ee with Excel spreadsheets of filings 11Rd decisions In
                   ME. MN and WV, but the Information provided was different in each spreadsheet and did
                   not allow for a group onalysis. Names ohrbitrators were: only provided In the ME
                   3":eadshcet.
                   1
                       CAL. Ctv.PRoc. § 1281,96
                   " DEL. CooE ANN, tit. IO, § 3912
                   " In 230 cascs filed by one creditor with NAF, two arbitrators dismissed all their cases,
                 · while the three other arbitlators ruled in the creditor's f•vor in all their cases in the full
                   amount requested.

                                                                 H
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                                                                17

                        4. Due orocess. NAF has rules thet, if enforced and followed, would provide some
                            due process protections. Howcvcr, the enforcement of these rules appears to be
                            left in the hands of each indiVidual arbitrator. It appears that the NAF docs not
                           can: whether or not its rules arc enforced. In the claims we reviewed, 70"A of
                            them should have been dismissed by the NAF, and not forwazdcd to arbitrators,
                           bccalse the lklay in .llCrvKC: of the notice violated NAF Rule 6 (Sa: Exhibit B,
                           altaclled). The NAF's lad: of ~em about due process is clearly shown by its
                           disingenuous response to one consumer whose notice was sc:rved upon his
                           landlord, with whom he was not speaking at the time. The NAF responded thAI
                           "the adequacy of service in this tiiSC would be decided by the atbilnltor hearing
                           the case," ienoring the liM:t thai spcxific infonnadon about service was not
                           provided to the. arbitrator. 17 Ol:usionally, there "arc arbit12tors who enforce
                           deficiencies of service, Inadequacy of allegations, absence or S\Wm cvilkncc.
                           cxcessivc requested attorney's fees, cte. In the case files we reviewed, and in the
                           NAF reported uses, those arbitrators appear to be the exception and their
                           decisions appear to result in their receiving fewer subsequent case assignments.

                       5. Standard of cyjdcnu. In a court. a creditor would have to submit Admissible
                          evidence of the amount of the debt, even if the debtor failed to ICSpond to the
                          suil The awards we reviewed wen: bused entirely on statements of the creditor,
                          uSU3lly by the creditor's attorney, sosnc:dmc:s unsworn, sometimes made on the
                          basis of "infom1ation and belief." The most documentary cvidcntc thDt was
                          provided was D"final bill~ that recited the past due amooot or the total amount
                          owing, withoul any itemization of charges or any Indication of when those
                          charges were incurred. Sintc: all of thc:sc claims wc:rc made by assignees of the
                          original creditor, they were at least singk hearsay, and probably double hearsay.
                          The responses of the consumers, which had to have: been based on the first-hand
                          knowledge of the consumer, appc:lrCd to be given no weight.

                      6. Application of law. A judge must follow the law. If a judge docs not follow the
                           law, a court of IIJlPCils can reverse the incorrect decision. If two judges make
                          ruliogs that an: opposite, appeals can reverse: the incorrect decision and cuide all
                          fu!IR decisions. That procedure does not exist in arbitration. The: decision of
                          the arbitrator Is final and can only be: reviewed on a very limited basis. There is
                          no procedure to correct a decision that is against the law or a decision that totally
                          different from another decision issued by that arbitrator or another arbitrator.
                          Our review diselo$cd decisions that were totally opposiic, depending on whether
                          or not the arbitrator was concerned with delicienclcs in the: claim documents or
                        . ignored them entirely (See E>lhibit·A. attac:hed).




                  11
                     1n the tiles we reviewed, the only infonnation given 1o the arbitrator was thllt service
                  was made in compliance with NAF Rule 6. In 70"/o of the eases, that sworn statement
                  was unt.ruc, because the service Wal not "prompr as required by NAF Rule 6.

                                                                9
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                                                                18
                        V.    Coaclusion

                      Mass-producti011 coOection of consumer debts through lllbiuationls not •arbitllltion.''
                  Jt is debt collection made simpler, for the benefit of the creditor and to the detrimtnt of
                  consllll!ets. While It is true that the Ya-'t majority of <:oll-'wners defauk and do oot appear
                  when claims arc brought against them In couns, there ore <:oosumers wbo have legitimate
                  defense$ to the claims against them or who have beto~m victims of identity theft or
                  mistaken identil)'. The arbit111tioo sysiCill, as it Is =enlly operated by NAF, does DOt
                  provide protedion for those consumers. The sysiCill .is ripe for abuse, and k hilS been
                  abused by the lncgest administrator of"consurner albltratloiiJ.M




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                EXHIBIT "B" .
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                                 (READ CAREFULLY)

               This Arbitration Agreement (the "Agreement") is hereby entered between Pine Hills
     Health and Rehabilitation, LLC (the "Facility") and                                                  (the
     Resident or the Responsible Party) in conjunction with an agreement for admission and for the
     provision of nursing facility services (the "Admission Agreement") by Facility to Resident.
     The "Responsible Party" means an agent, some other individual, or family member who agrees
     to assist the Facility in providing for the Resident's admission, health care, payment,
     maintenance, and discharge. The Resident and the Responsible Party shall be collectively
 .___r~f~rr~.<l t_Q ~.~. the "Resi9~_nt." Ih~ Re.s_id~nt_and the Facility .shall be collectiYd)l referred to as
- · tlfe-"parties."

    The parties to this Agreement acknowledge and agree that upon execution, this Agreement
   becomes part of the Admission Agreement, and that the Admission Agreement evidences a
   transaction involving interstate commerce governed by the Federal Arbitration Act. The
   Responsible Party acknowledges further that execution of this Agreement affects his or her
   individual rights. It is understood and agreed by Facility and Resident that any and all claims,
   disputes, and controversies (hereafter collectively referred to as a "claim" or collectively as
   "claims") arising out of, or in connection with, or relating in any way to the Admission
   Agreement or any service or health care provided by the Facility to the Resident shall be
   resolved exclusive'ly by binding arbitration to be conducted at a place agreed upon by the Parties,
   or in the absence of such an agreement, at the Facility, in accordance with the National
   Arbitration Forum Code of Procedure, (''NAF") which is hereby incorporated into this
   Agreement 1, and not by a lawsuit or resort to court process. This agreement shall be governed
   by and interpreted under the Federal Arbitration Act, 9 U.S. C. Sections 1-16.

  This agreement to arbitrate includes, but is not limited to, any claim for payment, nonpayment,
  or refund for services rendered to the Resident by the Facility, violations of any right granted to
  the Resident by law or by the Admission Agreement, breach of contract, fraud or
  misrepresentation, negligence, gross negligence, malpractice, or claims based on any departure
  from accepted medical or health care or safety standards, as well as any and all claims for
  equitable relief or claims based on contract, tort, statute, warranty, or any alleged breach, default,
  negligence, wantonness, fraud, misrepresentation, suppression of fact, or inducement. However,
  this Agreement shall not limit the Resident's right to file a grievance or complaint with the
  Facility or any appropriate government agency, or from requesting an inspection from such an
  agency, or from seeking review under 42 C.F.R. Section 431.200 et seq. of a decision to transfer
  or discharge the Resident.

  The parties agree that damages awarded, if any, in an arbitration conducted pursuant to this
  Agreement shall be determined in accordance with the provisions of the state or federal law
  applicable to a comparable civil action, including any prerequisites to, credit against, or
  limitations on, such damages. Any award of the arbitrator(s) may be entered as a judgment in
  any court having jurisdiction. In the event a court having jurisdiction finds any portion of this
  agreement unenforceable, that portion shall not be effective and the remainder of the Agreement
  shall remain effective.


                                                                                                                EXHIBIT

                                                                                                                   ~
  1
    Information about the National Arbitration Fonun, including a complete copy of the Code of Procedure, can be
  obtained from the Fonun at (800) 474-2371, by fax at (651) 604-6778, or toll-free fax at (866) 743-4517, or on the
  Internet at htto://www.arb-forum.com. Claims may be filed at any office of the National Arbitration Forum, at
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          Arbitration Agreement
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         It is the intention of the parties to this Agreement that it shall inure to the benefit of and bind the
         parties, their successors, and assigns, including without limitation the agents, employees and
         servants of the Facility, and all persons whose claim is derived through or on behalf of the
         Resident, including any parent, spouse, sibling, child, guardian, executor, legal representative,
         administrator, or heir of the Resident. The parties further intend that this Agreement is to survive
         the lives or existence of the parties hereto.
           -·                               .

         Alt·claims based in whole-orpart-on the same incident, transaction, or related course of care or
         services provided by the facility to the Resident shall be arbitrated in one proceeding. A claim
         shall be waived and for<?ver barred if it arose and should reasonably have been discovered prior
         to the date upon which notice of arbitration is given to the Facility or received by the Resident
         and such claim is not presented in the arbitration proceedings.

         THE PARTIES UNDERSTAND AND AGREE THAT THIS CONTRACT CONTAINS A
         BINDING ARBITRATION PROVISION WIDCH MAY BE ENFORCED BY THE
         PARTIES, AND THAT BY ENTERING INTO THIS ARBITRATION AGREEMENT,
         THE PARTIES ARE GIVING UP AND WAIVING THEIR CONSTITUTIONAL RIGHT
         TO HAVE ANY CLAIM DECIDED IN A COURT OF LAW BEFORE A JUDGE AND A
         JURY, AS WELL AS ANY APPEAL FROM A DECISION OR AWARD OF DAMAGES.

         The Resident understands that (1) he or she has the right to seek legal counsel concerning this
         Arbitration Agreement, (2) that execution of the Agreement is not a precondition to admission or
_____ _tu. th~_f1Imisbin_g_Q.f _s_~xYi9_~s_tp_th~ R~si.d~n.t b~ th~- &cilicy,Jmd13)_thisArbitrati~gre_~ment    --· __ __ _ ·- ··- .
         may be rescinded by written notice to the Facility from the Resident within thirty days of
         signature. If not rescinded within thirty days, this Arbitration Agreement shall remain in effect
         for all subsequent stays at the Facility, even if the Resident is discharged from and readmitted to
         the Facility.

        The undersigned certifies that he or she was read this Arbitration Agreement and that it was been
        fully explained to him or her, that he or she understands its contents, and has received a copy of
        the provision and that he or she is the Resident, or the person duly authorized by the Resident or
        otherwise to execute this Agreement and accept its terms.

                                                                RESPONSffiLE PARTY*

                                                                Name ofResponsible Party

                                                                Signature of Responsible Party

        Date:            ¥{~l.e /ID                             Date: _ _ _ _ _ _ __




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        ~           ~J~RE
                  h.--    1~
                        ~-Jo
                                  u      bW                                   1
                                                                Date: ----+rU-f-JJU~/'-1--j...._O_ _ __
                                                                            1-/       I

        *NOTE: The Responsible Party must also complete the information at the top of Page 3 as welL
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 Arbitration Agreement
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Responsible Party To Complete This Section:
If the resident is unable to consent or sign this provision because of physical disability or mental
incompetence or is a minor and a Responsible Party is signing this provision, complete the
following:

Relationship to Resident: _ _ _ _ _ _    S_J
                                          __f_________________
    ,.   -·       .
(ehe·ck if ap-plicable): [ ] A copy of my guardianship papers, durable power of attorney or
other documentation, has been provided to the Facility and is attached.




                                                     Date:   -~~1'JIJ~~-D_
 ~aJ ~·(.6                   dlvecl7rc
Print Name and Title
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                 EXHIBIT "C"
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                                                    NATION A L ARBITRATIO N             FORUM




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        NAT I ONAL ARBIT R ATION   FORUM
                                                                   appeal or a review de novo of an arbitration
                                                                   by other Arbitrators.


Part 1-Scope                                                       RULE 2. DEFINITIONS .

                                                                   For purposes of this Code, the following
                                                                   definitions apply:
     RULE 1. ARBITRATION AGREEMENT.

     A. Parties who contract for or agree to                       A. Affidavit: A Written statement of a person
      arbitration provided by the Forum or this                    who asserts the statement to be true under
      Code of Procedure agree that this Code                       penalty of perjury or who makes the
      governs their arbitration proceedings,                       statement under oath before a notary public
      unless the Parties agree to other                            or other authorized individual.
    · procedures. This Code shall be deemed
      incorporated by reference in every                           B. Adjournment: A continuance or delay for
      Arbitration Agreement, which refers to the                   a specific period of time requested after the
      National Arbitration Forum, the International                appointment of an Arbitrator. See Time
      Arbitration Forum, the Arbitration ForumI                    Extension and Stay.
      adrforum.com, Forum or this Code of
      Procedure, unless the Parties agree                          C. Amendment: A change made to a Claim
      otherwise. This Code shall be administered                   after it has been served on the Respondent
      only by the National Arbitration Forum                       and any change made to a Response after it
      or by any entity or individual providing                     has been filed and Delivered to all Parties.
      administrative services by agreement with
      the National Arbitration Forum.                              D. Appearance: Any filing by a Party or
                                                                   Party's Representative under Rules 12, 13,
     B. Parties may agree to submit any matter,                    19B, 41A or 44H.
     including any Claim for legal or equitable
     relief, to arbitration unless prohibited by                   E. Arbitration Agreement: Any Written
     applicable law.                                               provision in any agreement between or
                                                                   among the Parties to submit any dispute,
    C. Arbitrations will be conducted in accord                    controversy or Claim to the Forum or to
    with the applicable Code of Procedure in                       arbitration under this Code.
    effect at the time the Claim is filed, unless
    the law or the agreement of the Parties                        F. Arbitrator: An individual selected in
    provides otherwise. A case that has been                       accord with the Code or an Arbitration
    Stayed, extended or Adjourned for more                         Agreement to render Orders and Awards,
    than one hundred-eighty (180) days may                         including a sole Arbitrator and all Arbitrators
    be subject to the Code of Procedure and                        of an arbitration panel. No Arbitrator may
    Fee Schedule in effect at the time the                         be a director or officer of the Forum.
    case proceeds.                                                 A Party Arbitrator is an Arbitrator selected
                                                                   by a Party to serve as a member of a panel
    D. Parties may modify or supplement these                      of Arbitrators in accord with the agreement
    rules as permitted by law. Provisions of this                  of the Parties.
    Code govern arbitrations involving an



    1                                                                                                              2
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        G. Award: Any Award establishing the final                   this Code or under other rules agreed to by
        rights and obligations of the Parties or as                  the Parties.
        otherwise provided by this Code or by law.
                                                                     0. Document: Any Writing or data
     H. Claim: Any Claim submitted by any Party                      compilation containing information in
     including an Initial Claim, Cross-daim,                         any form, including an agreement, record,
     Counter Claim, and Third Party Claim.                           correspondence, summary, electronically
                                                                     stored information, tape, e-mail, video,
     I. Claimant: Any individual or Entity                           audio, disk, computer file, electronic
     making any Claim under this Code.                               attachment, notice, memorandum or
                                                                     other Writings or data compilations.
     J. Claim Amount: The total value of all   relief
     sought. A Claimant seeking non-monetary                         P. E-commerce Transaction: All contracts
     relief states a monetary value for this relief                  and agreements entered into, in whole
     for purposes of establishing the Claim                          or in part, by electronic or computer
     Amount.                                                         communication and all transactions
                                                                     consummated through electronic or
     K. Common Claim: A Claim Amount less                            computer communication.
     than $75,000.
                                                                     Q. Entity: Any association, business,
     L. Consumer: An individual, who is not a                        company, cooperative, corporation,
     business or other Entity, whose Claim or                        country, governmental unit, group,
     Response against a business or other                            institution, organization, partnership, sole
     Entity arises:                                                  proprietorship, union or other establishment.

          (1) From a transaction or event entered                    R. Fee Schedule: The Fee Schedule appears
          into primarily for personal, family or                     in a supplement to this Code.
          household purposes;
                                                                     S. Forum: The National Arbitration Forum,
         (2) From an existing, past or prospective                   the International Arbitration Forum, the
         employment relationship with an                             Arbitration Forum, arbitration-forum.com,
         employer Party; or                                          and adrforum.com constitute the
                                                                     administrative organizations conducting
         (3) From a transaction or event involving                   arbitrations under this Code. The Forum
         any aspect of health care.                                  or an entity or individual providing
                                                                     administrative services by agreement
    M. Delivery: Delivery to the address of a                        with the Forum administers arbitrations
    Party, the Forum or an Arbitrator by the                         in accord with this Code.
    postal service of the United States or any
    country, or by a reliable private service,                       T. Hearing: Hearings include:
    or by facsimile, e-mail, electronic or
    computer transmission.                                             (1) Document Hearing: A proceeding
                                                                       in which an Arbitrator reviews documents
    N. Director: The Director of Arbitration and                       or property to render an Order or Award
    the Forum staff administer arbitrations under                      and the Parties do not attend.



    3                                                                                                              4
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        (2) Participatory Hearing: Any proceeding                   Z. Proof of Service: An Affidavit stating how
        in which an Arbitrator receives testimony                   and where service was made.
        or arguments and reviews documents or
        property to render an Order or Award.                       AA. Receive or Receipt: The Delivery or
        The types of Participatory Hearings                         other effective notice to the Forum, or to a
        include:                                                    Party at the address of the Party or Party
                                                                    Representative.
           a. In-person Hearing- A Hearing at
           which the participants may appear                        BB. Representative: Any individual,
           before the Arbitrator in person;                         including an attorney, who makes an
                                                                    appearance on behalf of a Party.
           b. Telephone Hearing- A Hearing at
           which the participants may appear                        CC. Request: Any Request by a Party
           before the Arbitrator by telephone; and,                 directed to an Arbitrator or the Forum for an
                                                                    Order or other relief, including any motion,
          c. On-line Hearing- A Hearing at                          petition or other type of Request.
          which the participants may appear
          before the Arbitrator on-line, by e-mail                  DO. Respondent: Any Party against whom a
          or by other electronic or computer                        Claim is made.
          communication.
                                                                    EE. Response: Any Written Response by a
     U. Interim Order: Any Order providing                          Party or Representative to any Claim.
     temporary or preliminary relief pending a
     final Award.                                                   FF. Sanctions: Sanctions include dismissal of
                                                                    the arbitration or the Claims or Responses;
     V. Large Claim: A Claim Amount of $75,000                      preclusion of evidence; admission of facts;
     or more.                                                       payment of costs; payment of fees including
                                                                    reasonable attorney fees, Arbitrator fees, and
    W. Order: Any Order establishing specific                       arbitration fees; the rendering of an Order or
    rights and obligations of the Parties.                          Award; and other Sanctions deemed
                                                                    appropriate. Sanctions may be imposed
        (1) A Dispositive Order results in a final                  against a Party, a Representative or both.
        Award or dismissal of any Claim or
        Response.                                                   GG. Signature or Signed: Any mark, symbol
                                                                    or device intended as an attestation,
        (2) All other Orders are Non-dispositive.                   produced by any reliable means, including
                                                                    an electronic transcription intended as a
    X. Party: Any individual or Entity who makes                    Signature.
    a Claim or against whom a Claim is made
    including Claimants, Respondents, Cross-                        HH . Stay: A delay for an indefinite period of
    claimants, and Third Parties.                                   time requested by a Claimant before an
                                                                    Arbitrator is appointed. See Time Extension
    Y. Party Witness: Any person who is an                          and Adjournment.
    individual Party or who is an employee of
    an entity Party at the time of the service of
    the subpoena.


    5                                                                                                               6
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                                                                  NATI ONA L   ARB IT RA TI O N   f ORUM
    II. Time Extension: A continuance or delay
    for a specific period of time requested
    before the appointment of an Arbitrator.
    See Adjournment and Stay.
                                                          Part It-Commencement
    JJ. With Prejudice: The case cannot be
    brought again. The Claimant cannot
                                                          of Arbitration
    subsequently bring the same Claim against
    the Respondent.
                                                                  RULE 5 . SUMMARY OF PROCEDURES.
    KK. Without Prejudice: The case may
                                                                  A. Claim . A Party begins an arbitration by
    be brought again. The Claimant can
                                                                  filing with the Forum a properly completed
    subsequently file the same Claim against
                                                                  copy of the Initial Claim described in Rule
    the same Respondent.
                                                                  12, accompanied by the appropriate filing
                                                                  fee which appears in the Fee Schedule.
    LL. Writing or Written: Any form intended to
                                                                  The Forum reviews the Claim, opens a file,
    record information, including symbols on
                                                                  assigns a file number, and notifies the
    paper or other substance, recording tape,
                                                                  Claimant, who then serves the Respondent
    computer disk, electronic recording, and
                                                                  in accord with Rule 6.
    video recording and all other forms.
                                                                  B. Response. A Respondent may file a
    RULE 3 . REPRESENTATION.                                      Response as explained in Rule 13 or
                                                                  respond otherwise as explained in these .
    A. Parties may act on their own behalf or
                                                                  rules and the Notices of Arbitration, which
    may be represented by an attorney or by a
                                                                  appear in Appendices A and B. If there is no
    person who makes an appearance on behalf
                                                                  timely Response, the arbitration proceeds in
    of a Party.
                                                                  accord with Rule 36.
    B. Parties, their Representatives, and all
                                                                  C. After a Response. The arbitration
    participants shall act respectfully toward the
                                                                  proceeds in accord with a Scheduling
    Forum staff, the Arbitrator, other Parties,
                                                                  Notice issued by the Forum or by action
    Representatives, witnesses, and participants
                                                                  by the Parties.
    in the arbitration.           ·
                                                                  D. Hearing. A Party may select a Document
    RULE 4. CONFIDENTIALITY.                                      Hearing under Rule 25 or a Participatory
                                                                  Hearing under Rule 26 and pay the fee, if
    Arbitration proceedings are confidential
                                                                  any, listed in the Fee Schedule. Parties have
    unless all Parties agree or the law requires
                                                                  a full and equal right to present relevant
    arbitration information to be made public.
                                                                  and reliable direct and cross examination
    Arbitration Orders and Awards are not
                                                                  testimony, documents, exhibits, evidence,
    confidential and may be disclosed by a
                                                                  and arguments. A record may be made of
    Party. The Arbitrator and Forum may
                                                                  Participatory Hearings.
    disclose case filings, case dispositions, and
    other case information filed with the Forum
    as required by a Court Order or the
    applicable law.


    7                                                                                                             8.
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                                                                         (




        E. Arbitrator. The Parties select an                          L. Indigent Parties. In accord with Rule 45,
        Arbitrator(s) by mutual agreement in accord                   Consumers who meet the United States
        with Rules 21, 22, and 23 . Forum arbitrators                 Federal poverty standards need not pay
        are neutral, independent, experienced, and                    arbitration fees .
        knowledgeable about the applicable law.
                                                                      M. Substantive Law and Remedies.
     F. Arbitrator Qualifications. A neutral                          All types of legal and equitable remedies
     Arbitrator shall not serve if circumstances                      and relief available in court are available in
     exist that create a conflict of interest or                      arbitration. Claims, Responses, remedies or
     cause the Arbitrator to be unfair or biased in                   relief cannot be unlawfully restricted, and
     accord with Rules 21 and 23. A Forum                             Parties may effectively pursue any remedy
     Arbitrator may also be removed similar to                        or relief in arbitration including statutory,
     the ways a judge or juror may be strick~n.                       common law, injunctive, equitable, and all
                                                                      other lawful remedies and relief.
     G. Arbitrator Powers. An Arbitrator decides
     issues in a case including questions of fact                     N. Award or Order. After a Hearing, an
     and law. An Arbitrator follows the applicable                    Arbitrator shall promptly issue an Award
     substantive law and may grant any remedy                         or Order in accord with Rule 37 or 38.
     or relief provided by law or equity, including                   Reasons, findings of fact, and conclusions of
     monetary and injunctive relief, in accord                        law shall be in accord with Rule 37 or 38.
     with Rules 20, 27, 37, and 38.
                                                                      0. Review and Enforcement. An Award
     H. Discovery. Before a Hearing is held,                          may be enforced in any court of competent
     Parties shall cooperate in the discovery                         jurisdiction, as provided by applicable law.
     process and may exchange and obtain                              An Award or Order may be reviewed by a
     discovery in accord with Rule 29.                                court with jurisdiction to determine whether
                                                                      the Arbitrator properly applied the
     I. Requests. Parties may seek appropriate                        applicable substantive law and whether
     relief or remedies in accord with Rule 18.                       the arbitration complied with applicable
                                                                      arbitration laws.
    j. Fee Schedules. The Fee Schedules appear
    in a supplement to this Code. The Forum                           P. Public Information. Arbitration
    Fee Schedules are a model of fair cost and                        information may be made public in accord
    fee allocation. The Common Claim Fee                              with Rule 4 or as required by Court Order.
    Schedule governs amounts under $75,000,
    and the Large Claim Fee Schedule governs                          Q . Access to justice. This Code shall be
    all other Claim Amounts.                                          interpreted to provide all Parties with
                                                                      a fair and impartial arbitration and
    K. Consumers. See Rule 2L. Consumers                              with reasonable access to civil justice.
    include Consumers, employees, and                                 Arbitrations under the Code are governed
    patients. Consumers pay only reasonable                           by the Federal Arbitration Act in accord
    arbitration fees as explained in these Rules                      with Rule 488.
    and the Fee Schedule, and as required by
    the applicable law. Other Parties may have
    to pay fees for Consumers.



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     RULE 6. SERVICE OF CLAIMS, RESPONSES,                             (7) Service is complete upon Receipt by
     REQUESTS, AND DOCUMENTS.                                          the Party served or the filing of a
      A. After being notified by the Forum that a                      Response with the Forum by a
     Claim has been accepted for filing in accord                      Respondent.
     with Rules 7 and 12, and a file number has
     been provided, the Claimant shall promptly                     C. Service of Responses, Counter Claims,
     serve on each Respondent one (1) copy of                       Cross-claims, Requests, notices, and
     the Initial Claim Documents, containing the                    Documents shall be by Delivery, as defined
     Forum file number, together with a Notice                      in Rule 2M, to the address of all Parties or
     of Arbitration substantially conforming to                     their Representatives at their addresses of
     Appendix A of this Code, including notice                      record with the Forum, or by using service
     that the Respondent may obtain a copy of                       methods for an Initial Claim in Rule 6B.
     the Code, without cost, from the Claimant                      Amended Claims shall be served or
     or the Forum.                                                  Delivered as provided in Rule 17D.

    B. Service of Initial Claims and Third Party                    D. The Party serving or Delivering a Claim,
    Claims shall be effective if done by:                           Response, Request, notice or Document
                                                                    shall timely Deliver copies to all Parties not
         (1) United States Postal Service Certified                 required to be served. This rule does not
         Mail Signed return receipt or equivalent                   apply to a Rule 45 Request.
         service by the national postal service of
         the country where the Respondent resides                   E. Parties and Representatives shall
         or does business;                                          immediately notify the Forum and all other
                                                                    Parties of their mail, facsimile and e-mail
         (2) Delivery by a private service with the                 address and any changes in their addresses.
         Delivery receipt Signed by a person of                     If they fail to do so, Parties and their
         suitable age and discretion who Received                   Representatives agree to Receive service at
         the Documents;                                             the previous address provided to the Forum.

         (3) Delivery with a Written                                RULE 7. FILING .
         acknowledgment of Delivery by the
         Respondent or a Representative;                            A. A Party who serves a Claim or Response
                                                                    shall timely file these and all other
         (4) In accord with the Federal Rules of                    Documents and Proof of Service with the
         Civil Procedure of the United States or                    Forum. The filing of Proof of Service
         the rules of civil procedure of the                        constitutes a certification that the service
         jurisdiction where the Respondent                          conforms to Rule 6. A Party who files paper
         entered into the Arbitration Agreement;                    Documents with the Forum shall file two (2)
                                                                    copies. A Party who files Documents online
         (5) In accord with any agreement of the                    need only file one set of Documents.
         Party served;
                                                                    B. Parties may file by Delivery as defined in
         (6) For Claims related to or arising from                  Rule 2M, in person, or by other methods of
         an E-commerce Transaction, Delivery to                     filing authorized by the Forum at:
         the e-mail address of the Party served,
         Receipt confirmed; or

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    P.O. Box 50191                                                  C. The Forum may issue a Schedulin g
    Minneapolis, Minnesota USA 55405-0191                           Notice regarding the Hearing process,
    or                                                              including preliminary Hearings.
    www.adrforum.com
    or
                                                                   RULE 9. TIME PERIODS, TIME
    file@adrforum.com                                              EXTENSIONS, ADjOURNMENTS,
    or                                                             AND STAYS.
    Fax: 952-345-1160
                                                                   A. lime Periods. In computing any period of
    C. Upon Proof of Service of an Initial Claim,                  time under this Code, the day of the act or
    where no Response has been filed, the                          event from which the designated period of
    Forum shall mail to Respondent the Second                      time begins to run shall not be included.
    Notice of Arbitration, substantially
    conforming to Appendix B of this Code.                         B. Holidays. Saturdays, Sundays, and federal
                                                                   holidays of the United States are included in
    D. The Forum may distribute copies of                          the computation of time, except when they
    Documents filed with the Forum to Parties                      fall on the last day of a period.
    or their Representatives who have entered
    an Appearance with the Forum.                                  C. Enforcement. The time periods
                                                                   established in this Code are to be strictly
    E. Filing is complete upon Receipt by the                      enforced and a Party's untimely Claim,
    Forum of all required Documents and fees .                     Response, Request, Notice, Document or
    Claims, Responses, Requests, Notices, and                      submission may be denied solely because
    all other Documents Received by the Forum                      it is untimely.
    are not considered filed until all required
    Documents are Received together w ith all                      D. lime Extensions. The Forum may extend
    applicable fees.                                               time periods in this Code. A Request for a
                                                                   lime Extension must be filed with the Forum
    F. The effective date of filing is the business                and delivered on all other Parties at least five
    day the Forum Receives all required                            (5) days before the time period ends or no
    Documents and fees . A submission is due                       later than a deadline established by a
    before Midnight, United States Central time,                   Scheduling Notice, whichever is earlier, and
    on its due date.                                               must be accompanied by a fee, if any, as
                                                                   provided in the Fee Schedule. A Request
                                                                   submitted after the time period has ended
    RULE 8. NOTICES AND CONFERENCES.                               will not be considered unless extraordinary
    A. The Forum may notify and communicate                        circumstances exist.
    with a Party or Parties by Writing, facsimile,
    e-mail, telex, telegram, telephone, in person                  E. Adjournments. An Arbitrator may Adjourn
    or by other means of communication.                            the arbitration process or a Hearing to a
                                                                   later date. A Rule 18 Request for an
    B. The Forum or Arbitrator may conduct a                       Adjournment must be filed with the Forum
    conference with a Party or Parties to discuss                  and served on the other Parties at least seven
    procedural matters on the initiative of the                    (7) days before the scheduled event and
    Forum or at the Request of a Party or                          must be accompanied by a fee, if any, as
    Arbitrator.                                                    provided in the Fee Schedule. A Request



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    submitted after the time period has ended                      the Forum or at the Request of a Party.
    will not be considered unless extraordinary
    circumstances exist. Any other Party may
                                                                   RULE 10. TIME LIMITATIONS .
    object to a Request by filing with the Forum
    and serving on all other Parties an objection                 A. No Claim may be brought after the
    within three (3) days of the Request being                    passage of time which would preclude a
    filed with the Forum.                                         Claim regarding the same or similar subject
                                                                  matter being commenced in court. This time
    F. Stays.                                                     limitation shall be suspended for the period
                                                                  of time a court of competent jurisdiction
         (1) A Claimant may obtain a Stay of a                    exercises authority over the Claim or
         case for an indefinite period of time by                 dispute. This rule shall not extend nor
         filing with the Forum and serving on all                 shorten statutes of limitation or time limits
         other Parties a Stay Notice prior to the                 agreed to by the Parties, nor shall this rule
         appointment of an Arbitrator. An opposing                apply to any case that is directed to
         Party may end a Stay by filing with the                  arbitration by a court of competent
         Forum and serving on all Parties an                      jurisdiction.
         objection whic~ ends the Stay. Claimant
         may file only one (1) Stay Notice and may                B. An arbitration shall commence on the
         seek a subsequent Stay by submitting a                   date the Respondent is served with the
         Rule 18 Request. A Stay suspends the                     Initial Claim Documents or the date a
         time when proceedings and hearings                       Response is filed with the Forum,
         occur and when Documents and Fees are                    whichever is earlier.
         due.

         (2) By submitting a Notice at any time,
         Parties may mutually agree to Stay a
         matter based on a settlement agreement.
         Upon receipt of the Notice, the Forum
         shall stay the matter for the duration of
         the settlement agreement. Any Party may
         end such a Stay by filing with the Forum
         and serving on all Parties an objection
         seeking to end the Stay.

         (3) The Forum shall Stay a case if
         ordered by a court of competent
         jurisdiction, and may Stay a case
         when reasonably necessary.

    G. International. For arbitration Hearings
    to be held outside of the United States, an
    additional thirty (30) days shall be added to
    the time periods in Rule 13 of this Code.
    Additional time for other proceedings will
    be made available at the determination of


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     NATIONAL       ARBITRATION      FORUM
                                                                     (3) A guardian, conservator, fiduciary,
                                                                     or other legal Representative for an infant
                                                                     or incompetent person.
Part Ill-Documents                                                 Proof of the status of a Party under this rule
                                                                   must be made by an Affidavit filed with the
                                                                   Forum. A Party who contests the status of
     RULE 11. FORM AND PARTIES.                                    another Party may file a Rule 18 Request for
     A. Every Claim, Response, Amendment, and                      relief with the fee, if any, as provided in the
     Request shall be in Writing and Signed by a                   Fee Schedule.
     Party or Representative.
                                                                   RULE 12. INITIAL CLAIM.
     B. Parties and Representatives shall provide
     the Forum and all Parties with their names I                  A. An Initial Claim, which begins an
     current address, an address where service                     arbitration in accord with Rule 6 ofthis
     will be accepted, telephone numbers, and                      Code, shall include:
     available facsimile numbers and e-mail
     addresses. Respondents shall provide the                        (1) A statement in plain language of the
     Forum with the address of their residence                       dispute or controversy, the facts and the
     or business for determination of the proper                     law (if known) supporting the Claim, the
     location of the Hearing in accord with                          specific relief requested and the reasons
     Rule 32.                                                        supporting the relief, the specific amount
                                                                     and computation of any money or
     C. Statements in Claims, Responses,                             damages, the specific value of non-
     Amendments, and Requests may be made                            monetary or other relief, the specific
     in separate or numbered sentences,                              amount and computation of any interest,
     paragraphs or sections, and may refer to                        costs, and attorney fees under Rule 12 B,
     exhibits attached to Claims, Responses,                         and other relevant and reliable
     Requests or Documents.                                          information supporting the Claim;

     D. English is the language used in Forum                        (2) A copy of the Arbitration Agreement,
     proceedings unless the Parties agree to use                     or, if not in the possession of the
     another language. The Forum or Arbitrator                       Claimant, notice of the location of
     may Order the Parties to provide translations                   a copy of the Arbitration Agreement;
     at their own cost unless the Forum has
     agreed in advance to the use of another                         (3) A copy of available Documents that
     language.                                                       support the Claim;

                                                                     (4) An Affidavit asserting that the
     E. A Party may be:
                                                                     information in the Claim is accurate; and
          (1) An executor, administrator, guardian,
          bailee, trustee, or                                        (5) The appropriate Filing Fee as provided
                                                                     in the Fee Schedule.
          (2) An assignee, a successor in interest,
          a recipient of a transfer of interest, or                B. A Claimant who seeks costs and attorney
                                                                   fees must include this statement in the
                                                                   Claim and may either:

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         (1) State the specific amount sought in the                  (1) A Written Document stating in plain
         Claim; or                                                    language a Response to the Claim or
                                                                      stating the Respondent has insufficient
         (2) Amend the Claim to state the specific                    information to affirm or deny a statement.
         amount sought:                                               A Response shall also include any
                                                                      defenses to each Claim made, the facts
           a. For Document Hearings no later                          and the law (if known) supporting the
           than ten (1 0) days from the date of                       defenses, including affirmative defenses
           the Notice of the Selection of an                          and set offs;
           Arbitrator; or
                                                                      (2) An objection to the arbitration of
           b. For Participatory Hearings no later                     the Claim, if the Respondent so objects.
           than seven (7) days from the close                         A Response that does not assert this
           of the Hearing; or                                         objection is an agreement to t~e
                                                                      arbitration of the Claim an·d a waiver of
           c. For prevailing Parties, by Order                        this objection which cannot be asserted
           of the Arbitrator.                                         in an Amendment;

    C. After service of the Initial Claim on the                      (3) A copy of available Documents that
    Respondent, the Claimant shall promptly file                      support the Response;
    with the Forum Proof of Service of the Initial
    Claim on the Respondent. A Claim shall not                        (4) Any Counter Claim the Respondent
    proceed to arbitration until the Forum has                        has against the Claimant in accord with
    received a copy of the Proof of Service of                        Rule 14 of this Code, including the
    the Initial Claim or a Response has been                          Counter Claim filing fee;
    filed with the Forum.
                                                                      (5) Proof of Delivery of the Response to
    D. An Arbitrator may reject, in whole or in                       all other Parties; and
    part, an Initial Claim that does not
    substantially conform to this rule.                               (6) Any fees as provided in the Fee
                                                                      Schedule or as required by the
    E. A Claimant may seek any remedy or relief                       agreement of the Parties.
    allowed by applicable substantive law.
                                                                    B. A Party may obtain ten (1 0) additional
                                                                    days to respond to an Initial Claim by filing
    RULE 13. RESPONSE.
                                                                    with the Forum and Delivering to all other
    A. Upon service of an Initial Claim, Counter                    Parties an extension Notice before the
    Claim, Cross-claim, or Third Party Claim on                     Response is due. Only one (1) extension
    a Respondent, the Respondent shall Deliver                      by Notice is available.
    to the Claimant and file with the Forum,
    within thirty (30) days from Receipt of                         C. A Respondent who responds but does not
    service or fourteen (14) days from the                          state available replies, defenses or Claims
    date of the Second Notice of Arbitration,                       may be barred by the Arbitrator from
    whichever is later, a Response which                            presenting such replies, defenses or Claims
    shall include:                                                  at the Hearing. The failure of a Respondent
                                                                    to deny a statement in a ·claim may be


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    considered by the Arbitrator as an admi ssion                RULE 15 . CROSS-CLAIM .
    of that statement.
                                                                 A. A Party may assert a Claim against a
                                                                 co-Party arising out of the same or related
    D. An Arbitrator may reject, in whole or in
                                                                 transaction or occurrence of the dispute or
    part, a Response that does not substantially
                                                                 controversy by Delivering to the co-Party the
    conform to this rule.
                                                                 Cross-claim Documents which include:

    RULE 14. COUNTER CLAIM.                                        (1) A Cross-claim se~ing forth in plain
                                                                   language the dispute or controversy, the
    A. A Respondent may assert a Counter
                                                                   facts and the law (if known) supporting
    Claim against a Claimant by Delivering to
                                                                   the Cross-claim, the specific relief
    the Claimant, as part of the Response in
                                                                   requested and the reasons supporting the
    accord with Rule 13, Counter Claim
                                                                   relief, the specific amount and
    Documents which include:
                                                                   computation of any ·money or damages,
                                                                   the specific value of non-monetary or
         (1) A Counter Claim stating in plain
                                                                   other relief, the specific amount and
         language the dispute or controversy, the
                                                                   computation of any interest, costs, and
         facts and the law (if known) supporting
                                                                   attorney fees under Rule 12B, and other
         the Counter Claim, the specific relief
                                                                   relevant and reliable information
         requested and the reasons supporting the
                                                                   supporting the Cross-claim;
         relief, the specific amount and
         computation of any money or damages,
                                                                   (2) A copy of available Documents that
         the specific value of non-monetary or
                                                                   support the Cross-claim; and
         other relief, the specific amount and
         computation of any interest, costs, and
                                                                   (3) An Affidavit asserting that the
         attorney fees under Rule 12 B, and other
                                                                   information in the Cross-claim
         relevant and reliable information
                                                                   is accurate.
         supporting the Counter Claim;
                                                                 B. A Party shall Deliver a Cross-claim on all
         (2) A copy of available Documents that
                                                                 Parties and shall file copies with the Forum
         support the Counter Claim; and
                                                                 within fifteen (15) days of the date of service
                                                                 of a Response.
         (3) An Affidavit asserting that the
         information in the Counter Claim
                                                                 C. The Cross-claimant shall file with the
         is accurate.
                                                                 Forum, promptly after Delivery of the
                                                                 Cross-claim, the proof of Delivery of the
    B. The Respondent shall also pay the filing
                                                                 Cross-claim on all Parties, with the fee for
    fee for a Counter Claim as provided in the
                                                                 filing a Cross-claim, if any, and the fee for
    Fee Schedule at the time of filing the
                                                                 a Hearing, if selected, as provided in the
    Counter Claim with the Forum.
                                                                 Fee Schedule.
    C. An Arbitrator may reject, in whole or in
                                                                 D. An Arbitrator may reject, in whole or in
    part, Counter Claim Documents that do not
                                                                 part, Cross-claim Documents that do not
    substantially conform to this rule.
                                                                 substantially conform to this Rule.




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    RUlE 16 . THIRD PARTY ClAIM.                                     days from the date of the Notice of
                                                                     Selection of an Arbitrator for a Document
    A. If a Respondent asserts that a non-Party,                     Hearing or thirty (30) days before the
    who has entered into an Arbitration                              earliest date set for a Participatory
    Agreement but was not served by the                              Hearing, if the Amendment does not
    Claimant, is responsible for the Award                           delay the arbitration and promotes
    demanded, the Respondent may serve                               fairness, efficiency, or economy, which
    a Third Party Claim on this Party, which                         Request shall be promptly decided by
    shall include:                                                   an Arbitrator; or
         (1) All information required in an Initial                  (3) By Request during or within three (3)
         Claim in Rule 12 of this Code, including                    days following a Document or
         a copy of the Claim Documents that gave                     Participatory Hearing, if the Arbitrator
         rise to the Third Party Claim; and                          finds the Am~ndment conforms to the
                                                                     evidence received.
         (2) A copy of the Arbitration Agreement,
         or notice of the location of a copy of the                B. An Amendment of a Claim or Response,
         Arbitration Agreement.                                    or a Request for an Amendment, shall be
                                                                   designated as such and promptly served on
    B. The Third Party Claim shall be Delivered                    all Parties and filed with the Forum. Any
    to all other Parties and a copy shall be filed                 Party may object to the Amendment Request
    with the Forum within thirty (30) days of the                  by filing with the Forum and Delivering to
    date of service of the Initial Claim, as                       all Parties a Written objection(s) within ten
    required by Rule 16A.                                          (1 0) days of Delivery of the Request. An
                                                                   amended Claim which increases the Claim
    C. The Third Party Claimant shall file with                    Amount shall also be accompanied by the
    the Forum, promptly after service of the                       additional filing fee in the Fee Schedule. An
    Third Party Claim the Proof of Service of the                  amended Claim, excluding Amendments
    Third Party Claim on Third Party Respondent                    agreed to by all Parties, shall also be
    and proof of Delivery on all other Parties,                    accompanied by the Amendment Request
    with the fee for a Third Party Claim, and the                  Fee as provided in the Fee Schedule.
    fee for a Hearing, if selected, as provided in
    the Fee Schedule.                                              C. A Respondent shall respond to an
                                                                   amended Claim within the time remaining
    D. An Arbitrator may reject, in whole or in                    for a Response to the Initial Claim or within
    part, Third Party Claim Documents that do                      fifteen (15) days after service of the
    not substantially conform to this rule.                        amended Claim, whichever time is longer,
                                                                   unless the Parties agree or an Arbitrator
    RULE 17 . AMENDMENT.                                           orders otherwise.
    A. A Claim or Response may be Amended:                         D. After service of the Initial Claim, an
                                                                   Amendment of a Claim that increases the
         (1)By agreement of the Parties at any                     monetary amount of the value of relief
         time;                                                     sought in the Initial Claim must be served in
                                                                   accord with Rule 6B. All other Amendments
         (2) By Request, not later than the                        may b~ -Delivered in accord with Rule 2M.
         Scheduling Notice deadline or ten    (1 0)


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                                                                               f"

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                                                                          (1 0) days of Delivery of the Request, unl ess
    E. Any change to the Claim before service is                          another time is provided
    made on Respondent is not an Amendment.                               by rule or is necessary based on the
    After service, a reduction of the Claim                               relief requested.
    Amount, a change of address of a Party, and
    the substitution of a successor in interest are                       D. Requests directed to the Forum are
    not Amendments.                                                       decided by the Forum as permitted by
                                                                          the Code. Requests directed to an Arbitrator
    F. An Amendment of a Claim shall relate                               are decided by an Arbitrator. Prior to the
    back to the time the Initial Claim was                                appointment of an Arbitrator, Requests may
    commenced unless otherwise provided by                                be granted by the Forum as permitted by
    applicable law.                                                       this Code.

                                                                          E. AIJ Requests or motions made by
    RULE 18. REQUEST TO ARBITRATOR
    OR FORUM.                                                             a Party are Rule 18 Requests. A Party filing
                                                                          a Request or objection must pay the fee,
    A A Party may Request an Order or other                               if any, as provided in the Fee Schedule. A
    relief from an Arbitrator or the Forum by                             Request or motion to reconsider is usually
    filing with the Forum:                                                not granted, unless the controlling law has
                                                                          changed. The Fee Schedule lists fees that
         (1)   A Document stating in plain language:                      may accompany Rule 18 Requests,
                                                                          objections, procedures, and proceedings.
               a. The Request;
               b. The specific rule, if any, relied on for                F. No Request may be filed later than the
               an Order or other relief;                                  Scheduling Notice deadline or fifteen (15)
               c. The specific relief or Order sought;                    days before a Participatory Hearing or for
               d. The facts and law supporting the                        Document Hearings later than ten (1 0) days
               Request; and                                               from the date of the Notice of the Selection
               e. Any other relevant and reliable                         of an Arbitrator, unless another time is
               information.                                               provided by rule or is necessary based
                                                                          on the relief requested.
         (2) All Documents that support the
         Request, Order or relief;
                                                                          RULE 19 . JOINDER, INTERVENTION,
                                                                          CONSOLIDATION, AND SEPARATION.
         (3) Proof of Delivery of the Request
         Documents on all Parties; and                                    A. Any individual or Entity may, as agreed to
                                                                          by the Parties or as required by applicable
         (4) The fee, as provided in the Fee                              law, join any dispute, controversy, Claim or
         Schedule.                                                        Response in an arbitration by filing a Claim
                                                                          Document stating the grounds. An Arbitrator
    B. The Party shall Deliver the Rule 18A(1)                            has no authority to issue an Order or Award
    and (2) Documents to all Parties at the time                          binding any individual or Entity not a Party,
    of filing.                                                            unless that individual or Entity agrees or as
                                                                          required by applicable law. The Forum may
    C. Any other Party may object to a Request                            require a Party to pay a fee.
    by filing with the Forum and Delivering to
    all Parties a Written objection(s) within ten

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                                                                 N A TI O NAl   ARBITR AT I O N   F ORUM
    B. Any individual or Entity that entered into
    the Arbitration Agreement between Claimant
    and Respondent may intervene in an
    arbitration if a common question of fact or
    law arising from the same or related
                                                         Part tV-Arbitrators
    transaction or occurrence exists and such a
    proceeding promotes fairness, efficiency or
    economy. The Forum may require a Party to                    RULE 20. AUTHORITY OF ARBITRATORS .
    pay a fee .                                                  A. ·Arbitrators have the powers provided by
                                                                 this Code, the agreement of the Parties, and
    C. Separate arbitrations involving the same                  the applicable law.
    named Parties and a common question of
    fact or law arising from the same or related                 B. Arbitrators selected in accord with Rule
    transaction or _occurrence shall be                          21A(3) shall take an oath prescribed by the
    consolidated at the Request of a Party or at                 Director and shall be neutral and
    the determination of the Forum if the                        independent.
    consolidation promotes fairness, efficiency
    or economy. A Party may challenge this                       C. Arbitrators shall decide all factual,
    consolidation by filing a Rule 18 Request for                legal, and other arbitrable issues submitted
    severance, and an Arbitrator shall promptly                  by the Parties and do not have the power
    decide this Request by determining whether                   to decide matters not properly submitted
    consolidation or severance promotes                          under this Code.
    fairness, efficiency or economy. The Forum
    may require a Party to pay a fee.                            D. An Arbitrator shall follow the applicable
                                                                 substantive law and may grant any legal,
    D. An arbitration involving multiple Claims                  equitable or other remedy or relief provided
    or Responses or Parties may be separated                     by law in deciding a Claim, Response or
    into individual Hearings if such proceedings                 Request properly submitted by a Party under
    promote fairness, efficiency or economy. The                 this Code. Claims, Responses, remedies or
    Forum may require the Party or Parties to                    relief cannot be unlawfully restricted.
    pay Hearing fees for separate Hearings.
                                                                 E. An Arbitrator shall have the power to rule
    E. A Request by an individual or Entity to                   on all issues, Claims, defenses, questions of
    join or intervene or a Request by a Party                    arbitrability, and objections relating to the
    for separation must be filed in accord with                  existence, scope, and validity of the
    Rule 18.                                                     contract, transaction, or relationship
                                                                 of the Parties.
    F. An Arbitrator shall promptly decide
    Requests for joinder, intervention, severance                F. An Arbitrator shall have the power to
    or separation. Any decision by an arbitrator                 rule on all issues, Claims, Responses,
    joining, consolidating or aggregating parties                questions of arbitrability, and objections
    or claims is an Award under 9 U.S.C.                         regarding the existence, scope, and validity
    Section 9 .                                                  of the Arbitration Agreement including all
                                                                 objections relating to jurisdiction,
                                                                 unconscionability, contract law, and
                                                                 enforceability of the Arbitration Agreement.


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     RULE 21. SELECTION OF ARBITRATORS.                           D. Upon Request for an Expedited Hearing
                                                                  or if the need for an Arbitrator arises before
     A. Parties select an Arbitrator(s):                          an Arbitrator is designated in accord with
                                                                  Rule 21 A, the Forum shall promptly
         (1) By selecting an Arbitrator or a panel                designate an Arbitrator and the issues
         of Arbitrators on mutually agreeable                     to be decided.
         terms; or
                                                                  E. A Party is prohibited from striking or
         (2) By each Party selecting an Arbitrator                removing an Arbitrator or an Arbitrator
         and those Arbitrators selecting another                  candidate based on race, gender, nationality,
         Arbitrator for a panel of Arbitrators; or                ethnicity, religion, age, disability, marital
                                                                  status, family status, or sexual orientation. A
         (3) In the absence of an election of                     party may only strike or remove an arbitrator
         Rule 21 A(1) or (2), by using the                        in good faith and not for the purpose of
         selection process in Rules 21 B through                  delay or to gain an unfair advantage.
         23 of this Code.
                                                                  F. A Party may request Receipt of the Notice
     Parties must notify the Forum of their                       of Arbitrator selection by notifying the
     election of Rule 21A(1) or (2), or other                     Forum, in Writing, within ten (1 0) days from
     agreement for Arbitrator selection, no later                 the date Claimant files Proof of Service of
     than thirty (30) days after the filing of a                  the Initial Claim. Notices related to
     Response with the Forum.                                     Arbitrator selection need not be provided
                                                                  to a Party who has failed to respond to a
    B. For Large Claim Hearings, the Forum                        Claim or otherwise appear or defend or pay
    shall provide to each Party making an                         fees as provided by this Code.
    Appearance a list of Arbitrator candidates
    equal in number to the number of Parties
    plus the number of Arbitrators required                       RULE 22. NUMBER OF ARBITRATORS .
    under Rule 22. Each Party making an                           Unless the Parties agree otherwise, for all
    Appearance may strike one of the           .                  Hearings, one (1) Arbitrator shall conduct
    candidates and may Request disqualification                   the Hearing and issue an Award. Where the
    of any candidate in accord with Rule 23C                      Parties have agreed to more than one (1)
    by notifying the Forum in Writing, within                     Arbitrator, that number of Arbitrators will
    ten (1 0) days of the date of the strike list.                serve and the Forum shall designate
                                                                  the chair of the panel, unless the Parties
    C. For Common Claim Hearings, the Forum                       agree otherwise.
    shall submit one Arbitrator candidate to all
    Parties making an Appearance. A Party
    making an Appearance may remove one
    Arbitrator candidate by filing a notice of
    removal with the Forum within ten (1 0) days
    from the date of the notice of Arbitrator
    selection. A Party making an Appearance
    may request disqualification of any
    subsequent Arbitrator in accord with
    Rule 23.


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    RULE 23. DISQUALIFICATION OF                                             b. Is acting as a Representative in the
    ARBITRATOR .                                                             proceeding.
    A. An Arbitrator shall be disqualified if
    circumstances exist that create a conflict of                       B. An Arbitrator shall provide the Forum
    interest or cause the Arbitrator to be unfair                       with a complete and accurate resume, a
    or biased, including but not limited to the                         copy of which the Forum shall provide the
    following:                                                          Parties at the time of the selection process.
                                                                        An Arbitrator shall disclose to the Forum
         (1) The Arbitrator has a personal bias or                      circumstances that create a conflict of
         prejudice concerning a Party, or personal                      interest or cause an Arbitrator to be unfair
         knowledge of disputed evidentiary facts;                       or biased. The Forum shall disqualify an
                                                                        Arbitrator or shall inform the Parties of
         (2) The Arbitrator has served as an                            information disclosed by the Arbitrator if
         attorney to any Party or Representative,                       the Arbitrator is not disqualified.
         the Arbitrator has been associated with an
                                                                        C. A Party making an Appearance may
         attorney who has represented a Party
         during that association, or the Arbitrator                     request that an Arbitrator be disqualified
                                                                        by filing with the Forum a Written Request
         or an associated attorney is a material
         witness concerning the matter before the                       stating the circumstances and specific ·
         Arbitrator;                                                    material reasons for the disqualification.
                                                                        A Party who knows or has reason to know
         (3) The Arbitrator, individually or as a                       of circumstances that may disqualify an
                                                                        Arbitrator must immediately disclose those
         fiduciary, or the Arbitrator's spouse or
                                                                        circumstances to the Arbitrator the Forum
         minor child residing in the Arbitrator's
                                                                        and all other Parties. A Party w'ho fails to '
         household, has a direct financial interest
                                                                        timely and properly disclose disqualifying
         in a matter before the Arbitrator;
                                                                        circumstances agrees to accept the
                                                                        Arbitrator and waives any subsequent
         (4) The Arbitrator, individually or as a
                                                                        objection to the Arbitrator in the pending
         fiduciary, or the Arbitrator's spouse or
                                                                        arbitration or any other legal proceeding.
         minor child residing in the Arbitrator's
         household, has a direct financial interest
                                                                        D. A Request to disqualify an Arbitrator must
         in a Party;
                                                                        be filed with the Forum within ten (1 0) days
                                                                        from the date of the Notice of Arbitrator
         (5) The Arbitrator or the Arbitrator's spouse
                                                                        selection. The Forum shall promptly review
         or minor child residing in the Arbitrator's
                                                                        the Request and shall disqualify the
         household has a significant personal
                                                                        Arbitrator if there exist circumstances
         relationship with any Party or a
                                                                        requiring disqualification in accord with
         Representative for a Party; or
                                                                        Rule 23A or other material circumstances
                                                                        creating bias or the appearance of bias.
         (6) The Arbitrator or the Arbitrator's
         spouse:
                                                                        E. If an Arbitrator is disqualified or becomes
                                                                        unable to arbitrate before the issuance of an
           a. Is a Party to the proceeding, or an
                                                                        Award, the Forum shall designate a new
           officer, director, or trustee of a Party; or,
                                                                        Arbitrator or panel or re-schedule the
                                                                        hearing, unless the Parties agree otherwise.


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     RULE 24. COMMUNICATIONS WITH                                NATIONAL ARBITRATION         FORUM

     ARBITRATORS.

     A. No Party or Party Representative shall
     directly communicate with an Arbitrator              Part V-Hearing
     except at a Participatory Hearing, by
     providing Documents in accord with this
     Code, or during a conference with the                       RULE 25. SELECTION OF A
     Arbitrator scheduled by the Forum.                          DOCUMENT HEARING .

     B. No Party or Party Representative shall                   A. In Common Claim cases, a Document
     communicate with a Party Arbitrator after                   Hearing shall be scheduled upon the filing
     the complete panel of Arbitrators has been                  of a Response and Receipt of the
     selected, except at a Participatory Hearing,                Administrative Fee.
     by providing Documents in accord with this
     Code, or during a conference with the                       B. In large Claim cases, a Party may select a
     Arbitrator scheduled by the Forum.                          Document Hearing by filing a Written
                                                                 selection with the Forum, served on all other
                                                                 Parties by Delivery as defined in Rule 2M,
                                                                 and accompanied by a Written estimate of
                                                                 the number of hours or days required for the
                                                                 hearing and the fee for the Document
                                                                 Hearing provided in the Fee Schedule.

                                                                 C. The Forum shall provide Written notice
                                                                 of a Document Hearing to all Parties not
                                                                 later than fifteen (15) days before the
                                                                 Document Hearing.

                                                                 D. If another Party selects a Participatory
                                                                 Hearing, the Document Hearing shall be
                                                                 part of the Participatory Hearing.

                                                                 E. For sufficient reason, the Forum or
                                                                 Arbitrator may postpone a Document
                                                                 Hearing at the Request of a Party or on the
                                                                 initiative of the Arbitrator or Forum.




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      RULE 26. SElECTION OF A                                           (5) The fee for the Hearing as provided in
      PARTICIPATORY HEARING .                                           the Fee Schedule.
     A. A Party may select a Participatory Hearing
     of any type by:                                                 No selection for a Participatory Hearing
                                                                     session is effective without payment of the
         (1) Filing a Written selection for a                        appropriate fee, unless a waiver under Rule
         Participatory Hearing containing the                        45 has been granted.
         information required in Rule 26B;
                                                                     C. The Forum shall set the date, time, place,
         (2) Designating the type of Participatory                   and length of the Participatory Hearing and
         Hearing requested: In-person, Telephone,                    notify all Parties of the Hearing at least thirty
         or On-line; and                                             (30) days before the beginning of the
                                                                     Participatory Hearing.
         (3) Serving by Delivery, as defined by
         Rule 2M, the selection on all other                        D. Before or after the beginning of a
         Parties.                                                   Participatory Hearing, if it is determined that
                                                                    the Participatory Hearing requires additional
         (4) For Common Claim cases, a selection                    sessions, the Forum or Arbitrator shall
         of a Participatory Hearing must be filed                   require that the responsible Party pay for
         with the Forum not later than fifteen (15)                 additional sessions in accord with Rule 44 I
         days after the Delivery of a Response. A                   or may suspend the Hearing until the
         Request for a Participatory Hearing made                   additional sessions are properly scheduled.
         after this time may be filed in accord with
         Rule 18.                                                   E. For sufficient reason, the Forum or
                                                                    Arbitrator may postpone a Participatory
         (5) The failure to timely select a                         Hearing at the Request of a Party or on the
         Participatory Hearing is a waiver of the                   initiative of the Arbitrator or Forum.
         right to a Participatory Hearing.
                                                                     RULE 27 . REQUEST FOR AN
     B. Parties to a Participatory Hearing shall                     EXPEDITED HEARING.
     provide:
                                                                    A. A Party may Request an Expedited
                                                                    Hearing to obtain expedited relief in an
         (1) The Party's estimate of the number of
                                                                    Order or Award. A Request for an Expedited
         hours or days required, taking into
                                                                    Hearing may be brought when the
         account the rights of all Parties under
                                                                    Respondent is served with Claim
         Rules 348 and 35A;
                                                                    Documents or at any time before an Award
                                                                    becomes final and shall be accompanied by
         (2) The names of witnesses proposed to
                                                                    an explanation of the reasons for the
         offer evidence at the Hearing;
                                                                    expedited relief and the applicable law and
                                                                    by the fee as provided in the Fee Schedule.
         (3) The number of exhibits to be offered at
         the Hearing and their description;
                                                                    B. An Arbitrator shall promptly decide
                                                                    the Request.
         (4) Any Request or requirement for a
         Written Award accompanied by the
         appropriate fee; and


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     C. The requesting Party shall serve Notice of                    F. A temporary restraining Order may be
     the Expedited Hearing on all Parties not less                    granted without Written or oral notice to the
     than forty-eight (48) hours before the time                      Respondent or that Party's Representative
     set for the Expedited Hearing. Proof of                          only if:
     Service of this Notice shall be filed with the
     Forum before the Expedited Document                                (1) It clearly appears from specific facts
     Hearing or shall be presented at the                               shown by Affidavit that immediate and
     Expedited Participatory Hearing.                                   irreparable injury, loss or damage will
                                                                        result to the Requesting Party before the
     D. A Party may seek a temporary restraining                        Respondent or that Party's Representative
     Order or a preliminary injunction to prevent                       can be heard in opposition; and
     irreparable injury by requesting an
     Expedited Hearing and filing with the Forum                        (2) The Requesting Party or Representative
     and s~rving on the Respondent and any                              of the Requesting Party certifies in writing
     other Parties the following:          ·                            the efforts, if any, which have been made
                                                                        to give the notice and the reasons
          (1) An Initial Claim in accord with                           supporting the claims that notice should
          Rule 12 or a Counter Claim or Third                           not be required.
          Party Claim;
                                                                        (3) A temporary restraining Order
          (2) A Request that explains the irreparable                   granted without notice shall be
          injury and the specific reasons and                           immediately served on all Parties by
          Documents supporting the Request;                             the Requesting Party.

          (3) An Affidavit from a person with                         G. A preliminary injunction shall only be
          personal knowledge describing the                           issued upon notice to all Parties.
          irreparable injury and specific facts;
                                                                      H. An Expedited Telephone, Document or
          (4) The  proposed security for the                          In-person Hearing shall be scheduled as
          relief sought;                                              soon as possible by the Forum. A Hearing
                                                                      for a temporary restraining Order shall be
          (5) A proposed Order stating the specific                   scheduled no later than forty-eight (48)
          relief sought, including a Hearing for a                    hours from the time of filing or notice,
          preliminary injunction if a temporary                       whichever is later. If a temporary restraining
          restraining Order is sought; and                            Order is issued without notice, a Party may
                                                                      request that a Hearing with notice be held
          (6) The fee as provided in the                              within forty-eight (48) hours of the issuance
          Fee Schedule.                                               of the temporary restraining Order.

     E. Any Party may immediately file with the                       I. An Arbitrator will conduct the Hearing
     Forum and Deliver to all Parties an objection                    and issue an Order promptly, and the Forum
     to the Request and a fee as provided in the                      will enter the Order promptly.
     Fee Schedule.




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     ). Every Order granting relief shall state the                 RULE 28. DOCUMENT HEARING.
     time and date of issuance, the reasons for
     the issuance including the irreparable injury,                 A. A Party may subm it any Document or
     the specific conduct to be restrained, the                     property for consideration by the Arbitrator
                                                                    in a Document Hearing by filing with the
     duration of the Order, the security required,
     and, if applicable, the reason why it was                      Forum two (2) copies of the Document or
     issued without notice.                                         property description and Delivering to all
                                                                    other Parties copies of the Document and
                                                                    property description.
     K. A temporary restraining Order shall
     expire within the time fixed in the Order
     not to exceed ten (1 0) days, unless the '                     B. Documents and property offered for
                                                                    consideration at a Document Hearing must
     Parties agree to a longer period of time or an
                                                                    be Received by the Forum and Delivered to
     Arbitrator issues a preliminary injunction.
                                                                    all other Parties no later than ten (1 0) days
                                                                    from the date of the Notice of Selection of
     L. If a Party who receives a ter~1porary
                                                                    an Arbitrator as provided in Rule 21.
     restraining Order fails to timely proceed
                                                                    Documents or property submitted after that
     with the Hearing for a preliminary
                                                                    date will be considered by Request of the
     injunction, the Arbitrator shall dissolve the
                                                                    submitting Party and granted by the
     temporary restraining Order.
                                                                    Arbitrator for sufficient reason.
     M. A Hearing on a Request for a preliminary
                                                                    C. The Arbitrator shall determine the
     injunction may be consolidated by the
                                                                    admissibility and weight of evidence and
     Arbitrator with the final Hearing in the case
                                                                    shall not be bound by rules of evidence.
     upon a Request by a Party.
                                                                    D. During a Document Hearing, the
     N. No temporary restraining Order or
                                                                    Arbitrator may Request that the Parties
     preliminary injunction shall be issued unless
                                                                    submit additional information or
     the Requesting Party provides security as
                                                                    Documents, including legal memoranda.
     deemed proper by the Arbitrator for the
                                                                    Documents submitted in response to an
     payment of costs and damages as may be
                                                                    Arbitrator's Request shall be filed with the
     incurred or suffered by a Party wrongfully
                                                                    Forum and Delivered to all other Parties no
     restrained or enjoined.
                                                                    later than thirty (30) days after the date of
                                                                    the Request. A Party may obtain forty-five
     0. Where security is given in the form of a
                                                                    (45) additional days to respond to an
     bond, stipulation or other undertaking with
                                                                    Arbitrator's Request by filing with the Forum
     a surety or sureties, each surety agrees to
                                                                    and Delivering to all other Parties an
     submit to the jurisdiction of the Forum and
                                                                    extension notice before the initial thirty (30)
     the arbitration and agrees to be bound by
                                                                    day time period expires. Only one (1)
     all Orders issued by the Arbitrator in the
                                                                    extension by notice is available.
     case including Orders affecting the liability
     of each surety on the bond, stipulation
                                                                    E. The Arbitrator may visit a site to examine
     or undertaking.
                                                                    a matter relating to the arbitration.




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     F. The close of a Document Hearing occurs                        Hearing ten (1 0) days from the date of the
     when the Arbitrator completes reviewing the                      Notice of the Selection of an Arbitrator.
     Documents or property.
                                                                      (3) A Party may seek other discovery,
     G. The presence or involvement of a Party in                     including Requests for admissions
     a Hearing results in the waiver of any                           and Requests for physical or mental
     objections to the notice of the Hearing.                         examinations, before a Hearing, where:


     RULE 29. DISCOVERY. .
                                                                         a. The information sought is relevant
                                                                         to a Claim or Response, reliable,
     A. Cooperative Discovery. After a Response                          and essential to a fair hearing of the
     is filed, Parties shall cooperate in the                            matter; and
     exchange of Documents and information. A
     Party seeking discovery shall contact other                         b. The production of the information
     Parties and discuss discovery information                           is reasonable and not unduly
     and any objections and arrange for the                              burdensome or expensive.
     exchange of Documents and information.
                                                                      (4) The Party seeking discovery shall
     B. Seeking Discovery.                                            Deliver to all other Parties a copy of the
                                                                      Notice identifying the discovery sought
         (1) If the Parties are unable to resolve                     no later than thirty (30) days before the
         discovery matters under Rule 29A, a Party                    date of a Participatory Hearing or for a
         may seek the disclosure of Documents,                        Document Hearing ten (1 0) days from
         sworn answers to not more than twenty-                       the date of the Notice of Selection
         five (25) Written questions, and one or                      of an Arbitrator.
         more depositions before a Hearing where:
                                                                    C. Responding to Discovery. A Party
           a. The information sought is relevant to                 Receiving a Notice shall Deliver to the
           a Claim or Response, reliable, and                       Requesting Party:
           informative to the Arbitrator; and
                                                                      (1) Within five (5) days after Receipt of the
           b. The production of the information                       Notice of a deposition, a Written reply
           sought is reasonable and not unduly                        agreeing to the deposition or objecting to
           burdensome and expensive.                                  the deposition, including an explanation
                                                                      of the objections.
         (2) The Party seeking discovery shall
         Deliver to all other Parties a Notice                        (2) Within twenty (20) days of the Receipt
         identifying the Documents to be                              of the Notice for other discovery, a copy
         produced, Written questions to be                            of the Documents Requested or a
         answered, or the Notice of deposition                        statement permitting an examination of
         identifying the deponent, the proposed                       the original Documents or property at a
         length of time for the deposition, and the                   convenient time and place, sworn
         scope of the deposition, no later than                       answers to the Written questions, or a
         thirty (30) days before the date of a                        Written agreement to provide other
         Participatory Hearing or for a Document                      Requested discovery, or a Written
                                                                      objection explaining why all or some of


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         the Documents, property or other                         RULE 30. SUBPOENA FOR IN-PERSON
         discovery has not been provided.                         PARTICIPATORY HEARING .

                                                                  A. A Party may obtain a subpoena from an
    D. Request for Discovery. If a Party objects                  Arbitrator for a Participatory Hearing
    in accord with this Rule, the Requesting                      ordering a non-Party witness or other person
    Party may file with the Forum and Deliver                     permitted by law to produce Documents or
    to all Parties, no later than the Scheduling                  property at the Hearing or ordering a
    Notice deadline or ten (1 0) days after                       witness to testify at the Hearing by filing
    Receiving the objection:                                      with the Forum and serving on all other
                                                                  Parties a Rule 18 Request.
         (1) A Rule 18 Request for a Discovery
         Order;                                                   B. The Request shall state reasons for the
                                                                  relevancy and reliability of the Documents,
         (2) A copy of the Written objections; and                property or testimony and shall identify
                                                                  the witness and describe the Documents .
         (3) A Written statement of reasons why                   or property.
         the Requesting Party needs the discovery.
                                                                  C. A Request for a Rule 30 subpoena must
    E. Decision. An Arbitrator shall promptly                     be Received by the Forum no later than
    determine whether sufficient reason exists                    twenty (20) days before the In-person
    for the discovery and issue an Order.                         Participatory Hearing, unless the Scheduling
                                                                  Notice provides otherwise.
    F. Consequences. An Arbitrator may draw an
    unfavorable, adverse inference or                             D. The subpoena shall be issued by an
    presumption from the failure of a Party to                    Arbitrator if the Request conforms to
    provide discovery. An Arbitrator may impose                   Rules 30A, 30B, and 30C and demonstrates
    Sanctions and costs and fees related to                       the relevancy and reliability of the
    seeking or resisting discovery under Rule 29,                 Documents, property or testimony. No Party,
    including reasonable attorney fees,                           lawyer or Representative of a Party may
    Arbitrator fees, and administrative fees                      issue a subpoena.
    against the non-prevailing Party.
                                                                  E. The subpoena shall be served:

                                                                    (1) By a person who is not a Party and is
                                                                    not less than eighteen (18) years of age if
                                                                    served upon a non-Party witness, or

                                                                    (2) By Delivery or personal service if
                                                                    served upon a Party witness or the Party.
                                                                    The subpoena must be Received by the
                                                                    person subpoenaed no later than five (5)
                                                                    days before the Hearing, unless the
                                                                    Arbitrator Orders otherwise.




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     F. A subpoena may be served on a                               RULE 31. EXCHANGE OF INFORMATION
     non-Party witness at any place allowed                         BEFORE A PARTICIPATORY HEARING .
     by applicable law.                                             A Before all Participatory Hearings, each
                                                                    Party shall Deliver to all other Parties and
     G . A subpoena served on a non-Party                           file with the Forum two (2) copies of:
     witness shall be accompanied by a witness
     fee of twenty-five dollars ($25) and                             (1) A list of all witnesses expected to
     reasonable travel reimbursement to and                           testify and a summary of their testimony; .
     from the Hearing location and the residence
     or place of business of the non-Party. A                         (2) A list and description of all exhibits
     subpoena for the production of Documents                         to be introduced;
     or property served on a non-Party witness
     shall also be accompanied by payment of                          (3) A copy of all Documents and a
     the reasonable costs of producing the                            detailed description of any property to
     Documents and property.                                          be introduced at the Hearing;

     H. Within five (5) days after being served                       (4) An Affidavit establishing the
     with the subpoena or before the time                             authenticity of any Document proposed
     specified in the subpoena to appear at the                       to be introduced at the Hearing; and
     Hearing, if less than five (5) days, the
     witness or a Party may Request an Order                          (5) Any Request for additional
     that the subpoena be dismissed or modified.                      Participatory Hearing sessions,
     The Request shall conform to Rule 18 and                         accompanied by the fee as provided
     shall state why the subpoena should be                           in the Fee Schedule.
     dismissed or modified.
                                                                    B. All Parties and the Forum shall Receive
     I. If a witness or Party makes a Request                       the lists, Documents, and Affidavits provided
     under Rule 30H, an Arbitrator shall                            for in Rule 31A no later than ten (10) days
     promptly determine whether sufficient                          before the Participatory Hearing, unless a
     reason exists for the Order, or enforce                        Notice from the Forum or Arbitrator
     the subpoena.                                                  provides otherwise. lists, Documents, and
                                                                    Affidavits may be submitted after that date
     J. The Party having the subpoena served                        only by Request of the submitting Party.
     shall provide the Arbitrator with the Proof of                 Such Requests may be granted by the
     Service of the subpoena if the witness fails                   Arbitrator for sufficient reason .
     to appear at the Hearing.
                                                                    C. The Arbitrator may exclude witnesses,
     K. Subpoenas issued under this Code may                        testimony or Documents sought to be
     be enforced in accord with the applicable                      introduced by a Party who fails to comply
     law. A subpoena not issued by an Arbitrator                    with Rules 31 A and 31 B.
     under this Rule is unenforceable.

     L. An Arbitrator may draw an unfavorable,
     adverse inference or presumption from the
     failure of a Party to produce a Party witness,
     in addition to imposing any other Sanction.


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     RULE 32 . LOCATION OF AN IN-PERSON                              (4) Respondent's case . The Respondent
     PARTICIPATORY HEARING .                                         may introduce Pviclenc:f', examine
                                                                     witnesses, and submit exhibits.
     A. An In-person Participatory Hearing shall
                                                                     The Claimant and other Parties
     be held where the Arbitration Agreement
                                                                     may also examine the witnesses
     designates or where the Parties agree or, in
     the absence of an agreement and for all                         and submit exhibits.
     Consumer cases, at a reasonably convenient
                                                                     (5) Additional cases. Other Parties may
     location within the United States federal
                                                                     present their case.
     judiCial district or other national judicial
     district where the Respondent to the Initial
                                                                     (6) Rebuttal. A Party may introduce
     Claim resides or does business. A
                                                                     additional evidence, examine witnesses
     Respondent Entity does business where it
     has minimum contacts with a Consumer.                           and submit exhibits to rebut an opposin~
                                                                     Party's <:;ase if the.submissions are not
     B. Unless the Parties agree otherwise, if                       repetitive, cumulative or otherwise
                                                                     inadmissible.
     there is more than one Respondent to an
     Initial Claim, an In-person Participatory
                                                                     (7) Summation. Each Party may present
     Hearing shall be held in the United States
                                                                     a closing statement.
     federal judicial district or other national
     judicial district where the majority of the
                                                                     (8) Concluding remarks by the Arbitrator.
     Respondents to the Initial Claim resides or
     does business. If there is no United States
                                                                   B. The close of a Participatory Hearing
     federal judicial district or other national
                                                                   occurs when either the Arbitrator announces
     judicial district where a majority of
                                                                   the Hearing closed or more than twenty (20)
     Respondents resides or does business
                                                                   days elapse from the final session.
     the Forum shall select a reasonably '
     convenient location for the In-person
     Participatory Hearing.                                        RULE 34. PARTICIPATORY HEARING
                                                                   PROCEEDINGS.

     RULE 33. PARTICIPATORY HEARING.                               A. A Participatory Hearing may consist of
                                                                   one or more sessions. A Hearing may be
     A. A Participatory Hearing may include:
                                                                   conducted on any business day unless the
                                                                   Parties and Arbitrator agree otherwise.
          (1) An introduction by the Arbitrator.

                                                                   B. Hearing Sessions: Parties shall select
          (2) Opening statements by each of the
                                                                   sufficient time and sessions for Participatory
          Parties. The Respondent and other
                                                                   Hearings in accord with Rule 26B. For
          Parties have the option of reserving the
                                                                   Common Claim cases, a Hearing session is
          opening statement until the presentation
                                                                   scheduled for the following length of time,
          of their evidence.
                                                                   unless more time or sessions are selected
                                                                   and the fees are paid:
          (3) Claimant's case. The Claimant may
          introduce evidence, examine witnesses                      A one hundred eighty-minute (180)
          and submit exhibits. The Respondent a~d
                                                                     session is scheduled for cases in which
          other Parties may also examine the
                                                                     the amount in controversy exceeds
          witnesses and submit exhibits.
                                                                     $35,000.

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          A one hundred twenty-minute (120)                          by the Fee Schedule.
          session is scheduled for cases in whi ch
          the amount in controversy is between                       H. The presence or involvement of a Party
          $13,001 and $35,000.                                       in a Hearing results in the waiver of any
                                                                     objections to the Notice and scheduling
          A ninety-minute (90) session is scheduled                  of the Hearing.
          for cases in which the amount in
          controversy is between $3,501 and                          RULE 35. EVIDENCE IN A
          $13,000.                                                   PARTICIPATORY HEARING .

          A sixty-minute (60) session is scheduled                   A. Presentation. Parties shall have a full and
          for cases in which the amount in                           equal opportunity to present relevant and
          controversy is $3,500 or less.                             reliable evidence and oral and written
                                                                     arguments in support of their positions.
     C. The Arbitrator shall conduct a                               Parties may .present evidence and arguments
     Participatory Hearing in an orderly, efficient,                 in any reasonable form and by any means
     and economic manner, and shall determine                        of communication.
     the order
     and presentation of evidence and                                B. Oath. The Arbitrator shall administer an
     oral arguments.                                                 oath or affirmation before a witness testifies.

     D. All Parties to the arbitration and their                     C. Admissibility. The Arbitrator shall
     Representatives shall be entitled to attend                     determine the admissibility and weight of
     or be involved in the Participatory Hearing.                    evidence, and shall not be bound by rules
     Other persons may not attend unless                             of evidence.
     the Parties agree or the Arbitrator Orders
     otherwise. The Arbitrator may sequester                         D. Objections. A Party may object to the
     witnesses.                                                      introduction of evidence by another Party or
                                                                     a Request or question by an Arbitrator, and
     E. The Arbitrator may request Documents                         the Arbitrator shall rule on the objection.
     and information from the Parties, and may
     question any witness or Party to clarify                        E. Site Examination. An Arbitrator may visit a
     evidence or arguments.                                          site to examine a matter relating to the
                                                                     arbitration accompanied by the Parties or
     F. An Arbitrator may Request Parties to                         their Representatives, if they so choose.
     submit additional information or
     Documents, including legal memoranda,                           F. Record. No record of a Hearing shall be
     which the Forum, the Arbitrator, and the                        kept unless agreed by all Parties or Ordered
     Parties shall Receive no later than thirty (30)                 by the Arbitrator. The responsible Party or
     days after the final Participatory Hearing                      Parties Requesting a record shall arrange
     session.                                                        and pay for the record, and promptly
                                                                     provide a copy of the transcript or recording
     G. A Party may Request permission to                            to the Arbitrator and the Forum at no cost to
     submit a post-hearing memorandum, which                         the Arbitrator or the Forum, and, if
     may be granted by the Arbitrator. The                           Requested by another Party, to that Party, at
     responsible Party shall pay the fee provided                    thai Party's expense.


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                                                                     NATIONAl     ARBITR A TI O N   FOR UM
      G. Interpreter. A Party who requires an
      interpreter shall arrange and pay for the
      interpreter. An Arbitrator may have an
      interpreter present, with a fee assessed to a
      Party or Parties as determined by the Forum.
                                                             Part VI-Awards and
                                                             Orders
      RULE 36. ARBITRATION PROCEEDINGS
      IN ABSENCE OF A PARTY.

      A. An Arbitrator may issue an Award or                         RULE 37. AWARDS .
      Order when any Party has failed to respond,
      appear, or proceed at a Hearing, or                            A. An Award or Dispositive Order
      otherwise defend as provided in this Code.                     establishes the rights and obligations of all
                                                                     Parties named in the Award or Order and
      B. If a Party does not respond to a Claim, an                  is final and binding, unless those Parties
      Arbitrator will timely review the merits of                    agree otherwise.
      the Claim for purposes of issuing an Award
      or Order. The Claimant need not submit an                      B. An Award shall not exceed the money
      additional Request for an Award.                               or relief requested in a Claim or amended
                                                                     Claim and any amount awarded under
      C. An Arbitrator may require an Affidavit,                     Rule 37C.
      information or Documents from Parties who
      have appeared or conduct a Hearing to                          C. An Award may include fees and costs
      Receive evidence necessary to issue an                         awarded by an Arbitrator in favor of any
      Award or Order. Documents submitted in                         Party only as permitted by law. A Party with
      Response to an Arbitrator's Request shall be                   a Claim for attorney fees or costs may seek
      filed with the Forum no later than thirty (30)                 to recover those expenses by bringing a
      days after the date of the Request. A Party                    timely Request in accord with Rules 18
      may obtain forty-five (45) additional days to                  and 12B. An opposing Party may object in
      respond to an Arbitrator's Request by filing                   accord with Rule 18. The Arbitrator may
      with the Forum and Delivering to all other                     include attdrney fees and costs in the final
      Parties an extension notice before the initial                 Award or in a separate Award.
      thirty (30) day time period expires. Only one
      (1) extension by notice is available.                          D. An Award may include arbitration fees
                                                                     awarded by an Arbitrator or in favor of the
      D. Each Party making an Appearance shall                       Forum for fees due.
      be provided notices relating to a Hearing.
                                                                     E. An Arbitrator shall endeavor to render an
      E. No Award or Order shall be issued                           Award within twenty (20) days after the date
      against a Party solely because that Party                      of the close of the Hearing.
      failed to respond, appear or defend .
                                                                     F. All Awards and Orders shall be in Writing,
                                                                     dated, and Signed by the Arbitrator or by
                                                                     a majority of the panel, and filed with
                                                                     the Forum.




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    G. An Award of an arbitration panel shall be                  RUlE 39. ENTRY AND SERVICE OF
    by a majority of the Arbitrators. The chair of                AWARDS AND ORDERS.
    an arbitration panel may issue Orders, make                   A. An Award or Order shall be entered in
    rulings, and conduct proceedings.                             the state, country, or other jurisdiction
                                                                  provided for a Hearing in Rule 32, which
     H . An Award is a summary Award unless:                      shall appear on the Award or Order.
     (1) a Written notice is filed by a Party
    seeking reasons, findings of fact or                          B. An Award or Order becomes final when
    conclusions of law, or (2) a prior Written                    entered. An Award or Order may not be
    agreement of the Parties requires reasons,                    entered if fees required by the Fee Schedule
    findings of fact or conclusions of law and
                                                                  remain unpaid.
    at least one Party files a Written notice
    requesting reasons, findings or conclusions.                  C The Forum shall Deliver a copy of the
    This Written agreement or notice must be                    . Award or Order to all Parties or their
    filed with the Forum within ten (1 0) days of                 Representatives or as directed by any Party.
    the date of the Notice of Selection of an
    Arbitrator and must be accompanied by a                       D. Parties consent to service of the Award or
    fee, if any, as provided in the Fee Schedule.                 Order and of all Documents, notices, and
                                                                  Orders necessary to confirm an Award or
    I. Awards shall be based upon a                               Order or to enter a judgment based on an
    preponderance of the evidence presented,                      Award or Order by Delivery, as defined by
    unless an agreement of the Parties or the                     Rule 2M, at any address of the Party or
    applicable law provides otherwise.                            Representative of record with the Forum.

    j . An Arbitrator or the Forum may issue an                   E. An Award or Order may be confirmed,
    Award or Order based upon a Written                           entered or enforced as a judgment in any
    settlement Signed by the Parties.                             court of competent jurisdiction. The Forum
                                                                  may disclose necessary Award information
    RUlE 38. ORDERS.                                              in connection with the confirmation,
                                                                  entering, enforcement or challenge of an
    A. An Arbitrator or the Forum, where                          Award or Order or otherwise as required
    permitted by the Code, may issue an Order                     by law.
    at the Request of a Party or on the initiative
    of the Arbitrator or the Forum.                               F. Parties may request a duplicate original of
                                                                  an Award or Order or a copy of other filed
    B. At any time following the filing of a                      Documents and pay the fee as determined
    Claim, upon a Request by a Party and after a                  by the Forum.
    Hearing, the Arbitrator may issue an Interim
    Order and may require security as a
    condition of the Interim Order.                               RUlE 40. VOlUNTARY DISMISSAL

                                                                  A. A Claimant may dismiss a Claim after it
    C. An Arbitrator who dismisses a Claim                        is filed and before the Respondent is served
    because there was no Arbitration Agreement                    with the Claim by filing with the Forum a
    or because the Arbitrator does not have the                   notice of dismissal.
    power to decide a Claim shall state the
    reason in the dismissal Order.


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    B. A Claimant may dismiss a Claim after                          (3) It is frivolous .
    it is served and before the Respondent
    Delivers a Response to Claimant by                               (4) It has been presented or maintained
    Delivering to all Parties and filing with                        for an improper purpose, such as to
    the Forum a notice of dismissal.                                 harass, cause unnecessary delay or
                                                                     needlessly increase the cost of arbitration.
    C. A Claimant may dismiss a Claim after
    a Respondent Delivers a Response that                            (5) It is brought by a Party who has been
    contains no Counter Claim within forty-five                      declared to be a vexatious litigant by a
    (45) days of the date the Response has been                      court or Arbitrator.
    delivered to the Claimant or no later than a
    deadline established by a Scheduling                             (6) A Party has violated any provision of
    Notice, whichever is later, by delivering                        the Code, or any Order or notice from an
    to all Parties and filing with the Forum a                       Arbitrator or the Forum.
    notice of dismissaL
                                                                  B. A Claim or Response may be dismissed
    D. Any other Claim may be dismissed at                        by an Arbitrator or the Forum at the Request
    the Request of the Claimant in accord with .                  of a Party in accord with ·Rule 18 or on the
    Rule 18. Before the selection of an                           initiative of the Arbitrator or the Forum for
    Arbitrator, the Forum may dismiss the Claim.                  one or more of the following reasons:
    After the selection of the Arbitrator, the
    Arbitrator may dismiss the Claim.                                (1) A Party has failed to proceed with an
                                                                     arbitration or Claim.
    E. A Claim shall be dismissed upon
    agreement of the Parties filed with                              (2) A Party has failed to pay fees as
    the Forum .                                                      provided in the Fee Schedule.

    F. Unless stated otherwise, the first voluntary                  (3) More than one hundred twenty (120)
    dismissal of a Claim is Without Prejudice,                       days have elapsed between the filing date
    and the Claim may be brought again .                             of the Claim and the date the Forum
                                                                     receives a Response or Proof of Service of
    G. A Claim voluntarily dismissed more than                       the Initial Claim.
    once is dismissed With Prejudice, and
    cannot be brought again.                                         (4) More than sixty (60) days have elapsed
                                                                     since a Hearing has been postponed or
                                                                     an arbitration case has been placed on
    RULE 41. INVOLUNTARY DISMISSAL.
                                                                     inactive status.
    A. A Claim or Response may be dismissed
    by an Arbitrator at the Request of the                           (5) More than twelve (12) months have
    Forum or a Party or on the initiative of                         elapsed since a case has been stayed
    the Arbitrator for one or more of the                            under Rule 9F1 and no notification has
    following reasons:                                               been received from the Claimant to
                                                                     extend the stay.
         (1) It is not supported by evidence.
                                                                   C. The Forum shall Deliver notice of an
         (2) It is not supported by existing law.                  involuntary dismissal to all Parties who have


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    made an Appea ran ce.
                                                                     (2) The Order or Award is ambi guous or
    D. Unless stated otherwise, an involuntary                       contains evident material mistakes; or
    dismissal by an Arbitrator is With Prejudice
    and the Claim may not be brought again.                          (3) If all Parties agree.

    E. An involuntary dismissal by the Forum is                    B. An Arbitrator may reopen a Hearing or
    Without Prejudice and the Claim may be                         reconsider an Order or Award within forty-
    brought again.                                                 five (45) days from the date the Order or
                                                                   Award is entered if:
    F. If a Claimant again brings a Claim against
    a Respondent that was dismissed Without                          (1) The Arbitrator failed to timely disclose
    Prejudice, the Forum or Arbitrator may                           material circumstances or material
    Order the costs incurred by the Respondent                       reasons for disqualification in accord with
    in the previous case to be paid to the                           Rule 23A; or
    Respondent, and may Stay the proceedings
    of the arbitration until the Claimant has                        (2) The Arbitrator did not decide a
    complied with this Order.                                        submitted issue.

    G. If a Request for an Involuntary Dismissal                   C. Otherwise, neither the Arbitrator nor the
    is the only Request for a dispositive Order,                   Forum has the power to vacate an Order or
    that Request may be determined at the                          Award after the Order or Award becomes
    Document or Participatory Hearing.                             final, unless all Parties agree.

                                                                   D. Requests that an Arbitrator reopen a
    RULE 42. CORRECTION.
                                                                   Hearing or reconsider an Order or Award
    The Forum or an Arbitrator may correct                         must be timely filed with the Forum in
    clerical or administrative mistakes or errors                  accord with Rule 18 and Delivered to all
    arising from oversight or omission in the                      Parties. A Party cannot make a second
    administration of cases or in the issuance                     Request.
    of an Order or Award.
                                                                   E. An Order or Award is reviewable by a
                                                                   court of competent jurisdiction as provided
    RULE 43 . REOPENING AND
    RECONSIDERATION.                                               by applicable law.

    A. An Arbitrator may reopen a Hearing
    or reconsider an Order or Award within a
    reasonable time from the date the Order or
    Award is entered if:

         (1) Service of Process or Proof of Service
         of Process of a Claim was not complete
         as required by this Code;




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                                                                   E. Advance Fees. During the course of any
                                                                   Participatory Hearing, the Forum or an
                                                                   Arbitrator may require any Party, who is
Part VII-Fees                                                      not a Consumer in a Common Claim case
                                                                   to pay in advance a fee for necessary      '
                                                                   Participatory Hearing sessions in addition
                                                                   to those requested under Rules 26 and 27.
      RUlE 44. FEES.

     A. Fee Recovery. The prevailing Party may                     F. Arbitrators. Fees for Arbitrators selected in
     recover fees paid in the arbitration in accord                accord with Rules 21 A{1) and {2) are paid
     with Rule 37C.                                                by the Parties to the Forum. Fees for
                                                                   Arbitrators selected in accord with Rule
     B. Prepaid Fees. All fees for the filing of a                 21 A{3) are paid to the Forum by the Parties
     Claim, Response, Request, objection, and                      as provided for in the Forum Fee Schedule.
     any other Document and Hearine fees must                      In cases where the Parties select a number
     be paid at the time the Document is filed or                  of Arbitrators in addition to those provided
     the Hearing is selected. These fees include                   by the Code or select Arbitrators with
     fees required by this Code, the Forum Fee                     qualifications different than those required
     Schedule, the Parties' contract, an Order of                  lJy the Forum, a fee for each Arbitrator will
     an Arbitrator, or as required by law.                         be determined by the Forum to be paid by
                                                                   the responsible Party or Parties.
     C. Non-Monetary Relief Fees. A Respondent
     may file a Rule 18 Request to review the                      G. Consumer Request. A Consumer
     value of injunctive, declaratory or other                     Claimant or a Consumer Respondent in a
     non-monetary relief sought in a Claim. An                     Large Claim who asserts that arbitration fees
     Arbitrator shall promptly determine the                       prevent the Consumer Party from effectively
     value of the Claim, which determines the                      vindicating the Consumer's case in
     amount of the fees to be paid in accord with                  arbitration may, at the time of filing of the
     the Fee Schedule.                                             Consumer's Initial Claim or Consumer's
                                                                   Response to a Large Claim and prior to
     D. Hearing Fees. The Party selecting the type                 paying any filing fee, file a Request that
     of Hearing prepays the Hearing fee unless                     another Party or Parties pay all or part of the
     the agreement of the Parties, this Code or                    arbitration fees or that the arbitration
     the applicable law provides otherwise. The                    provision be declared unenforceable,
     Forum may proceed with an arbitration in a                    permitting the Consumer to litigate the case
     case involving a Consumer Party who                           instead of arbitrating the case. This Request
     Requests that the case proceed even after                     shall be processed without a fee and must
     another Party required to pay the Hearing                     be filed with the Forum and Delivered to all
     fee fails to pay. The Arbitrator may Award                    Parties together with the Initial Claim or
     the Forum the amount of the unpaid                            Response and proof of Delivery.
     Hearing fees.
                                                                     {1) Within fifteen {15) days of the filing
                                                                     and Delivery of the Request, another
                                                                     Party may:




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           a. Agree to pay all or part of the fees                  K. Refunds . Fees are not refundable,
           required of the Consumer, or                             except as otherwise provided by the Code
                                                                    or Fee Schedule.
           b. Agree to litigate instead of arbitrate
           the case, or                                              L. Other Fees. The Forum may establish
                                                                     reasonable fees for proceedings not
          c. File an objection to the Request.                       covered by the Fee Schedule and may
                                                                     assess appropriate, additional fees for
        (2) If there is no agreement by the Parties,               · Code proceedings as permitted by law
        an Arbitrator shall promptly decide the                      or in accord with this Code. Parties may
        Request and objection, if any, based on                      obtain the amount of a fee by contacting
        the applicable law.                                          the Forum.

        (3) The arbitration is suspended during
                                                                    RULE 45. WAIVER OF FEES. ·
        this process.
                                                                   A. An indigent Consumer Party may
   H. Respondent Request. In cases where a                         Request a waiver of Common Claim
   Consumer Claimant brings a Large Claim                          filing fees, Request Fees, Hearing Fees,
   and a Respondent is obligated to pay the                        or security for any arbitration, by filing with
   fees by agreement or by law, the                                the Forum a Written Request for a waiver
   Respondent may, before or reasonably after                      at the time payment is due. The Request for
   the time of filing a Response, file with the                    a waiver shall be accompanied by an
   Forum and serve on all Parties a Rule 18                        Affidavit including:
   Request that an Arbitrator determine
   whether there is a prima facie Claim of                            (1) The Party's family size;
   $75,000 or more. If the Arbitrator
   determines the Claim is a Common Claim,                            (2) All of the Party's income and sources,
   the Common Claim Fee Schedule shall                                property and assets, expenses and costs,
   apply. Otherwise, the large Claim Fee                              liabilities and debts;
   Schedule shall apply.
                                                                      (3) A statement that there is no
   I. International Cases. The Forum may assess                       agreement providing for any other
   additional fees for arbitrations conducted                         person or Entity to either pay the costs
   outside the United States or involving Parties                     or share in the proceeds of the Claim or
   from more than one country.                                        a copy of the agreement and the financial
                                                                      information described in Rule 45A(2) for
   j. United States Dollars. Forum Fee Schedule                       any person or Entity that has agreed to
   fees are listed in United States Dollars. Fees                     pay the costs or share in the proceeds
   shall be paid to the Forum in United States                        of the Claim; and
   Dollars, unless the Forum agrees to accept
   other currency based on the exchange rate                          (4) All other relevant information,
   in effect on the required date of the fee                          including releases for credit information,
   payment as determined by the Forum.                                as requested by the Forum.




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    Neither the Request nor Affidavit need be                    NA TI ONA l   ARB IT RAT I ON   FORUM

    sent to the other Parties.

    B. The Forum shall promptly issue a full or
    partial waiver to a Consumer Party eligible
                                                         Part VIII-Code
    under this Rule and under the United States
    federal poverty standards or the applicable
                                                         Provisions
    law. The Forum may also Order another
    Party to pay all or part of the waived fees ·
    as permitted or required by law.                             RULE 46. COMPLIANCE WITH RULES .

                                                                An Arbitrator may Sanction a Party or
    C. If another Party has agreed to pay fees, a
                                                                Representative, or both, for violating any
    Rule 45 Request is unnecessary and the fee
                                                                Rule, notice, ruling or Order, or for asserting
    paying Party is obligated to pay the fees.
                                                                an unsupportable Claim or Response.
                                                                A Party may be Sanctioned on the initiative
    D. The Consumer Party must file an
                                                                of the Arbitrator or at the Request of the
    amended Affidavit of Poverty within thirty
                                                                Forum or a Party. An Arbitrator shall
    (30) days of a material change in the
                                                                Sanction a Party who refuses to pay fees as
    financial condition or circumstances
                                                                required by agreement, these Rules; an
    described in the Consumer Party's initial
                                                                Arbitrator Order, or the applicable law,
    Affidavit of Poverty. A separate Request must
                                                                unless the offending Party establishes
    be filed by the indigent Consumer Party for
                                                                reasonable neglect. A Sanction Order may
    each subsequent fee waiver requested.
                                                                require an offending Party to pay for fees
                                                                and costs incurred by another Party, unpaid
    E. If the statements in the Rule 45 Affidavit
                                                                fees, and other appropriate monetary
    are untrue or incomplete, or if the
                                                                Sanctions, and may require payment to
    Consumer Party is later determined to be
                                                                another Party or the Forum.
    able to pay the fees, the Forum shall Order
    the Consumer Party to pay the fees waived.
                                                                 RULE 47 . LEGAL PROCEEDINGS.

                                                                A The Arbitrator, the Director, the Forum,
                                                                and any individual or Entity associated with
                                                                the Forum are immune from liability and
                                                                shall not be liable to any Party for any act or
                                                                _omission in connection with any arbitration
                                                                conducted under this Code.

                                                                 B. No Party or prospective Party, before or
                                                                 during the arbitration of any matter eligible
                                                                 for submission under this Code, shall
                                                                 commence or pursue any lawsuit,
                                                                 administrative proceeding, or other action
                                                                 against any other Party, prospective Party, the
                                                                 Forum, or individual or Entity associated
                                                                 with the Forum relating to any of the matters
                                                                 subject to arbitration under this Code or the

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    agreement of the Parties. Any Party
    commencing or pursuing such a proceeding                        RULE 48. INTERPRETATION AND
    agrees to pay and indemnify all such Parties,                   APPLICATION OF CODE.
    the Forum, individuals, and Entities for all
    expenses and costs incurred, including                         A. This Code shall be interpreted in
    attorney fees as permitted by applicable law.                  conformity with 9 U.S.C. §§ 1-16 and 9
                                                                   U.S.C. §§ 201-208 in the United States or
    C. No Arbitrator, Director or any individual                   the applicable law of other countries in
    associated with the Forum shall be a                           order to provide all participants in the
    witness in any legal proceeding arising                        arbitration with a fair and impartial
    out of the arbitration.                                        proceeding and an enforceable Award
                                                                   or Order.
    D. Any Party commencing or pursuing
    any lawsuit, administrative proceeding,                        B. Unless the Parties agree otherwise, any
    arbitration or other action against the                        Arbitration Agreement as described in Rules
    Forum, an Arbitrator or individual or Entity                   1 and 2E and all arbitration proceedings,
    associated with the Forum, after an Award                      Hearings, Awards, and Orders are to be
    is final, agrees to pay and indemnify the                      governed by the Federal Arbitration Act,
    Forum, an Arbitrator, individuals and                          9 u.s.c. §§ 1-16.
    Entities for all expenses and costs incurred,
    including attorney fees.                                       C. In the event a court of competent
                                                                   jurisdiction shall find any portion of this
   E. Every Party to any arbitration administered                  Code or Fee Schedule to be in violation of
   by the Forum or to an Arbitration Agreement                     the law or otherwise unenforceable, that
   as described in Rules 1 or 2E and the Forum                     portion shall not be effective and the
   agree that any Claim or dispute of any                          remainder of the Code shall
   nature against the Forum or any agent,                          remain effective.
   officer, employee, or affiliate of the Forum
   or any Arbitrator shall be resolved by final,                    D. The Director or Arbitrator may decline
   binding arbitration conducted by a panel of                      the use of arbitration for any dispute,
   three (3) Arbitrators. The Party or Parties shall                controversy, Claim, Response or Request
   select one Arbitrator; the Forum shall select                    that is not a proper or legal subject matter
   a second Arbitrator; and these two                               for arbitration or where the agreement of the
   Arbitrators shall select a third Arbitrator who                  Parties has substantially modified a material
   is neutral and independent and who shall be                      portion of the Code. If Parties are denied
   the chair of the panel. The Arbitrators shall                    the opportunity to arbitrate a dispute,
   conduct the arbitration pursuant to the Code                     controversy or Claim before the Forum,
   of Procedure in effect at the time the                           the Parties may seek legal and other
   arbitration is brought. The chair shall have                     remedies in accord with applicable law.
   the powers of the Forum and perform the
   responsibilities of the Director. All fees                       E. In the event of a cancellation of this
   payable under the Fee Schedule shall be                          Code, any Party may seek legal and other
   assessed by the chair and paid to the panel                      remedies regarding any matter upon which
   of Arbitrators. Neither the Forum, nor its                       an Award or Order has not been entered.
   Director, nor any employee or agent of the
   Forum shall administer the arbitration.


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    F. The Forum Code Committee, appointed                       N A TIO NA l   ARBIT RAT I O N   F ORUM

    by the Board of Directors, shall have the
    power and authority to effectuate the
    purposes of this Code, including establishing
    appropriate rules and procedures governing
                                                         Appendix A-Notice
    arbitrations and altering, amending
    or modifying this Code in accord
                                                         of Arbitration
    with the law.

                                                                 Dear Respondent:

                                                                 AN ARBITRATION CLAIM HAS BEEN FILED
                                                                 AGAINST YOU.

                                                                 Enclosed and served upon you is the
                                                                 Initial Claim. You may obtain a copy
                                                                 of the Code of Procedure, without cost,
                                                                 from the Claimant or from the Forum at
                                                                 www.adrforum.com or 800-474-2371 .

                                                                 IF YOU DO NOT DELIVER TO THE
                                                                 CLAIMANT AND FILE WITH THE
                                                                 FORUM A WRITIEN RESPONSE, AN
                                                                 AWARD MAY BE ENTERED AGAINST
                                                                 YOU . AN ARBITRATION AWARD MAY
                                                                 BE ENFORCED IN COURT AS A
                                                                 CIVIL JUDGMENT.

                                                                 YOU HAVE THIRTY (30) DAYS TO
                                                                 RESPOND FROM RECEIPT OF SERVICE.

                                                                 You have a number of options at this time.
                                                                 You may:

                                                                 7. Submit a written Response to the Claim,
                                                                 stating your reply and defenses to the Claim,
                                                                 together with documents supporting your
                                                                 position . Your Response must be delivered
                                                                 to the Claimant and filed with the Forum.
                                                                 See National Arbitration Forum [NAF) Code
                                                                 of Procedure Rules 13 and 6C.

                                                                 Proof of delivery of the Response on the
                                                                 Claimant must also be filed with the Forum.
                                                                 See NAF Rules 2A, 2M, and 2Z. Proof of




    67                                                                                                        68
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    delivery can be a statement: "Respondent,                      3. Have other options. You may seek the
    under penalty of perjury, states that the                      advice of an attorney or any person who
    Response was delivered to Claimant by                          may assist you regarding this arbitration.
    [explain how delivered, such as mail or                        See NAF Rule 3. You should seek this advice
    other methods in NAF Rule 6C]".                                promptly so that your Response can be
                                                                   delivered and filed within the time required
    A Counter Claim, Cross-claim or Third Party                    by the Code of Procedure. Parties have the
    Claim must also be delivered and filed with                    right to adjournment for good cause within
    the Forum, and accompanied by the fee as                       the time period allowed in Rule 9E. See
    provided in the Fee Schedule. See NAF                          NAF Rule 5 for a Summary of Arbitration
    Rules 14, 15, and 16. Forms for such                           Procedures. If you have any questions about
    Response and Claims may be obtained                            responding, you may contact the Forum.
    from the Forum.
                                                                   The Forum is an independent and impartial
    If you fail to respond in writing to the Claim,                arbitration organization, which does not
    an Award may be entered against you and in                     give legal advice or represent parties. THIS
    favor of the Claimant. See NAF Rule 36.                        SUMMARY IS NOT A SUBSTITUTE FOR
                                                                   READING AND UNDERSTANDING THE
    2. Select a Document Hearing or a                              CODE OF PROCEDURE WHICH
    Participatory Hearing. You may request a                       GOVERNS THIS ARBITRATION.
    Hearing in your Response or in a separate
    writing. You may select a Document or                          National Arbitration Forum
    Participatory Hearing, and you may also                        P.O. Box 50191
    request a Hearing on-line or by telephone.                     Minneapolis, MN USA 55405-0191
    If an In-person Participatory Hearing is                       800-474-2371
    selected, it will be held in the federal                       info@adrforum.com
    Judicial District where you reside or do                       adrforum.com
    business, unless you have agreed otherwise.
    Parties have a full and equal right to present
    relevant and reliable direct and cross
    examination testimony, documents, exhibits,
    evidence and arguments. Parties also have
    the right to subpoena witnesses. Your written
    Request for a Hearing must be filed with the
    Forum. You must also deliver a copy of your
    Request to the Claimant and any other
    Parties. See NAF Rules 50, 25, 26, 29, 30,
    31, and 33.




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     NATIONAL    ARBITRATION        F OR UM
                                                                  2. Request a Document Hearing, an In-
                                                                  Person Participatory Hearing where you
                                                                  reside or do business, or an On-Line or
Appendix B-Second                                                 Telephone Hearing as provided in the Forum
                                                                  Code of Procedure. Parties have
Notice of Arbitration                                             a full and equal right to present relevant
                                                                  and reliable direct and cross examination
                                                                  testimony, documents, exhibits, evidence
                                                                  and arguments. Parties also have the. right to
     Date                                                         subpoena witnesses. See NAF Rules 5, 25,
     Name of Case                                                 26, 29, 30, 31, and 33.

     File Number                                                  3. Seek the advice of an attorney or any
                                                                  person who may assist you regarding this
     Dear Respondent,                                             arbitration. See NAF Rule 3. You should
                                                                  seek this advice. immediately. Parties have
     We have received notice that you have                        the right to adjournment for good cause
     been served with an Arbitration Claim in                     within the time period allowed in NAF
     the above case. If you want to respond to                    Rule 9. You should also read the National
     the Claim, the Code of Procedure requires                    Arbitration Forum Code of Procedure which
     you to respond in writing.                                   explains what you must and can do.
                                                                  See NAF Rules 5, 6C, 13, 14, 15, 16, 24,
     If you have not yet responded, YOU MAY                       and 25.
     STILL SUBMIT A WRITIEN RESPONSE to
     the Claimant and the Forum. YOU HAVE                         You still have these options. If you have
     THIRTY (30) DAYS FROM THE DATE OF                            any questions or need a copy of the Initial
     SERVICE OR FOURTEEN (14) DAYS FROM                           Claim Documents or the Forum Code of
     THE DATE OF THIS NOTICE, whichever is                        Procedure, or have any questions about
     later, to respond.                                           responding, you may contact the National
                                                                  Arbitration Forum:
     The First Notice of Arbitration you received
     with the Initial Claim documents stated that                 P.O . Box 50191
     you could:                                                   Minneapolis, MN USA 55405-0191
                                                                  Telephone: (800) 474-2371
      1. Submit a written Response to the Claim,                  Fax: (866) 743-4517
     stating your reply and defenses to the Claim,                info®adrforum.com
     together with documents supporting your                      www.adrforum .com
     position. Proof of delivery of the Response
     on the Claimant must also be filed with the                  The Forum is an independent and impartial
     Forum. Proof of delivery can be a statement:                 arbitration organization, which does not
     "Respondent, under penalty of perjury, states                give legal advice or represent parties.
     that the Response was delivered to Claimant                  Furthermore, any Arbitrator appointed to this
     by [explain how delivered, such as by mail                   proceeding is an independent and impartial
     or other methods in NAF Rule 6C)".                           Neutral who hears the matter and arrives at
                                                                  decisions. The Arbitrator does not represent



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     you and does not serve as your attorney,                     NATIONAL ARBITRATION        FORUM

     therefore no attorney-client privilege exists
     between you and the Arbitrator.

    Notice of Proceeding                                  Appendix C-Help Line
    If you do not deliver to the Claimant and
    file with the Forum a written response, an
    Award may be entered against you in favor                     The Forum has a dedicated Help Line
    of the Claimant. An arbitration Award may                     offering general assistance with the
    be enforced in court as a civil judgment.                     arbitration process or matters administered
    NAF Rule 36B states in part: "If a Party does                 by the Forum under the Code. Forum staff
    not respond to a Claim, an Arbitrator will                    cannot provide legal advice. Inquiries may
    timely review the merits of the Claim for                     be directed to the Help Line at:
    purposes of issuing an Award or Order ... ."
    This Notice informs you that an Arbitrator                    Telephone: (800) 474-2371
    will conduct a Rule 36 Proceeding after the                   ext. 4357 (H-E-L-P)
    time has passed for you to submit a written
    response. If you do not respond, you will                     National Arbitration Forum
    not receive any additional notice about                       P. 0 . Box 50191
    this hearing.                                                 Minneapolis, MN USA 55405-0191
                                                                  Attention - Help Line
    THIS SUMMARY IS NOT A SUBSTITUTE
    FOR READING AND UNDERSTANDING
    THE FORUM CODE OF PROCEDURE
    WHICH GOVERNS THIS ARBITRATION.




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                                    WILKES & McHUGH, P.A.
                                              ATTORNEYS AT LAW
                                                                                                     PHONE: (215) 972-0811
THREE PARKWAY                                                                                            FAX: (215) 972-0580
1601 CHERRY STREET                                                                                 TOLL FREE: (800) 255-5070
SUlTE1300
PHILADELPHIA. PA 19102                              November 22, 2013


         VIA FEDERAL EXPRESS

         Betty Wilson, Clerk
         Ouachita County Circuit Court
         Courthouse
         145 Jefferson Street SW
         Camden, Arkansas 7170 I

         Re:      Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased vs.
                  EOR-ARK, LLC; V AJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
                  Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and
                  Rehabilitation, LLC, d/b/a Pine Hills Health and Rehabilitation ; SLC Operations Master Tenant,
                  LLC; SLC Properties, LLC; SLC Property Holdings, LLC ; SLC Property Investors, LLC;
                  Arkansas Nursing Home Acquisition, LLC ; CSCV Holdings, LLC; Capital Funding Group, Inc.;
                  Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC; ADDIT, LLC;
                  SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC,
                  900 Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition,
                  LLC; SLC Professionals Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John
                  Dwyer; and Michael G. Hunter, Administrator
                  Ouachita County Circuit Court No . CV -2013-200-6

        Dear Ms. Wilson :

                 Enclosed please find an original and one copy of Plaintiff's Response and Incorporated
        Memorandum of Law in Opposition to Defendants' Motion to Dismiss Complaint and Compel
        Arbitration. Kindly file the original and return the time-stamped copy in the self-addressed, stamped
        envelope enclosed for your convenience.

                  By copy of this letter, the aforementioned documents are being provided to counsel of
        record.

                Thank you for your anticipated cooperation. Should you need additional information
        please do not hesitate to contact me immediately.

                                                         Sincerely,




        WPM/cbg
        Enclosures

        cc: w enclosure:         Mark W. Dossett, Esquire/Samantha B. Leflar, Esquire
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                       IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                          SIXTH DIVISION


  Eddie B. Robinson, as Administrator for The Estate of
  Willie Robinson, Sr., deceased                                                                           PLAINTIFF

                          v.            CASE NO.: CV-2013-200-6

 EOR-ARK, LLC; VAJ LLC; Senior Living Communities of
 Arkansas, LLC; SLC Operations Holdings, LLC; SLC Operations,
 LLC; Pine Hills Holdings, LLC; Pine Hills Health and
 Rehabilitation, LLC, d/b/a Pine Hills Health and Rehabilitation;
 SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC
 Property Holdings, LLC; SLC Property Investors, LLC; Arkansas
 Nursing Home Acquisition, LLC; CSCV Holdings, LLC; Capital
 Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;
 Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC
 Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC;


                                                                                             ~
 Senior Vantage Point, LLC; 900 Magnolia Road SW, LLC; Quality                               c:
                                                                                                           ~
                                                                                                           c->
 Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC                                  )::>"           -7

 Professionals Holdings, LLC; John Dwyer; and Michael G. Hunter,               0 ~0                          ~         ·-r,
                                                                               - rn :.::                                - -
 Administrator                                                                 :;;J
                                                                                0
                                                                                        - 1n
                                                                                         -t-"/
                                                                                                                 NnAfiT
                                                                                                                 ::.:.::s \ -£
                                                                                c: -<              .-"'1                '


         MOTION TO STAY DISCOVERY PENDING RESOLUTION OF.il:<iTIO                                                            C'C'i
                            COMPEL ARBITRATION           ,;, \:.t? :.:. ,
                                                                                                                   N
                                                                                                                            CJ
                                                                                  ·_, C> ....-.::.
                                                                                      . ~-   -;;::..   -
            Defendants, by and through their counsel, Kutak Rock LLP, for theif Joint Jloti~ Stay
                                                                                                           ?'~


Discovery Pending Resolution of Motion to Compel Arbitration state:


             1.        The Defendants have filed a Motion to Compel Arbitration and Brief in Support

in this case. As their Motion reflects, the parties agreed to utilize an arbitral, rather than a

judicial, forum to resolve the issue raised by the Plaintiffs Complaint. Under Arkansas law,

once a party moves to compel arbitration, the case must be stayed. "Any action or proceeding

involving an issue subject to arbitration shall be stayed if an order involving an issue subject to

arbitration or an application therefore has been made." Ark. Code Ann. § 16-108-201(d) (Repl.

2006) (current version codified at Ark. Code Ann. § 16-108-207 (Supp. 2011)) (emphasis

added).



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           2.      The Plaintiff propounded discovery to Defendants in circuit court, and the

 Defendants seek an order from the Court staying discovery until the Court resolves the

 Defendants' Motion to Compel Arbitration in accordance with Arkansas law. Ark. Code Ann. §

 16-108-201(d) (Repl. 2006).

          3.       Both the Federal Arbitration Act and the Arkansas Arbitration Act mandate that

 when a motion to compel arbitration is filed, the rest of the case must be put on hold until the

 arbitration issue is resolved. The FAA provides that when a party disputes the validity of an

 arbitration agreement, "the court shall proceed summarily to the trial thereof." 9 U.S.C. § 4.

The purpose of the FAA is "to move the parties to an arbitrable dispute out of court and into

arbitration as quickly and easily as possible." Moses H Cone Mem 'l Hasp. v. Mercury Constr.

Corp., 460 U.S. 1, 22 (1983). To effectuate this goal, Congress provided a limited role for courts

when a party makes a motion under the FAA, allowing them to "consider only issues relating to

the making and performance of the agreement to arbitrate." Prima Paint Corp. v. Flood &

Conklin Mfg. Co. , 388 U.S. 395, 404 (1967).

          4.       The Arkansas Arbitration Act echoes the FAA: "Any action or proceeding

involving an issue subject to arqitration shall be stayed if an order involving an issue subject to

arbitration or an application therefore has been made." Ark. Code Ann. § 16-108-201(d) (Repl.

2006) (current version codified at Ark. Code Ann. § 16-108-207 (Supp. 2011)) (emphasis

added).

          5.       If courts were to require the parties to proceed with an action in a judicial forum

pending a ruling on a motion to compel arbitration, the party seeking to enforce the arbitration

clause would be "deprived of the inexpensive and expeditious means by which the parties had

agreed to resolve their disputes." Alascom, Inc. v. ITT North Elec. Co., 727 F.2d 1419, 1422 (9th




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  Cir. 1984). Further, when the court compels a case to arbitration, the arbitrators-rather than the

 court-dictate the conduct of discovery. 9 U.S.C. § 7; Ark. Code Ann. § 16-108-217(c); CIGNA

 Health Care ofSt. Louis, Inc. v. Kaiser, 294 F.3d 849, 855 (7th Cir. 2002).

           6.      Under the mandatory directive of both the FAA and the Arkansas Arbitration Act,

 this case must be stayed until the Court resolves the Defendants' Motion to Compel Arbitration

 in the interest of conserving the resources of the public and the parties. See, e.g., Roadbuilders

 Machinery Supply Co., Inc. v. Sennebogen, Inc., 2012 WL 1253265, at *2-3 (D. Kan. 2012);

 Mundi v. Union Sec. Life Ins. Co., 2007 WL 2385069, at *6 (E.D. Cal. 2007); Ross v. Bank of

 Am., NA., 2006 WL 36909, at *1 (S.D.N.Y. 2006); Merrill Lynch, Pierce, Fenner & Smith, Inc.

 v. Coors, 357 F. Supp. 2d 1277, 1281 (D. Colo. 2004); Intertec Contracting v. Turner Steiner

Int 'l, S.A ., 2001 WL 812224, at *7 (S.D.N.Y. 2001).

          7.       In addition, until the Court rules on arbitration, it is difficult for the Defendants to

actively comply with the Plaintiffs discovery requests. If the Defendants engage in discovery,

the Plaintiff may characterize the Defendants' efforts as an invocation of the litigation process

and argue that the Defendants thereby waived the right to enforce the arbitration agreement.

Patten Grading & Paving, Inc. v. Skanska USA Building, Inc., 380 F.3d 200,206 (4th Cir. 2004).

          WHEREFORE, the Defendants pray that this Court grant their Motion and stay

discovery, pending the resolution of the Defendants' Motion to Compel Arbitration.




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                                                    Respectfully submitted,

                                                    KUTAKROCKLLP



                                                    By:    A't!Ml~ e. ~
                                                          Mark W. Dossett, AR 9 174
                                                          Kyle T. Unser, AR 2007133
                                                          Samantha B. Leflar, AR 2010190
                                                          234 East Millsap Road, Suite 200
                                                          Fayetteville, AR 72703-4099
                                                          (479) 973-4200 Telephone
                                                          (479) 973-0007 Facsimile

                                                          Attorneys for Defendants




                                 CERTIFICATE OF SERVICE

        I hereby certify that I served the Defendants' Motion to Stay Discovery by mailing it on
this 25th day ofNovember, 2013, to:

          Mr. William P. Murray, III .
          WILKES & McHUGH, P.A.
          1601 Cherry Street, Suit~ 1300
          Philadelphia, PA 19102




                                                      Aam~ 8.
                                                      Samantha B. Leflar
                                                                              'J4av




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4850-0389-0199, I
      Case 1:14-cv-01051-SOH Document 1-1                        Filed 09/26/14 Page 284 of 341 PageID #: 301
                                            (

                                                      KUTAK ROCK LLP                                          ATLANTA
                                                                                                              CHICAGO
                                                                                                              DENVER
                                                              SUITE 400
                                                                                                              FAYETTEVILLE
                                                       234 EAST MILLSAP ROAD
                                                                                                              IRVINE

       LITTLE ROCK OFFICE                                                                                     KANSAS CITY
                                                     FAYETTEVILLE, AR 72703-4099
                                                                                                              LITTLE ROCK
                  SUITE 2000
                                                             479-973-4200                                     LOS ANGELES
      12<4 WEST CAPITOL AVENUE
                                                       FACSIMILE 479-973-0007                                 MINNEAPOLIS
 LITTLE ROCK. ARKANSAS 72201 -3708
                                                                                                              OKLAHOMA CITY
                 501-975-3000
                                                          www.kutakrock.com                                   OMAHA
                                                                                                              PHILADELPHIA
                                                                                                              RICHMOND
                                                                                                              SCOTTSDALE
SAMANTHA B. LEFLAR
samantha.leflar@kutakrock.com                           November 25, 2013                                     WASHINGTON
                                                                                                              WICHITA
(479) 973-4200




        VIA U.S. MAIL

        Ms. Betty Wilson
        Ouachita County Circuit Court Clerk
        145 Jefferson St SW
        P.O. Box 667
        Camden, AR 71711-0667

                     Re:        Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr.,
                                deceased v. Pine Hills Health and Rehabilitation, LLC, eta!.
                                Ouachita County Circuit Court Case No.: CV-2013-200-6

       Dear Ms. Wilson:

              Enclosed please find the original and one copy of the Defendants' Motion to Stay
       Discovery Pending Resolution ofMotion to Compel Arbitration for filing in the above-referenced
       matter. Please file accordingly and return a file-marked copy to me in the enclosed self-
       addressed stamped envelope.

               Thank you for your courtesy in this matter. If you have any questions, please do not
       hesitate to contact me.

                                                                     Sincerely,

                                                                     _]Mn~ !{ 1{1-~
                                                                     Samantha B. Leflar

       SBL!reb
       Enclosures

       cc:          Mr. William Murray




       4824-5970-8182.1
Case 1:14-cv-01051-SOH Document 1-1                  Filed 09/26/14 Page 285 of 341 PageID #: 302



                       IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                          SIXTH DIVISION


   Eddie B. Robinson, as Administrator for The Estate of
   Willie Robinson, Sr., deceased                                                        PLAINTIFF
                          v.           CASE NO.: CV-2013-200-6

  EOR-ARK., LLC; VAJ LLC; Senior Living Communities of
  Arkansas, LLC; SLC Operations Holdings, LLC; SLC Operations,
  LLC; Pine Hills Holdings~ LLC; Pine Hills Health and .
  Rehabilitation, LLC, d/b/a Pine Hills Health and Rehabilitation;
  SLC Operations Master Tenant, LLC; SLC Properties~ LLC; SLC
                                                                                                    -
  Property Holdings, LLC; SLC Property Investors, LLC; Arkansas
  Nursing Home Acquisition, LLC; CSCV Holdings, LLC; Capital
  Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;
  Capital SeniotCare Ventures, LLC; ADDIT, LLC; SLC
  Professionals of Arkansas, LLC, nlk/a SLC Professionals, LLC;
  Senior Vantage Point, LLC; 900 Magnolia Road SW, LLC; Quality
  Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC
  Professionals Holdings, LLC; John Dwyer; and Michael G. Hunter,
  Administrator                                                                     DEFENDANTS

         REP,L;¥],.0 PLA!JUWF'S RESPONSE TO DEFENDANTS' MOTION TO STAY
    DISCOVERY PENDING RESOLUTION OF MO_TipN TO COMPEL ARBITRATIO~

             Defendants: by and through their counsel, Kutak Rock LLP, for their Reply to Plaintiff's

 Response to Defendants' Joint Motion Stay Discovery Pending Resolution of Motion to Compel

 Arbitration state:


             1.        The Plaintiff's Response ignores the mandatory directive of the Arkansas

 Arbitration Act and the Federal Arbitration Act: once a party moves to compel arbitration, the

 court must stay the case until it resolves the arbitration issue. 9 U.S.C. § 4; Ark. Code Ann. §

 16-108-201(d) (Repl. 2006) (current version codified at Ark Code Ann. § 16-108-207 (Supp.

 2011)). offers no legal basis to deny the Defendants' Motion to Stay Discovery Pending

 Resolution of Motion to Comj,el Arbitration because both the Federal Arbitration Act and

 Arkansas Arbitration Act categorically undercut the Plaintiff's position. .




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             2.         It is immaterial whether the Defendants' Motion to Compel Arbitration will be

   successful; the stay is mandatory upon a motion to compel. As such, the Plaintiff's argument

  that discovery should not be stayed because Defendants: Motion to Compel Arbitration should

  be denied does nothing to coun~er the mandatory directive of the Arkansas Arbitration Act and

  the Federal Arbitration Act.
                                                                                   '
             3.         It is inunateriat that discovery will occur in arbitration if the Defendants' Motion

  to Compel Arbitration is granted. The Defendants acknowledge that if their motion succeeds~

  discovery will proceed at the cJir.ection of the arbitrator, and as such, the Defendants are working

 toward gathering many of the discoverable documents requested by the Plaintiff in anticipation

  of arbitration-or in responding to discovery in titi.gation if the Defendants' motion to compel

 arbitration is ultimately denied. But the point of entering an arbitration agreement is to limit the

 costs associated with a dispute between the parties for both sides, and proceeding in arbitration

 may truncate and limit the scope of discovery, depending on the arbitrator. See Alascom, Inc. v.

 llT North Elec. Co. , 727 F.2d 1419, 1422 (9th Cir. 1984). The point is if the court enforces the

 arbitration agreement, the arbitrator decides discovery issues.          It makes no sense to Defendants

 to ignore the statute and engage -in extensive discovery while the motion to compel arbitration is

 pending.

            4.          The statutes are clear: discovery must be stayed pending resolution of the

 Defendauts' motion to compel arbitration.

            5.         Finally, the Plaintiff has stated no facts sufficient to warrant conducting

 discovery.           The Plaintiff must do more than pose hypothetical scenarios to be entitled to

 discovery when the Defendants have presented a written, valid arbitration agreement.                  The

 Federal Arbitration Act requires ••a summary and speedy disposition of [motions] to enforce




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  arbitration clauses." Moses H Cone ."".~em 'l Hasp. v. Mercury Constr. Corp., 460 U.S. 1, 29

 (1983). The FAA's purpose is ''to move the parties to an arbitrable dispute out of court and into

 arbitration as quickly and easily 'aS possible." Id at 22. In light of this statutory purpose, parties

 are entitled to ..djscovecy i.n aid of arbitration" only where "extraordinary circumstances" exist.

 See Advocat Inc. v. Blanchord, No.     4:11CV00895~JLH,      2012 WL 1893735, at *5 (E.D. Ark.

 May 24, 2012) (citing Application of Deiulemar Compagnia Di Navigazione S.p.A. v. MIV

 Allegra, 198 F.3d 473, 479 (4th Cir. 1999) (collecting cases)). Limited, pre-arbitration discovery

 may be permitted, however, where the making of the arbitration agreement or the failure,
 neglect, or refusal to perform are in issue. See Hofftnan v. Citibank (S.D.), NA., 546 F.3d 1078,

 1085 (9th Cir. 2008). To be entitled to discovery into the validity of the Agreement (the kind the

 Plaintiff seeks here), a party mu.St make a reasonably specific allegation as to what facts he hopes

 to discover that would ultimately undermine the validity of the Agreement Advocat, 2012 WL

 1893735, at *6. Here~ the Plaintiff has made no specific factual allegations as to why the

 Plaintiff has reason to believe the Agreement is invalid other than conclusory legal allegations.

          WHEREFORE, the De.fendants pray that this Court grant their Motion and stay

 discovery, pending the resolution of the Defendants' Motion to Compel Arbitration.




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                                                Respectfully submitted,

                                                KUT AK ROCK LLP



                                                By:   j_~--J...._ ~
                                                      Mark W. Dossett,     95174
                                                      Kyle T. Unser, AR 2007133
                                                      Samantha B. Leflar, AR 2010190
                                                      234 East Millsap Road, Suite 200
                                                      Fayetteville, AR 72703-4099
                                                      (479) 973-4200 Telephone
                                                      (479) 973~0007 Facsimile

                                                      Attorneys for Defendants




                                  CERTIFICATE OF SERVICE

        I hereby certify that I served the Defendants' Reply to Plaintife.s ~sPQnse to
 Defendants' Motion to Stay Discovery Pending Resolution of Motion to Compel Arbitration by
 mailing it on this 16th day ofDecember, 2013, to:

          Mr. William P. Murray, III
          WILKES & McHUGH, P.A.
          1601 Cherry Street, Suite 1300
          Philadelphia, PA 191 02




                                            4

481:2-7878-5815.1
Case 1:14-cv-01051-SOH Document 1-1 Filed 09/26/14 Page 289 of 341 PageID #: 306
                            KUTAK ROCK LLP
                                                                   SUITE 200
                                                             THE BREWER BUILDING
                                                            234 EAST MILLSAP ROAD
                                                  FAYETTEVILLE, ARKANSAS 72703- 4099

                                                                   479-973-4200
                                                              FACSIMILE 479-973-0007



                                                 FACSIMILE TRANSMISSION

    DATE!             December 16,2013

  To:

                              NAME:                                                 FAX NO.:                              PRONE NO.:
   Ms. Betty Wilson                                                   870-837-2252
   Ouachita County Circuit Clerk
       If you experience any problems ht receiving these pages, please call 479-973-4200                      as so~n as possible. Th~tnk. you.

 FROM:                      Samantha B. Leflar                                              EMPL~O.:                 4962
 SECRETARY:                 Rachel Barnes

 RE:                        Eddie B. Robinson. as Administrator for The Estate of Willie Robinson, Sr.•
                            deceased v. Pine Hills Health and Rehabilitation. LLC, et al.

                            Ouachita County Circuit Court Case No.: CV-2013-200-6

  CLIENt NUMSE.R:                 83308-11

  NUMBER OF PAGES, !NCLUDJNG COVER PAGE:                                        6          I                                CONFT.RM: No

MESSAGE:




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     Case 1:14-cv-01051-SOH Document 1-1                           Filed 09/26/14 Page 290 of 341 PageID #: 307
                                                     KUTAK ROCK LLP
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                                                        December 16, 2013
SAMANTHA B. ~EF'LAf(
~~ntha. fefl;r@kutAkl'O¢k.com
(479) 973-4200


        VIA FACSIMILE: 870-837-2252

        Ms. Betty Wilson
        Ouachita County Circuit Court Clerk
        145 Jefferson St SW
        P.O. Box 667
        Camden, AR 71711 ~0667

                   Re:          Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr.,
                                deceased v. Pine Hills Health and Rehabilitation, LLC, et al.
                                Ouachita County Circuit Court Case No.: CV-20 13-200-6

       Dear Ms. Wilson:

              Enclosed please fmd the Defendants' Reply to Plaintiff's Response to Defendants '
       Motion to Stay Discovery Pending Resolution of .Motion to Compel Arbitration for filing in the
       above-referenced matter. Please file accordingly and return a file-marked copy of the first page
       to me via return facsimile. I am happy to pay for any fees associated with this fax-filing.

               Thank you for your courtesy in this matter. If you have any questions, please do not
       hesitate to contact me.

                                                                        Sincerely,

                                                                         J~1fA-
                                                                        Samantha B. Leflat:

      SBL/reb
      Enclosures

      cc:        Mr. William Murray




      -1834-7181-8263.1
Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 291 of 341 PageID #: 308




                    IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                       SIXTH DIVISION


 Eddie B. Robinson, as Administrator for The Estate of
 Willie Robinson, Sr., deceased                                                       PLAINTIFF

           v.                        CASE NO.: CV-2013-200-6

 EOR-ARK, LLC; VAJ LLC; Senior Living Communities of
 Arkansas, LLC; SLC Operations Holdings, LLC; SLC Operations,
 LLC; Pine Hills Holdings, LLC; Pine Hills Health and
 Rehabilitation, LLC, d/b/a Pine Hills Health and Rehabilitation;                             -r-
 SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC
 Property Holdings, LLC; SLC Property Investors, LLC; Arkansas                               fTl
 Nursing Home Acquisition, LLC; CSCV Holdings, LLC; Capital                                  0
 Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;
 Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC
 Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC;
 Senior Vantage Point, LLC; 900 Magnolia Road SW, LLC; Quality
 Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC
 Professionals Holdings, LLC; John Dwyer; and Michael G. Hunter,
 Administrator                                                                    DEFENDANTS


     DEFENDANTS' RESPONSES TO PLAINTIFF'S ARBITRATION-RELATED
   REQUESTS FOR ADMISSIONS (SET I) PROPOUNDED UPON ALL DEFENDANTS

          Come now the Defendants, by and through their counsel, Kutak Rock LLP, and for their

responses to Plaintiff's Arbitration-Related Requests for Admissions (Set I) Propounded upon all

Defendants, state:

                                      GENERAL OBJECTIONS


          1.        Defendants object that the Requests for Admission-though addressed to multiple

Defendants that are distinct legal individuals-do not indicate which Defendant should answer

which Request. The requests are appropriately addressed only to Defendant Pine Hills Health

and Rehabilitation, LLC, the facility operator and party to the Arbitration Agreement. As such,

the Defendants treat the Requests as propounded only to Pine Hills. The remaining Defendants



4840-3855-7463 .2
Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 292 of 341 PageID #: 309
                                (


  may enforce the Agreement based on its language and by operation of law. See, e.g., Searcy

  Healthcare Ctr., LLC v. Murphy, 2013 Ark. 463. To the extent any response to the Plaintiff' s

  requests for admission are required of the remaining Defendants, the Defendants adopt the

  objections of Pine Hills.

            2.       Defendants object that the propounded discovery is inappropriate because

  Plaintiff has no right to discovery regarding the Arbitration Agreement under Arkansas law.

  Ark. Code Ann. § 16-108-201(d) (Repl. 2006) (current version codified at Ark. Code Ann. § 16-

  108-207 (Supp. 2011)).

            3.       Defendants object on the grounds that Plaintiff failed to comply with Arkansas

  Rule of Civil Procedure 36 in propounding these requests for admission upon Defendants.


                                              RESPONSES

           REQUEST FOR ADMISSION NO. 1: Admit that the facility has previously filed

  lawsuits for the collection of unpaid bills for nursing services against residents and/or residents '

  representatives despite the existence of signed arbitration agreements by and between the facility

  and such residents and/or residents ' representatives.

           RESPONSE:         Objection - the Request is overly broad, argumentative, vague and

 ambiguous. Further, as to other residents or residents ' representatives, the information sought is

 irrelevant and immaterial to the Arbitration Agreement between Mr. Robinson and Pine Hills.

 Subject to these objections, the Request is DENIED as to lawsuits filed by Pine Hills for the

 collection of unpaid bills for nursing services against Mr. Robinson or Mr. Robinson's

 representatives. As to other residents , the Request is DENIED as worded.

             REQUEST FOR ADMISSION NO. 2: Admit that one or more of the Defendants

 have previously filed lawsuits in Arkansas for the collection of unpaid bills for nursing services



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Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 293 of 341 PageID #: 310




  against residents and/or residents' representatives despite the existence of signed arbitration

  agreements by and between the residents and/or residents' representatives and the facility who

  provided the services for which payment was sought.

            RESPONSE:     Objection - the Request is overly broad, argumentative, vague and

  ambiguous. Further, as to other residents or residents' representatives, the information sought is

  irrelevant and immaterial to the Arbitration Agreement between Mr. Robinson and Pine Hills.

  Subject to these objections, the Request is DENIED as to lawsuits filed by Pine Hills for the

  collection of unpaid bills for nursing services against Mr. Robinson or Mr. Robinson' s

  representatives. As to other residents and other defendants, the Request is DENIED as worded.

           REQUEST FOR ADMISSION NO. 3: Admit that one or more of the Defendants have

 previously filed lawsuits for the collection of unpaid bills for nursing services against residents

 and/or residents' representatives despite the existence of signed arbitration agreements by and

 between the residents and/or residents' representatives and the facility who provided the services

 for which payment was sought.

           RESPONSE:     Objection - the Request is overly broad, argumentative, vague and

 ambiguous. Further, as to other residents or residents' representatives, the information sought is

 irrelevant and immaterial to the Arbitration Agreement between Mr. Robinson and Pine Hills.

 Subject to these objections, the Request is DENIED as to lawsuits filed by Pine Hills for the

 collection of unpaid bills for nursing services against Mr. Robinson or Mr. Robinson's

 representatives. As to other residents and other defendants, the Request is DENIED as worded.

          REQUEST FOR ADMISSION NO. 4:                  Admit that Defendants did not maintain

 possession of each and every original page of the original agreement.




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Case 1:14-cv-01051-SOH Document 1-1                  Filed 09/26/14 Page 294 of 341 PageID #: 311
                            (                                         .   )


           RESPONSE: Pine Hills DENIES.          The remammg Defendant        admit and state na
 Defendant other than Pine Hills ever possessed the original Arbitration Agreement.

           REQUEST FOR ADMISSION NO. 5: Admit that the individual identified in your

 answer to Interrogatory No. 2, above, does not specifically recall the meeting during which the

 resident's admission paperwork was signed. If denied, state all substance of the meeting that this

 individual remembers.

           RESPONSE: Objection - this Request is too vague for the Defendants to respond.

There is no Interrogatory No. 2 in these requests.

           REQUEST FOR ADMISSION NO. 6:                 Admit that the facility does not pursue

obtaining signed arbitration agreements with residents who are incompetent and who do not have

legal representatives.

           RESPONSE: Objection- this Request is argumentative, confusing, ambiguous, overly

broad and unclear. Subject to these objections, the Request is ADMITTED in part and DENIED

in part. Pine Hills endeavors to offer the Arbitration Agreement to all residents, their families

and legal representatives. However, it is possible that circumstances in a particular case may

prevent the resident, family and/or legal representative from considering the Arbitration

Agreement, despite the intention of Pine Hills to offer the Arbitration Agreement to all residents.

         REQUEST FOR ADMISSION NO.7: Admit that prior to the time the agreement was

purportedly signed, Defendants did not disclose to the resident nor to the resident's

representative the actual fees and costs associated with the arbitration process referenced in the

agreement.

         RESPONSE:       Objection - the Request is vague, argumentative, overly broad and

unclear.     Subject to those objections, the Request is DENIED as worded.         The Arbitration




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Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 295 of 341 PageID #: 312




  Agreement did direct all parties to the location where such information could be readily

  obtained.

            REQUEST FOR ADMISSION NO. 8:                Admit that at the time the agreement was

  purportedly signed, the individual who signed the agreement on behalf of the facility did not

  possess any information about the actual fees and costs associated with the arbitration process

  referenced in the agreement.

            RESPONSE: Objection- the Request is vague, ambiguous, argumentative and unclear.

 Subject to these objections, the Request as worded is DENIED in part and ADMITTED in part.

 The person who signed the agreement on behalf of the facility did not have actual possession of

 the information, but the Arbitration Agreement did direct all parties to the location where such

 information could be readily obtained.

           REQUEST FOR ADMISSION NO. 9: Admit that prior to the time the agreement was

 purportedly signed, the facility failed to disclose the rules of procedure associated with the

 arbitration process referenced in the agreement.

           RESPONSE: Objection- the Request is vague, ambiguous, argumentative and unclear.

 Subject to these objections, the Request is DENIED as worded. The Arbitration Agreement did

 direct all parties to the location where such information could be readily obtained.

           REQUEST FOR ADMISSION NO. 10: Admit that at the time the agreement was

 purportedly signed, the individual who signed the agreement on behalf of the facility did not

 possess a copy of the rules of procedure associated with the arbitration process referenced in the

 agreement.

           RESPONSE: Objection- the Request is vague, ambiguous, argumentative and unclear.

 Subject to these objections, the Request as worded is DENIED in part and ADMITTED in part.




 4840-3855-7463 .2
Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 296 of 341 PageID #: 313
                           (   )                                     \ )


  The person who signed the agreement on behalf of the facility did not have actual possession of

 the information, but the Arbitration Agreement did direct all parties to the location where such

 information could be readily obtained.



                                                      Respectfully submitted,

                                                      KUTAKROCKLLP



                                                     By:  A.wn~ tf~a.v   li
                                                     Mark W. Dossett, AR 951 Lt.
                                                     Kyle T. Unser, AR 2007133
                                                     Samantha B. Leflar, AR 2010190
                                                     234 E. Millsap Road, Ste. 200
                                                     Fayetteville, AR 72703-4099
                                                     (479) 973-4200 Telephone
                                                     (479) 973-0007 Facsimile

                                                     ATTORNEYS FOR DEFENDANTS




                                   CERTIFICATE OF SERVICE

       I hereby certify that I served the Defendants' Responses to Plaintiffs Arbitration-Related
 Requests for Admission by mailing it on this 17th day of December, 2013? to:

         Mr. William P. Murray, III
         WILKES & McHUGH, P.A.
         1601 Cherry Street, Suite 1300
         Philadelphia, PA 19102




                                                       AMn~ IJ. i(JAA./
                                                     Samantha B. Leflar




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     Case 1:14-cv-01051-SOH Document 1-1                         Filed 09/26/14 Page 297 of 341 PageID #: 314
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                                                                                     '·   ./




                                                      KUTAK ROCK LLP                                          ATLANTA
                                                                                                              CHICAGO
                                                                                                              DENVER
                                                              SUITE 400
                                                                                                              FAYETTEVILLE
                                                       234 EAST MILLSAP ROAD
                                                                                                              IRVINE
        LITTLE ROCK OFFICE                           FAYETTEVILLE, AR 72703-4099                              KANSAS CITY
                                                                                                              LITTLE ROCK
                 SUITE 2000
                                                             479-973-4200                                     LOS ANGELES
      124 WEST CAPITOL AVENUE
                                                        FACSIMILE 479-973-0007                                MINNEAPOLIS
  LITTLE ROCK. ARKANSAS 72201·37015
                                                                                                              OKLAHOMA CITY
                                                          www.kutakrock.com                                   OMAHA
                                                                                                              PHILADELPHIA
                                                                                                              RICHMOND
                                                                                                              SCOTTSDALE
SAMANTHA B . LEFLAR
samantha.leflar@kutakrock.com                           December 17, 2013                                     WASHINGTON
                                                                                                              WICHITA
(479) 973-4200




        VIA U.S. MAIL

       Ms. Betty Wilson
       Ouachita County Circuit Court Clerk
       145 Jefferson St SW
       P.O. Box 667
       Camden, AR 71711-0667

                   Re:          Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr.,
                                deceased v. Pine Hills Health and Rehabilitation, LLC, et al.
                                Ouachita County Circuit Court Case No.: CV-2013-200-6

       Dear Ms. Wilson:

              Enclosed for filing in the above-referenced matter please fmd the original and one copy
       of the Defendants' Responses to Plaintiff's Arbitration-Related Requests for Admissions (Set I)
       Propounded upon all Defendants.

              Please file accordingly and return a file-marked copy to me m the enclosed, self-
       addressed stamped envelope.

              Thank you for your assistance in this matter. Please feel free to ·contact me if you have
       any questions.

                                                                     Sincerely,


                                                                      Jt01'\t»~ 13- Aft~
                                                                     Samantha B. Leflar

      SBL/reb
      Enclosures

      cc:          Mr. William Murray




      4818-2430-9783.1
             Case 1:14-cv-01051-SOH Document 1-1                             Filed 09/26/14 Page 298 of 341 PageID #: 315

        Multiple claims. If a complaint asserts multiple claims which involve different subject matter divisions of the circuit court, the cover
        sheet for that division which is most definitive of the nature of the case should be selected and completed.
                                                                            COVER SHEET
                                                                        STATE OF ARKANSAS
                                                                      CIRCUIT COURT: CIVIL
      The civil reporting fo rm and the information contained herein shall not be admi ssible as evidence in any court proceeding or replace or supplement
      the filin g and service of pleadings, orders, or other papers as required by law or Supreme Court Rule. This form is required pursuant to
      Administrative Order Number 8. Instructions are located on the back of the form.
                                                                 FILING INFORMATION
        County:           OUACHITA                       District:   1.3                                    Docket Number: C.,       V- ~ 1 s~ ~oo-~
        Judge:     nl.l.~                                Divis ion :  {p                                    Filing Date: 10- , _            ~o    13
        Plaintiff: Eddie B. Robinson, as Administrator for The             D efendants: EOR-ARK. LLC; VAJ LLC; Senior Living Communities of Arkansas,
        Estate of Willie Robinson, Sr., deceased                           LLC ; SLC Operations Holdings, LLC ; SLC Operations, LLC ; Pine Hills Holdings,
                                                                           LLC; Pine Hills Health and Rehabilitation , LLC , d/b/a Pine Hills Health and
                                                                           Rehabilitation ; SLC Operations Master Tenant, LLC; SLC Properties, LLC ; SLC
                                                                           Property Holdings , LLC; SLC Property Investors , LLC; Arkansas Nursing Home
                                                                           Acquisition , LLC; CSCV Hold ings , LLC ; Capital Funding Group, Inc.; Capital
                                                                           Funding , LLC ; Capital Finance, LLC ; Capital SeniorCare Ventures, LLC; ADDIT,
                                                                           LLC ; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior
                                                                           Vantage Point, LLC; 900 Magnolia Road SW, LLC ; Quality Review, LLC; Arkansas
                                                                           SNF Operations Acquisition , LLC; SLC Professionals Holdings, LLC ; SLC
                                                                           Administrative Services of Arkansas, LLC ; John Dwyer; and Michael G. Hunter,
                                                                           Administrator
        Attorney Providing Information :                                   Address and Phone Number:
        lRJ   Plaintiff     D   Defendant     D     Intervenor             William P. Murray
                                                                           Wilkes & McHugh, P.A.
                                                                           1601 Cherry Street, Suite 1300
        Litigant, if Pro Se:                                               Philadelphia, PA 19102
                                                                           (215) 972-0811

       Related Case(s): Judge _ _ __ _ _ __ _ _ _ __                              C ase Number(s) - - - - - - - - - - - - - - - -
     Type of Case:
     Torts                                                  IkJ..uity                                             Miscellaneous
      D     (NM)   Negligence : Motor V ehicle              U     (FC) Foreclosure                                D    (CD) Condemnation
      D     (NO)   Negligence: Other                        D     (QT) Quiet Title                                D    (RE) R eplevin
      D     (BF)   Bad Faith                                D cu)      Injunction                                 D    (OJ) Declaratory Judgment
      D     (FR)   Fraud                                    D     (PT) Partition                                  0    (UD) Unlawful Detainer
      D     (MP)   Malpractice                              D     (OT) Other                                      D    (IN) Incorporation
      D     (PL)   Products Liability                                                                             D    (E L) Election
      ~     (OD)   Other Nursing Home Negligence                                                                  D    (FJ) Foreign Judgment
      Contracts                                                                                                   0    (WT) Writs
      D   (IS) Insurance                                                                                          D    (AA) Admi-n-istr
                                                                                                                                      - at-iv_e_A_p-peal
      D   (DO) Debt: Open Account                                                                                 0    (CF) Property Forfe iture
      D   (PN) Debt: Promissory Note                                                                              D    (OM) Other _ _ _ __
      D   (EM) Employment
      D   (OC) Other
      Jury Trial Requested: lRIYes        0    No              Manner of Filing:                     lRJ Original D Re-open D Transfer
                                                                                                     D Return from Federal/Bankruptcy Court
                                                            DISPOSITION INFORMATION
      Disposition Date:                                                    D
                                                                         Bench Trial                   D    Non Trial        D     Jury Trial

      Judgment Type:                                Dismissal Type:                                     Other:
      D  (DJ) Default Judgment                      0 (DW) Dismissed with Prejudice                     D  (TR) Transferred to Another Jurisdiction
      D  (SJ) Summary Judgment                      0 (DN) Dismissed witho ut Prej udice                0 (RB) Removed to Bankruptcy Court
         (CJ) Consent ·Judgment                                                                         0 (RF) Removed to Federal Court
        l(TJ) Trial Judgme nt                                                                           D (AR) Arbitration
         (OJ) Other Judgment
          PG) Petition Granted
           D) Petition Denied
             ) Decree of Foreclosure
             \ nt For:
               \0 Defendant Both0                                 Judgment Amount: $

                   ture                                                    Date
                                                                                                     Send I paper or electronic copy to AOC upon fi ling.
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Case 1:14-cv-01051-SOH Document 1-1                   Filed 09/26/14 Page 299 of 341 PageID #: 316




                 IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                                  6 DIVISION

  Eddie B. Robinson, as Administrator for
  The Estate of Willie Robinson, Sr. , deceased

                             PLAINTIFF

  vs.                                                                     NO. CV- 2013-200-6

  EOR-ARK, LLC; VAJ LLC; Senior Living Communities
 of Arkansas, LLC; SLC Operations Holdings, LLC; SLC
 Operations, LLC; Pine Hills Holdings, LLC; Pine Hills
 Health and Rehabilitation, LLC, d/b/a Pine Hills Health
 and Rehabilitation; SLC Operations Master Tenant, LLC;
 SLC Properties, LLC; SLC Property Holdings, LLC ; SLC
 Property Investors, LLC ; Arkansas Nursing Home
 Acquisition, LLC; CSCV Holdings, LLC; Capital Funding
                                                               STATE OF ARKANSAS SS
 Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;
                                                                                        ~
 Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC
 Professionals of Arkansas, LLC, n/k/a SLC Professionals,
                                                               rounty of ouachita
                                                               ;ILED ON THISJ.h_DAY OF &(Vvo-
                                                               at · ~ 0° o'clock_Q_M.
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 LLC; Senior Vantage Point, LLC; 900 Magnolia Road SW,
 LLC; Quality Review, LLC; Arkansas SNF Operations
                                                                    By:
                                                                           c)XB
                                                                Betty Wilson,
                                                                           .
                                                                                  Clerk  ttf.-
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 Acquisition, LLC; SLC Professionals Holdings, LLC; SLC
 Administrative Services of Arkansas, LLC; John Dwyer;
 and Michael G. Hunter, Administrator,

                            DEFENDANTS

                                          AFFIDAVIT OF SERVICE

         The undersigned attorney, having been duly sworn, states upon oath and affirmation as

 follows:

          1.      That I am the attorney for the Plaintiff in the above captioned case.

         2.       That on September 7, 2013, I caused a copy ofthe Summons and Complaint to be

 served on Gentry Locke Rakes & Moore, LLP, Registered Agent for Arkansas Nursing Home

 Acquisition, LLC, by placing a copy thereof in the United States Mail, addressed to Arkansas

 Nursing Home Acquisition, LLC c/o Gentry Locke Rakes & Moore, LLP, with certified

 delivery, restricted delivery, return receipt requested to the Addressee or Agent of Addressee and

 sufficient postage affixed to insure delivery.
Case 1:14-cv-01051-SOH Document 1-1         Filed 09/26/14 Page 300 of 341 PageID #: 317




         3.    That said Summons and Complaint were claimed as evidenced by the Domestic

  Return Receipt No. 7012 2920 0000 6658 2048 which is attached hereto as Plaintiffs Exhibit

  "A".

         IN WITNESS WHEREOF, I have set my hand this        ls:'     day of January, 2014.


                                           Respectfully submitted,

                                           Eddie B. Robinson, as Administrator for The Estate
                                           of Willie Robinson, Sr., deceased,




                                    By:
                                                         u ay, III (AR2013033)
                                                          c ugh, P.A.
                                                         Str et, Suite 1300
                                           Philadelphia,      191 02
                                           Telephone: (215) 972-0811
                                           Facsimile: (215) 972-0580

                                           Attorneys for Plaintiff




                                              2
Case 1:14-cv-01051-SOH Document 1-1            Filed 09/26/14 Page 301 of 341 PageID #: 318




                                        VERIFICATION

         On this the [6h-day of January, 2014, before me, William P. Murray, III, the individual
  known to me to be the person whose name is subscribed to the above and foregoing Affidavit of
  Service, and acknowledged that she executed the same for the purposes therein contained.

        In witness whereof, I hereunto set my hand and official seal.




  My Commission Expires:




                                                 3
Case 1:14-cv-01051-SOH Document 1-1                             Filed 09/26/14 Page 302 of 341 PageID #: 319




      i SENDER: COMPLETE THIS SECTION
      I
          • Complete items 1, 2, and 3. Also complete
            item 4 if Restricted Delivery is desired.
          • Print your. mime and address on the reverse·
            so that we can return the card to you.
          • Attach this card to the back of the maillpietce;.
            or on the front if space permits.




                                                                  3.irvice Type
                                                                       Certified Mall
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                                                                     [J Insured Mall
Case 1:14-cv-01051-SOH Document 1-1                   Filed 09/26/14 Page 303 of 341 PageID #: 320




                 IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                                  6 DIVISION

  Eddie B. Robinson, as Administrator for
  The Estate of Willie Robinson, Sr., deceased

                            PLAINTIFF

  vs.                                                                   NO. CV- 2013-200-6

 EOR-ARK, LLC ; VAJ LLC ; Senior Living Communities
 of Arkansas, LLC; SLC Operations Holdings, LLC; SLC
 Operations, LLC; Pine Hills Holdings, LLC; Pine Hills
 Health and Rehabilitation, LLC, d/b/a Pine Hills Health
 and Rehabilitation; SLC Operations Master Tenant, LLC;
 SLC Properties, LLC; SLC Property Holdings, LLC; SLC
 Property Investors, LLC; Arkansas Nursing Home                STATE OF ARKANSAS 8S
 Acquisition, LLC; CSCV Holdings, LLC; Capital Funding         county of Ouachita     ~20.J1_
 Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;      FILE!) ON THISJJa_DAY OF~
 Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC             at ~ t> \ o'elock_L.M.
                                                               Betty Wilson, Ci~~~---
 Professionals of Arkansas, LLC, n/k/a SLC Professionals,
 LLC; Senior Vantage Point, LLC ; 900 Magnolia Road SW,
 LLC; Quality Review, LLC; Arkansas SNF Operations
                                                                     Bv:     ~      D.C.
 Acquisition, LLC; SLC Professionals Holdings, LLC; SLC
 Administrative Services of Arkansas, LLC; John Dwyer;
 and Michael G. Hunter, Administrator,

                           DEFENDANTS

                                         AFFIDAVIT OF SERVICE

         The undersigned attorney, having been duly sworn, states upon oath and affirmation as

 follows:

          1.      That I am the attorney for the Plaintiff in the above captioned case.

         2.       That on September 7, 2013 , I caused a copy of the Summons and Complaint to be

 served on Corporation Service Company, Registered Agent for VAJ , LLC, by placing a copy

 thereof in the United States Mail, addressed to VAJ, LLC c/o Corporation Service Company,

 with certified delivery, restricted delivery, return receipt requested to the Addressee or Agent of

 Addressee and sufficient postage affixed to insure delivery .
Case 1:14-cv-01051-SOH Document 1-1          Filed 09/26/14 Page 304 of 341 PageID #: 321




         3.    That said Summons and Complaint were claimed as evidenced by the Domestic

  Return Receipt No. 7012 3050 0001 3886 1207 which is attached hereto as Plaintiffs Exhibit

  "A".

         IN WITNESS WHEREOF, I have set my hand this        (L    day of January, 2014.


                                           Respectfully submitted,

                                           Eddie B. Robinson, as Administrator for The Estate
                                           of Willie Robinson, Sr., deceased,




                                    By:
                                           William P. M ray, III (AR2013033)
                                           Wilkes and M ugh, P.A.
                                           1601 Cherry S r et, Suite 1300
                                           Philadelphia, P 19102
                                           Telephone: (215) 972-0811
                                           Facsimile: (215) 972-05 80

                                           Attorneys for Plaintifj'




                                              2
Case 1:14-cv-01051-SOH Document 1-1                    Filed 09/26/14 Page 305 of 341 PageID #: 322




                                                   VERIFICATION

         On this the   /5-k
                          day of January, 2014, before me, William P. Murray, III , the individual
  known to me to be the person whose name is subscribed to the above and foregoing Affidavit of
  Service, and acknowledged that she executed the same for the purposes therein contained.

         In witness whereof, I hereunto set my hand and official seal.




  My Commission Expires:
         COMMONWEAL"tH OF PENNSYLVANIA,
                     NOTARIAL SEAL
             .         . · RTSfDE, Notary Public
            Ctty of Philadelphia, Phna. County
         My Commtsston        · A U$t 28, 20lS




                                                        3
Case 1:14-cv-01051-SOH Document 1-1                            Filed 09/26/14 Page 306 of 341 PageID #: 323




      ) SENDER: COMPLETE THIS SECTION
          • Complete items 1, 2, and 3. Also complete
             item 4 if Restricted Delivery Is desired.
          • Print your name and address on the reverse
            ·so that we can return the card to you.
          • Attach this card to the back of the mailpiece,
             or on the front if space permits.
          1. Article Addressed to:

          Vtr:S        LLC_
      ~ ~/o~M1~~ute.e Co·
      1
         J-c; \~~sf- Ol-uo 51- ;~SUO
      t lV1 dt6.-~ lr ) ) ..rN '-{ l1 2- o'-f

          2. Article Number
             (Transfer from service label)        7012
          PS Form   3811, February 2004             Domestic Return Receipt
-   -::.•   Case 1:14-cv-01051-SOH Document 1-1                     Filed 09/26/14 Page 307 of 341 PageID #: 324




                              IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                                                6 DIVISION

              Eddie B. Robinson, as Administrator for
              The Estate of Willie Robinson , Sr., deceased

                                         PLAJNTIFF

              vs.                                                                    NO. CV- 2013-200-6

              EOR-ARK, LLC; VAJ LLC; Senior Living Communities
              of Arkansas, LLC; SLC Operations Holdings, LLC; SLC
              Operations, LLC; Pine Hills Holdings, LLC; Pine Hills
             Health and Rehabilitation, LLC, d/b/a Pine Hills Health
             and Rehabilitation; SLC Operations Master Tenant, LLC;
             SLC Properties, LLC; SLC Property Holdings, LLC; SLC
             Property Investors, LLC; Arkansas Nursing Home
             Acquisition, LLC; CSCV Holdings, LLC; Capital Funding
             Group, fnc .; Capital Funding, LLC ; Capital Finance, LLC;
             Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC
             Professionals of Arkansas, LLC, n/k/a SLC Professionals,
             LLC; Senior Vantage Point, LLC; 900 Magnolia Road SW,
             LLC; Quality Review, LLC; Arkansas SNF Operations
             Acquisition, LLC; SLC Professionals Holdings, LLC; SLC
             Administrative Services of Arkansas, LLC; John Dwyer;
             and Michael G. Hunter, Administrator,

                                        DEFENDANTS

                                                      AFFIDAVIT OF SERVICE

                      The undersigned attorney, having been duly swom, states upon oath and affirmation as

             follows:

                      1.       That I am the attorney for the Plaintiff in the above captioned case.

                     2.       That on September 7, 2013, I caused a copy ofthe Summons and Complaint to be

             served on Corporation Service Company, Registered Agent for Senior Vantage Point, LLC, by

             placing a copy thereof in the United States Mail, addressed to Senior Vantage Point, LLC c/o

             Corporation Service Company, with certified delivery, restricted delivery, return receipt

             requested to the Addressee or Agent of Addressee and sufficient postage affixed to insure

             delivery.
Case 1:14-cv-01051-SOH Document 1-1         Filed 09/26/14 Page 308 of 341 PageID #: 325




         3.    That said Summons and Complaint were claimed as evidenced by the Domestic

  Return Receipt No. 7012 2920 0000 6658 2062 which is attached hereto as Plaintiffs Exhibit

  "A".

         IN WITNESS WHEREOF, I have set my hand this       U         day of January, 2014.


                                           Respectfully submitted,

                                           Eddie B. Robinson, as Administrator for The Estate
                                           of Willie Robinson, Sr. , deceased,




                                    By:
                                           William P     u y, III (AR2013033)
                                           Wilkes a d McH gh, P .A.
                                           1601 Che y Str t, Suite 1300
                                           Philade1phi ,    191 02
                                           Telephone: (215) 972-0811
                                           Facsimile: (215) 972-0580

                                           Attorneys for Plaintiff




                                              2
Case 1:14-cv-01051-SOH Document 1-1             Filed 09/26/14 Page 309 of 341 PageID #: 326




                                         VERIFICATION

          On this the lf/hday of January, 2014, before me, William P. Murray, III , the individual
   known to me to be the person whose name is subscribed to the above and foregoing Affidavit of
   Service, and acknowledged that she executed the same for the purposes therein contained.

         In witness whereof, I hereunto set my hand and official seal.




                                          NOTARY PUBLIC




                                                  3
Case 1:14-cv-01051-SOH Document 1-1                         Filed 09/26/14 Page 310 of 341 PageID #: 327




         • Complete items 1, 2, and 3. Also complete
           item 4 if Restricted Delivery is desired.
         • Print your name and address on the reverse
           so that we 'can return the· card to you.   -
         • Attach this card to the back of the mailpiece,
           or on the front if space permits.




         2. Article Nwnber
            (Transfer from aeMc:e l8bel)
                                                7012
         PS Form   3811, February 2004             Domestic Return Receipt
Case 1:14-cv-01051-SOH Document 1-1                   Filed 09/26/14 Page 311 of 341 PageID #: 328




                 IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                                  6 DIVISION

  Eddie B. Robinson, as Administrator for
  The Estate of Willie Robinson , Sr., deceased

                            PLAINTIFF

  vs.                                                                     NO. CV- 2013-200-6

  EOR-ARK, LLC; VAJ LLC; Senior Living Communities
 of Arkansas, LLC; SLC Operations Holdings, LLC ; SLC
 Operations, LLC; Pine Hills Holdings, LLC ; Pine Hills
 Health and Rehabilitation, LLC, d/b/a Pine Hills Health
 and Rehabilitation; SLC Operations Master Tenant, LLC;
 SLC Properties, LLC; SLC Property Holdings, LLC; SLC
 Property Investors, LLC; Arkansas Nursing Home                STATE OF ARKANSAS SS
 Acquisition, LLC; CSCV Holdings, LLC; Capital Funding         county of Ouachita           (h.~ : ~ 1
 Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;
 Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC
                                                               f iLED ON THIS~DAV OF
                                                               at . 303 o'clock~M.
                                                                                        -u-=--   20
                                                                                                   1:1-

 Professionals of Arkansas, LLC, n/k/a SLC Professionals,      Betty Wilson, Circuit , lark ti-
 LLC; Senior Vantage Point, LLC; 900 Magnolia Road SW,              By:    /tPryyvr~w-v::.£-!li~=----::-:-
 LLC; Quality Review, LLC ; Arkansas SNF Operations                                                  O.C.
 Acquisition, LLC; SLC Professionals Holdings, LLC; SLC
 Administrative Services of Arkansas, LLC; John Dwyer;
 and Michael G. Hunter, Administrator,

                            DEFENDANTS

                                          AFFIDAVIT OF SERVICE

          The undersigned attorney, having been duly sworn, states upon oath and affirmation as

 follows:

          1.      That I am the attorney for the Plaintiff in the above captioned case.

         2.       That on September 7, 2013, I caused a copy ofthe Summons and Complaint to be

 served on Corporation Service Company., Registered Agent for Quality Review, LLC, by

 placing a copy thereof in the United States Mail , addressed to Quality Review, LLC c/o

 Corporation Service Company, with certified delivery, restricted delivery, return receipt

 requested to the Addressee or Agent of Addressee and sufficient postage affixed to insure

 delivery.
Case 1:14-cv-01051-SOH Document 1-1          Filed 09/26/14 Page 312 of 341 PageID #: 329




        3.    That said Summons and Complaint were claimed as evidenced by the Domestic

 Return Receipt No. 7008 1140 0002 9957 3716 which is attached hereto as Plaintiffs Exhibit

 "A".

        IN WITNESS WHEREOF, I have set my hand this         I(      day of January, 2014.


                                          Respectfully submitted,

                                          Eddie B. Robinson, as Administrator for The Estate
                                          of Willie Robinson, Sr., deceased,




                                   By:
                                                        u  y, III (AR2013033)
                                          Wilkes and     H h, P.A.
                                          1601 Cherry St e, Suite 1300
                                          Philadelphia, PA 19102
                                          Telephone: (215) 972-0811
                                          Facsimile: (215) 972-0580

                                          Attorneys for Plaintiff




                                             2
Case 1:14-cv-01051-SOH Document 1-1            Filed 09/26/14 Page 313 of 341 PageID #: 330




                                        VERIFICATION

        On this the Lt!-'day of January, 2014, before me, William P. Murray, m, the individual
 known to me to be the person whose name is subscribed to the above and foregoing Affidavit of
 Service, and acknowledged that she executed the same for the purposes therein contained .

       In witness whereof, I hereunto set my hand and official seal.




                                          ~/b ~
                                         NOTARY PUJ!LJC




 My Commi~sion Expires:     SYLVANIA.
     CO~M~NWEAL~OFPENN




                                               3
Case 1:14-cv-01051-SOH Document 1-1                                   Filed 09/26/14 Page 314 of 341 PageID #: 331




       ' SENDER: COMPLETE THIS SECTION

        • Complete items 1, 2, and 3. Also complete
          item 4 if Restricted Delivery is desired.
        • Print your name and address on the reverse
          so that we can return the card to you.       ·
        • Attach this card to the back of the mailpiece,
          or on the froot if space permits.
        1


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             d
        / Vl 1C!/ltlt           (r) 1 /VJd I t'trl~   Lffo '2-tJ'-/     4. Re5tricted Delivery? (Extta Fee)

        2. Article Number
             (Transfer from service label)
                                                                 7008 1140 0002 9957
                                                         Domestic Retl.m Receipt




                                                                A
Case 1:14-cv-01051-SOH Document 1-1                    Filed 09/26/14 Page 315 of 341 PageID #: 332




                 IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                                  6 DIVISION

  Eddie B. Robinson, as Administrator for
  The Estate of Willie Robinson, Sr., deceased

                            PLAINTIFF

  VS.                                                                   NO. CV- 2013-200-6

 EOR-ARK, LLC; VAJ LLC; Senior Living Communities
 of Arkansas, LLC; SLC Operations Holdings, LLC; SLC
 Operations, LLC; Pine Hills Holdings, LLC; Pine Hills
 Health and Rehabilitation, LLC, d/b/a Pine Hills Health
 and Rehabilitation; SLC Operations Master Tenant, LLC;
 SLC Properties, LLC; SLC Property Holdings, LLC; SLC          STATE OF ARKANSAS SS
 Property Investors, LLC; Arkansas Nursing Home
                                                               c.ounty of ouachita    ~ 2o.J±
 Acquisition, LLC; CSCV Holdings, LLC; Capital Funding         ~ILED ON THIS~DAY OF-cr--
 Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;       . ~o'\- o'clock 0 J~-
 Capital SeniorCare Ventures, LLC; ADDlT, LLC; SLC              at.u     -   --+-
 Professionals of Arkansas, LLC, n/k/a SLC Professionals,       BettyWUson, Cl~:.---~
 LLC; Senior Vantage Point, LLC; 900 Magnolia Road SW,               By:    ~       D.C.
 LLC; Quality Review, LLC; Arkansas SNF Operations
 Acquisition, LLC; SLC Professionals Holdings, LLC; SLC
 Administrative Services of Arkansas, LLC; John Dwyer;
 and Michael G. Hunter, Administrator,

                            DEFENDANTS

                                         AFFIDAVIT OF SERVICE

          The undersigned attorney, having been duly sworn, states upon oath and affirmation as

 follows:

          1.      That I am the attorney for the Plaintiff in the above captioned case.

         2.       That on September 7, 2013, I caused a copy of the Summons and Complaint to be

 served on HIQ Corporate Services, Inc., Registered Agent for ADDIT, LLC, by placing a copy

 thereof in the United States Mail, addressed to ADDIT, LLC c/o HIQ Corporate Services, Inc.,

 with certified delivery, restricted delivery, return receipt requested to the Addressee or Agent of

 Addressee and sufficient postage affixed to insure delivery.
Case 1:14-cv-01051-SOH Document 1-1         Filed 09/26/14 Page 316 of 341 PageID #: 333




        3.    That said Summons and Complaint were claimed as evidenced by the Domestic

 Return Receipt No. 7012 2920 0000 6658 2055 which is attached hereto as Plaintiffs Exhibit

 "A".

        IN WITNESS WHEREOF, I have set my hand this      J(        day of January, 2014.


                                          Respectfully submitted,

                                          Eddie B. Robinson, as Administrator for The Estate
                                          of Willie Robinson, Sr., deceased ,




                                   By:
                                                        rray, III (AR2013033)
                                         Wilkes an M ugh, P .A.
                                         1601 Cherr St eet, Suite 1300
                                         Philadelphia, ~ 191 02
                                         Telephone: (21 5) 972-0811
                                         Facsimile: (21 5) 972-0580

                                         Attorneys for Plaint?IJ




                                            2
Case 1:14-cv-01051-SOH Document 1-1                          Filed 09/26/14 Page 317 of 341 PageID #: 334




                                                        VERIFICATION

        On this the f{/--day of January, 2014, before me, William P. Murray, III, the individual
 known to me to be the person whose name is subscribed to the above and fore going Affidavit of
 Service, and acknowledged that she executed the same for the purposes therein contained.

           In witness whereof, I hereunto set my hand and official seal.




 My Commission Expires:
       ¢ OMMOf,. WEALTH OF PENNSYL,VANIA.
       ,              NOTARIAL SEAL
             ..           .       SIDE, Notary Public
             Crty of.Ph,iladelphia, Phila. County
             CommiSSIOn EXAires Au ust 28, 2015




                                                             3
Case 1:14-cv-01051-SOH Document 1-1                         Filed 09/26/14 Page 318 of 341 PageID #: 335




       • Complete items 1, 2, and 3. Also COQ1plete
         item 4 if Restricted Delivery Is desired.                                                           0 Agent
       • Print your name and address on the reverse                                                          0 Addressee
         so that we can return the card to you.                                                        C. Date of Delivery
       • Attach this card to the back of the mailpiece,
         or on the front if space permits.
                                                               D. Is delivef)' address different from ·item 1? 0 Yes
       1. Article Addressed to:                                   If YES, enter delivef)' address below:       0 No ·




                                                               4. Restricted Delivef)'? (Extra Fee)

      · 2. Article Number
           (fransfer from seiVice label)                                        6658 2055
                                               . Domestic Return Receipt
         Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 319 of 341 PageID #: 336
.-                                                                              )




                                             PROOF OF SERVICE




         I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
     - - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


     0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
     - - - - - - - - - - - - - - - - [address] with                                                        [name],
     a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _[date]; or


      I delivered the summons and complaint to _ _ _ _ _ _ _ _ _ _ _ _ _ [name of individual], an
     agent authorized by appointment or by Jaw to receive service of summons on behalf of _ _ _ __
     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [name of defendant] on _ _ _ _ _ _ _ _ [date]; or


     0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
     complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
     the attached signed return receipt.


     0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
     to the defendant together with two copies of a notice and acknowledgment and received the attached
     notice and acknowledgment form within twenty days after the date of mailing.


     o Other [ s p e c i f y ] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

     0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - -




     My fee i s $ - - - - - - - - - - - -                      STATE OF ARKANSAS SS                    .
                                                               county of ouachl\lf    ~lA.. 20Jf_
                                                               FILED ON THIS~DAY OF~
                                                               at - 30.:J o'clock_LM.
                                                                Betty Wilson, C~~
                                                                    sy:    ---~~--o=-.c=-
                                                                                        ·.



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   Case 1:14-cv-01051-SOH Document 1-1                                Filed 09/26/14 Page 320 of 341 PageID #: 337
                                         (   I




 To be completed if service is by a sheriff or deputy sheriff:


 Date:----------                                              SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                                              By: _ _~--------------­
                                                              [Signature of server]



                                                              [Printed name, title, and badge number]




Date:        JD    /u( ?»I 3
        -~+,-~,------
                                                             .By:   cfl_
                                                             [Signature of server]

                                                                    MDtW          ~.     fewt:LL
                                                             [Printed name]       f pJ)~S   ~

Address: _M_O.,.,N_U_M_E*NT'¥-AHLr~t-Pt-RO*"C_,E~Sc-iS~S->d
                                                        ER'AV-E_R_S,_IN_C_._ __
                          ~     623 M.t.K. JR. BLVD.
                  ,.           BALTIMORE, MD 21201
                  j.i~c   '·      (41Q) 523-4980

Phone:




                                                                                             1
                                                                        N'otary Public

My commission expires: __tJ_4--I/'--o_r-+/_?AJ_l_4_____
                                I       I




Additional information regarding service or attempted service:




                                                                        3
    '·        Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 321 of 341 PageID #: 338
J


                               IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                                  CIVIL DIVISION

                                                           SUMMONS
                                      Case No:          CU      ' ~/3        --c9--<Jo- ~
           PLAINTJFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
           vs.
           DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
           Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
           Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
         - Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
           Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
           ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
           Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
           Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


         PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
         William P. Murray, Ill, Esquire                            John Dwyer
         Wilkes & McHugh, P.A.
         1601 Cherry Street, Suite 1300
         Philadelphia, PA 19102
         (800) 255-5070

         THE STATE OF ARKANSAS TO DEFENDANT(S):                     John Dwyer


                                                             NOTICE

         You are hereby notified that a lawsuit has been filed against you; the relief asked for is stated in the attached
         Complaint.

         The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
         for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
         Your pleading or answer must meet the following requirements:

         A       It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
         B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
                 Summons.

         If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
         be filed for you within the time allowed. Responses should be served on counsel for Plaintiffs.

         Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
         Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
         answered within forty-five (45} days of service. Responses should be served on counsel for Plaintiff.

                                                                           o 3 ocr .J-o' ~



                                                                     By:     ~~                                 Deputy Clerk



         No. _______________               This Summons is for: John Dwyer
      Case 1:14-cv-01051-SOH Document 1-1             Filed 09/26/14 Page 322 of 341 PageID #: 339




                                          PROOF OF SERVICE

      I personally delivered the summons and complaint to the individual at - - - - - - - - - -
  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _.[date]; or


      I left the summons and complaint in the proximity of the individual by - - - - - - - - - - -
  _ _ _ _ _ _ _ _ _ _____..:_ _ _ after he/she refused to receive it when I offered it to him/her; or


· 0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
  - - - - - - - - - - - - - - - - - [address] with _ _ _ _ _ _ _ _ _ _ _ _,[name],
  a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _[date]; or


; ; delivered the summons and complaint to        M~§A            WfLV{fHVl5           [name of individual], an

                                 ,.
  agent authorized by appointment or by law to recejv,e §ervice of summons on b half of
                                             M).{ UC--
                                                                                              ttl-Q   lttflfU(l..hY:J
                     l          I'?--> I
cmvft>1'vA1]DN . 12- {}- f'0'- ~ ttOLJJf [name of defendant] on                   /O
                                                                                   '2-o
                                                                                                  ·
                                                                                                      [date]; or
                 f   r                                                                  IJ :3l~
  0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
  complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
  the attached signed return receipt


  0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
 to the defendant together with two copies of a notice and acknowledgment and received the attached
 notice and acknowledgment form within twenty days after the date of mailing.


 o Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - -



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                                                           county of ouachltq DAY Of ~JO!.i­
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   Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 323 of 341 PageID #: 340
                                                                      I
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 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ __                     SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS



                                              By: ___~~-~------------
                                              [Signature of server)



                                             [Printed name, title, and badge number]


 To be completed if service is by a person other than a sheriff or deputy sheriff:


 Date:   _1_0-+,_"V_1-f~-~~~...:::....3_
                                             *~
                                             [ gnatureot5erver]~



                                             [Printed name]      .f' M~S     5~
Address: MONUMENTAL PROCESS SERVERS, INC .
                ..........,_ 823 M.L.K. JR. BLVD.
                             BALTIMORE, MD 21201
         ;·~ ,, '· , ·          (41 0) 523·4geo

Phone:




Additional information regarding service or attempted service:




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'·        Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 324 of 341 PageID #: 341


                           IN THE CIRCUIT COURT OF O'UACHITA COUNTY, ARKANSAS
                                              CIVIL DIVISION

                                                         SUMMONS
                                  Case No:           ~   \.) - ;2 0 I? , dJ-oD- b
       PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
       vs.
       DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
       Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
       Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC;. SLC Property
     - Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
       Capital Funding Group, Inc.; Capital Funding, · LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC; ·
       ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC ; Senior Vantage Point, LLC; 900
       Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
       Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


     PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
     William P. Murray, Ill, Esquire                            CSCV Holdings, LLC
     Wilkes & McHugh, P.A.
     1601 Cherry Street, Suite 1300
     Philadelphia, PA 19102
     (800) 255-5070

     THE STATE OF ARKANSAS TO DEFENDANT(S): CSCV Holdings, LLC

                                                          NOTICE

     You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
     Complaint.

     The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
     for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
     Your pleading or answer must meet the following requirements:

     A       It must be in writing , and otherwise comply with the Arkansas Rules of Civil Procedure
     B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
             Summons.

     If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
     be filed for you within the time allowed. Responses should be served on counsel for Plaintiffs.

     Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
     Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
     answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                                    03      OJ      ~t-:3




                                                                    -~tLL-..:.::-'---=t>r--=~-=---
                                                                                      ---=--=""-'---Deputy Clerk



     No. _______________               This Summons is for: CSCV Holdings, LLC
      •.         Case 1:14-cv-01051-SOH Document 1-1             Filed 09/26/14 Page 325 of 341 PageID #: 342
. t

                                                                           '    ,




                                                    PROOF OF SERVICE

                 I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ __
             _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.[place] on _ _ _ _ _ _ _ _[date] ; or


                 I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
            - - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


           · 0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
            - - - - - - - - - - - - - - - - [address] with                                                          [name],
            a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _,[date]; or


      -J'    I delivered the summons and complaint to      f1l1 £Lf S~ft       WI UJ ft1'lt S     [name of individual], an
            agent authorized by app/ntment or by law to receive service of summons on bnalf
           ~ ~ t5rJ                (L-   Jt ~                [name of defendant] on      l0
                                                                                                    l  tfl
                                                                                                  r~ ?cf3
                                                                                                              Q    111~(Af.j}
                                                                                                                  [date]; or
                 01tt> t T7h-   'n Jm.JC£        U--C                                         tff 11 ; 3 () ~
                                                                                              7
            0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
            complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
           the attached signed return receipt.


            o I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
           to the defendant together with two copies of a notice and acknowledgment and received the attached
           notice and acknowledgment form within twenty days after the date of mailing.


           0 Other [ s p e c i f y ] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


           0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




           My fee i s $ - - - - - - - - - - - -
                                                                     STATE OF ARKANSAS SS
                                                                     county of Ouachita     ~ 20 \ tf
                                                                     FILED ON THIS_lLDAY OF '(:f-
                                                                      at 30~ o'clock__e_M.
                                                                      Betty Wllson,J~~u'\~
                                                                            By: ~!..------:o:-:.c=-.



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  Case 1:14-cv-01051-SOH Document 1-1                              Filed 09/26/14 Page 326 of 341 PageID #: 343

                                                                                .   ;   ...




 To be completed if service is by a sheriff or deputy sheriff:


 Date:                                                     SHERIFF O F - - - - " - - - - COUNTY, ARKANSAS
         -------------------
                                                           By: __________________________________
                                                           [Signature of server]



                                                           [Printed name, title, and badge number]


 To be completed if service is by a person other than a sheriff or deputy sheriff:


Date     /D   I241 ~/3                                     By•~
                                                           [~rver]
                                                                          ~                   UJNLS.
                                                           [Printed name]
                MONUMENTAL PROCESS SI!RV~R6. INe~
Address: ----::::::--~gil-62;w.:34¥MMI.....K~.I~
                                               R~B~L:~V-!":0:-:..;-----------
                    --......_ BALTIMORE, MD 21201
               ¥: ?•;>#--'-'-  "' (410) 523-4980 /


Phone :




Additional information regarding service or attempted service:




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      Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 327 of 341 PageID #: 344

                                                                    .   '
                       IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                          CIVIL DIVISION


                                                   SUMMONS
                              Case No:           C\) - d.-ot'3 - ;Lo o- b
                                          -----=------------------~-------


   PLAINTIFF(S): Eddie B. Robinson , as Adm inistrator for The Estate of Willie Robinson, Sr., deceased
  VS .
    DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
    Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
    Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
_ · Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition , LLC; CSCV Holdings, LLC;
    Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC ; Capital SeniorCare Ventures, LLC;
    ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900
    Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
    Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


  PLAINTIFF'S ATTORNEYS:                                    TO DEFENDANT:
  William P. Murray, Ill, Esquire                           Capital Finance, LLC
  Wilkes & McHugh, P.A.
  1601 Cherry Street, Suite 1300
  Philadelphia, PA 19102
  (800) 255-5070

 THE STATE OF ARKANSAS TO DEFENDANT(S):                    Capital Finance, LLC

                                                    NOTICE

 You are hereby notified that a lawsuit has been filed against you; the relief asked for is stated in the attached
 Complaint.

 The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
 for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
 Your pleading or answer must meet the following requirements:

 A.      It must be in writing , and otherwise comply with the Arkansas Rules of Civil Procedure
 B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
         Summons.

 If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
 be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

 Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
 Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
 answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

 WITNESS my hand and seal of the court this date:            -~CJ!_,3j__~O~c:;t:.....:....__~____.:l-=3=----------
 Betty Wilson
 Ouachita County Circuit Clerk
 Courthouse
 145 Jefferson Street SW
 Camden, AR 71701                                               ---..~.~~
                                                                    -~"""'"'7f--'-~-
                                                                            ----=-=----=:...__=-----Deputy Clerk


 No. _______________
        Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 328 of 341 PageID #: 345
                                                                . .


                                            PROOF OF SERVICE

        I personally delivered the summons and complaint to the individual a t - - - - - - - - - -
     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _1[place] on _ _ _ _ _ _ _ _[date]; or


        I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
    - - - - - - - - - - - - - - a f t e r he/she refused to receive it when I offered it to him/her; or


    0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
    - - - - - - - - - - - - - - - - [address] with                                                          [name],
    a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _[date]; or


j    I delivered the summons and complaint to        Mt:U ~Sij        CAl I V£1~        [name of individual], an
    agent authorized by ppointment or by law to receive service of summons on be hal of           t1z Q    Vt411fU! (.ljtY)
~ tJrvf177mJ i'L-' f7 fVY'-'   _[name of defendant] on I o fS                                 7.--0 ~ [date]; or
 Cfr(J rr7fL-.        l ~ G~f r~                                                              It ; 3 ° ~
    0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
    complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
    the attached signed return receipt.


    0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
    to the defendant together with two copies of a notice and acknowledgment and received the attached
    notice and acknowledgment form within twenty days after the date of mailing.


    0 Other [specify]: - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


    0 I was unable to execute service b e c a u s e : - - - - - - - - - - - - - - - - - - - - - -




    My fee i s $ - - - - - - - - - - - -
                                                          $TATE OF ARKANSAS SS
                                                          County of Ouachl~        c:x,._ _           .'
                                                          FILED ON THIS~DAY OF .(:)""'=        20J:!,
                                                          at '3 °13 o'clock_e_M.
                                                          Betty Wilson,~~~~
                                                               By:~----~
                                                                                                 D.C.

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  Case 1:14-cv-01051-SOH Document 1-1                   Filed 09/26/14 Page 329 of 341 PageID #: 346


                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION

                                                    SUMMONS
                             Case No:          c_   V - d-o I ':2_;,   -   oz_   00 -   f"o

  PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
  vs.
  DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
  Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
  Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
· Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
  Capital Funding Group, Inc.; Capital Funding, · LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
  ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
  Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition , LLC; SLC Professionals
  Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                       TO DEFENDANT:
William P. Murray, Ill, Esquire                              Capital Funding Group, Inc.
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S):                      Capital Funding Group, Inc.

                                                    NOTICE

You are hereby notified that a lawsuit has been filed against you; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A       It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed. Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.




Betty Wilson                                                 BETTY WILSON, Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701                                                                                       Deputy Clerk




No. _______________               This Summons is for: Capital Funding Group, Inc.
  Case 1:14-cv-01051-SOH Document 1-1             Filed 09/26/14 Page 330 of 341 PageID #: 347




  To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ __                    SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                             By: _ _ __ _ _ _ _ _ _ _ _ _ _ _ __
                                             [Signature of server]



                                             [Printed name, title, and badge number]


 To be completed if service is by a person other than a sheriff or deputy sheriff:


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                                 3_          8///_.~-
                                             ~rver]
 Date:
               I      I


                                            [Printed name]       ftuJa:%'.>    ~

Address: MQN!IMENTAI PROCESS SEAVERS, lNC.
                 823 M.L.K. JR. BLVD.
                BALTIMORE, MD 21201
        »~-- _,    (41 0) 523-4980
Phone: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



Subscribed and sworn to before me this date:      /0
                                                       I
                                                        1-?-tI
                                                               /   'ZO (   5

                                                       ~~~
                                                    Notary Public

My commission expires:         0   4) /m fi
                                       0I




Additional information regarding service or attempted service:




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   Case 1:14-cv-01051-SOH Document 1-1               Filed 09/26/14 Page 331 of 341 PageID #: 348




                                         PROOF OF SERVICE

      I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ __
  _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _,[place] on _ _ _ _ _ _ _ _,[date]; or


      I left the summons and complaint in the proximity of the individual b y - - - - - - - - - - -
  - - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


  0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
  - - - - - - - - - - - - - - - - [address] with                                                      [name],
· a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _[date]; or

                                                                             J
v' I delivered the summons and complaint to                l                         [name of individual], an
 agent authorized by appointment or by law to receive service of ummons on behalf ofC&t?      vW
 ~\Dre1.re. ~~ > LI.C                             [name of defendant] on l o\ H \ l-:?   Y:<Yflr [date]; or

 0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
 complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
 the attached signed return receipt.


 0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
 to the defendant together with two copies of a notice and acknowledgment and received the attached
 notice and acknowledgment form within twenty days after the date of mailing.


 o Other [specify]: - - - - - - - --          ---------------------


 o I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - -


 My fee is$ _ _ _ _ _ _ _ _ _ _ __
                                                      STATE Of ARKANSAS SS
                                                      county of ouach\j\., DAY Of
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                                                           By:__~-               D.C.



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  Case 1:14-cv-01051-SOH Document 1-1                    Filed 09/26/14 Page 332 of 341 PageID #: 349




 To be completed if service is by a sheritf or deputy sheriff:


 Date:                                              SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS
         ---------------------
                                                    By: ___________________________________
                                                   (Signature of server]



                                                   [Printed name, title, and badge number]




Date: _    _.l~"~~~~-t+~-===:?'-------------




Subscribed and sworn to before me this date:          &}p~ l j             ;;;;)..0 L3




My
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     commissio~ expires: h/~              \ 7,
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Additional information regarding service or attempted service:




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     Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 333 of 341 PageID #: 350


                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION

                                                  SUMMONS
                             CaseNo: _____      C_v__~-=tLo~_'?~r-=~---o---~-----
 PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson , Sr., deceased
 VS .
 DEFENDANT{S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
 Holdings, LLC ; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation , LLC, d/b/a
 Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
 Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition , LLC ; CSCV Holdings, LLC;
 Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
 ADDIT, LLC ; SLC Professionals of Arkansas, LLC, n/kla SLC Professionals, LLC; Senior Vantage Point, LLC; 900
 Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
 Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                     TO DEFENDANT:
William P. Murray, Ill, Esquire                            Capital SeniorCare Ventures , LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S):                    Capital SeniorCare Ventures, LLC

                                                   NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements :

A.      It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents . Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

WITNESS my hand and seal of the court this date:           _..J..OL~~_____:O:::::....::c;t=---~=--6~13 = - - - - - - - - -
Betty Wilson                                               BETTY WILSON, Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701                                           By:   M~~                                       Deputy_Clerk




No. _ _ _ _ _ ___
                   Case 1:14-cv-01051-SOH Document 1-1              Filed 09/26/14 Page 334 of 341 PageID #: 351
     ].
., . ' ~..   ..    .
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                                                      PROOF OF SERVICE

                  I personally delivered the summons and complaint to the individual at
                                                                                          ---------------------
             _________________________________________[place] on _ _ _ _ _ _ _ _ _ [date]; or                   1




                  I left the summons and complaint in the proximity of the individual by --------------------
             -------------------------- after he/she refused to receive it when I offered it to him/her; or


             0         I left the summons and complaint at the individual's dwelling house or usual place of abode at
             - - - - - - - - - - - - - - - - - - [ a d d r e s s ] with                                             [name].
             a person at least 14 years of age who resides there, on _____________________[date] ; or


     ../I delivered the summons and complaint to S\JC."Kkct.1 Wl~ (r:g                    ~en.t   [name of individual), an
             ag~thorized by apPointment or by law to receive service of summons on behalf of 3/L. P~t<>-=ls
                   rJ9s.LLC-                           [name of defendant] on Lo \t\\\3 -z~SJ en [date] ; or


             0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
                            '·
             complaint on the defendant by certified mail, return receipt requested , restricted delivery, as shown by
             the attached signed return receipt.


             0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
             to the defendant together with two copies of a notice and acknowledgment and received the attached
             notice and acknowledgment form within twenty days after the date of mailing.
                                 '·.
             0 Other [specify] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


             0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - - - - - -




             My fee is$ _ _ _ _ _ _ _ _ _ _ __                       STATE OF ARKANSAS SS
                                                                     county of ouac:i{Q_oAY OF {\-~ _20~
                                                                      FILED ON THIS         M ~
                                                                      at '3 \0 _o'clock__Q_J ·
                                                                        6;rtywuson,CJ!.cff~:-----::::--=-
                                                                            By:_~                        oi."


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   Case 1:14-cv-01051-SOH Document 1-1                           Filed 09/26/14 Page 335 of 341 PageID #: 352




 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ _ __                               SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                                          By: _ __ _ _ _ _ _ _ __ _ _ _ _ _ __
                                                          [Signature of server]



                                                          [Printed name, title , and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: _    __._Iol---'~,_1'-{....:...Jl'-":,[3,..L-----   By: ~
                                                          [Sig        f server]




Phone:    3D2..-           L\2q ... Q(oS.1

Subscribed and sworn to before me this date:                 ~ LL/                8--Cx3


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                 "\
                 \

My commission expires: _h/-'--O:t)~-\_7...<..+-,-=;;;2_=--b--=-llo-=-----




Additional information regarding service or attempted service:
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     Case 1:14-cv-01051-SOH Document 1-1                     Filed 09/26/14 Page 336 of 341 PageID #: 353
        ..
                           IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                              CIVIL DIVISION

                                                       SUMMONS
                                 Case No:            L \J'    d--<Jt?:>' d--<Jo-{?

 PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson, Sr., deceased
 VS .
 DEFENDANT(S): EOR-ARK, LLC; VAJ LLC; Senior Living Communities of Arkansas, LLC; SLC Operations
 Holdings, LLC; SLC Operations, LLC; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
 Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
 Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
 Capital Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
 ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC ; Senior Vantage Point, LLC; 900
 Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
 Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                          TO DEFENDANT:
William P. Murray, Ill, Esquire                                 SLC Professionals Holdings, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 191 02
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S):                         SLC Professionals Holdings, LLC


                                                        NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A.           It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.           It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
             Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                                      03 d c.:r ZD/3
Betty Wilson                                                    BETTY WILSON , Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701                                                By:    ~~                                  Deputy Clerk



No. _______________                  This Summons is for: SLC Professionals Holdings, LLC
      Case 1:14-cv-01051-SOH Document 1-1                Filed 09/26/14 Page 337 of 341 PageID #: 354




                                                   ,·
                                         PROOF OF SERVICE

     I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ _ __
 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [place] on _ _ _ _ _ _ _ _ [date]; or


     I left the summons and complaint in the proximity of the individual by _ _ _ _ _ _ _ _ _ __
 - - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


 0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
 - - - - - - - - - - - - - - - - [address] with                                                             [name] ,
 a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _ [date] ; or


./I delivered the summons and complaint to S\JG."Rhat.}Vl~ l?J               1Jen.f-        [name of individual], an
 agent authorized by appointment or by law to receive service of summons on behalf of __;:S: :'...:;_LG-=---
 ~ tkl~ ()Ef7) LL-c.-                              [name of defendant] on          lc \t\\\3 -z:t:P en [date] ; or


 0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
            '
 complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
 the attached signed return receipt.


 0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
 to the defendant together with two copies of a notice and acknowledgment and received the attached
 notice and acknowledgment form within twenty days after the date of mailing .
                '-,



 o Other [specify] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




 My fee is$ _ _ _ _ _ _ _ _ _ _ __                      STATE OF ARKANSA$ ss
                                                        county of ouaehl~. I if OF 0-ec.-
                                                        FILED ON THIS~D~           ~
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        Case 1:14-cv-01051-SOH Document 1-1               Filed 09/26/14 Page 338 of 341 PageID #: 355
'.




      To be completed if service is by a sherifJ or deputy sheriff:


      Date: _ _ _ __ _ __ __                      SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                                  By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                  [Signature of server]



                                                 [Printed name. title , and badge number]


     To be completed if service is by a person other than a sheriff or deputy sheriff:


                                                 By: ~
                                                 [Signature of server]




     Subscribed and sworn to before me this date:   -~~..£.._ 1_,_lf""""'<'-'-~--l·_3___
                                                              ___




                   \
     My commission expires:




     Additional information regarding service or attempted service:




                                                          3
     Case 1:14-cv-01051-SOH Document 1-1                 Filed 09/26/14 Page 339 of 341 PageID #: 356

                      IN THE CIRCUIT COURT OF OUACHITA COUNTY, ARKANSAS
                                         CIVIL DIVISION

                                                  SUMMONS
                             Case No:          L \) -   1_   0 1   ~   ,   7__ oo - lo

 PLAINTIFF(S): Eddie B. Robinson, as Administrator for The Estate of Willie Robinson , Sr., deceased
 vs.
 DEFENDANT(S): EOR-ARK, LLC; VAJ LLC ; Senior Living Communities of Arkansas, LLC; SLC Operations
 Holdings, LLC; SLC Operations, LLC ; Pine Hills Holdings, LLC; Pine Hills Health and Rehabilitation, LLC, d/b/a
 Pine Hills Health and Rehabilitation; SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC Property
 Holdings, LLC; SLC Property Investors, LLC; Arkansas Nursing Home Acquisition, LLC; CSCV Holdings, LLC;
 Capital Funding Group, Inc.; Capital Funding , LLC; Capital Finance, LLC; Capital SeniorCare Ventures, LLC;
 ADDIT, LLC; SLC Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC; Senior Vantage Point, LLC; 900
 Magnolia Road SW, LLC; Quality Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC Professionals
 Holdings, LLC; SLC Administrative Services of Arkansas, LLC; John Dwyer; and Michael G. Hunter, Administrator


PLAINTIFF'S ATTORNEYS:                                       TO DEFENDANT:
William P. Murray, Ill, Esquire                              SLC Property Holdings, LLC
Wilkes & McHugh, P.A.
1601 Cherry Street, Suite 1300
Philadelphia, PA 19102
(800) 255-5070

THE STATE OF ARKANSAS TO DEFENDANT(S) :                   SLC Property Holdings, LLC


                                                   NOTICE

You are hereby notified that a lawsuit has been filed against you ; the relief asked for is stated in the attached
Complaint.

The attached Complaint will be considered admitted by you and a judgment by default may be entered against you
for the relief asked for in the Complaint unless you file a pleading and thereafter appear and present your defense.
Your pleading or answer must meet the following requirements:

A       It must be in writing, and otherwise comply with the Arkansas Rules of Civil Procedure
B.      It must be filed in the court clerk's office within thirty (30) days from the day you were served with this
        Summons.

If you desire to be represented by an attorney you should immediately contact your attorney so that an Answer can
be filed for you within the time allowed . Responses should be served on counsel for Plaintiffs.

Additional Notices: Also attached are Plaintiff's First Set of Interrogatories and requests for Production of
Documents. Plaintiff's First Set of Interrogatories and Requests for Production of Documents must be
answered within forty-five (45) days of service. Responses should be served on counsel for Plaintiff.

                                                     A 3     0 II ____
WITNESS my hand and seal of the court this date: --='""=-----=--"-'t ..l.o l "2
                                                                             ->
                                                                             _ _ _ _ _ _ _ __

Betty Wilson                                                 BETTY WILSON , Clerk
Ouachita County Circuit Clerk
Courthouse
145 Jefferson Street SW
Camden, AR 71701                                                                                      Deputy Clerk



No. _ _ _ _ _ _ __                This Summons is for: SLC Property Holdings, LLC
            Case 1:14-cv-01051-SOH Document 1-1                     Filed 09/26/14 Page 340 of 341 PageID #: 357
 )
.''
I, '                                                                                     (



                                                            I


                                                   PROOF OF SERVICE

           I personally delivered the summons and complaint to the individual at _ _ _ _ _ _ _ _ _ __
       _____________________                                                [place] on _ _ _ _ _ _ _ _ [date] ; or
                                                                            1




           I left the summons and complaint in the proximity of the individual by _ _ _ _ _ _ _ _ _ __
       - - - - - - - - - - - - - - after he/she refused to receive it when I offered it to him/her; or


       0     I left the summons and complaint at the individual's dwelling house or usual place of abode at
       - - - - - - - - - - - - - - - - [address] with                                                                 [name],
       a person at least 14 years of age who resides there, on _ _ _ _ _ _ _ _ _ _ _ [date] ; or


 /I         delivered the summons and complaint to S\ie:-.1\he.tt:l WlCll..tlU.9 (?3   ~en-4-        (name of individual]. an
       agent authorized by appointment or by law to receive service of summons on behalf of SLG
       t?~e<?, LL.--C..                                         [name of defendant] on       Lc \L\\\3   -z~9J pn   [date] ; or


       0 I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons and
                    '
       complaint on the defendant by certified mail, return receipt requested, restricted delivery, as shown by
       the attached signed return receipt.


       0 I am the plaintiff in this lawsuit, and I mailed a copy of the summons and complaint by first-class mail
       to the defendant together with two copies of a notice and acknowledgment and received the attached
       notice and acknowledgment form within twenty days after the date of mailing .
                        \

       0 Other [specify] : - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


       0 I was unable to execute service because: - - - - - - - - - - - - - - - - - - - - - -




       My fee is$ _ _ _ _ _ _ _ _ _ _ __                            STATE OF ARKANSAS SS
                                                                    County of Ouachita       ~              . 1L
                                                                    FILED ON THIS~DAY OF ~                20.b._
                                                                    at  3  1';. o'clock_2_M.
                                                                    Betty Wilson, ~~~ul~
                                                                         By:    ~:....----
                                                                                                            D.C.


                                                                   2
    Case 1:14-cv-01051-SOH Document 1-1                                Filed 09/26/14 Page 341 of 341 PageID #: 358
 .. .

 To be completed if service is by a sheriff or deputy sheriff:


 Date: _ _ _ _ _ _ _ _ __                                   SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS


                                                            By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                            [Signature of server]



                                                            [Printed name, title, and badge number]


To be completed if service is by a person other than a sheriff or deputy sheriff:


Date: _ ___..__)4-=-'--=<-t'-'l'-'-c?>._.,c__ __            By: ~
                                                            [Sign           of server]




Subscribed and sworn to before me this date:                  ---'~"""'-'=--'-.......:...,_-l_Lf_,__,_~Qb---l-3___

                    \

My commission expires:
                                                                ~
                                  _h}__!._Cl:tj~-\_7...1..4-,---=;;2~0--=-l(a-=-----




Additional information regarding service or attempted service:




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